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Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF TEXAS

Case number (if known)                                                      Chapter       7
                                                                                                                           Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Examination Management Services, Inc.

2.   All other names debtor       DBA     EMSI
     used in the last 8 years
                                  DBA     Merrill
     Include any assumed          DBA     Leprechaun
     names, trade names and       DBA     LepMed, Inc.
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  3050 Regent Blvd.
                                  Suite 400
                                  Irving, TX 75063
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Dallas                                                          Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.emsinet.com


6.   Type of debtor                  Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
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Debtor    Examination Management Services, Inc.                                                     Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                5511

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
                                        Chapter 9
     A debtor who is a “small           Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                      The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                      $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                   operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                              exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must                            The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     check the second sub-box.                                    debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                  proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                  balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                  any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                              A plan is being filed with this petition.
                                                              Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                              The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                              The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        Chapter 12

9.   Were prior bankruptcy
     cases filed by or against
                                        No.
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                               Case number
                                                 District                                 When                               Case number


10. Are any bankruptcy cases            No
    pending or being filed by a
    business partner or an              Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                      Debtor     See Schedule 1 Attached                                      Relationship             Affiliates
                                                            Northern District
                                                 District   Texas                         When                           Case number, if known

Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 2
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Debtor   Examination Management Services, Inc.                                                   Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                       preceding the date of this petition or for a longer part of such 180 days than in any other district.

                                      A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or
    have possession of any
                                 No
    real property or personal    Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                   Why does the property need immediate attention? (Check all that apply.)
                                            It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                             What is the hazard?
                                            It needs to be physically secured or protected from the weather.
                                            It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                             livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                            Other
                                           Where is the property?
                                                                            Number, Street, City, State & ZIP Code
                                           Is the property insured?
                                            No
                                            Yes. Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .       Check one:
    available funds
                                         Funds will be available for distribution to unsecured creditors.
                                         After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of          1-49                                           1,000-5,000                               25,001-50,000
    creditors                    50-99                                                                                     50,001-100,000
                                                                                 5001-10,000
                                 100-199                                        10,001-25,000                             More than100,000
                                 200-999

15. Estimated Assets             $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion

16. Estimated liabilities        $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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                /s/ John E. Mitchell                        October 6, 2020
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                                           SCHEDULE 1




         Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

 On September 14, 2020, certain of the creditors of Examination Management Services, Inc.
 filed an involuntary petition against Debtor, Examination Management Services, Inc., under
 chapter 7 of title 11 of the United States Code (the “Involuntary Case”). The Involuntary Case
 is pending before the United States Bankruptcy Court for the Northern District of Texas at Case
 No. 20-32367-SGJ-7. No summons or answer has been filed in the Involuntary Case.

 On the date hereof, each of the entities listed below, including the Debtor in this chapter 7 case
 (collectively, the “Debtors”) filed a voluntary petition for relief under chapter 7 of title 11 of the
 United States Code in the United States Bankruptcy Court for the Northern District of Texas.

    1.   EMSI Holdco, Inc.
    2.   EMSI Acquisition, Inc.
    3.   EMSI Holding Company
    4.   Examination Management Services, Inc.
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                           Examination Management Services, Inc.

                      Omnibus Written Consent of the Sole Stockholder

                                 Effective as of October 6, 2020

        The undersigned (the “Stockholder”), being the sole stockholder of Examination
Management Services, Inc. (the “Company”), a Nevada corporation, acting pursuant to the laws
of the State of Nevada, does hereby consent in writing to the adoption of the following
resolutions in lieu of a meeting of the stockholders of the Company.

      WHEREAS, the Stockholder has considered the financial and operational conditions of
the Company’s business;

         WHEREAS, the Stockholder has determined to its reasonable satisfaction that the
revenues and the value of the Company’s remaining assets are insufficient to satisfy the
liabilities of the Company;

        RESOLVED, THEREFORE, that in the business judgment of the Stockholder after
consideration of the alternatives presented to it and the recommendations of senior management
of the Company and the advice of the Company’s professionals and advisors that it is in the best
interests of this Company, its creditors, and other interested parties, that a voluntary petition be
filed by the Company under the provisions of Chapter 7 of Title 11 of the United States Code
(the “Bankruptcy Code”); and it is

        FURTHER RESOLVED, that the Directors of the Company be, and they hereby are,
authorized to execute and file on behalf of the Company all petitions, schedules, lists and other
papers or documents, and to take any and all action which they deem necessary or proper to
obtain such relief; and it is

       FURTHER RESOLVED, that the Directors of the Company be, and they hereby are,
authorized and directed to employ the law firm of Pachulski, Stang, Ziehl & Jones LLP as
general bankruptcy counsel to the Company and Katten Muchin Rosenman LLP as Texas
bankruptcy counsel to represent and assist the Company in filing under Chapter 7 of the
Bankruptcy Code; and it is

       FURTHER RESOLVED, that any of the Directors of the Company are authorized,
empowered and directed to take any and all further action and to execute and deliver any and all
such further instruments and documents and to pay all such expenses (subject to Bankruptcy
Court approval), where necessary or appropriate in order to carry out fully the intent and
accomplish the purposes of the resolutions adopted herein; and it is
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Yelena E. Archiyan, (Texas Bar No. 24119035)
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Telephone: (302) 652-4100
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E-mail: ljones@pszjlaw.com

Counsel for the Debtor

                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

                                                              §
In re:                                                        §   Chapter 7
                                                              §
                                                              §
EXAMINATION MANAGEMENT                                        §   Case No. 20-________-
SERVICES, INC.,1                                              §
                                                              §
                                    Debtor.                   §

                              LIST OF EQUITY SECURITY HOLDERS

                                                                                   Percentage of
         Name                                   Address
                                                                                   Equity
                                                3050 Regent Blvd.
         EMSI Holding Company                   Suite 400                          100%
                                                Irving, TX 75063




1
 The Debtor’s last four digits of its taxpayer identification number are (4139). The headquarters and service
address for the above-captioned Debtor is 3050 Regent Blvd., Suite 400, Irving, TX 75063.
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Counsel for the Debtor

                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

                                                              §
In re:                                                        §   Chapter 7
                                                              §
                                                              §
EXAMINATION MANAGEMENT                                        §   Case No. 20-_________
SERVICES, INC.,1                                              §
                                                              §
                                    Debtor.                   §

                               CORPORATE OWNERSHIP STATEMENT

        Pursuant to rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure,
the following are corporations, other than a government unit, that directly or indirectly own 10%
or more of any class of the Debtor’s equity interest:


    Name                                 Address                            Percentage of Equity

                                         3050 Regent Blvd.
                                                                            100% of Examination
    EMSI Holding Company                 Suite 400
                                                                            Management Services, Inc.
                                         Irving, TX 75063


1
 The Debtor’s last four digits of its taxpayer identification number are (4139). The headquarters and service
address for the above-captioned Debtor is 3050 Regent Blvd., Suite 400, Irving, TX 75063.
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Counsel for the Debtor

                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

                                                              §
In re:                                                        §   Chapter 7
                                                              §
                                                              §
EXAMINATION MANAGEMENT                                        §   Case No. 20-__________
SERVICES, INC.,1                                              §
                                                              §
                                    Debtor.                   §



                            CERTIFICATION OF CREDITOR MATRIX


       Pursuant to Rule 1007-1 of the Local Bankruptcy Rules of the United States Bankruptcy
Court for the Northern District of Texas, the above-captioned debtor and its affiliated debtors in
possession (collectively, the “Debtors”) hereby certify that the Creditor Matrix submitted
contemporaneously herewith contains the names and addresses of the Debtors’ creditors. To the
best of the Debtors’ knowledge, the Creditor Matrix is complete, correct, and consistent with
Debtors’ books and records.




1
 The Debtor’s last four digits of its taxpayer identification number are (4139). The headquarters and service
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       The information contained herein is based upon a review of the Debtors’ books and
records as of the petition date. However, no comprehensive legal and/or factual investigations
with regard to possible defenses to any claims set forth in the Creditor Matrix have been
completed. Therefore, the listing does not, and should not, be deemed to constitute: (1) a waiver
of any defense to any listed claims; (2) an acknowledgement of the allowability of any listed
claims; and/or (3) a waiver of any other right or legal position of the Debtors.
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 Fill in this information to identify the case:

 Debtor name            Examination Management Services, Inc.

 United States Bankruptcy Court for the:                       NORTHERN DISTRICT OF TEXAS

 Case number (if known)
                                                                                                                                                                                     Check if this is an
                                                                                                                                                                                         amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                     12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                    $          172,013.26

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                       $      19,411,209.73

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                      $      19,583,222.99


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                    $      20,000,000.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                       $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                               +$        4,385,707.34


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                             $        24,385,707.34




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                   page 1
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 Fill in this information to identify the case:

 Debtor name         Examination Management Services, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF TEXAS

 Case number (if known)
                                                                                                                              Check if this is an
                                                                                                                                    amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                    12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
       Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                Current value of
                                                                                                                                    debtor's interest

 3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
            Name of institution (bank or brokerage firm)         Type of account                         Last 4 digits of account
                                                                                                         number


            3.1.   BMO Harris Bank                                          Checking                     1235                                    Unknown




            3.2.   Wells Fargo                                              Checking                     4451                                    Unknown




            3.3.   Wells Fargo                                              Checking                     4485                                    Unknown




            3.4.   Wells Fargo                                              Checking                     4477                                    Unknown




            3.5.   Wells Fargo                                              Checking                     9242                                    Unknown




            3.6.   Wells Fargo                                              Checking                     9316                                    Unknown




            3.7.   Wells Fargo                                              Checking                     8491                                    Unknown

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                          page 1
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 Debtor            Examination Management Services, Inc.                                     Case number (If known)
                   Name




            3.8.     Wells Fargo                                            Checking                         9261                   Unknown




            3.9.     Wells Fargo                                            Checking                         9276                   Unknown



            3.10
            .    Wells Fargo                                                Checking                         4469                   Unknown



            3.11
            .    Wells Fargo                                                Checking                         4493                   Unknown



            3.12
            .    Wells Fargo                                                CD                               N/A                $600,281.00



 4.         Other cash equivalents (Identify all)

 5.         Total of Part 1.                                                                                                  $600,281.00
            Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:           Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.
 7.         Deposits, including security deposits and utility deposits
            Description, including name of holder of deposit


            7.1.     AMLI at Escena -Security Deposit                                                                               $1,327.00




            7.2.     BHS, LLC - Security Deposit                                                                                    $3,200.00




            7.3.     Don Floberg dba Broadwater Square - Security Deposit                                                           $1,232.00




            7.4.     Guardian Properties of College Ave., LLC - Security Deposit                                                    $1,300.00




            7.5.     RVC Associates, LP - Security Deposit                                                                          $4,000.00




            7.6.     St. John Properties - Security Deposit                                                                         $1,451.75
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                           page 2
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 Debtor           Examination Management Services, Inc.                                      Case number (If known)
                  Name




           7.7.    Pajama Properties - Security Deposit                                                                             $3,401.53




           7.8.    Bay West Tampa Investors                                                                                         $2,215.97




           7.9.    Brookmat Corporation - Security Deposit                                                                          $3,940.00



           7.10
           .    Davenport / Lucas Living Trust - Security Deposit                                                                   $2,146.00



           7.11
           .    Hudson Ventures, LP - Security Deposit                                                                              $3,066.00



           7.12
           .    GIJV OH LLC (Rreef American) Kemper Fairfield - Security Deposit                                                    $2,453.10



           7.13
           .    Causeway Partners, LLC - Security Deposit                                                                           $1,819.43



           7.14
           .    Brass Centerview Holding - Security Deposit                                                                         $2,114.91



           7.15
           .    Norman & Nowain LLC - Security Deposit                                                                              $4,906.20



           7.16
           .    Lakeside Center, LLC - Security Deposit                                                                             $2,115.95



           7.17
           .    11717 LLC - Security Deposit                                                                                        $9,000.00



           7.18
           .    Heritage Place/ Advanced Reality Deposit - Security Deposit                                                         $3,739.58



           7.19
           .    Franz Family Properties - Security Deposit                                                                          $5,000.00



           7.20
           .    PS Business Park - Security Deposit                                                                               $44,773.44
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                           page 3
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 Debtor            Examination Management Services, Inc.                                       Case number (If known)
                   Name




            7.21
            .    Glen Eagles Country Club - Club Deposit                                                                              $31,500.00



            7.22
            .    Tokio Marine HCC Surety Group - Collateral Security for Airports                                                   $100,000.00



            7.23
            .    Taxconnex - Initial Refundable Deposit                                                                                 $1,000.00



            7.24
            .    Clark County - Security Deposit                                                                                        $5,000.00



 8.         Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
            Description, including name of holder of prepayment


            8.1.     Prepaid Insurance                                                                                               $368,672.37




            8.2.     Prepaid postage                                                                                                  $18,439.75




            8.3.     Other prepayments (maintenance agreements, prepaid confrence attendance)                                       $834,565.26




 9.         Total of Part 2.                                                                                                    $1,462,380.24
            Add lines 7 through 8. Copy the total to line 81.

 Part 3:           Accounts receivable
10. Does the debtor have any accounts receivable?

       No. Go to Part 4.
       Yes Fill in the information below.
 11.        Accounts receivable
            11a. 90 days old or less:                       11,635,609.23    -                        139,013.00 = ....           $11,496,596.23
                                              face amount                        doubtful or uncollectible accounts




            11b. Over 90 days old:                              544,285.24   -                        31,644.00 =....               $512,641.24
                                              face amount                        doubtful or uncollectible accounts



 12.        Total of Part 3.                                                                                                   $12,009,237.47
            Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:           Investments

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                               page 4
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 Debtor         Examination Management Services, Inc.                                            Case number (If known)
                Name

13. Does the debtor own any investments?

     No.    Go to Part 5.
     Yes Fill in the information below.

 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

     No. Go to Part 6.
     Yes Fill in the information below.
           General description                        Date of the last           Net book value of      Valuation method used    Current value of
                                                      physical inventory         debtor's interest      for current value        debtor's interest
                                                                                 (Where available)

 19.       Raw materials

 20.       Work in progress

 21.       Finished goods, including goods held for resale
           Medical testing supplies                                                       $96,711.00                                       $96,711.00



 22.       Other inventory or supplies
           Medical testing supplies                                                      $219,364.00                                      $219,364.00



 23.       Total of Part 5.                                                                                                           $316,075.00
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
            No
            Yes
 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
            No
            Yes. Book value                                         Valuation method                        Current Value

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
            No
            Yes
 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

     No.    Go to Part 7.
     Yes Fill in the information below.

 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

     No. Go to Part 8.
     Yes Fill in the information below.
           General description                                                   Net book value of      Valuation method used    Current value of
                                                                                 debtor's interest      for current value        debtor's interest
                                                                                 (Where available)

 39.       Office furniture

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                    page 5
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 Debtor         Examination Management Services, Inc.                                         Case number (If known)
                Name

           Furniture & Fixtures - See Attachment B.39 for
           details                                                                    $17,708.16                                       $17,708.16



 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           Medical Equipment - See Attachment B.41 for
           details                                                                    $61,207.17                                       $61,207.17


           Office Equipment - See Attachment B.41 for
           details                                                                    $44,807.60                                       $44,807.60


           Computer Equipment - See Attachment B.41
           for details                                                             $1,020,778.54                                    $1,020,778.54


           Computer Software - See Attachment B.41 for
           details                                                                 $3,876,037.97                                    $3,876,037.97



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                        $5,020,539.44
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
            No
            Yes
 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
            No
            Yes
 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

     No. Go to Part 9.
     Yes Fill in the information below.
           General description                                                Net book value of      Valuation method used   Current value of
           Include year, make, model, and identification numbers              debtor's interest      for current value       debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

           47.1.     Auto                                                               $2,129.51                                        $2,129.51


           47.2.     Alcohol Testing Equipment                                           $567.07                                           $567.07



 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 6
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 Debtor         Examination Management Services, Inc.                                         Case number (If known)
                Name

 49.        Aircraft and accessories


 50.        Other machinery, fixtures, and equipment (excluding farm
            machinery and equipment)

 51.        Total of Part 8.                                                                                                            $2,696.58
            Add lines 47 through 50. Copy the total to line 87.

 52.        Is a depreciation schedule available for any of the property listed in Part 8?
             No
             Yes
 53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
             No
             Yes
 Part 9:        Real property
54. Does the debtor own or lease any real property?

     No. Go to Part 10.
     Yes Fill in the information below.
 55.        Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

            Description and location of                   Nature and          Net book value of        Valuation method used   Current value of
            property                                      extent of           debtor's interest        for current value       debtor's interest
            Include street address or other               debtor's interest   (Where available)
            description such as Assessor                  in property
            Parcel Number (APN), and type
            of property (for example,
            acreage, factory, warehouse,
            apartment or office building, if
            available.
            55.1.
                     Leashold
                     imporvements                                                    $172,013.26                                         $172,013.26




 56.        Total of Part 9.                                                                                                           $172,013.26
            Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
            Copy the total to line 88.

 57.        Is a depreciation schedule available for any of the property listed in Part 9?
             No
             Yes
 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
             No
             Yes
 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

     No. Go to Part 11.
     Yes Fill in the information below.
            General description                                               Net book value of        Valuation method used    Current value of
                                                                              debtor's interest        for current value        debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                     page 7
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 Debtor         Examination Management Services, Inc.                                        Case number (If known)
                Name

            Trademarks                                                             $2,152,417.83                                        Unknown



 61.        Internet domain names and websites
            Internet domain names - See Attachment B.61
            for details                                                                Unknown                                          Unknown



 62.        Licenses, franchises, and royalties
            Hewlett Packard licenses                                                 $137,422.19                                        Unknown


            Velo Cloud licenses                                                       $71,108.19                                        Unknown



 63.        Customer lists, mailing lists, or other compilations
            Customer network and relationship                                        $606,204.86                                        Unknown



 64.        Other intangibles, or intellectual property

 65.        Goodwill

 66.        Total of Part 10.                                                                                                              $0.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
             No
             Yes
 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
             No
             Yes
 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
             No
             Yes
 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

     No.    Go to Part 12.
     Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                               page 8
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 Debtor          Examination Management Services, Inc.                                                               Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                          $600,281.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                             $1,462,380.24

 82. Accounts receivable. Copy line 12, Part 3.                                                               $12,009,237.47

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                             $316,075.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                      $5,020,539.44

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                        $2,696.58

 88. Real property. Copy line 56, Part 9.........................................................................................>                        $172,013.26

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                       $19,411,209.73             + 91b.              $172,013.26


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $19,583,222.99




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                            page 9
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Examination Management Services, Inc.                                      5/31/2020
Attachment B.39
Furniture & Fixtures

                                                                                                                                                                                                          Monthly
                                                                           Useful Life in
                                                          Date Placed in                                                                                                            Fully Depreciated?   Depreciation
                                                                             Months
Asset Description                                         Service                           GL Account         Cost Basis          Monthly Depreciation    Months Depreciated             (Y/N)           Expense           Accum Depr            NBV               D   DISPOSAL COST      ACCUM DEPR         NBV After Disposals

BOARD RM FURNITURE-10005892                                  11/03/2015         24            15010                     1,428.63                   59.53                   24               Y                           -            1,428.63                0.00                                                            0.00
SALES/MARKETING EXHIBITS-10006650                            11/03/2015         24            15010                     4,706.06                  196.09                   24               Y                           -            4,706.06                0.00                                                            0.00
WORKSTATIONS-10010513                                        11/03/2015         24            15010                     4,966.58                  206.94                   24               Y                           -            4,966.58                0.00                                                            0.00
WORKSTATIONS-10010745                                        11/03/2015         24            15010                     4,966.58                  206.94                   24               Y                           -            4,966.58                0.00                                                            0.00
FURN & FIX - GREENSBORO-10013036                             11/03/2015         24            15010                     1,857.21                   77.38                   24               Y                           -            1,857.21                0.00                                                            0.00
FURN & FIX - DALLAS-10014005                                 11/03/2015         24            15010                     4,697.66                  195.74                   24               Y                           -            4,697.66                0.00   D           4,697.66           4,697.66                  0.00
PEDESTAL CREDENZA-10014408                                   11/03/2015         24            15010                     1,294.17                   53.92                   24               Y                           -            1,294.17                0.00                                                            0.00
BOARDROOM FURNITURE-10014410                                 11/03/2015         24            15010                     2,554.72                  106.45                   24               Y                           -            2,554.72                0.00                                                            0.00
PEDESTAL CREDENZA-10014427                                   11/03/2015         24            15010                     1,184.92                   49.37                   24               Y                           -            1,184.92                0.00                                                            0.00
WILSON FURNITURE SUITE 100-10014429                          11/03/2015         24            15010                   17,815.81                   742.33                   24               Y                           -           17,815.81                0.00                                                            0.00
TRADESHOW BOOTH UPGRADES-10014566                            11/03/2015         24            15010                     6,143.09                  255.96                   24               Y                           -            6,143.09                0.00   D           6,143.09           6,143.09                  0.00
TRADESHOW PANELS-10015705                                    11/03/2015         24            15010                     8,218.80                  342.45                   24               Y                           -            8,218.80                0.00   D           8,218.80           8,218.80                  0.00
FURN & FIX - FT LAUDERDALE-10016687                          11/03/2015         24            15010                     1,781.58                   74.23                   24               Y                           -            1,781.58                0.00   D           1,781.58           1,781.58                  0.00
NEW VOICE/DATA CABLING & INSTALLATION-10017922               11/03/2015         24            15010                     2,092.52                   87.19                   24               Y                           -            2,092.52                0.00                                                            0.00
PHONE & NETWORK CABLING-10018085                             11/03/2015         24            15010                     4,613.62                  192.23                   24               Y                           -            4,613.62                0.00                                                            0.00
JAX CUBICLE BUILDOUT-10018911                                11/03/2015         24            15010                   28,572.52                 1,190.52                   24               Y                           -           28,572.52                0.00                                                           (0.00)
TRADE SHOW BOOTH-10019227                                    11/03/2015         24            15010                   16,555.25                   689.80                   24               Y                           -           16,555.25                0.00   D          16,555.25          16,555.25                  0.00
ARTWORK FOR EXEC OFFICES-10014785                            11/03/2015         24            15010                     2,252.19                   93.84                   24               Y                           -            2,252.19                0.00                                                            0.00
IMAGING WORK BENCH IRVING WDS ENVIRONMENT-10019512           02/29/2016         24            15010                     1,016.82                   42.37                   24               Y                           -            1,016.82                0.00                                                            0.00
SUITE 200 OFFICE SETUP - DESK, BOOKSHELF, FILE-10026949      05/02/2016         24            15010                     1,295.88                   54.00                   24               Y                           -            1,295.88                0.00                                                            0.00
JACKSONVILLE TRAINING ROOM FURNITURE-10026958                05/27/2016         24            15010                     2,313.14                   96.38                   24               Y                           -            2,313.14                0.00                                                            0.00
JACKSONVILLE TRAINING RM TABLE-10026963                      06/03/2016         24            15010                     2,313.14                   96.38                   24               Y                           -            2,313.14                0.00                                                            0.00
RIGHT TO KNOW BOARDS-10026991                                07/31/2016         24            15010                     3,659.72                  152.49                   24               Y                           -            3,659.72                0.00                                                            0.00
20 CHAIRS STE 200-10027007                                   09/15/2016         24            15010                     4,977.69                  207.40                   24               Y                           -            4,977.69                0.00                                                            0.00
Payroll Dept Furniture-10043025                              06/30/2017         84            15010                     2,041.42                   24.30                   35               N                     24.30                  850.59          1,190.83                                                        1,190.83
ITP-FY18-0238 Facilities-10045039                            07/31/2017         84            15010                     2,050.93                   24.42                   34               N                     24.42                  830.14          1,220.79                                                        1,220.79
Lobby Chairs                                                 01/03/2018         84            15010                     1,541.44                   18.35                   29               N                     18.35                  532.16          1,009.28                                                        1,009.28
Office Chairs                                                01/15/2018         84            15010                     2,394.00                   28.50                   29               N                     28.50                  826.50          1,567.50                                                        1,567.50
Luna Road Furniture                                          02/28/2018         84            15010                     9,839.40                  117.14                   27               N                    117.14              3,162.66            6,676.74                                                        6,676.74
15 Chairs for Jacksonville                                   03/05/2018         84            15010                     3,855.34                   45.90                   27               N                     45.90              1,239.22            2,616.12                                                        2,616.12
2-EMSI CHAIR QUOTE BROOKLYN CENTER,MN                        03/31/2020         84            15010                     3,510.49                   41.79                        2           N                     41.79                   83.58          3,426.91                                                        3,426.91


15010 TOTAL - FURNITURE & FIXTURES                                                                                   156,511.32                                                                                   300.39           138,803.16           17,708.16   T          37,396.38          37,396.38             17,708.16
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Examination Management Services, Inc.                                5/31/2020
Attachment B.41
Office Equipment, Medical Equipment, Computer Equipment and Software

                                                                                                                                                                                                             Monthly
                                                                                Useful Life in
                                                               Date Placed in                                                                                                          Fully Depreciated?   Depreciation
                                                                                  Months
Asset Description                                              Service                           GL Account         Cost Basis            Monthly Depreciation    Months Depreciated         (Y/N)           Expense          Accum Depr            NBV              D   DISPOSAL COST   ACCUM DEPR   NBV After Disposals

LIFESPIN CENTRIFUGE (6) - MEMPHIS BRANCH-10019364                 12/02/2015         60            15020                         754.20                   12.57                   54           N                     12.57                 678.78           75.42                                                   75.42
CMS 80A HH ECG, LIFESPIN CENTRIFUGE - COLTON BRANCH-10019366      12/02/2015         60            15020                         548.89                    9.15                   54           N                       9.15                494.00           54.89                                                   54.89
CMS 80A HH ECG, LIFESPIN CENTRIFUGE (2) - SAN DIEGO-10019367      12/02/2015         60            15020                         713.63                   11.89                   54           N                     11.89                 642.27           71.36                                                   71.36
CMS 80A HH ECG (2) - SEATTLE BRANCH-10019368                      12/02/2015         60            15020                         682.24                   11.37                   54           N                     11.37                 614.02           68.22                                                   68.22
CMS80 HH ECG (2), LIFESPIN CENTRIFUGE (2) - HOUSTON-10019369      12/02/2015         60            15020                         974.70                   16.25                   54           N                     16.25                 877.23           97.47                                                   97.47
CMS 80A HH ECG (2) - BALTIMORE BRANCH-10019370                    12/02/2015         60            15020                         674.54                   11.24                   54           N                     11.24                 607.09           67.45                                                   67.45
CMS 80A HH ECG, LIFESPIN CENTRIFUGE (2) --10019371                12/02/2015         60            15020                         644.59                   10.74                   54           N                     10.74                 580.13           64.46                                                   64.46
LIFESPIN CENTRIFUGRE (6) - CINCINNATI BRANCH-10019365             12/05/2015         60            15020                         753.20                   12.55                   54           N                     12.55                 677.88           75.32                                                   75.32
LIFESPIN CENTRIFUGE (2) - MEMPHIS-10019432                        01/06/2016         60            15020                         300.69                    5.01                   53           N                       5.01                265.61           35.08                                                   35.08
LIFESPIN CENTRIFUGE (2) - COLTON-10019433                         01/06/2016         60            15020                         336.56                    5.61                   53           N                       5.61                297.29           39.27                                                   39.27
CMS80A HH ECG (2) - OKLAHOMA CITY-10019434                        01/06/2016         60            15020                         734.20                   12.24                   53           N                     12.24                 648.54           85.66                                                   85.66
CMS80A HH ECG (2) & LIFESPIN CENTRIFUGE (3)--10019435             01/06/2016         60            15020                     1,259.72                     21.00                   53           N                     21.00             1,112.75            146.97                                                  146.97
CMS 80A HAND HELD ECG - MEMPHIS-10019444                          02/08/2016         60            15020                         345.76                    5.76                   52           N                       5.76                299.66           46.10                                                   46.10
CMS 80A HAND HELD ECG (2) - INDIANAPOLIS-10019445                 02/08/2016         60            15020                         675.31                   11.26                   52           N                     11.26                 585.27           90.04                                                   90.04
CMS 80A HAND HELD ECG (2) - OKLAHOMA CITY-10019446                02/08/2016         60            15020                         746.21                   12.44                   52           N                     12.44                 646.72           99.49                                                   99.49
CMS 80A HAND HELD ECG (2) - SAN ANTONIO-10019447                  02/08/2016         60            15020                         675.31                   11.26                   52           N                     11.26                 585.27           90.04                                                   90.04
CMS 80A HAND HELD ECG (2), LIFESPIN CENTRIFUGE (2)-10019448       02/08/2016         60            15020                         979.86                   16.33                   52           N                     16.33                 849.21          130.65                                                  130.65
CMS 80A HAND HELD ECG (2), LIFESPIN CENTRIFUGE (4)-10019449       02/08/2016         60            15020                     1,266.73                     21.11                   52           N                     21.11             1,097.83            168.90                                                  168.90
4.CMS 80A HAND HELD ECG (3), LIFESPIN CENTRIFUGE-10019450         02/08/2016         60            15020                     1,638.76                     27.31                   52           N                     27.31             1,420.26            218.50                                                  218.50
CMS 80A HAND HELD ECG (2) - GLENBURNIE-10019451                   02/08/2016         60            15020                         675.31                   11.26                   52           N                     11.26                 585.27           90.04                                                   90.04
CMS 80A HAND HELD ECG (2), LIFESPIN CENTRIFUGE (2)-10019452       02/08/2016         60            15020                         969.22                   16.15                   52           N                     16.15                 839.99          129.23                                                  129.23
CMS 80A HAND HELD ECG (4), LIFESPIN CENTRIFUGE (6)-10019453       02/08/2016         60            15020                     2,230.77                     37.18                   52           N                     37.18             1,933.33            297.44                                                  297.44
CMS 80A HAND HELD ECG (2), LIFESPIN CENTRIFUGE (4)-10019454       02/08/2016         60            15020                     1,348.08                     22.47                   52           N                     22.47             1,168.34            179.74                                                  179.74
CMS 80A HAND HELD ECG (3) - PITTSBURGH-10019455                   02/08/2016         60            15020                     1,092.01                     18.20                   52           N                     18.20                 946.41          145.60                                                  145.60
CMS 80A HAND HELD ECG (2) - COLTON-10019464                       02/08/2016         60            15020                         736.46                   12.27                   52           N                     12.27                 638.27           98.19                                                   98.19
CMS 80A HAND HELD ECG (2) - SAN ANTONIO 199-10019509              02/11/2016         60            15020                         675.31                   11.26                   52           N                     11.26                 585.27           90.04                                                   90.04
LIFESPIN 6D CENTRIFUGE - WEST DES MOINES 144-10019508             02/23/2016         60            15020                         154.55                    2.58                   51           N                       2.58                131.37           23.18                                                   23.18
LIFESPIN 6D CENTRIFUGE (3) - OKC 252-10019510                     02/25/2016         60            15020                         496.91                    8.28                   51           N                       8.28                422.37           74.54                                                   74.54
CMS 80A HH ECG (5) - Oakland-10026939                             05/10/2016         60            15020                     1,825.53                     30.43                   49           N                     30.43             1,490.85            334.68                                                  334.68
CMS 80 HH ECG (3) - OAKLAND 762-10026951                          05/10/2016         60            15020                     1,095.32                     18.26                   49           N                     18.26                 894.51          200.81                                                  200.81
CMS 80 HH ECG (2) - BALTIMORE 779-10026950                        05/11/2016         60            15020                         675.24                   11.25                   49           N                     11.25                 551.45          123.79                                                  123.79
CMS80A HH ECG - HOUSTON 4-10026952                                05/11/2016         60            15020                         345.01                    5.75                   49           N                       5.75                281.76           63.25                                                   63.25
CMS 80A HH ECG (2)-10026953                                       05/11/2016         60            15020                         715.75                   11.93                   49           N                     11.93                 584.53          131.22                                                  131.22
CMS80 HH ECG - TAMPA-10026954                                     05/11/2016         60            15020                         342.28                    5.70                   49           N                       5.70                279.53           62.75                                                   62.75
CMS 80A HH ECG (2)- OK CITY 252-10026955                          05/11/2016         60            15020                         734.08                   12.23                   49           N                     12.23                 599.50          134.58                                                  134.58
CMS 80A HAND HELD ECG-10026966                                    05/26/2016         60            15020                         677.32                   11.29                   48           N                     11.29                 541.86          135.46                                                  135.46
CMS 80A HAND HELD ECG-10026967                                    05/26/2016         60            15020                         677.32                   11.29                   48           N                     11.29                 541.86          135.46                                                  135.46
CMS 80A HAND HELD ECG-10026968                                    05/26/2016         60            15020                         832.72                   13.88                   48           N                     13.88                 666.18          166.54                                                  166.54
HAND HELD ECG AND CENTRIFUGE-10026975                             05/26/2016         60            15020                         977.41                   16.29                   48           N                     16.29                 781.93          195.48                                                  195.48
LIFESPIN 6D CENTRIFUGE (5) - OAKLAND-10026940                     05/31/2016         60            15020                         857.29                   14.29                   48           N                     14.29                 685.83          171.46                                                  171.46
LIFESPIN 6D CENTRIFUGE - DALLAS-10026971                          06/03/2016         60            15020                     1,462.59                     24.38                   48           N                     24.38             1,170.07            292.52                                                  292.52
HAND HELD ECG - GARDENA-10026969                                  06/08/2016         60            15020                     1,292.99                     21.55                   48           N                     21.55             1,034.39            258.60                                                  258.60
CMS 90A HAND HELC ECG-10026965                                    06/09/2016         60            15020                         720.85                   12.01                   48           N                     12.01                 576.68          144.17                                                  144.17
LIFESPIN 6D CENTRIFUGE-10026964                                   06/13/2016         60            15020                         495.44                    8.26                   48           N                       8.26                396.35           99.09                                                   99.09
LIFESPIN GD CENTRIFUGE - TAMPA-10026972                           06/23/2016         60            15020                     1,195.23                     19.92                   47           N                     19.92                 936.26          258.97                                                  258.97
LIFESPIN 6D CENTRIFUGE - GREENSBORO-10026973                      06/23/2016         60            15020                         966.55                   16.11                   47           N                     16.11                 757.13          209.42                                                  209.42
LIFESPIN 6D CENTRIFUGE - JACKSONVILLE-10026974                    06/23/2016         60            15020                     1,565.39                     26.09                   47           N                     26.09             1,226.22            339.17                                                  339.17
LIFESPIN 6D CENTRIFUGE - OAKLAND-10026976                         06/23/2016         60            15020                     1,096.96                     18.28                   47           N                     18.28                 859.29          237.67                                                  237.67
HANDHELD ECG - 5- COLUMBIA SC-10026995                            08/15/2016         60            15020                     1,690.95                     28.18                   46           N                     28.18             1,296.40            394.56                                                  394.56
LIFESPIN 6D CENTRIFUGE - 5-10027012                               10/18/2016         60            15020                         765.80                   12.76                   43           N                     12.76                 548.82          216.98                                                  216.98
HANDHELD ECG (3)-10027014                                         10/26/2016         60            15020                     1,011.99                     16.87                   43           N                     16.87                 725.26          286.73                                                  286.73
CMS HANDHELD ECG (2)-10027039                                     11/30/2016         60            15020                         677.91                   11.30                   42           N                     11.30                 474.54          203.37                                                  203.37
LIFESPIN CENTRIFUGE (6)-10027040                                  11/30/2016         60            15020                     1,934.51                     32.24                   42           N                     32.24             1,354.16            580.35                                                  580.35
HAND HELD ECG (3)-10028027                                        12/28/2016         60            15020                     1,462.31                     24.37                   41           N                     24.37                 999.25          463.06                                                  463.06
HAND HELD ECG - 4-10028032                                        12/31/2016         60            15020                     1,641.78                     27.36                   41           N                     27.36             1,121.88            519.90                                                  519.90
HAND HELD EGG (2)-10029030                                        01/27/2017         60            15020                         672.14                   11.20                   40           N                     11.20                 448.09          224.05                                                  224.05
4 CENTRIFUGES-10031028                                            02/16/2017         60            15020                         605.42                   10.09                   39           N                     10.09                 393.52          211.90                                                  211.90
2 HAND HELD EGG-10031029                                          02/16/2017         60            15020                         666.93                   11.12                   39           N                     11.12                 433.50          233.43                                                  233.43
INTOXIMETERS - EBT'S-10034026                                     03/22/2017         60            15020                     1,789.56                     29.83                   38           N                     29.83             1,133.39            656.17                                                  656.17
3 CENTRIFUGES/1 HAND HELD ECG-10034027                            03/22/2017         60            15020                         891.55                   14.86                   38           N                     14.86                 564.65          326.90                                                  326.90
2 HAND HELD ECG-10034028                                          03/22/2017         60            15020                         674.15                   11.24                   38           N                     11.24                 426.96          247.19                                                  247.19
5 CENTRIFUGES & 5 HAND HELD ECG-10035026                          03/29/2017         60            15020                     2,735.86                     45.60                   38           N                     45.60             1,732.71           1,003.15                                               1,003.15
5 CENTRIFUGES-10035027                                            03/29/2017         60            15020                         761.06                   12.68                   38           N                     12.68                 482.00          279.06                                                  279.06
2 CENTRIFUGES & 3 HAND HELD ECG                                   04/30/2017         60            15020                     1,324.58                     22.08                   37           N                     22.08                 816.82          507.76                                                  507.76
2 BOND DENSITY SCANNERS                                           05/31/2017         60            15020                   16,150.00                     269.17                   36           N                    269.17             9,690.00           6,460.00                                               6,460.00
EBT Machine with docking station                                  06/30/2017         60            15020                     1,778.35                     29.64                   35           N                     29.64             1,037.37            740.98                                                  740.98
EBT Machine with docking station                                  08/30/2017         60            15020                     1,778.35                     29.64                   33           N                     29.64                 978.09          800.26                                                  800.26
2 0078-Greensboro                                                 08/30/2017         60            15020                         495.99                    8.27                   33           N                       8.27                272.79          223.20                                                  223.20
2 0078-Greensboro                                                 08/30/2017         60            15020                         495.99                    8.27                   33           N                       8.27                272.79          223.20                                                  223.20
2 0078-Greensboro                                                 09/27/2017         60            15020                         495.98                    8.27                   32           N                       8.27                264.52          231.46                                                  231.46
Billings Branch 774 Medical Equipment                             09/26/2017         60            15020                     4,986.00                     83.10                   32           N                     83.10             2,659.20           2,326.80                                               2,326.80
Equipment Intoximeters                                            09/27/2017         60            15020                     1,805.37                     30.09                   32           N                     30.09                 962.86          842.51                                                  842.51




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                                                                                                                                                                                                              Monthly
                                                                                    Useful Life in
                                                                   Date Placed in                                                                                                       Fully Depreciated?   Depreciation
                                                                                      Months
Asset Description                                                  Service                           GL Account         Cost Basis          Monthly Depreciation  Months Depreciated          (Y/N)           Expense          Accum Depr          NBV               D   DISPOSAL COST       ACCUM DEPR         NBV After Disposals
Tampa 0355 - Medical Equipment                                        09/27/2017         60            15020                     3,556.68                   59.28                  32           N                      59.28            1,896.90          1,659.78                                                         1,659.78
Seattle Branch 014 Medical Equipment                                 09/27/2017          60            15020                    3,513.42                   58.56                  32            N                     58.56             1,873.82          1,639.60                                                         1,639.60
2- SO-0106670                                                        01/11/2018          60            15020                    1,790.82                   29.85                  29            N                     29.85               865.56           925.26                                                           925.26
MEDICAL EQUIPMENT                                                    01/30/2018          60            15020                    1,805.34                   30.09                  28            N                     30.09               842.49           962.85                                                           962.85
MEDICAL DEVICES                                                      01/11/2018          60            15020                    1,840.70                   30.68                  29            N                     30.68               889.67           951.03                                                           951.03
MEDICAL EQUIPMENT                                                    01/12/2018          60            15020                    5,484.60                   91.41                  29            N                     91.41             2,650.89          2,833.71                                                         2,833.71
MEDICAL EQUIPMENT                                                    03/14/2018          60            15020                    9,078.68                  151.31                  27            N                    151.31             4,085.41          4,993.27                                                         4,993.27
Intoximeters Branch 774                                              03/04/2018          60            15020                    3,324.00                   55.40                  27            N                     55.40             1,495.80          1,828.20                                                         1,828.20
Intoximeters Branch 14 Seattle                                       03/14/2018          60            15020                    5,484.62                   91.41                  27            N                     91.41             2,468.08          3,016.54                                                         3,016.54
PORTLAND 10-MAY-18                                                   05/10/2018          60            15020                    3,603.23                   60.05                  25            N                     60.05             1,501.35          2,101.88                                                         2,101.88
ITP-FY19-004-1 BRANCH MEDICAL DEVICES                                02/28/2019          60            15020                    5,270.00                   87.83                  15            N                     87.83             1,317.50          3,952.50                                                         3,952.50
ITP-FY19-0004-2 BRANCH MEDICAL DEVICES                               02/28/2019          60            15020                    2,332.53                   38.88                  15            N                     38.88               583.13          1,749.40                                                         1,749.40
ITP-FY19-0004-1 Branch Medical Devices - Seattle, WA - Branch 14     03/31/2019          60            15020                    5,270.11                   87.84                  14            N                     87.84             1,229.69          4,040.42                                                         4,040.42
0138 - FY20 CapEx Purchase (In Service Upon Purchase)                04/30/2020          60            15020                    5,899.73                   98.33                   1            N                     98.33                98.33          5,801.40                                                         5,801.40




15020 TOTAL - MEDICAL EQUIPMENT                                                                                               147,181.98                                                                            2,453.03           85,974.81         61,207.17   T                   0                 0              61,207.17


                                                                   Purchase Date                     GL Account                Cost Basis

2 INFOPRINT 70''S-10001911                                           11/03/2015          24            15030                    2,120.00                   88.33                  24            Y                         -             2,120.00              0.00                                                             0.00
AFICIO 551P PRINTER-10004643                                         11/03/2015          24            15030                    1,370.00                   57.08                  24            Y                         -             1,370.00              0.00   D           1,370.00            1,370.00                  0.00
FREEDOM COMBO RECORDER SYSTEM-10005816                               11/03/2015          24            15030                    1,370.00                   57.08                  24            Y                         -             1,370.00              0.00                                                             0.00
LUCENT/AVAYA PHONE SWITCH-10005922                                   11/03/2015          24            15030                    5,460.00                  227.50                  24            Y                         -             5,460.00              0.00                                                             0.00
VIDEO CONF EQUIP-3050 REGENT-10005937                                11/03/2015          24            15030                    1,230.00                   51.25                  24            Y                         -             1,230.00              0.00                                                             0.00
HYLAFAX ENTERPRISE EDITION-10007615                                  11/03/2015          24            15030                    3,950.00                  164.58                  24            Y                         -             3,950.00              0.00                                                             0.00
64 PORT VRS SMART TAP CARD-10007618                                  11/03/2015          24            15030                    1,670.00                   69.58                  24            Y                         -             1,670.00              0.00                                                             0.00
TRADESHOW BOOTH 10FT FERRO-10008335                                  11/03/2015          24            15030                    1,440.00                   60.00                  24            Y                         -             1,440.00              0.00   D           1,440.00            1,440.00                  0.00
KODAK i1420 SCANNERS-10009035                                        11/03/2015          24            15030                    2,330.00                   97.08                  24            Y                         -             2,330.00              0.00                                                             0.00
KODAK SCANNER-10009217                                               11/03/2015          24            15030                    1,000.00                   41.67                  24            Y                         -             1,000.00              0.00                                                             0.00
NEW PHONE SYSTEM-10009834                                            11/03/2015          24            15030                    1,020.00                   42.50                  24            Y                         -             1,020.00              0.00   D           1,020.00            1,020.00                  0.00
TELECOM - HW - RECORDER UPGRADE-10010114                             11/03/2015          24            15030                    1,620.00                   67.50                  24            Y                         -             1,620.00              0.00                                                             0.00
PHONE SYSTEM PERFORMANCE IMPROVEMENTS-10010374                       11/03/2015          24            15030                    1,390.00                   57.92                  24            Y                         -             1,390.00              0.00                                                             0.00
VIDEOCONFERENCING EQUIPMENT-10011041                                 11/03/2015          24            15030                    2,410.00                  100.42                  24            Y                         -             2,410.00              0.00                                                             0.00
VIDEO CONFERENCING SYSTEM-10011219                                   11/03/2015          24            15030                   15,800.00                  658.33                  24            Y                         -            15,800.00              0.00                                                             0.00
VIDEO CONFERENCING SYSTEM-10011221                                   11/03/2015          24            15030                    1,260.00                   52.50                  24            Y                         -             1,260.00              0.00                                                             0.00
PARTNER TELEPHONE SYSTEM-10011340                                    11/03/2015          24            15030                    1,950.00                   81.25                  24            Y                         -             1,950.00              0.00   D           1,950.00            1,950.00                  0.00
VIDEO CONFERENCING SYSTEM-10011517                                   11/03/2015          24            15030                    1,950.00                   81.25                  24            Y                         -             1,950.00              0.00                                                             0.00
AUDIO VISUAL EQUIPMENT-10012164                                      11/03/2015          24            15030                    1,450.00                   60.42                  24            Y                         -             1,450.00              0.00                                                             0.00
AVAYA PHONE SYSTEM-10012937                                          11/03/2015          24            15030                    1,200.00                   50.00                  24            Y                         -             1,200.00              0.00   D           1,200.00            1,200.00                  0.00
AUDIO VISUAL EQUIPMENT-10014572                                      11/03/2015          24            15030                    4,880.00                  203.33                  24            Y                         -             4,880.00              0.00                                                             0.00
AUDIO VISUAL EQUIPMENT-10014573                                      11/03/2015          24            15030                   12,800.00                  533.33                  24            Y                         -            12,800.00              0.00                                                             0.00
COMPRESSOR-10015585                                                  11/03/2015          24            15030                    3,700.00                  154.17                  24            Y                         -             3,700.00              0.00                                                             0.00
COMPRESSOR UNIT-10015766                                             11/03/2015          24            15030                    6,160.00                  256.67                  24            Y                         -             6,160.00              0.00                                                             0.00
Headset equipement-10017305                                          11/03/2015          24            15030                    1,640.00                   68.33                  24            Y                         -             1,640.00              0.00                                                             0.00
2 S6670 SCANNERS-10017346                                            11/03/2015          24            15030                   12,900.00                  537.50                  24            Y                         -            12,900.00              0.00                                                             0.00
PHONE SYSTEM INSTALLATION-10017446                                   11/03/2015          24            15030                    2,230.00                   92.92                  24            Y                         -             2,230.00              0.00                                                             0.00
VOICE & DATA CABLE INSTALLATION-10017550                             11/03/2015          24            15030                    1,510.00                   62.92                  24            Y                         -             1,510.00              0.00   D           1,510.00            1,510.00                  0.00
NEW PHONE SYSTEM-10017551                                            11/03/2015          24            15030                    1,670.00                   69.58                  24            Y                         -             1,670.00              0.00   D           1,670.00            1,670.00                  0.00
HVAC AC SYSTEM-10017817                                              11/03/2015          24            15030                   73,400.02                3,058.33                  24            Y                         -            73,400.02              0.00                                                             0.00
ROOM ALERT 32E SENSOR-10017876                                       11/03/2015          24            15030                    1,040.00                   43.33                  24            Y                         -             1,040.00              0.00                                                             0.00
BADGE ACCESS SYSTEM & INSTALLATION-10017901                          11/03/2015          24            15030                   19,000.01                  791.67                  24            Y                         -            19,000.01              0.00                                                             0.00
BURG ALARM SYSTEM-10018065                                           11/03/2015          24            15030                   11,000.00                  458.33                  24            Y                         -            11,000.00              0.00                                                             0.00
30 6408D PHONES-10018066                                             11/03/2015          24            15030                    1,290.00                   53.75                  24            Y                         -             1,290.00              0.00                                                             0.00
FILE CABINETS-10018203                                               11/03/2015          24            15030                    1,100.00                   45.83                  24            Y                         -             1,100.00              0.00                                                             0.00
HP ELITE DESK WITH CAMERA STATION-10018419                           11/03/2015          24            15030                    1,270.00                   52.92                  24            Y                         -             1,270.00              0.00                                                             0.00
HEADSETS (30)-10019031                                               11/03/2015          24            15030                    1,660.00                   69.17                  24            Y                         -             1,660.00              0.00                                                             0.00
HEADSETS (35)-10019033                                               11/03/2015          24            15030                    2,210.00                   92.08                  24            Y                         -             2,210.00              0.00                                                             0.00
PHONE & HEADSETS (26) - STAFF ADDITIONS UW & UHC-10019159            11/03/2015          24            15030                    1,500.00                   62.50                  24            Y                         -             1,500.00              0.00                                                             0.00
HC INFRASTRUCTURE FOR CALL CENTER (WACO TX)-10019164                 11/03/2015          24            15030                    2,850.00                  118.75                  24            Y                         -             2,850.00              0.00                                                             0.00
Board Room Mics (4), Antenna-10019173                                11/03/2015          24            15030                    2,000.00                   83.33                  24            Y                         -             2,000.00              0.00                                                             0.00
Plantronic Headsets (40) - staff additions US-10019236               11/03/2015          24            15030                    2,600.00                  108.33                  24            Y                         -             2,600.00              0.00                                                             0.00
Plantronic Headsets (25) - HC expansion-10019237                     11/03/2015          24            15030                    1,610.00                   67.08                  24            Y                         -             1,610.00              0.00                                                             0.00
AVAYA PHONES - US HEALTH PRU ROOM-10019239                           11/03/2015          24            15030                    3,550.00                  147.92                  24            Y                         -             3,550.00              0.00                                                             0.00
AVAYA PHONES (17) - WACO TRAINING ROOM-10019437                      01/08/2016          60            15030                    1,057.61                   17.63                  53            N                     17.63               934.22           123.39                                                           123.39
DLP XGA Projector - Waco Training Room-10019426                      01/31/2016          60            15030                    2,827.26                   47.12                  52            N                     47.12             2,450.29           376.97                                                           376.97
PHONES (30) - WACO TRAINING ROOM-10019440                            01/31/2016          60            15030                    1,703.11                   28.39                  52            N                     28.39             1,476.03           227.08                                                           227.08
SAMSUNG 40" LED TV & STAND - FOR TRADEBOOTH-10019513                 02/24/2016          60            15030                    1,108.75                   18.48                  51            N                     18.48               942.44           166.31                                                           166.31
ASUS ALL IN 1 TV 40" - CONFERENCES-10019516                          03/31/2016          60            15030                      659.82                   11.00                  50            N                     11.00               549.85           109.97                                                           109.97
ICE MACHINE-10028028                                                 12/29/2016          60            15030                    2,764.05                   46.07                  41            N                     46.07             1,888.77           875.28                                                           875.28
Security ID Badge Printer                                            06/30/2017          60            15030                      182.40                    3.04                  35            N                      3.04               106.40            76.00                                                             76.00
RICOH EQUIPMENT - JACKSONVILLE                                       04/30/2017          60            15030                   11,990.20                  199.84                  37            N                    199.84             7,393.96          4,596.24                                                         4,596.24
RICOH USA, INC PRINTERS                                              03/31/2019          36            15030                   62,601.31                1,738.93                  14            N                  1,738.93            24,344.95         38,256.36                                                        38,256.36




15030 TOTAL - OFFICE EQUIPMENT                                                                                                310,454.54                                                                            2,110.48          265,646.94         44,807.60   T          10,160.00           10,160.00             44,807.60




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                                                                                                                                                                                                             Monthly
                                                                                Useful Life in
                                                               Date Placed in                                                                                                          Fully Depreciated?   Depreciation
                                                                                  Months
Asset Description                                              Service                           GL Account         Cost Basis            Monthly Depreciation    Months Depreciated         (Y/N)           Expense           Accum Depr            NBV          D   DISPOSAL COST     ACCUM DEPR         NBV After Disposals
                                                               Purchase Date                     GL Account                Cost Basis

BACKUP TAPE CARTRIDGES-10014913                                   11/03/2015         18            15050                     1,042.81                     57.93                   18           Y                           -            1,042.81           0.00                                                           0.00
CISCO CATALYST SWITCHES-10014990                                  11/03/2015         19            15050                     3,218.68                    169.40                   19           Y                           -            3,218.68           0.00                                                           0.00
EQUIP - S2 IMAGING PHASE 3-10014576                               11/03/2015         20            15050                   14,940.31                     747.02                   20           Y                           -           14,940.31           0.00                                                           0.00
BACKUP TAPE CARTRIDGES-10015245                                   11/03/2015         20            15050                     1,383.73                     69.19                   20           Y                           -            1,383.73           0.00                                                           0.00
VAC CAPACITORS-10015447                                           11/03/2015         21            15050                     1,473.98                     70.19                   21           Y                           -            1,473.98           0.00                                                           0.00
LENOVO THINKPAD, PRO DOC, & MODEM-10018479                        11/03/2015         22            15050                     1,544.17                     70.19                   22           Y                           -            1,544.17           0.00                                                          (0.00)
CISCO NETWORK MODULE-10015890                                     11/03/2015         23            15050                     1,032.79                     44.90                   23           Y                           -            1,032.79           0.00                                                           0.00
HP TOWER (2), MEMORY STICKS (7)-10018574                          11/03/2015         23            15050                     1,443.90                     62.78                   23           Y                           -            1,443.90           0.00   D          1,443.90           1,443.90                  0.00
TELEPRO REDESIGN PROJECT-10001917                                 11/03/2015         24            15050                     1,865.03                     77.71                   24           Y                           -            1,865.03           0.00                                                           0.00
i5 AS/400 REPLACEMENT-10007101                                    11/03/2015         24            15050                     6,016.23                    250.68                   24           Y                           -            6,016.23           0.00                                                           0.00
GX520 MINITOWER PENTIUM-10007407                                  11/03/2015         24            15050                     2,085.63                     86.90                   24           Y                           -            2,085.63           0.00                                                           0.00
IT HARDWARE REPLACEMENT-10007571                                  11/03/2015         24            15050                     1,433.87                     59.74                   24           Y                           -            1,433.87           0.00                                                           0.00
RELATIONAL SERVER-10007647                                        11/03/2015         24            15050                     5,946.04                    247.75                   24           Y                           -            5,946.04           0.00                                                           0.00
RABBITS - WACO-10007667                                           11/03/2015         24            15050                     1,102.98                     45.96                   24           Y                           -            1,102.98           0.00                                                           0.00
DALLAS UPS UPGRADE-10007748                                       11/03/2015         24            15050                     3,308.93                    137.87                   24           Y                           -            3,308.93           0.00                                                           0.00
RABBITS - WACO-10007807                                           11/03/2015         24            15050                     2,937.93                    122.41                   24           Y                           -            2,937.93           0.00                                                           0.00
ACER 17" MONITORS-10008202                                        11/03/2015         24            15050                     1,403.79                     58.49                   24           Y                           -            1,403.79           0.00                                                           0.00
TRUESIGHT ANALYZER-10008373                                       11/03/2015         24            15050                     1,223.30                     50.97                   24           Y                           -            1,223.30           0.00                                                           0.00
RBT-366 TERMINAL-10008433                                         11/03/2015         24            15050                     1,042.81                     43.45                   24           Y                           -            1,042.81           0.00                                                           0.00
BACKUP TECH-STORAGE TAPE LIBRARY UPGRADE-HW-10008648              11/03/2015         24            15050                     1,113.00                     46.38                   24           Y                           -            1,113.00           0.00                                                           0.00
OVERLAND NEO 2000-10008761                                        11/03/2015         24            15050                     1,052.84                     43.87                   24           Y                           -            1,052.84           0.00                                                           0.00
ORACLE ERP-APP SERVER HW UPGRADE-10008870                         11/03/2015         24            15050                     1,423.84                     59.33                   24           Y                           -            1,423.84           0.00                                                           0.00
SQL SERVER-10009615                                               11/03/2015         24            15050                     1,113.00                     46.38                   24           Y                           -            1,113.00           0.00                                                           0.00
RSA SECURID HARDWARE-10010059                                     11/03/2015         24            15050                     1,494.03                     62.25                   24           Y                           -            1,494.03           0.00                                                           0.00
MONITORS-10010558                                                 11/03/2015         24            15050                     1,965.30                     81.89                   24           Y                           -            1,965.30           0.00                                                           0.00
CAPITAL LEASE-WELLS-DATA STORAGE EQUIP-10011296                   11/03/2015         24            15050                     4,091.04                    170.46                   24           Y                           -            4,091.04           0.00                                                           0.00
CAPITAL LEASE-WELLS-SAN STORAGE EQUIP-10011876                    11/03/2015         24            15050                     9,926.78                    413.62                   24           Y                           -            9,926.78           0.00                                                           0.00
MONITORS-10012210                                                 11/03/2015         24            15050                     1,113.00                     46.38                   24           Y                           -            1,113.00           0.00                                                           0.00
OVERLAND NEO ADD ON HARD DRIVE-10013537                           11/03/2015         24            15050                     1,343.62                     55.98                   24           Y                           -            1,343.62           0.00                                                           0.00
KINGSTON 8G MEMORY DRIVES-10014486                                11/03/2015         24            15050                     1,263.41                     52.64                   24           Y                           -            1,263.41           0.00                                                           0.00
UPS 400MR BATTER-10015126                                         11/03/2015         24            15050                     2,546.87                    106.12                   24           Y                           -            2,546.87           0.00                                                           0.00
APC SMART UPS STORAGE DEVICE-10015545                             11/03/2015         24            15050                     2,797.55                    116.56                   24           Y                           -            2,797.55           0.00                                                           0.00
EXTERNAL TAPE DRIVES-10016066                                     11/03/2015         24            15050                     1,193.22                     49.72                   24           Y                           -            1,193.22           0.00                                                           0.00
APC CORE UPGRADE-10017124                                         11/03/2015         24            15050                  144,991.17                   6,041.30                   24           Y                           -          144,991.17           0.00                                                           0.00
i6 UPGRADE - HARDWARE-10018355                                    11/03/2015         24            15050                  296,299.39                  12,345.81                   24           Y                           -          296,299.39           0.00                                                           0.00
EOP DATABASE UPGRADE (2 CISCO SERV, 4 XEON PROC, 24-10018769      11/03/2015         24            15050                   25,268.17                   1,052.84                   24           Y                           -           25,268.17           0.00                                                           0.00
QUARTERLY TAPE REFRESH-10018771                                   11/03/2015         24            15050                     8,553.08                    356.38                   24           Y                           -            8,553.08           0.00                                                           0.00
UPS RACK, MEDIA GATEWAY, AND INSTALLATION FOR PHONE-10018772      11/03/2015         24            15050                     8,763.64                    365.15                   24           Y                           -            8,763.64           0.00                                                           0.00
NETWORK SWITCHES (2) JAX BUILDOUT-10019011                        11/03/2015         24            15050                     6,086.42                    253.60                   24           Y                           -            6,086.42           0.00                                                           0.00
NETWORK HW, SLC CALL CENTER BUILDOUT-10019012                     11/03/2015         24            15050                     3,599.71                    149.99                   24           Y                           -            3,599.71           0.00                                                           0.00
QUARTERLY TAPE REFRESH-10019117                                   11/03/2015         24            15050                     9,275.02                    386.46                   24           Y                           -            9,275.02           0.00                                                           0.00
4 POWER DISTRIBUTION UNITS-10017358                               11/03/2015         31            15050                     1,353.65                     43.67                   31           Y                           -            1,353.65           0.00                                                           0.00
HP 10 GIG SERVER ADAPTOR-10017385                                 11/03/2015         31            15050                     1,072.89                     34.61                   31           Y                           -            1,072.89           0.00                                                           0.00
CISCO 3925 SEC BDL-10017448                                       11/03/2015         31            15050                     4,572.34                    147.49                   31           Y                           -            4,572.34           0.00                                                           0.00
HP COMP (8) TO STAFF METLIFE SOH QUEST BUS-10018966               11/03/2015         31            15050                     3,349.04                    108.03                   31           Y                           -            3,349.04           0.00                                                           0.00
HP PROBOOK (3), MONITOR (3), CRUMP STAFF-10019008                 11/03/2015         31            15050                     1,574.25                     50.78                   31           Y                           -            1,574.25           0.00                                                           0.00
HP PCS (11) HC STAFF ADDITIONS-10019037                           11/03/2015         32            15050                     4,823.01                    150.72                   32           Y                           -            4,823.01           0.00                                                           0.00
HP PCS FOR 4 NEW UW FOR AIG-10019052                              11/03/2015         32            15050                     2,436.57                     76.14                   32           Y                           -            2,436.57           0.00                                                           0.00
QUANTUM BACKUP TAPES-10017554                                     11/03/2015         33            15050                     3,078.30                     93.28                   33           Y                           -            3,078.30           0.00                                                           0.00
MICRO CALL SERVER-10017569                                        11/03/2015         33            15050                     5,855.80                    177.45                   33           Y                           -            5,855.80           0.00                                                           0.00
HP PCS (10) - WACO PW TRAINING ROOM-10019240                      11/03/2015         34            15050                     4,181.28                    122.98                   34           Y                           -            4,181.28           0.00                                                           0.00
HARDWARE - APC CORE UPGRADE PHASE 2-10017366                      11/03/2015         35            15050                   55,048.52                   1,572.81                   35           Y                           -           55,048.52           0.00                                                           0.00
2 SERVERS, CONNECTION CALBES, & OTHER PARTS-10017771              11/03/2015         35            15050                   11,831.92                     338.05                   35           Y                           -           11,831.92           0.00                                                           0.00
IMATION BACKUP TAPES-10017783                                     11/03/2015         35            15050                     3,519.50                    100.56                   35           Y                           -            3,519.50           0.00                                                          (0.00)
22 LG MONITORS & 22 DISPLAY PORTS-10017825                        11/03/2015         36            15050                     1,855.00                     51.53                   36           Y                           -            1,855.00           0.00                                                           0.00
QUARTERLY BACKUP TAPES & INSTALLATION-10017940                    11/03/2015         38            15050                     6,988.86                    183.92                   38           Y                           -            6,988.86           0.00                                                           0.00
10 ERS CLUSTER SERVERS-10017995                                   11/03/2015         41            15050                     1,694.57                     41.33                   41           Y                           -            1,694.57           0.00                                                           0.00
CISCO CATALYST 2960 PORT SWITCH-10018132                          11/03/2015         42            15050                         551.49                   13.13                   42           Y                           -                551.49         0.00                                                           0.00
ROOM ALERT 32E, ROOM ALERT 12E, TEMP & HUMID SENSOR-10018243      11/03/2015         44            15050                     1,664.49                     37.83                   44           Y                           -            1,664.49           0.00                                                           0.00
20 APC SYMMETRA BATTERY MODULES-10018239                          11/03/2015         44            15050                     7,750.91                    176.16                   44           Y                           -            7,750.91           0.00                                                           0.00
3 FLOOD & WATER SENSORS-10018241                                  11/03/2015         44            15050                         822.22                   18.69                   44           Y                           -                822.22         0.00                                                           0.00
6 VIEWSONIC MONITORS, 4 SURGE STRIPS, & 3 LOGI-10018326           11/03/2015         44            15050                         481.30                   10.94                   44           Y                           -                481.30         0.00                                                           0.00
4 VIEWSONIC MONITORS, 2 SURGE STRIPS, & 2 LOGI-10018329           11/03/2015         44            15050                         320.87                    7.29                   44           Y                           -                320.87         0.00                                                           0.00
HP MSA STORAGE-10018361                                           11/03/2015         45            15050                     8,793.72                    195.42                   45           Y                           -            8,793.72           0.00                                                           0.00
HP PROBOOK WITH DOCKING STATION-10018399                          11/03/2015         45            15050                         611.65                   13.59                   45           Y                           -                611.65         0.00                                                           0.00
HP ELITEBOOK, VIEWSONIC MONITOR, DOCKING STATION,-10018496        11/03/2015         45            15050                         792.14                   17.60                   45           Y                           -                792.14         0.00                                                           0.00
QUARTERLY TAPE REFRESH-10018541                                   11/03/2015         46            15050                     7,530.32                    163.70                   46           Y                           -            7,530.32           0.00                                                           0.00
HP SB 900GB HARDDRIVES (2)-10018597                               11/03/2015         47            15050                         762.06                   16.21                   47           Y                           -                762.06         0.00                                                           0.00
4 VIEWSONIC MONITORS & 4 SURGE STRIPS-10018536                    11/03/2015         47            15050                         320.87                    6.83                   47           Y                           -                320.87         0.00                                                           0.00
Kingston 16GB Memory (8)-10018544                                 11/03/2015         47            15050                         862.33                   18.35                   47           Y                           -                862.33         0.00                                                           0.00
LG MONITOR (2), DOCKING STATION, EXTERNAL DRIVE-10018629          11/03/2015         48            15050                         340.92                    7.10                   48           Y                           -                340.92         0.00                                                           0.00
VIEWSONIC MONITOR (2), HP DOCKING STATION (2)-10018630            11/03/2015         48            15050                         300.81                    6.27                   48           Y                           -                300.81         0.00                                                           0.00
(2) VIEWSONIC MONITOR, APC BACKUP (JEFF HUGHES)-10018668          11/03/2015         48            15050                         250.68                    5.22                   48           Y                           -                250.68         0.00                                                           0.00
(7) VIEWSONIC MONITOR-10018656                                    11/03/2015         49            15050                         551.49                   11.25                   49           Y                           -                551.49         0.00                                                           0.00
APC SYMMETRA XR COM CARD-10018875                                 11/03/2015         53            15050                         501.35                    9.46                   53           Y                           -                501.35         0.00                                                          (0.00)
VIEWSONIC MONITORS (26) FOR OPTUM PROJECT-10018907                11/03/2015         53            15050                     3,008.12                     56.76                   53           Y                           -            3,008.12           0.00                                                           0.00




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                                                                                                                                                                                                        Monthly
                                                                               Useful Life in
                                                              Date Placed in                                                                                                      Fully Depreciated?   Depreciation
                                                                                 Months
Asset Description                                             Service                           GL Account         Cost Basis         Monthly Depreciation  Months Depreciated          (Y/N)           Expense           Accum Depr          NBV               D   DISPOSAL COST   ACCUM DEPR   NBV After Disposals
84 FUJITSU SCANSNAP FOR ADDTL MRTS FOR OPTUM-10018909            11/03/2015         53            15050                   25,769.52                  486.22                  53           Y                           -           25,769.52              0.00                                                   0.00
PELICAN CASES (84) FOR MRTS-10018914                            11/03/2015          53            15050                   10,127.32                 191.08                  53            Y                           -           10,127.32              0.00                                                   0.00
VIEWSONIC MONITORS (8) FOR JAX MRR STAFF FOR-10018965           11/03/2015          55            15050                     752.03                   13.67                  55            Y                     13.67                752.03              0.00                                                   0.00
HP DOCK STATIONS (4) FOR WACO MRR STAFF ADDITIONS-10018983      11/03/2015          55            15050                     551.49                   10.03                  55            Y                     10.03                551.49              0.00                                                   0.00
VIEWSONIC MONITORS (32), MISC COMP SUPPLIES (WACO-10018985      11/03/2015          55            15050                    4,492.12                  81.67                  55            Y                     81.67              4,492.12              0.00                                                   0.00
HP DOCK, MONITOR, EQUIP (DEREK CZARNY)-10019004                 11/03/2015          55            15050                     260.70                    4.74                  55            Y                       4.74               260.70              0.00                                                   0.00
HP PROBOOK (DENISE STEPHENS)-10019005                           11/03/2015          55            15050                    1,042.81                  18.96                  55            Y                     18.96              1,042.81              0.00                                                   0.00
HP EXTERNAL STORAGE FOR STANDALONE LEFS EFFORT-10019006         11/03/2015          55            15050                     451.22                    8.20                  55            Y                       8.20               451.22              0.00                                                   0.00
UPGD FTP ENV, HP SRV (2), INTEL XEON PROC (2), HD-10019042      11/03/2015          56            15050                    5,454.72                  97.41                  55            N                     97.41              5,357.31            97.41                                                   97.41
VIEWSONIC MONITOR (11) HC STAFF ADDITIONS-10019038              11/03/2015          56            15050                    2,115.71                  37.78                  55            N                     37.78              2,077.93            37.78                                                   37.78
HP PC (JEREL WARD)-10019054                                     11/03/2015          56            15050                     431.16                    7.70                  55            N                       7.70               423.46              7.70                                                   7.70
MONITORS, DOCKS FOR 6 UW ADDITIONS FOR UHC CLIENT-10019060      11/03/2015          56            15050                    2,386.44                  42.61                  55            N                     42.61              2,343.82            42.61                                                   42.61
HP DOCK (2) - VIENNA AUSTIN & WENDY HOLCOMB-10019145            11/03/2015          57            15050                     350.95                    6.16                  55            N                       6.16               338.63            12.31                                                   12.31
VIEWSONIC MONITORS (8) - STAFF ADDITIONS-10019217               11/03/2015          58            15050                     631.70                   10.89                  55            N                     10.89                599.03            32.67                                                   32.67
Viewsonic Monitors (52) for new HC Call Center-10019219         11/03/2015          58            15050                    4,963.39                  85.58                  55            N                     85.58              4,706.66           256.73                                                 256.73
HP ELITEBOOK, SOLID STATE DRIVE - CHAD GROSS-10019220           11/03/2015          58            15050                    1,423.84                  24.55                  55            N                     24.55              1,350.19            73.65                                                   73.65
ADDITIONAL MEMORY FOR VM HOSTS IN QA-10019224                   11/03/2015          58            15050                    5,504.85                  94.91                  55            N                     94.91              5,220.12           284.73                                                 284.73
HP ELITEBOOK, MONITOR (2), DOCK, MS VISIO, EXH --10019225       11/03/2015          58            15050                    1,704.60                  29.39                  55            N                     29.39              1,616.43            88.17                                                   88.17
HP DOCK, ACER MONITOR, MS EXH, ACCESSORIES - SCOTT-10019228     11/03/2015          59            15050                     531.43                    9.01                  55            N                       9.01               495.40            36.03                                                   36.03
HP PROBOOK - JACQUIE WAITS-10019281                             11/03/2015          61            15050                     631.70                   10.36                  55            N                     10.36                569.57            62.13                                                   62.13
HP SB 840 G2 ELITEBOOK, DOCK - LACY WITTE-10019300              11/04/2015          60            15050                    1,714.87                  28.58                  55            N                     28.58              1,571.96           142.91                                                 142.91
Cisco UCS Blade Server Chassis for additional HC-10019337       11/10/2015          36            15050                    7,218.99                 200.53                  36            Y                           -            7,218.99              0.00                                                   0.00
HP SB 840ELITEBK (3), HP MINI 400 PRODESK (2), VS-10019306      11/10/2015          36            15050                    5,354.73                 148.74                  36            Y                           -            5,354.73              0.00                                                   0.00
HP SB MINI 400 G1 PRODESK (2), HP 840 G2 EB, VS-10019307        11/10/2015          60            15050                    2,718.29                  45.30                  55            N                     45.30              2,491.77           226.52                                                 226.52
Cisco UCS SmartPlay (2) for additional HC Infr-10019336         11/11/2015          36            15050                   27,941.04                 776.14                  36            Y                           -           27,941.04              0.00                                                   0.00
HP SB 840 G2 ELITEBOOK - SPARE IRVING PC-10019349               11/20/2015          60            15050                    1,084.81                  18.08                  54            N                     18.08                976.33           108.48                                                 108.48
VIEWSONIC MONITOR, HP DOCK, MOUSE - ALEX VERSHININ-10019347     11/20/2015          60            15050                     563.70                    9.40                  54            N                       9.40               507.33            56.37                                                   56.37
HP ELITEBOOK 840 G2 (2), VS MONITOR (2), DOCKING-10019357       12/02/2015          36            15050                    2,709.35                  75.26                  36            Y                           -            2,709.35              0.00                                                   0.00
HP ELITEBOOK 840 (3) - UW STATE FARM BUS - DEBO-10019359        12/11/2015          36            15050                    3,233.77                  89.83                  36            Y                           -            3,233.77              0.00                                                   0.00
HP SB MINI 400 PRODESK & VIEWSONIC MONITOR - JAX-10019381       12/11/2015          60            15050                     829.79                   13.83                  54            N                     13.83                746.81            82.98                                                   82.98
HP ELITEBOOK 840 - ON DEMAND SETUPS-10019358                    12/21/2015          36            15050                    1,142.09                  31.72                  36            Y                           -            1,142.09              0.00                                                   0.00
HP ELITEBOOK, MONITOR, DOCK - IRVING SPARE-10019388             12/28/2015          36            15050                    1,396.70                  38.80                  36            Y                           -            1,396.70              0.00                                                   0.00
HP SB ELITEBOOK 840 G2 (16) - WACO TRAINING ROOM-10019424       12/31/2015          60            15050                   21,688.74                 361.48                  53            N                    361.48             19,158.39          2,530.35                                               2,530.35
ERGOTRON ZIP40 CHARGING & MANAGEMENT CART - WACO-10019425       01/04/2016          60            15050                    2,364.76                  39.41                  53            N                     39.41              2,088.87           275.89                                                 275.89
HP SB ELITEBOOK (4) - T. CASSARINO, S.MITCHELL, R.-10019405     01/07/2016          60            15050                    5,934.61                  98.91                  53            N                     98.91              5,242.24           692.37                                                 692.37
CISCO CAT 2960 ETHERNET SWITCH & CISCO WL-N DUAL-10019438       01/08/2016          36            15050                    2,099.07                  58.31                  36            Y                           -            2,099.07              0.00                                                   0.00
HP SB ELITEBOOK 840 - JOAN HOGAN-10019406                       01/11/2016          36            15050                    1,766.81                  49.08                  36            Y                           -            1,766.81              0.00                                                   0.00
HP SB ELITEBOOK 840 G2 & EQUIP - LEO LUTHER-10019410            01/12/2016          36            15050                    1,421.05                  39.47                  36            Y                           -            1,421.05              0.00                                                   0.00
HP SB ELITEBOOK 840 (2) - IRVING SPARES-10019412                01/12/2016          36            15050                    2,665.00                  74.03                  36            Y                           -            2,665.00              0.00                                                 (0.00)
HP SB ELITEBOOK 840 G2 (3) - F. NOUR, P.PERURI,-10019422        01/15/2016          60            15050                    5,401.16                  90.02                  53            N                     90.02              4,771.03           630.14                                                 630.14
HP PRODESK 400 G2 (2) - JAX CC-10019421                         01/19/2016          60            15050                    1,309.30                  21.82                  52            N                     21.82              1,134.73           174.57                                                 174.57
HP PRODESK 400 G2 - FORT WORTH SPARE-10019417                   01/28/2016          60            15050                     685.63                   11.43                  52            N                     11.43                594.21            91.42                                                   91.42
F5 SWITCH REPLACEMENT (2)-10019423                              01/29/2016          36            15050                  106,915.98               2,969.89                  36            Y                           -          106,915.98              0.00                                                   0.00
HP SB ELITEBOOK 840 G2 - JOHN JONASSEN-10019429                 01/31/2016          60            15050                    2,028.31                  33.81                  52            N                     33.81              1,757.87           270.44                                                 270.44
QUARTERLY TAPE REFRESH-10019439                                 02/05/2016          36            15050                    8,477.20                 235.48                  36            Y                           -            8,477.20              0.00                                                   0.00
HP SB PRODESK 400 (6) - TA BUSINESS-10019469                    02/12/2016          36            15050                    4,044.15                 112.34                  36            Y                           -            4,044.15              0.00                                                   0.00
HP 255 G4 IGO LAPTOP - OAKLAND-10019479                         02/16/2016          60            15050                     746.34                   12.44                  51            N                     12.44                634.39           111.95                                                 111.95
QUARTERLY TAPE REFRESH-10019519                                 02/18/2016          60            15050                    7,543.73                 125.73                  51            N                    125.73              6,412.17          1,131.56                                               1,131.56
HP ELITEBOOK 840 G2 - JACQUELINE BENJAMIN-10019462              02/19/2016          36            15050                    2,074.09                  57.61                  36            Y                           -            2,074.09              0.00                                                   0.00
ASUS ALL IN ONE PC - CONFERENCE USE-10019467                    02/19/2016          36            15050                    1,449.37                  40.26                  36            Y                           -            1,449.37              0.00                                                   0.00
HP SB ELITEBOOK 840 G2 - (2) - WINDOWS 10 LAPTOPS-10019472      02/24/2016          36            15050                    2,453.52                  68.15                  36            Y                           -            2,453.52              0.00                                                   0.00
HP SB ELITEBOOK 840 G2, DOCK, VS MONITORS (2)-10019491          02/24/2016          60            15050                    2,251.58                  37.53                  51            N                     37.53              1,913.85           337.74                                                 337.74
HW - Encryption at Rest-10019384                                03/09/2016          60            15050                  137,454.87               2,290.91                  51            N                  2,290.91            116,836.64         20,618.23                                              20,618.23
HP SB ELITEBOOK 840 G2 - IRVING SPARE-10019496                  03/09/2016          36            15050                    1,311.69                  36.44                  36            Y                           -            1,311.69              0.00                                                   0.00
HP SB ELITEBOOK 840 G2 - ALISON HEEKE-10019501                  03/14/2016          36            15050                    1,311.69                  36.44                  36            Y                           -            1,311.69              0.00                                                   0.00
HP SB ELITEBOOK 840 G2 - SCOTT WEINER-10019495                  03/14/2016          60            15050                    1,311.69                  21.86                  51            N                     21.86              1,114.94           196.75                                                 196.75
HP SB ELITEBOOK 840 G2 (2) - JENNA JUNJULAS & JODY-10019494     03/18/2016          36            15050                    3,520.94                  97.80                  36            Y                           -            3,520.94              0.00                                                   0.00
HP PRODESK 600 G2 (5)-10019493                                  03/18/2016          60            15050                    3,993.76                  66.56                  50            N                     66.56              3,328.14           665.63                                                 665.63
OPTIPLEX 3020 (675) - WINDOWS UP UPGRDS/PC REFRESH-10019507     03/25/2016          60            15050                  318,708.93               5,311.82                  50            N                  5,311.82            265,590.78         53,118.16                                              53,118.16
VIEWSONIC MONITORS (8) - HC CLINICAL-10019520                   04/20/2016          60            15050                     948.62                   15.81                  49            N                     15.81                774.71           173.91                                                 173.91
APC BACKUP BATTERY (2) -IT INFRASTRUCTURE-10019530              04/22/2016          60            15050                    1,050.20                  17.50                  49            N                     17.50                857.67           192.54                                                 192.54
POWEREDGE R630 SERVER-10026941                                  05/02/2016          36            15050                    9,666.07                 268.50                  36            Y                           -            9,666.07              0.00                                                   0.00
DELL LATITUDE E5570 & PORT REPLICATOR-10026942                  05/03/2016          60            15050                    1,298.16                  21.64                  49            N                     21.64              1,060.17           238.00                                                 238.00
VIEWSONIC MONITORS (16) - BANNER APPASSIT-10026945              05/04/2016          36            15050                    2,411.45                  66.98                  36            Y                           -            2,411.45              0.00                                                   0.00
MS SURFACE BOOK, DOCK - SURESH-10026943                         05/13/2016          60            15050                    3,085.82                  51.43                  49            N                     51.43              2,520.08           565.73                                                 565.73
VIEWSONIC MONITOR (10) - JAX TRAINING ROOM-10026957             06/01/2016          60            15050                    1,071.82                  17.86                  48            N                     17.86                857.46           214.36                                                 214.36
LATITDUE E7470 AND MONITOR-10026977                             06/09/2016          60            15050                    1,707.35                  28.46                  48            N                     28.46              1,365.88           341.47                                                 341.47
DELL DISPLAY ADAPTORS - 60-10026981                             07/21/2016          48            15050                    1,513.52                  31.53                  46            N                     31.53              1,450.46            63.06                                                   63.06
COMPUTER SYSTEM-10026987                                        08/05/2016          60            15050                    1,268.19                  21.14                  46            N                     21.14                972.28           295.91                                                 295.91
DELL CTO LAT E5570-10026998                                     08/22/2016          60            15050                    1,198.31                  19.97                  45            N                     19.97                898.73           299.58                                                 299.58
BADGE PRINTERS-10026997                                         08/22/2016          60            15050                    3,313.17                  55.22                  45            N                     55.22              2,484.88           828.29                                                 828.29
DELL CTO LAT E5570-10026999                                     08/31/2016          60            15050                    2,237.07                  37.28                  45            N                     37.28              1,677.80           559.27                                                 559.27
LAPTOP AMY FUMMEL-10027003                                      09/08/2016          48            15050                     209.51                    4.36                  45            N                       4.36               196.41            13.09                                                   13.09
DELL LATITUDE E7470-10027008                                    10/31/2016          60            15050                     260.50                    4.34                  43            N                       4.34               186.69            73.81                                                   73.81
PHOTO ID BADGE PRINTERS-10027009                                11/30/2016          60            15050                    2,871.75                  47.86                  42            N                     47.86              2,010.22           861.52                                                 861.52
BACKUP TAPES-10027041                                           12/31/2016          60            15050                   16,411.68                 273.53                  41            N                    273.53             11,214.65          5,197.03                                               5,197.03
SWITCHES FOR IRVING-10028025                                    01/24/2017          60            15050                   89,080.16               1,484.67                  40            N                  1,484.67             59,386.77         29,693.39                                              29,693.39
SECURITY: AXIS CAMERAS AND SOFTWARE-10029027                    01/24/2017          60            15050                    1,541.34                  25.69                  40            N                     25.69              1,027.56           513.78                                                 513.78




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                                                                                                                                                                                                       Monthly
                                                                           Useful Life in
                                                          Date Placed in                                                                                                         Fully Depreciated?   Depreciation
                                                                             Months
Asset Description                                         Service                           GL Account         Cost Basis            Monthly Depreciation  Months Depreciated          (Y/N)           Expense          Accum Depr            NBV               D   DISPOSAL COST   ACCUM DEPR   NBV After Disposals
DATA BACKUPS - 4 EXTERNAL HD'S-10029028                      01/31/2017         60            15050                         728.65                   12.14                  40           N                      12.14                485.76           242.88                                                  242.88
FW DATA CENTER UPGRADE-10027029                             02/28/2017          60            15050                     2,848.61                    47.48                  39            N                     47.48             1,851.59             997.01                                                 997.01
PHONE HEADSETS (150)-10029026                               03/16/2017          60            15050                   16,491.23                    274.85                  38            N                    274.85            10,444.45            6,046.79                                               6,046.79
4 RACK PDU 2G OUTPUT RECEPTACLES-10034025                   03/31/2017          60            15050                     1,906.01                    31.77                  38            N                     31.77             1,207.14             698.87                                                 698.87
IRVING DATA CENTER UPGRADE-10027027                         03/31/2017          60            15050                   37,366.71                    622.78                  38            N                    622.78            23,665.58           13,701.13                                              13,701.13
XP UPGRADE - WACO-10031027                                  03/31/2017          60            15050                   55,750.11                    929.17                  38            N                    929.17            35,308.40           20,441.71                                              20,441.71
JACKSONVILLE DATA CENTER UPGRADE-10031030                   04/30/2017          60            15050                     1,738.09                    28.97                  37            N                     28.97             1,071.82             666.27                                                 666.27
SECURE PRINT                                                04/30/2017          60            15050                   12,233.34                    203.89                  37            N                    203.89             7,543.89            4,689.45                                               4,689.45
5 DELL EPORT REPLICATORS                                    04/30/2017          60            15050                         936.58                  15.61                  37            N                     15.61                 577.56           359.02                                                 359.02
4 DELL EPORT REPLICATORS                                    04/30/2017          60            15050                         748.87                  12.48                  37            N                     12.48                 461.80           287.07                                                 287.07
3 DELL LAT LAPTOPS                                          05/31/2017          60            15050                     4,647.69                    77.46                  36            N                     77.46             2,788.61            1,859.08                                               1,859.08
IPAD MINI 2 PROJECT                                         05/31/2017          60            15050                   18,201.10                    303.35                  36            N                    303.35            10,920.66            7,280.44                                               7,280.44
Trade Show Marketing Disp                                   06/14/2017          60            15050                     6,472.68                   107.88                  36            N                    107.88             3,883.61            2,589.07                                               2,589.07
DELL CTO E7470 I56300U 25                                   06/14/2017          60            15050                     1,380.19                    23.00                  36            N                     23.00                 828.11           552.08                                                 552.08
(5) DELL CTO E7470 I15630                                   06/14/2017          60            15050                     6,900.94                   115.02                  36            N                    115.02             4,140.56            2,760.38                                               2,760.38
(2) DELL CTO E7470 I56300                                   06/14/2017          60            15050                     2,760.38                    46.01                  36            N                     46.01             1,656.23            1,104.15                                               1,104.15
(1) HID FARGO DTC1250E BA                                   06/14/2017          60            15050                     1,525.19                    25.42                  36            N                     25.42                 915.11           610.08                                                 610.08
(10) SENN SC630 HEADSET O                                   06/14/2017          60            15050                     1,424.84                    23.75                  36            N                     23.75                 854.90           569.94                                                 569.94
(10) SENN CSTD01 DIRECT C                                   06/16/2017          60            15050                         103.64                   1.73                  35            N                      1.73                  60.46            43.18                                                   43.18
ITP-FY18-0245 Bone Densit                                   07/31/2017          60            15050                     6,553.62                   109.23                  34            N                    109.23             3,713.72            2,839.90                                               2,839.90
0717 ITP-FY18_0236 Unity-                                   09/30/2017          60            15050                   15,974.05                    266.23                  32            N                    266.23             8,519.49            7,454.56                                               7,454.56
DOCUSIGN INTEGRATION                                        09/30/2017          60            15050                   14,252.24                    237.54                  32            N                    237.54             7,601.19            6,651.05                                               6,651.05
ITP-FY18-0031 - Video Sur                                   09/30/2017          60            15050                     9,089.89                   151.50                  32            N                    151.50             4,847.94            4,241.95                                               4,241.95
ITP-FY18-0244 - CSR Heads                                   09/30/2017          60            15050                     2,225.53                    37.09                  32            N                     37.09             1,186.95            1,038.58                                               1,038.58
ITP-FY18-0244 CSR Headset                                   10/01/2017          60            15050                     7,262.99                   121.05                  32            N                    121.05             3,873.59            3,389.40                                               3,389.40
ITP-FY18-0032-Video Surve                                   10/31/2017          60            15050                         347.10                   5.79                  31            N                      5.79                 179.34           167.77                                                 167.77
ITP-FY19-0105 FTW VMWare                                    12/04/2017          60            15050                         907.67                  15.13                  30            N                     15.13                 453.84           453.84                                                 453.84
ITP-FY18-0026 Ricoh Secur                                   12/01/2017          60            15050                   41,734.90                    695.58                  30            N                    695.58            20,867.45           20,867.45                                              20,867.45
Dell Laptops - 17 for Sr Branch Managers                    12/12/2017          60            15050                   30,020.03                    500.33                  30            N                    500.33            15,010.02           15,010.02                                              15,010.02
1-FTW Inventory-Dell Dock                                   12/01/2017          60            15050                         195.94                   3.27                  30            N                      3.27                  97.97            97.97                                                   97.97
22 Dells with Docks, Mice, Keyboards & Tarus Cases          11/30/2017          60            15050                   41,052.60                    684.21                  30            N                    684.21            20,526.30           20,526.30                                              20,526.30
5 Dells with Docking Station, Mice & Keyboards              10/15/2017          60            15050                     8,834.22                   147.24                  32            N                    147.24             4,711.58            4,122.64                                               4,122.64
ITP-FY18-0019 - Encryption at Rest-Migration of All         10/19/2017          60            15050                   70,236.17                  1,170.60                  31            N                  1,170.60            36,288.69           33,947.48                                              33,947.48
Computer Room Door Lock                                     10/01/2017          60            15050                     3,814.48                    63.57                  32            N                     63.57             2,034.39            1,780.09                                               1,780.09
Panther Way - Computer Room Door Lock                       10/02/2017          60            15050                     1,918.96                    31.98                  32            N                     31.98             1,023.45             895.51                                                 895.51
Netgear Switches - 5 of 10                                  10/09/2017          60            15050                     4,232.08                    70.53                  32            N                     70.53             2,257.11            1,974.97                                               1,974.97
Dell Laptops - 5                                            10/29/2017          60            15050                     7,911.02                   131.85                  31            N                    131.85             4,087.36            3,823.66                                               3,823.66
Fujitsu Scanners-3                                          11/04/2017          60            15050                     3,150.68                    52.51                  31            N                     52.51             1,627.85            1,522.83                                               1,522.83
Fortinet Fortitoken MOB SW                                  12/24/2017          60            15050                     3,062.74                    51.05                  29            N                     51.05             1,480.32            1,582.42                                               1,582.42
Dell Laptops for FTW                                        10/24/2017          60            15050                     9,494.29                   158.24                  31            N                    158.24             4,905.38            4,588.91                                               4,588.91
10 Dell Docking Stations                                    11/07/2017          60            15050                     1,583.94                    26.40                  31            N                     26.40                 818.37           765.57                                                 765.57
10 Dell Laptops                                             10/31/2017          60            15050                   15,674.87                    261.25                  31            N                    261.25             8,098.68            7,576.19                                               7,576.19
PW Workstations Buildout                                    11/07/2017          60            15050                   18,003.00                    300.05                  31            N                    300.05             9,301.55            8,701.45                                               8,701.45
NITRO PRO 11 N4E COMM LIC 50-99U                            11/09/2017          60            15050                     2,587.82                    43.13                  31            N                     43.13             1,337.04            1,250.78                                               1,250.78
10 Dells                                                    01/17/2018          60            15050                   17,335.61                    288.93                  28            N                    288.93             8,089.95            9,245.66                                               9,245.66
VMWARE WKSSP                                                07/31/2017          60            15050                     6,756.22                   112.60                  34            N                    112.60             3,828.52            2,927.70                                               2,927.70
Amazon - ETARATECH - 1 for Tseng's upgrade                  01/31/2018          60            15050                         185.74                   3.10                  28            N                      3.10                  86.68            99.06                                                   99.06
IRVING FIREWALL UPGRADE                                     01/02/2018          60            15050                     6,037.51                   100.63                  29            N                    100.63             2,918.13            3,119.38                                               3,119.38
ITP-FY18-0284-CSR Headset Upgrade/Standardization Proje     01/15/2018          60            15050                   15,822.73                    263.71                  29            N                    263.71             7,647.65            8,175.08                                               8,175.08
Dell CTO LTO-7 Tape Media                                   01/09/2018          60            15050                   11,691.00                    194.85                  29            N                    194.85             5,650.65            6,040.35                                               6,040.35
FUJITSU F1-716- SCANNER                                     01/05/2018          60            15050                     1,050.31                    17.51                  29            N                     17.51                 507.65           542.66                                                 542.66
30 DELL TOUCH MONITORS                                      01/26/2018          60            15050                   10,189.36                    169.82                  28            N                    169.82             4,755.03            5,434.33                                               5,434.33
DELL CTO LTO-7 TAPE MEDIA                                   01/09/2018          60            15050                   11,691.00                    194.85                  29            N                    194.85             5,650.65            6,040.35                                               6,040.35
DELL CTO PV ML6010                                          11/20/2017          60            15050                   21,675.41                    361.26                  30            N                    361.26            10,837.71           10,837.71                                              10,837.71
DELL CTO ML6000                                             03/31/2018          60            15050                   53,876.88                    897.95                  26            N                    897.95            23,346.65           30,530.23                                              30,530.23
24 CUBES - DATA AND VOICE                                   03/31/2018          60            15050                     6,400.00                   106.67                  26            N                    106.67             2,773.33            3,626.67                                               3,626.67
ITP-FY18-0008 - Enterprise Workstation                      06/12/2018          60            15050                  330,403.66                  5,506.73                  24            N                  5,506.73           132,161.46       198,242.20                                                198,242.20
Dongle Server - USB                                         05/22/2018          60            15050                     1,045.84                    17.43                  24            N                     17.43                 418.34           627.50                                                 627.50
5-EMS-Unity Hard Drives                                     07/31/2018          60            15050                     4,595.32                    76.59                  22            N                     76.59             1,684.95            2,910.37                                               2,910.37
EMC-Unity Hard Drives                                       12/31/2018          60            15050                     4,595.32                    76.59                  17            N                     76.59             1,302.01            3,293.31                                               3,293.31
UNLABELED TAPES FOR BACKU                        07/31/2018                     60            15050                   10,783.42                    179.72                  22            N                    179.72             3,953.92            6,829.50                                               6,829.50

CDW Computers                                    12/31/2018                     60            15050                   12,990.14                    216.50                  17            N                    216.50             3,680.54            9,309.60                                               9,309.60

ITP - FY2018-0294-Deploy iPad Minis to Examiners 07/31/2018                     60            15050                  102,563.07                  1,709.38                  22            N                  1,709.38            37,606.46           64,956.61                                              64,956.61

ITP-FY19-0158-PW SHUTDOWN                        02/28/2019                     60            15050                     2,748.54                    45.81                  15            N                     45.81                 687.14          2,061.41                                               2,061.41

ITP-FY19-001-3 CAPEX PURCHASES (IN SERVICE UPON PURCHASE)
                                                 02/28/2019 - IT                60            15050                     4,006.69                    66.78                  15            N                     66.78             1,001.67            3,005.02                                               3,005.02

D3-DELL DRIVE                                    06/30/2019                     60            15050                   85,149.35                  1,419.16                  11            N                  1,419.16            15,610.71           69,538.64                                              69,538.64

DS - Dell Hardware                               06/30/2019                     60            15050                   17,696.29                    294.94                  11            N                    294.94             3,244.32           14,451.97                                              14,451.97

D3 - Dell Drive Unity                            06/30/2019                     60            15050                   85,133.46                  1,418.89                  11            N                  1,418.89            15,607.80           69,525.66                                              69,525.66

138 - FY20 CapEx Purchase CDW Tapes              06/30/2019                     36            15050                   20,519.85                    570.00                  11            N                    570.00             6,269.95           14,249.90                                              14,249.90
DE - DELL Unity 6TB Drive                        06/30/2019                     60            15050                   86,237.30                  1,437.29                  11            N                  1,437.29            15,810.17           70,427.13                                              70,427.13

Dell Financial Services Servers                  10/31/2019                     60            15050                   63,342.30                  1,055.71                   7            N                  1,055.71             7,389.94           55,952.37                                              55,952.37

1 DELL 7400 17-8665U AND KINGSTON 8GB DDR4       12/31/2019                     60            15050                     3,662.40                    61.04                   5            N                     61.04                 305.20          3,357.20                                               3,357.20

1 DELL 7400                                      03/31/2020                     60            15050                     2,102.11                    35.04                   2            N                     35.04                  70.07          2,032.04                                               2,032.04
2 Dell Latitude 7400 BTX 2 Dell Dock -WD19 90 PD 05/31/2020                     60            15050                     2587.17                     43.12                   0            N                         -                   0.00          2,587.17                                               2,587.17




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                                                                                                                                                                                                           Monthly
                                                                                Useful Life in
                                                               Date Placed in                                                                                                        Fully Depreciated?   Depreciation
                                                                                  Months
Asset Description                                              Service                           GL Account         Cost Basis          Monthly Depreciation    Months Depreciated         (Y/N)           Expense         Accum Depr          NBV              D   DISPOSAL COST      ACCUM DEPR           NBV After Disposals
15050 TOTAL - COMPUTER EQUIPMENT                                                                                         3,153,898.41                                                                          36,528.37        2,130,532.70     1,020,778.54   T           1,443.90            1,443.90           1,020,778.54



                                                               Purchase Date                     GL Account                Cost Basis
ORACLE - ACCTS RECEIVABLE-10004388                                11/03/2015         24            15070                    1,713.92                    71.41                   24           Y                        -             1,713.92             0.00   D           1,713.92             1,713.92                  0.00
ITT - APP SOLUTIONS-10005864                                      11/03/2015         24            15070                    4,005.15                   166.88                   24           Y                        -             4,005.15             0.00                                                              0.00
LE WEB APPLICATION-10006606                                       11/03/2015         24            15070                    1,722.94                    71.79                   24           Y                        -             1,722.94             0.00                                                              0.00
1 DATAWATCH MODELER LICENSE-10018538                              11/03/2015         24            15070                    1,398.19                    58.26                   24           Y                        -             1,398.19             0.00                                                              0.00
INSTALL NEW CARD ACCESS CONTROL SYSTEM-10018639                   11/03/2015         24            15070                    5,953.60                   248.07                   24           Y                        -             5,953.60             0.00                                                              0.00
BLACK ICE BATCH CONVERTER-10018919                                11/03/2015         24            15070                    4,095.36                   170.64                   24           Y                        -             4,095.36             0.00                                                            (0.00)
BATCH IMAGING CONVERTER - FOR USE WITH MRT-10019034               11/03/2015         24            15070                    2,489.69                   103.74                   24           Y                        -             2,489.69             0.00                                                              0.00
LABOR - S2 Examiner Error Tracking and Scheduling-10019079        11/03/2015         36            15070                   17,916.53                   497.68                   36           Y                        -            17,916.53             0.00                                                              0.00
Labor - Haven Life ACORD Order/Return 1122 Via Web-10019185       11/05/2015         36            15070                    5,629.34                   156.37                   36           Y                        -             5,629.34             0.00                                                              0.00
Labor - APS Report ¿ Specific Solutions-10019264                  11/05/2015         36            15070                    3,146.57                    87.40                   36           Y                        -             3,146.57             0.00                                                            (0.00)
LABOR - Pacific Life FTP Delivery Express Reports-10018860        11/06/2015         36            15070                    1,145.21                    31.81                   36           Y                        -             1,145.21             0.00                                                              0.00
Labor - Lincoln National B2B Ordering-10019194                    11/06/2015         36            15070                    2,655.87                    73.77                   36           Y                        -             2,655.87             0.00                                                              0.00
Labor - Optum and Highmark Report Setup Option---10019330         11/06/2015         36            15070                    2,547.38                    70.76                   36           Y                        -             2,547.38             0.00                                                              0.00
LABOR - USAA Changes for APS Summary Document-10019101            11/10/2015         36            15070                   15,637.66                   434.38                   36           Y                        -            15,637.66             0.00                                                              0.00
Labor - Loading Optum Chart Retrieval Projects on-10019251        11/10/2015         36            15070                    8,648.72                   240.24                   36           Y                        -             8,648.72             0.00                                                              0.00
Labor - EOP Data Service Improvement-10019249                     11/11/2015         36            15070                   19,009.47                   528.04                   36           Y                        -            19,009.47             0.00                                                              0.00
Labor - SmartPartner to Oracle Receivables ¿ Daily-10019198       11/15/2015         36            15070                    4,231.80                   117.55                   36           Y                        -             4,231.80             0.00                                                              0.00
Labor - Match Review Test Harness-10019258                        11/15/2015         36            15070                    2,590.38                    71.96                   36           Y                        -             2,590.38             0.00                                                              0.00
LABOR - Genworth 121 ACORD-10018883                               11/20/2015         36            15070                   18,024.49                   500.68                   36           Y                        -            18,024.49             0.00                                                              0.00
Labor - Streamline HSD CCIS Examiner Setup-10019192               11/20/2015         36            15070                    2,908.09                    80.78                   36           Y                        -             2,908.09             0.00                                                              0.00
Labor - EOL Phone iOS 9 Support-10019313                          11/23/2015         36            15070                    4,498.82                   124.97                   36           Y                        -             4,498.82             0.00                                                              0.00
Labor - EOL Account Maintenance-10019312                          11/30/2015         36            15070                    8,727.27                   242.42                   36           Y                        -             8,727.27             0.00                                                              0.00
Labor - EOL User & Navigation Enhancements-10019314               11/30/2015         36            15070                    9,542.38                   265.07                   36           Y                        -             9,542.38             0.00                                                              0.00
Labor - USAA ¿ SLA Report-10019319                                11/30/2015         36            15070                    3,889.04                   108.03                   36           Y                        -             3,889.04             0.00                                                              0.00
Labor - Generic Status Alias Type--Phase 2-10019328               12/01/2015         36            15070                    1,728.48                    48.01                   36           Y                        -             1,728.48             0.00                                                              0.00
Labor - Facility Information Auto Status-10019322                 12/02/2015         36            15070                    1,126.07                    31.28                   36           Y                        -             1,126.07             0.00                                                              0.00
LABOR - PGMU Migration to Generic Order-10019067                  12/04/2015         36            15070                   11,159.31                   309.98                   36           Y                        -            11,159.31             0.00                                                              0.00
LABOR - Select Quote Application Packet Auto Upload-10019100      12/07/2015         36            15070                   11,228.57                   311.90                   36           Y                        -            11,228.57             0.00                                                              0.00
Labor - MetLife Direct B2B Connectivity-10019315                  12/07/2015         36            15070                    5,230.22                   145.28                   36           Y                        -             5,230.22             0.00                                                              0.00
Labor - Special Instructions Default-10019320                     12/09/2015         36            15070                    3,404.47                    94.57                   36           Y                        -             3,404.47             0.00                                                              0.00
Labor - Logging Enhancements-10019324                             12/10/2015         36            15070                    9,091.52                   252.54                   36           Y                        -             9,091.52             0.00                                                              0.00
LABOR - USAA SEZ Scheduling Interface ¿ Phase 1-10019080          12/14/2015         36            15070                   27,374.33                   760.40                   36           Y                        -            27,374.33             0.00                                                              0.00
Labor - eEvaluation ICD10 CRA Child and Infant-10019260           12/14/2015         36            15070                   22,329.92                   620.28                   36           Y                        -            22,329.92             0.00                                                              0.00
Labor - eEvaluation ICD10 MA XML Data Capture-10019262            12/14/2015         36            15070                    4,975.84                   138.22                   36           Y                        -             4,975.84             0.00                                                              0.00
LABOR - Prudential IGO Mobile Wording Changes-10018848            12/17/2015         36            15070                    3,659.87                   101.66                   36           Y                        -             3,659.87             0.00                                                              0.00
LABOR - ECM Support Application-10018933                          12/22/2015         36            15070                    9,326.75                   259.08                   36           Y                        -             9,326.75             0.00                                                              0.00
Labor - SBLI - Modifications-10019318                             01/08/2016         36            15070                    1,866.29                    51.84                   36           Y                        -             1,866.29             0.00                                                              0.00
Labor - John Hancock ¿ Agent Report Package & Other-10019321      01/11/2016         36            15070                    2,427.59                    67.43                   36           Y                        -             2,427.59             0.00                                                              0.00
Labor - EMSI Doc Converter-10019195                               01/13/2016         36            15070                    8,913.56                   247.60                   36           Y                        -             8,913.56             0.00                                                              0.00
Labor - SEZ Scheduling Interface Enhancements ¿-10019255          01/20/2016         36            15070                   12,849.69                   356.94                   36           Y                        -            12,849.69             0.00                                                              0.00
LABOR - InterfacePoint Upgrade-10018843                           02/07/2016         36            15070                   49,243.73                 1,367.88                   36           Y                        -            49,243.73             0.00                                                              0.00
LABOR - MML IGO Mobile WAP-10018957                               02/11/2016         36            15070                    5,946.06                   165.17                   36           Y                        -             5,946.06             0.00                                                              0.00
Labor - MVR Enhancements-10019332                                 02/16/2016         36            15070                    7,981.05                   221.70                   36           Y                        -             7,981.05             0.00                                                              0.00
LABOR - Aegon IGO Mobile WAP-10019070                             02/18/2016         36            15070                    1,674.45                    46.51                   36           Y                        -             1,674.45             0.00                                                              0.00
Labor - AG Major Forms CT-10019338                                02/29/2016         36            15070                    1,813.22                    50.37                   36           Y                        -             1,813.22             0.00                                                              0.00
Labor - Michigan Farm Bureau Modifications-10019360               02/29/2016         36            15070                    8,894.77                   247.08                   36           Y                        -             8,894.77             0.00                                                              0.00
SW - Encryption at Rest-10019383                                  03/01/2016         36            15070                   81,554.49                 2,265.40                   36           Y                        -            81,554.49             0.00                                                              0.00
Labor - Create UI for CampaignStaging in Hub-10019393             03/01/2016         36            15070                    8,898.74                   247.19                   36           Y                        -             8,898.74             0.00                                                              0.00
LABOR - Hartford Group B2B Connectivity for Placing-10019106      03/11/2016         36            15070                   27,828.57                   773.02                   36           Y                        -            27,828.57             0.00                                                              0.00
LABOR - USAA - MOVE FROM LEGACY SYSTEM-10019291                   03/20/2016         36            15070                   28,017.36                   778.26                   36           Y                        -            28,017.36             0.00                                                              0.00
LABOR - Nationwide IGO Mobile WAP-10019172                        03/29/2016         36            15070                    5,007.66                   139.10                   36           Y                        -             5,007.66             0.00                                                              0.00
LABOR - GE3 MIGRATION PHASE 2-10018930                            03/31/2016         36            15070                    5,016.63                   139.35                   36           Y                        -             5,016.63             0.00                                                              0.00
LABOR - FY15 CO: Optum Emerald Report--Phase 3-10019076           03/31/2016         36            15070                    1,753.74                    48.72                   36           Y                        -             1,753.74             0.00                                                            (0.00)
ERICOM REMOTE DESKTOP SOFTWARE (100)-10019301                     11/06/2015         36            15070                   15,150.11                   420.84                   36           Y                        -            15,150.11             0.00                                                              0.00
MS WIN PRO UPGRADE (23) - JAX CALL CENTER-10019302                11/09/2015         36            15070                    3,561.91                    98.94                   36           Y                        -             3,561.91             0.00                                                              0.00
MONOCHROME SERVER 4 THREADS - LICENSES-10019353                   11/25/2015         36            15070                    3,503.61                    97.32                   36           Y                        -             3,503.61             0.00                                                              0.00
BLACK ICE SOFTWARE-10019390                                       12/10/2015         36            15070                    1,121.20                    31.14                   36           Y                        -             1,121.20             0.00                                                              0.00
MS OFFICE/EXCH (5) - JAX CC ADDITIONS-10019409                    01/06/2016         36            15070                    1,903.03                    52.86                   36           Y                        -             1,903.03             0.00                                                            (0.00)
MANAGE ENGINE NETFLOW ANALYZER ESSENTIAL - 50-10019457            02/17/2016         36            15070                    3,382.73                    93.96                   36           Y                        -             3,382.73             0.00                                                              0.00
MS WINDOWS PROFESSIONAL DEVELOPER (10)-10019523                   04/04/2016         36            15070                    1,676.43                    46.57                   36           Y                        -             1,676.43             0.00                                                              0.00
Labor - eEvaluation ICD10 CRA XML Data Capture-10019394           04/28/2016         36            15070                    5,577.71                   154.94                   36           Y                        -             5,577.71             0.00                                                              0.00
MCAFEE LICENSES (13)-10026944                                     05/05/2016         36            15070                      837.18                    23.26                   36           Y                        -               837.18             0.00                                                              0.00
MS OFF,EXCH,VISIO 2016 - SHERRY CREWS-10026959                    05/23/2016         36            15070                      625.11                    17.36                   36           Y                        -               625.11             0.00                                                              0.00
MICROSOFT SQL SERVER ENTERPRISE-10026990                          05/31/2016         36            15070                   33,811.13                   939.20                   36           Y                        -            33,811.13             0.00                                                              0.00
LABOR - EMSI/NATG Training Site Interface-10019108                06/01/2016         36            15070                   37,567.60                 1,043.54                   36           Y                        -            37,567.60             0.00                                                              0.00
LABOR - Move Field Zip code Routing to EOP-10019171               06/05/2016         36            15070                   16,234.33                   450.95                   36           Y                        -            16,234.33             0.00                                                              0.00
Labor - Managing Enterprise Processing Centers-10019186           06/05/2016         36            15070                   23,968.63                   665.80                   36           Y                        -            23,968.63             0.00                                                              0.00
Labor - S2/iSchedule integration with ScheduleEZ-10019372         06/11/2016         36            15070                  184,528.54                 5,125.79                   36           Y                        -           184,528.54             0.00                                                              0.00
SOFTWARE LICENSES MICHELLE WILLIAMS-10026983                      06/22/2016         36            15070                      617.53                    17.15                   36           Y                        -               617.53             0.00                                                              0.00
EXTERNAL EVENT LISTENER-10026986                                  06/30/2016         36            15070                   24,616.62                   683.80                   36           Y                        -            24,616.62             0.00                                                              0.00
Labor - Sales Volume Report-10019458                              07/31/2016         36            15070                    8,495.96                   236.00                   36           Y                        -             8,495.96             0.00                                                              0.00
IRVING UPS BATTERY REPLACEMENT-10026979                           07/31/2016         36            15070                   10,218.87                   283.86                   36           Y                        -            10,218.87             0.00                                                              0.00
BACKUP SOLUTION-10026982                                          07/31/2016         36            15070                   87,843.78                 2,440.11                   36           Y                        -            87,843.78             0.00                                                              0.00
LABOR - ENCRYPTION AT REST-10019382                               08/31/2016         36            15070                  182,816.33                 5,078.23                   36           Y                        -           182,816.33             0.00                                                              0.00




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                                                                                                                                                                                                      Monthly
                                                                             Useful Life in
                                                            Date Placed in                                                                                                      Fully Depreciated?   Depreciation
                                                                               Months
Asset Description                                           Service                           GL Account         Cost Basis         Monthly Depreciation  Months Depreciated          (Y/N)           Expense           Accum Depr          NBV               D   DISPOSAL COST   ACCUM DEPR   NBV After Disposals
Labor - Quality Issues Tracking in ECM-10019399                08/31/2016         36            15070                   33,343.12                  926.20                  36           Y                           -           33,343.12              0.00                                                   0.00
BACKUP SOLUTION-10027000                                      08/31/2016          36            15070                   73,340.67               2,037.24                  36            Y                           -           73,340.67              0.00                                                   0.00
LABOR - Remove Exam Oracle from Ordering Process-10018782     09/30/2016          36            15070                   57,830.26               1,606.40                  36            Y                           -           57,830.26              0.00                                                   0.00
MD5 REMEDIATION-10026989                                      10/31/2016          36            15070                   12,652.10                 351.45                  36            Y                           -           12,652.10              0.00                                                   0.00
CCIS DATAMART-10027010                                        10/31/2016          36            15070                    5,982.66                 166.19                  36            Y                           -            5,982.66              0.00                                                   0.00
Labor - MRR Workflow Improvements ¿ Phase 1-10019528          11/04/2016          36            15070                   75,254.01               2,090.39                  36            Y                           -           75,254.01              0.00                                                   0.00
NITRO PRO LICENSES - 2-10027030                               11/30/2016          36            15070                    1,353.41                  37.59                  36            Y                           -            1,353.41              0.00                                                   0.00
ADOBE ROBOHELP LICENSE-10027031                               11/30/2016          36            15070                     984.12                   27.34                  36            Y                           -              984.12              0.00                                                   0.00
Labor--DOS Validation for ICD Effective Dates-10027037        11/30/2016          36            15070                     938.33                   26.06                  36            Y                           -              938.33              0.00                                                   0.00
WINDOWS XP UPGRD - IRVING-10019238                            01/31/2017          36            15070                  243,555.12               6,765.42                  36            Y                           -          243,555.12              0.00                                                   0.00
Labor - eNation Mobile Imaging (Phase 2)-10019526             01/31/2017          36            15070                    4,689.94                 130.28                  36            Y                           -            4,689.94              0.00                                                   0.00
Infrastructure Remediation: Upgrade Switches and-10027001     01/31/2017          36            15070                  258,616.70               7,183.80                  36            Y                           -          258,616.70              0.00                                                   0.00
HYPERION PHASE 1-10027005                                     01/31/2017          36            15070                  164,976.93               4,582.69                  36            Y                           -          164,976.93              0.00                                                   0.00
SECURITY: WIRELESS ACCESS POINT REMEDIATION-10027006          01/31/2017          36            15070                   40,990.27               1,138.62                  36            Y                           -           40,990.27              0.00                                                   0.00
Labor--Quality/Error tracking in ECM--Phase 2-10027038        01/31/2017          36            15070                     898.66                   24.96                  36            Y                           -              898.66              0.00                                                   0.00
WACO DATA CENTER UPGRADE-10028026                             01/31/2017          36            15070                   74,035.88               2,056.55                  36            Y                           -           74,035.88              0.00                                                   0.00
LABOR - DAVINCI 2.05 REPORTS-10017954                         02/28/2017          36            15070                    7,829.47                 217.49                  36            Y                           -            7,829.47              0.00                                                   0.00
LABOR - TELEPRO EHR CASE MGMT/WORKFLOW-10018389               02/28/2017          36            15070                  450,394.20              12,510.95                  36            Y                           -          450,394.20              0.00                                                   0.00
LABOR - Emerald Customer Implementation-10018829              02/28/2017          36            15070                  375,710.68              10,436.41                  36            Y                           -          375,710.68              0.00                                                 (0.00)
Labor - Davinci - Get Next Application-10019524               02/28/2017          36            15070                  175,486.37               4,874.62                  36            Y                           -          175,486.37              0.00                                                   0.00
Member Priority for HHC-10026985                              02/28/2017          36            15070                   36,316.51               1,008.79                  36            Y                           -           36,316.51              0.00                                                   0.00
SECURITY: 8 SERVERS TO COMPLETE P2V-10026994                  02/28/2017          36            15070                  130,084.95               3,613.47                  36            Y                           -          130,084.95              0.00                                                   0.00
PC BREAK/FIX-10026996                                         02/28/2017          36            15070                   29,559.18                 821.09                  36            Y                           -           29,559.18              0.00                                                   0.00
EXTERNAL EVENT LISTENER - PHASE 2-10027018                    02/28/2017          36            15070                    9,577.25                 266.03                  36            Y                           -            9,577.25              0.00                                                   0.00
Labor--Ebix B2B Originator for Ordering Offices-10027032      02/28/2017          36            15070                    4,041.71                 112.27                  36            Y                           -            4,041.71              0.00                                                   0.00
Labor--Examiner Attestation Feature--eNation-10028030         02/28/2017          36            15070                    2,437.75                  67.72                  36            Y                           -            2,437.75              0.00                                                   0.00
HEDIS LETTERS-10030028                                        02/28/2017          36            15070                    6,189.57                 171.93                  36            Y                           -            6,189.57              0.00                                                   0.00
SEA IMPROVEMENTS-10026988                                     03/31/2017          36            15070                   53,982.46               1,499.51                  36            Y                           -           53,982.46              0.00                                                   0.00
Security Enhancements: Jacksonville Call Center-10027024      03/31/2017          36            15070                   13,413.58                 372.60                  36            Y                           -           13,413.58              0.00                                                   0.00
MMR FORMAT CHANGES-10030026                                   03/31/2017          36            15070                    4,144.61                 115.13                  36            Y                           -            4,144.61              0.00                                                   0.00
S-2 PICSASSO INTEGRATION                                      05/09/2017          36            15070                    7,403.99                 205.67                  36            Y                           -            7,403.99              0.00                                                   0.00
LABOR - EDEN EXTENDED SER                                     06/30/2017          36            15070                   13,292.32                 369.23                  35            N                    369.23             12,923.09           369.23                                                 369.23
LABOR - Eden Rendition Pr                                     06/30/2017          36            15070                    6,725.46                 186.82                  35            N                    186.82              6,538.64           186.82                                                 186.82
LABOR - Eden Archival                                         06/30/2017          36            15070                  178,547.93               4,959.66                  35            N                  4,959.66            173,588.27          4,959.66                                               4,959.66
Windows 10 Support for Se                                     06/30/2017          36            15070                  389,479.28              10,818.87                  35            N                 10,818.87            378,660.41         10,818.87                                              10,818.87
SECURITY ENHANCEMENTS                                         06/30/2017          36            15070                  331,465.90               9,207.39                  35            N                  9,207.39            322,258.51          9,207.39                                               9,207.39
LABOR - NEW CSR UI FOR HH                                     06/30/2017          36            15070                  102,866.84               2,857.41                  35            N                  2,857.41            100,009.43          2,857.41                                               2,857.41
ITP-FY18-0155 - SynqQ Cha                                     07/13/2017          36            15070                    8,986.31                 249.62                  35            N                    249.62              8,736.69           249.62                                                 249.62
ITP-FY18-0116 - Integrate                                     07/18/2017          36            15070                    6,165.70                 171.27                  34            N                    171.27              5,823.16           342.54                                                 342.54
ITP-FY18-0225 - SEA Manag                                     07/20/2017          36            15070                    4,303.14                 119.53                  34            N                    119.53              4,064.08           239.06                                                 239.06
ITP-FY18-0204 - MOR/MMR N                                     07/21/2017          36            15070                    1,656.71                  46.02                  34            N                     46.02              1,564.67            92.04                                                   92.04
ITP-FY18-0250 - Electroni                                     07/26/2017          36            15070                    3,791.06                 105.31                  34            N                    105.31              3,580.45           210.61                                                 210.61
2- Unity- Software & Supp                                     07/31/2017          36            15070                     976.46                   27.12                  34            N                     27.12                922.21            54.25                                                   54.25
ITP-FY18-0203 - Diabetic                                      08/01/2017          36            15070                   11,111.97                 308.67                  34            N                    308.67             10,494.64           617.33                                                 617.33
Labor - NextGen ┐ EHR Ven                                     09/30/2017          36            15070                   56,177.42               1,560.48                  32            N                  1,560.48             49,935.48          6,241.94                                               6,241.94
Ceridian HCM                                                  09/30/2017          36            15070                  454,927.59              12,636.88                  32            N                 12,636.88            404,380.08         50,547.51                                              50,547.51
ITP-FY18-0160 - Enchance                                      09/30/2017          36            15070                   25,572.72                 710.35                  32            N                    710.35             22,731.31          2,841.41                                               2,841.41
ITP-FY18-0016 - GFI LANGu                                     10/01/2017          36            15070                    6,000.47                 166.68                  32            N                    166.68              5,333.75           666.72                                                 666.72
ITP-FY18-0057 Terminal Sv                                     10/01/2017          36            15070                   17,545.84                 487.38                  32            N                    487.38             15,596.30          1,949.54                                               1,949.54
ITP-FY18-0108 - Upgrade E                                     10/22/2017          36            15070                  113,060.85               3,140.58                  31            N                  3,140.58             97,357.95         15,702.90                                              15,702.90
ITP-FY18-0040-Implement D                                     10/31/2017          36            15070                    1,387.97                  38.55                  31            N                     38.55              1,195.20           192.77                                                 192.77
ITP-FY18-0231 - Ricoh Secure Print in WCP and WPW             10/01/2017                        15070                   14,995.51                 416.54                  32            N                    416.54             13,329.34          1,666.17                                               1,666.17
                                                                                  36

MS MPSAB SQL Server                                           12/01/2017          36            15070                   72,833.62               2,023.16                  30            N                  2,023.16             60,694.68         12,138.94                                              12,138.94
MS MPSAB DYNCRMSVR PRO US                                     12/08/2017          36            15070                   18,985.17                 527.37                  30            N                    527.37             15,820.98          3,164.20                                               3,164.20
MS MPSAC WIN SERVER DATCR                                     12/01/2017          36            15070                   11,434.45                 317.62                  30            N                    317.62              9,528.71          1,905.74                                               1,905.74
MS MPSAB WIN SERVER DATCR                                     12/01/2017          36            15070                   46,181.07               1,282.81                  30            N                  1,282.81             38,484.23          7,696.85                                               7,696.85
CR2996 Vantage CRA                                            11/30/2017          36            15070                     764.31                   21.23                  30            N                     21.23                636.93           127.39                                                 127.39
ITP-FY18-0223 - iGO Special Authorization Handling            12/12/2017          36            15070                   5,887.86                  163.55                  30            N                    163.55              4,906.55           981.31                                                 981.31
CR3130 KOC Tele-interview                                     11/30/2017          36            15070                  12,692.19                  352.56                  30            N                    352.56             10,576.83          2,115.37                                               2,115.37
CR3167 BNSF iSchedule to S2 Conversion                        01/04/2018          36            15070                  38,915.64                1,080.99                  29            N                  1,080.99             31,348.71          7,566.93                                               7,566.93
CR3198 Thrivent Addtnl Exam Acct for DOI                      09/30/2017          36            15070                   2,598.82                   72.19                  32            N                     72.19              2,310.06           288.76                                                 288.76
ITP-FY18-0232 - Ricoh Secure Print in FTW                     11/01/2017          36            15070                    1,800.14                  50.00                  31            N                     50.00              1,550.12           250.02                                                 250.02
CRA Oscar Customer Implementation                             11/21/2017          36            15070                   14,176.43                 393.79                  30            N                    393.79             11,813.69          2,362.74                                               2,362.74
ITP-FY18-0036 ┐ 802.1x Implementation (WCP)                   11/01/2017          36            15070                     749.25                   20.81                  31            N                     20.81                645.19           104.06                                                 104.06
ITP-FY18-0037 ┐ 802.1x Implementation (WPW)                   11/01/2017          36            15070                     513.00                   14.25                  31            N                     14.25                441.75            71.25                                                   71.25
CR3117 NML 103 XML                                            11/30/2017          36            15070                   10,118.50                 281.07                  30            N                    281.07              8,432.08          1,686.42                                               1,686.42
CR3204 MOO APS SUM                                            10/13/2017          36            15070                    2,848.38                  79.12                  32            N                     79.12              2,531.89           316.49                                                 316.49
CR3196 Pru December Release                                   01/02/2018          36            15070                    2,048.53                  56.90                  29            N                     56.90              1,650.20           398.33                                                 398.33
CR3197 TIAA TeleInterview                                     01/20/2018          36            15070                   23,479.48                 652.21                  28            N                    652.21             18,261.82          5,217.66                                               5,217.66
CR3131-Prudential Life Distributors for Edward                01/04/2018          36            15070                    1,834.60                  50.96                  29            N                     50.96              1,477.87           356.73                                                 356.73
CR3205 Crump Banner AU                                        01/16/2018          36            15070                   11,753.49                 326.49                  28            N                    326.49              9,141.60          2,611.89                                               2,611.89
Amazon - Samsung 850 EVO - 500GB - Tseng's upgrade            11/16/2017          36            15070                     182.93                    5.08                  30            N                       5.08               152.44            30.49                                                   30.49
MS MPSA Office Std - 50                                       12/28/2017          36            15070                   18,479.90                 513.33                  29            N                    513.33             14,886.59          3,593.31                                               3,593.31
Labor - Retire Exam4Windows                                   02/28/2018          36            15070                  256,088.96               7,113.58                  27            N                  7,113.58            192,066.72         64,022.24                                              64,022.24
MCAFEE ATD                                                    11/01/2017          36            15070                    2,024.15                  56.23                  31            N                     56.23              1,743.02           281.13                                                 281.13
SECURITY ENHANCEMENTS - PALO ALTO                             02/28/2018          36            15070                  113,732.95               3,159.25                  27            N                  3,159.25             85,299.71         28,433.24                                              28,433.24
Labor--FTP to MFT Migration                                   08/08/2017          36            15070                   11,295.41                 313.76                  34            N                    313.76             10,667.89           627.52                                                 627.52




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                                                                                                                                                                                                        Monthly
                                                                               Useful Life in
                                                              Date Placed in                                                                                                      Fully Depreciated?   Depreciation
                                                                                 Months
Asset Description                                             Service                           GL Account         Cost Basis         Monthly Depreciation  Months Depreciated          (Y/N)           Expense         Accum Depr          NBV               D   DISPOSAL COST   ACCUM DEPR   NBV After Disposals
ITP-FY18-0139 - eReview QA Enhancements                          01/01/2018         36            15070                   45,511.59                1,264.21                  29           N                  1,264.21           36,662.11          8,849.48                                               8,849.48
ITP-FY18-0258 - EOL Tele Order Entry for Knights of             12/31/2017          36            15070                   13,991.86                 388.66                  29            N                   388.66            11,271.22          2,720.64                                               2,720.64
ITP-FY18-0035 - 802.1X Implementation (IRV)                     10/31/2017          36            15070                    1,167.76                  32.44                  31            N                     32.44            1,005.57           162.19                                                 162.19
ITP-FY18-0062 - Deploy Spare Netgears to Corporate              08/31/2017          36            15070                     472.50                   13.13                  33            N                     13.13              433.13            39.38                                                   39.38
ITP-FY18-0018 - Migrate DMZ1 to DMZ2                            09/30/2017          36            15070                    2,117.82                  58.83                  32            N                     58.83            1,882.51           235.31                                                 235.31
ITP-FY18-0228-Upgade SEA to Windows 2012                        12/31/2017          36            15070                    3,239.38                  89.98                  29            N                     89.98            2,609.50           629.88                                                 629.88
SolarWinds Serv-U Server                                        01/09/2018          36            15070                    1,621.04                  45.03                  29            N                     45.03            1,305.84           315.20                                                 315.20
ITP-FY18-0229 - MRR Special Authorization Processing System     03/31/2018          36            15070                  372,981.83              10,360.61                  26            N                10,360.61           269,375.77     103,606.06                                                103,606.06
ITP-FY18-0254 - Automate the Process of Refreshing TML's        03/31/2018          36            15070                   18,675.25                 518.76                  26            N                   518.76            13,487.68          5,187.57                                               5,187.57
ITP-FY18-0252 - Electronic Forms Deployed for                   01/19/2018          36            15070                   50,240.45               1,395.57                  28            N                  1,395.57           39,075.91         11,164.54                                              11,164.54
FY16 XP-2-W10 Upgrade                                           03/31/2018          36            15070                   18,344.42                 509.57                  26            N                   509.57            13,248.75          5,095.67                                               5,095.67
ITP-FY18-0241 - Provider Portal Password Expiration             03/31/2018          36            15070                    4,007.76                 111.33                  26            N                   111.33             2,894.49          1,113.27                                               1,113.27
ITP-FY18-0285 - Implement XML Export Capabilities               01/19/2018          36            15070                    5,620.73                 156.13                  28            N                   156.13             4,371.68          1,249.05                                               1,249.05
ITP-FY18-0293 - Allscripts 17.3 Updates and                     03/01/2018          36            15070                    3,413.91                  94.83                  27            N                     94.83            2,560.43           853.48                                                 853.48
ITP-FY18-0273 - Eliminate All EOL Admin Access from             03/01/2018          36            15070                   10,629.02                 295.25                  27            N                   295.25             7,971.77          2,657.26                                               2,657.26
ITP-FY18-0199 - Microsoft Dynamics CRM Upgrade                  04/30/2018          36            15070                   58,309.14               1,619.70                  25            N                  1,619.70           40,492.46         17,816.68                                              17,816.68

ITP-FY18-0200 - Account Lockout Capability for All Exte         04/30/2018          36            15070                    7,923.41                 220.09                  25            N                   220.09             5,502.37          2,421.04                                               2,421.04

ITP-FY18-0121 Ceridian Create Final ADP Report                  04/30/2018          36            15070                   12,600.00                 350.00                  25            N                   350.00             8,750.00          3,850.00                                               3,850.00

ITP-FY18-0167 Rationalize Inspections Imaging                   04/30/2018          36            15070                     500.59                   13.91                  25            N                     13.91              347.63           152.96                                                 152.96

20 NITRO LICENSES                                               05/17/2018          36            15070                    2,587.82                  71.88                  24            N                     71.88            1,725.21           862.61                                                 862.61
Labor--PilotFish Upgrade                                        04/30/2018          36            15070                   29,940.57                 831.68                  25            N                   831.68            20,792.06          9,148.51                                               9,148.51

ITP-FY18-0221 - iGO CRL e-Lab Slip Integration                  05/31/2018          36            15070                   80,825.00               2,245.14                  24            N                  2,245.14           53,883.33         26,941.67                                              26,941.67

ITP-FY18-0172 - MRR Credit Card Reconciliation                  04/30/2018          36            15070                   37,778.59               1,049.41                  25            N                  1,049.41           26,235.13         11,543.46                                              11,543.46

ITP-FY18-0049 Data Center LAN Segmentation Phase II             03/31/2018          36            15070                   14,625.00                 406.25                  26            N                   406.25            10,562.50          4,062.50                                               4,062.50

ITP-FY18-0229 - MRR Special Authorization Processing Sy         05/31/2018          36            15070                   16,470.68                 457.52                  24            N                   457.52            10,980.45          5,490.23                                               5,490.23

ITP-FY18-0133 - Hyperion - Phase II                             08/31/2018          36            15070                  208,651.54               5,795.88                  21            N                  5,795.88          121,713.40         86,938.14                                              86,938.14

ITP-FY18-0121 - Ceridian HCM PHASE 2                            08/31/2018          36            15070                  113,904.04               3,164.00                  21            N                  3,164.00           66,444.02         47,460.02                                              47,460.02

ITP-FY19-0116 Add Discussions to MRR Auth                       08/31/2018          36            15070                   14,551.88                 404.22                  21            N                   404.22             8,488.60          6,063.28                                               6,063.28

ITP-FY18-0193 - New APS Summary Application from eNoah          11/30/2018          36            15070                  232,827.16               6,467.42                  18            N                  6,467.42          116,413.58     116,413.58                                                116,413.58
                                                                11/30/2018          36            15070                   57,814.42               1,605.96                  18            N                  1,605.96           28,907.21         28,907.21                                              28,907.21

ITP-FY19-0118 - External Facility Search                     11/30/2018        36                 15070                    5,478.89                 152.19                  18            N                   152.19             2,739.45          2,739.45                                               2,739.45

ITP-FY18-0254 -- Automate the Process of Refreshing Project 211/30/2018        36                 15070                    3,748.43                 104.12                  18            N                   104.12             1,874.22          1,874.22                                               1,874.22

ITP-FY19-0128 EOL Enhancements for Lit Customers             11/30/2018        36                 15070                   13,408.92                 372.47                  18            N                   372.47             6,704.46          6,704.46                                               6,704.46

ITP-FY19-0129 External Discussions Webservice                11/30/2018        36                 15070                    8,687.93                 241.33                  18            N                   241.33             4,343.97          4,343.97                                               4,343.97

ITP-FY19-0131 - MRR Auth Enhancements for USAA One Touch     11/30/2018        36                 15070                   14,122.43                 392.29                  18            N                   392.29             7,061.22          7,061.22                                               7,061.22

ITP-FY18-0115-Security Event Logging Std Across All EMSI Apps 1/11/2019        36                 15070                    7,871.18                 218.64                  17            N                   218.64             3,716.95          4,154.23                                               4,154.23
ITP-FY19-0105 - Enation Productivity                         12/31/2018        36                 15070                  125,402.79               3,483.41                  17            N                  3,483.41           59,217.98         66,184.81                                              66,184.81
ITP-FY19-0107 - ScheduleEz Productivity                       1/31/2019        36                 15070                   40,576.67               1,127.13                  16            N                  1,127.13           18,034.08         22,542.59                                              22,542.59
ITP- FY19-0002-FY19 CAPEX PURCHASE - IT SOFTWARE 01/31/2019                    36                 15070                    3,128.64                  86.91                  16            N                     86.91            1,390.51          1,738.13                                               1,738.13
ITP-FY18-0221-2 iGO CRL e-Lab Slip Integration               11/15/2018        36                 15070                    4,268.75                 118.58                  19            N                   118.58             2,252.95          2,015.80                                               2,015.80

ITP-FY19-0132 - FedEx to UPS Replacement                     12/31/2018        36                 15070                    5,535.85                 153.77                  17            N                   153.77             2,614.15          2,921.70                                               2,921.70

ITP-FY19-1111 - ApplicInt                                    02/28/2019        36                 15070                    5,263.00                 146.19                  15            N                   146.19             2,192.92          3,070.08                                               3,070.08

ITP-FY19-0108 Clinical Req. Creation Application             03/31/2019        36                 15070                  140,621.94               3,906.17                  14            N                  3,906.17           54,686.31         85,935.63                                              85,935.63

ITP-FY19-0111 Genzyme Integration                            03/31/2019        36                 15070                   59,382.96               1,649.53                  14            N                  1,649.53           23,093.37         36,289.59                                              36,289.59

ITP-FY19-0037 - SterlingOne Integration for Examiners in ECS 03/31/2019        36                 15070                   18,626.30                 517.40                  14            N                   517.40             7,243.56         11,382.74                                              11,382.74

ITP-FY19-0034 - CCIS Custom Invoice Formatting and Distribution    to Customers36
                                                             03/31/2019                           15070                   20,507.88                 569.66                  14            N                   569.66             7,975.29         12,532.59                                              12,532.59

ITP-FY19-0147 - Automation of One Touch billing for MRR      03/31/2019        36                 15070                   43,803.38               1,216.76                  14            N                  1,216.76           17,034.65         26,768.73                                              26,768.73

Computer Software Licenses Palo Alto                         12/01/2018        36                 15070                  322,316.98               8,953.25                  18            N                  8,953.25          161,158.49     161,158.49                                                161,158.49

ITP-FY18-0072 - Upgrade/replace all servers to               04/30/2019        36                 15070                   71,714.41               1,992.07                  13            N                  1,992.07           25,896.87         45,817.54                                              45,817.54

ITP-FY19-0117 - EMSI-Prudential CallComplete (CR3046)        05/31/2019        36                 15070                  288,475.02               8,013.20                  12            N                  8,013.20           96,158.34     192,316.68                                                192,316.68

ITP-FY19-0027 - Create SEA Repository for Customer Forms     05/31/2019        36                 15070                    6,610.08                 183.61                  12            N                   183.61             2,203.36          4,406.72                                               4,406.72

 ITP-FY19-0158 PW Shutdown & Move - 2 INSTALLATION SERVICES  05/31/2019 PW/CP IN
                                                                               36 WACO            15070                    2,814.50                  78.18                  12            N                     78.18              938.17          1,876.33                                               1,876.33

 ITP-FY19-0158 PW Shutdown & Move - 1 RELOCATE CP PROJECTOR AND SETUP
                                                             05/31/2019        36                 15070                    1,349.66                  37.49                  12            N                     37.49              449.89           899.77                                                 899.77
                                                             05/31/2019
ITP-TY19-0158 Shut down PW project licenses for remote workers                 36                 15070                    4,026.28                 111.84                  12            N                   111.84             1,342.09          2,684.19                                               2,684.19
ITP-FY19-0158 – PW close & move Hardware - Brazos            05/31/2019        36                 15070                     949.47                   26.37                  12            N                     26.37              316.49           632.98                                                 632.98
ITP-FY18-0213 Upgrade B2B Applications to .NET v4.x          06/30/2019        36                 15070                   64,469.35               1,790.82                  11            N                  1,790.82           19,698.97         44,770.38                                              44,770.38
ITP-FY19-0097 - Refactor SEA Status Messaging Core           07/31/2019        36                 15070                   64,658.81               1,796.08                  10            N                  1,796.08           17,960.78         46,698.03                                              46,698.03
ITP-FY19-0044 - B2B Portal Enhancements                      07/31/2019        36                 15070                    3,690.37                 102.51                  10            N                   102.51             1,025.10          2,665.27                                               2,665.27
CR3408- CC Image Results post to EOL                         07/31/2019        36                 15070                   11,242.74                 312.30                  10            N                   312.30             3,122.98          8,119.76                                               8,119.76
CR3439- Pru CC DocuSign Automation                           07/31/2019        36                 15070                    3,932.85                 109.25                  10            N                   109.25             1,092.46          2,840.39                                               2,840.39
ITP-FY19-0167 - Post Payroll Geo Multiplier Update           08/31/2019        36                 15070                   16,420.65                 456.13                   9            N                   456.13             4,105.16         12,315.49                                              12,315.49
ITP-FY19-0014 Insight Phase III                              08/31/2019        36                 15070                   27,630.12                 767.50                   9            N                   767.50             6,907.53         20,722.59                                              20,722.59
0057 - SecureSlip and One Touch Billing Automation           08/31/2019        36                 15070                   14,757.73                 409.94                   9            N                   409.94             3,689.43         11,068.30                                              11,068.30
                                                             09/30/2019
ITP-FY18-0217 - Generic Status Enhancements (Automates Onboarding Capabilities)36                 15070                   10,353.57                 287.60                   8            N                   287.60             2,300.79          8,052.78                                               8,052.78
ITP-FY19-0170 - Motus Implementation for Examiner Mileage    09/30/2019        36                 15070                   16,501.77                 458.38                   8            N                   509.32             3,667.06         12,834.71                                              12,834.71
0197 - Yearly SAN Disk Upgrades                              09/30/2019        36                 15070                    2,687.07                  74.64                   8            N                     74.64              597.13          2,089.95                                               2,089.95
0243 - Automate CD4 Test Removals for Genzyme                09/30/2019        36                 15070                   11,084.66                 307.91                   8            N                   307.91             2,463.26          8,621.40                                               8,621.40
ITP-FY18-0117 - CR3046                                       10/31/2019        36                 15070                   21,637.25                 601.03                   7            N                   601.03             4,207.24         17,430.01                                              17,430.01
0245 â¿¿ Branch Locator Data Extract for Emsinet.com         10/31/2019        36                 15070                    1,214.45                  33.73                   7            N                     33.73              236.14           978.31                                                 978.31
CR3452- Pru CRM/ApplicInt phase II bug fixes/builds          10/31/2019        36                 15070                    1,313.28                  36.48                   7            N                     36.48              255.36          1,057.92                                               1,057.92
ITP-FY19-0148 Pivot Integration with LabWatch                12/31/2019        36                 15070                   10,201.08                 283.36                   5            N                   283.36             1,416.82          8,784.26                                               8,784.26
                                                             01/31/2020
0259 - MRR Auth Enhancements to Limit Offshore Permissions by Team             36                 15070                   15,455.60                 429.32                   4            N                   429.32             1,717.29         13,738.31                                              13,738.31




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                                                                                                                                                                                                          Monthly
                                                                               Useful Life in
                                                             Date Placed in                                                                                                         Fully Depreciated?   Depreciation
                                                                                 Months
Asset Description                                            Service                            GL Account         Cost Basis          Monthly Depreciation  Months Depreciated           (Y/N)           Expense         Accum Depr            NBV               D   DISPOSAL COST     ACCUM DEPR         NBV After Disposals
0260 - New Consolidated Invoice Format for LItigation           01/31/2020          36            15070                     5,893.18                  163.70                    4           N                    163.70                654.80          5,238.38                                                       5,238.38
0264 - TouchPoints - Remove Optional Test from Genzyme Patients   01/31/2020        36            15070                   18,272.16                  507.56                    4            N                   507.56             2,030.24           16,241.92                                                      16,241.92
ITP-FY18-0286-Pivot Scheduling System                             02/29/2020        36            15070                1,666,043.41                46,278.98                   3            N                46,278.98           138,836.95      1,527,206.46                                                     1,527,206.46

ITP-FY19-0126 - Genzyme BI Solution                               02/29/2020        36            15070                  116,428.72                 3,234.13                   3            N                  3,234.13            9,702.39       106,726.33                                                        106,726.33

0121 - Automate Computer Operations Business Processes            02/29/2020        36            15070                   14,570.49                  404.74                    3            N                   404.74             1,214.21           13,356.28                                                      13,356.28

0181 - Replace Doorkey Card System in Irving                      02/29/2020        36            15070                   21,860.14                  607.23                    3            N                   607.23             1,821.68           20,038.46                                                      20,038.46

0261 - Touchpoints Exploration for Workplace and Exam             02/29/2020        36            15070                   13,523.65                  375.66                    3            N                   375.66             1,126.97           12,396.68                                                      12,396.68

0266 - Insight Usability Upgrades                                 02/29/2020        36            15070                   21,024.92                  584.03                    3            N                   584.03             1,752.08           19,272.84                                                      19,272.84

0050 - Update FOLD to Retire Documentum                           02/29/2020        36            15070                    1,433.97                    39.83                   3            N                     39.83                119.50          1,314.47                                                       1,314.47

ITP-FY18-0182 - eHR deployment to Healthport                      03/31/2020        36            15070                  182,269.91                 5,063.05                   2            N                  5,063.05           10,126.11       172,143.80                                                        172,143.80

ITP-FY19-0095 - EOP Enterprise Delivery Channel                   03/31/2020        36            15070                   95,581.88                 2,655.05                   2            N                  2,655.05            5,310.10           90,271.78                                                      90,271.78

0239 - Project Phoenix                                            03/31/2020        36            15070                   73,556.12                 2,043.23                   2            N                  2,043.23            4,086.45           69,469.67                                                      69,469.67

0157 - Branch Cloud Telephony Upgrade                             03/31/2020        36            15070                   55,513.69                 1,542.05                   2            N                  1,542.05            3,084.09           52,429.60                                                      52,429.60

0011 - Automate Special Auth Matching to APS Order                03/31/2020        36            15070                   43,070.95                 1,196.42                   2            N                  1,196.42            2,392.83           40,678.12                                                      40,678.12

0119-Cap-Business Continuity FY20                                 03/31/2020        36            15070                    7,517.41                  208.82                    2            N                   208.82                 417.63          7,099.78                                                       7,099.78

0014 - Automate Follow-up Contact in TP+                          03/31/2020        36            15070                   24,352.20                  676.45                    2            N                   676.45             1,352.90           22,999.30                                                      22,999.30




15070 TOTAL - COMPUTER SOFTWARE                                                                                       11,275,181.96                                                                          215,291.45        7,399,143.99      3,876,037.97     T          1,713.92           1,713.92          3,876,037.97




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Examination Management Services, Inc.
Attachment B. 61
Internet domain names and websites

EMSI Domain Names

emsinet.com
emsiqa.com
emsinet-test.com




EMSI Internet Presence

adfs.emsinet.com
ah_emsiah.emsinet.com
allscriptsemr.emsiqa.com
applicintcrm.emsinet.com
applicintcrm.emsiqa.com
applicint-test.emsinet.com
authservice.emsinet.com
authservice.emsinet-test.com
authservice.emsiqa.com
authservice2.emsiqa.com
autodiscover.emsinet.com
awuag.emsinet.com
awvpn.emsinet.com
b2b.emsinet.com
b2b.emsinet-test.com
b2b.emsiqa.com
b2bharness.emsinet.com
barracuda3.emsinet.com
branchlocator.emsinet.com
charts.emsinet.com
cioxemr.emsinet.com
cioxemr.emsiqa.com
credentialing.emsinet.com
credentialing.emsiqa.com
crl.emsinet.com
crm.emsinet.com
cuda.emsinet.com
cvpn.emsinet.com
DFWEMG01.emsinet.com
DFWEMG02.emsinet.com
dfwmeggw.emsinet.com
dfwpah01.emsinet.com
dfwvpn.emsinet.com
ecm.emsinet.com
Case 20-32548-hdh7 Doc 1 Filed 10/06/20     Entered 10/06/20 17:46:42   Page 34 of 553
Examination Management Services, Inc.
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ecm.emsinet-test.com
ecm.emsiqa.com
edenonline.emsinet.com
edenonline.emsiqa.com
els.emsinet.com
els.emsiqa.com
emr.emsinet-test.com
emr.emsiqa.com
emrinterface.emsinet.com
emrinterface-test.emsinet.com
emsiah.emsinet.com
enation.emsinet.com
enation.emsinet-test.com
enation.emsiqa.com
eol6.emsinet.com
eol6.emsinet-test.com
eol6.emsiqa.com
eol-mobileinterface.emsinet.com
eol-mobileinterface-test.emsinet.com
epoah.emsinet.com
etapplicintdemo.emsinet.com
examtrack.emsinet.com
examtrack-test.emsinet.com
externaldiscussions.emsinet.com
externaldiscussions.emsiqa.com
externaldocumentuploadservice.emsinet.com
facilitylookup.emsinet.com
facilitylookup.emsiqa.com
formfox.emsinet.com
formfox.emsiqa.com
formsonline.emsinet.com
formsonlineexternal.emsinet.com
ftp.emsinet.com
houdini.emsinet.com
houdini-test.emsinet.com
igomobile-aaa.emsiqa.com
igomobile-aeg.emsinet.com
igomobile-aeg.emsiqa.com
igomobile-aegtest.emsinet.com
igomobile-ani.emsinet.com
igomobile-ani.emsiqa.com
igomobile-anitest.emsinet.com
igomobile-axa.emsinet.com
Case 20-32548-hdh7 Doc 1 Filed 10/06/20   Entered 10/06/20 17:46:42   Page 35 of 553
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igomobile-axa.emsiqa.com
igomobile-axatest.emsinet.com
igomobile-ban.emsinet.com
igomobile-ban.emsiqa.com
igomobile-bantest.emsinet.com
igomobile-fnw.emsinet.com
igomobile-fnw.emsiqa.com
igomobile-fnwtest.emsinet.com
igomobile-ing.emsinet.com
igomobile-ing.emsiqa.com
igomobile-ingtest.emsinet.com
igomobileinterface.emsinet.com
igomobile-koc.emsinet.com
igomobile-koc.emsiqa.com
igomobile-koctest.emsinet.com
igomobile-mfb.emsinet.com
igomobile-mfb.emsiqa.com
igomobile-mfbtest.emsinet.com
igomobile-mml.emsinet.com
igomobile-mml.emsiqa.com
igomobile-mmltest.emsinet.com
igomobile-nat.emsinet.com
igomobile-nat.emsiqa.com
igomobile-nml.emsinet.com
igomobile-nml.emsiqa.com
igomobile-nmltest.emsinet.com
igomobile-nyl.emsinet.com
igomobile-nyl.emsiqa.com
igomobile-nyltest.emsinet.com
igomobile-ohn.emsinet.com
igomobile-ohn.emsiqa.com
igomobile-ohntest.emsinet.com
igomobile-pru.emsinet.com
igomobile-pru.emsiqa.com
igomobile-prutest.emsinet.com
integrationsvcs.emsinet.com
integrationsvcs-test.emsinet.com
interfacepoint-test.emsinet.com
ipadws.emsinet.com
legalfacts.emsinet.com
legalfacts.emsinet-test.com
legalfacts.emsiqa.com
lexisnexis.emsinet-test.com
Case 20-32548-hdh7 Doc 1 Filed 10/06/20   Entered 10/06/20 17:46:42   Page 36 of 553
Examination Management Services, Inc.
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lexisnexis.emsiqa.com
maestro.emsinet.com
maestroregistration1.emsinet.com
mailfe.emsinet.com
mail-gate3.emsinet.com
merlin.emsinet.com
merlin-test.emsinet.com
mft.emsinet.com
mro.emsinet.com
myresults.emsinet.com
nextgenemr.emsiqa.com
ns1.emsinet.com
ns2.emsinet.com
nylgl.emsinet.com
nylgl-test.emsinet.com
ows.emsinet.com
picasso.emsinet.com
picasso-test.emsinet.com
pivotexternal.emsinet.com
pivotexternal.emsiqa.com
portal.emsinet.com
recordsretrieval2.emsinet.com
recordsretrieval2-test.emsinet.com
recordsretrieval2-test.emsinet-test.com
recordsretrieval2-test.emsiqa.com
remote.emsinet.com
rvpn.emsinet.com
s2.emsinet.com
s2.emsiqa.com
scheduleex-serviceext.emsiqa.com
schedule-ez.emsinet.com
schedule-ez.emsinet-test.com
schedule-ez.emsiqa.com
schedule-ez-qa.emsinet.com
scheduleez-service.emsinet.com
scheduleez-serviceext.emsinet.com
schedule-ezserviceext.emsinet.com
scheduleez-serviceext.emsinet-test.com
scheduleez-serviceexttest.emsinet.com
scheduleez-service-test.emsinet.com
schedule-ez-test.emsinet.com
securemail.emsinet.com
seg.emsinet.com
Case 20-32548-hdh7 Doc 1 Filed 10/06/20   Entered 10/06/20 17:46:42   Page 37 of 553
Examination Management Services, Inc.
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sftp.emsinet.com
smft.emsinet.com
sonata.emsinet.com
sonata.emsiqa.com
sonata-test.emsinet.com
stratusiq.emsinet.com
testvpn.emsinet.com
tutorials.emsinet.com
underwriting.emsinet.com
underwriting-test.emsinet.com
           Case 20-32548-hdh7 Doc 1 Filed 10/06/20                                          Entered 10/06/20 17:46:42                Page 38 of 553

 Fill in this information to identify the case:

 Debtor name          Examination Management Services, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF TEXAS

 Case number (if known)
                                                                                                                                        Check if this is an
                                                                                                                                             amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                   Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                               Amount of claim             Value of collateral
                                                                                                                                               that supports this
                                                                                                                   Do not deduct the value     claim
                                                                                                                   of collateral.
        Dell Financial Services
 2.1                                                                                                                          Unknown                  Unknown
        L.L.C.                                        Describe debtor's property that is subject to a lien
        Creditor's Name                               Unknown
        Mail Stop PS2DF-23
        One Dell Way
        Round Rock, TX 78682
        Creditor's mailing address                    Describe the lien
                                                      UCC-1
                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
         No                                           Contingent
         Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative
        priority.                                      Disputed

 2.2    MidCap Financial Trust                        Describe debtor's property that is subject to a lien            $20,000,000.00                  Unknown
        Creditor's Name                               Substatially all property
        c/o MidCap Financial
        Services, LLC
        7255 Woodmont Avenue
        Suite 200
        Bethesda, MD 20814
        Creditor's mailing address                    Describe the lien
                                                      Security Agreement and UCC Filing
        notices@midcapfinancial.c                     Is the creditor an insider or related party?
        om                                             No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
        4/26/2019                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number



Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 2
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 Debtor       Examination Management Services, Inc.                                                   Case number (if known)
              Name

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
         No                                           Contingent
         Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative       Disputed
        priority.



        PITNEY BOWES GLOBAL
 2.3                                                                                                                             Unknown              Unknown
        FINANCIAL                                     Describe debtor's property that is subject to a lien
        Creditor's Name                               Unknown
        27 Waterview Drive
        Shelton, CT 06484
        Creditor's mailing address                    Describe the lien
                                                      UCC-1
                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
         No                                           Contingent
         Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative
        priority.                                      Disputed


                                                                                                                               $20,000,000.
 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                        00

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                     On which line in Part 1 did        Last 4 digits of
                                                                                                              you enter the related creditor?    account number for
                                                                                                                                                 this entity




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 2 of 2
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 Fill in this information to identify the case:

 Debtor name         Examination Management Services, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF TEXAS

 Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                                amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

           No. Go to Part 2.
           Yes. Go to line 2.
       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                  Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                       Unknown          Unknown
           Abbigail McNiel                                           Check all that apply.
           312 Forest Creek Ln                                        Contingent
           Bruceville, TX 76630                                       Unliquidated
                                                                      Disputed
           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                       Unknown          Unknown
           Abby Iverson                                              Check all that apply.
           517 s west ave                                             Contingent
           Sioux Falls, SD 57104                                      Unliquidated
                                                                      Disputed
           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                              page 1 of 459
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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.3      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Abhiram Reddy                                              Check all that apply.
          5725 W Rochelle Ave                                         Contingent
          Apartment 10-202                                            Unliquidated
          Las Vegas, NV 89103
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.4      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Abinash Kaur                                               Check all that apply.
          31065 133rd AVE SE                                          Contingent
          Auburn, WA 98092                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.5      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Adam Fazio                                                 Check all that apply.
          3228 Fm 217                                                 Contingent
          Valley Mills, TX 76689                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.6      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Adam Smith                                                 Check all that apply.
          1928 68th Ave NE                                            Contingent
          Tacoma, WA 98422                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                     Page 2 of 459
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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.7      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Adria Johnson                                              Check all that apply.
          5101 Springlake pkwy                                        Contingent
          Apt 1022                                                    Unliquidated
          Haltom City, TX 76117
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.8      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Adriana Wilcox                                             Check all that apply.
          1613 Clearmeadow Dr                                         Contingent
          Allen, TX 75002                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.9      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Adriane Perry                                              Check all that apply.
          1034 Drake Feather Drive                                    Contingent
          Orange Park, FL 32065                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.10     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Adrieanna Curtis                                           Check all that apply.
          1301 N 60th St                                              Contingent
          Waco, TX 76710                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.11     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Adrielle Arroyo                                            Check all that apply.
          417 Fernwood Dr                                             Contingent
          waco, TX 76712                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.12     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Aeriona Robertson                                          Check all that apply.
          1303 Victoria St.                                           Contingent
          Waco, TX 76705                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.13     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Agnes Pope                                                 Check all that apply.
          4112 wilcrest circle east                                   Contingent
          jacksonville, FL 32277                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.14     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Agustin Ramierez                                           Check all that apply.
          9210 Fireside Dr.                                           Contingent
          Dallas, TX 75217                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.15     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Aiko Velazquez                                             Check all that apply.
          10210 San Diego Mission Rd                                  Contingent
          #55                                                         Unliquidated
          San Diego, CA 92108
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.16     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Aissa Woods                                                Check all that apply.
          21a Scott Circle                                            Contingent
          Waco, TX 76705                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.17     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Alafia Heslop                                              Check all that apply.
          178 Moury Ave #3622                                         Contingent
          atlanta, GA 30315                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.18     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Alan Bedford                                               Check all that apply.
          971 Deck Road                                               Contingent
          Gray Court, SC 29645                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.19     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Alan Robinson                                              Check all that apply.
          P O Box 14806                                               Contingent
          Atlanta, GA 30324                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.20     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Alan Stine                                                 Check all that apply.
          7548 Hightower Drive                                        Contingent
          North Richland Hills, TX 76182                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.21     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          ALASKA DEPT OF REVENUE                                     Check all that apply.
          PO BOX 110420                                               Contingent
          333 W WILLOUGHBY                                            Unliquidated
          11TH FL SIDE B
          JUNEAU, AK 99811-0420                                       Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.22     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          ALASKA DEPT OF REVENUE                                     Check all that apply.
          550 WEST 7TH AVE                                            Contingent
          STE 500                                                     Unliquidated
          ANCHORAGE, AK 99501-3555
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.23     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Alastair Lyon                                              Check all that apply.
          1004 Dubarton Drive                                         Contingent
          Richardson, TX 75081                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.24     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Albert Muller                                              Check all that apply.
          524 J L Brazzil Loop                                        Contingent
          Waco, TX 76705                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.25     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Alberto Bermudez                                           Check all that apply.
          234 Via Oro Verde                                           Contingent
          Fallbrook, CA 92028                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.26     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Aleshia Farris                                             Check all that apply.
          8014 W Hwy 84                                               Contingent
          1054                                                        Unliquidated
          Waco, TX 76712
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.27     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Alexandria Maughan                                         Check all that apply.
          9912 Iron Horse Trail                                       Contingent
          Waco, TX 76708                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.28     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Alexas McDonald                                            Check all that apply.
          929 Walker St.                                              Contingent
          Marlin, TX 76661                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.29     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Alexas Rodriguez                                           Check all that apply.
          1601 Spring St                                              Contingent
          100                                                         Unliquidated
          Waco, TX 76704
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.30     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Alexis Coria                                               Check all that apply.
          1817 Terrace Dr.                                            Contingent
          Antioch, CA 94509                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.31     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Alexis Ruiz                                                Check all that apply.
          2850 Santa Monica Dr                                        Contingent
          Grand Prairie, TX 75052                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.32     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Alfonza Johnson                                            Check all that apply.
          1090 N McLean Blvd                                          Contingent
          Memphis, TN 38107                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.33     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Alice Coale                                                Check all that apply.
          928 Sunset St                                               Contingent
          Trainer, PA 19061                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.34     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Alicia Klase                                               Check all that apply.
          207 walnut st                                               Contingent
          Denver, PA 17517                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.35     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Alicia Romero                                              Check all that apply.
          3633 Gorman                                                 Contingent
          Waco, TX 76710                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.36     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Alisa Frisinga                                             Check all that apply.
          11340 Trotting Horse Ln S                                   Contingent
          Jacksonville, FL 32225                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.37     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Alisa Hall                                                 Check all that apply.
          6136 Round Lake Road North                                  Contingent
          Jacksonville, FL 32277                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.38     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Alisabeth Knight                                           Check all that apply.
          41528 Horse Chestnut Terrace                                Contingent
          Aldie, VA 20105                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.39     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Aliyah Parks                                               Check all that apply.
          6600 Mundo Drive                                            Contingent
          Waco, TX 76712                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.40     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Alkeita Cannon                                             Check all that apply.
          689 george walker rd                                        Contingent
          West Point, MS 39773                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.41     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Aloysius Jingwa                                            Check all that apply.
          3103 Antelope drive                                         Contingent
          Mesquite, TX 75181                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.42     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Alyssa Angulo                                              Check all that apply.
          2214 Colonial                                               Contingent
          Waco, TX 76707                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.43     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Alyssa Rice                                                Check all that apply.
          16313 Meador Grove Rd.                                      Contingent
          Moody, TX 76557                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.44     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Amanda Fox                                                 Check all that apply.
          10100 Panther Way Apt 136                                   Contingent
          Waco, TX 76712                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.45     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Amanda Fradieu                                             Check all that apply.
          816 W 29TH AVE                                              Contingent
          COVINGTON, LA 70433                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.46     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Amanda Grace                                               Check all that apply.
          5 Lovely lane                                               Contingent
          Greenbrier, AR 72058                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.47     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Amanda Powers                                              Check all that apply.
          45 Toll Mountain                                            Contingent
          Whitehall, MT 59759                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.48     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Amanda Turrubiartez                                        Check all that apply.
          1112 Parkdale Dr                                            Contingent
          Waco, TX 76710                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.49     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Amanda Woodruff                                            Check all that apply.
          2476 fm 1857                                                Contingent
          Rusk, TX 75785                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.50     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Amarrie Skinner                                            Check all that apply.
          5000 Sanger Ave , APT.528                                   Contingent
          Waco, TX 76710                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.51     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Amber Howard                                               Check all that apply.
          822 Roy Beatty                                              Contingent
          Waco, TX 76705                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.52     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Amber Miller                                               Check all that apply.
          4808 Eldorado                                               Contingent
          Wichita Falls, TX 76310                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.53     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Amber Robinson                                             Check all that apply.
          5101 Sanger Ave Apt. 306                                    Contingent
          Waco, TX 76710                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.54     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Amber Roper                                                Check all that apply.
          2004 N. 6th                                                 Contingent
          Waco, TX 76708                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.55     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Amber Serrano                                              Check all that apply.
          1717 Columbia                                               Contingent
          Waco, TX 76711                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.56     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Amberly Nicole Sanchez                                     Check all that apply.
          1714 Coffeyville trl                                        Contingent
          Grand Prairie, TX 75052                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.57     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Ambraneq Love                                              Check all that apply.
          1301 Shelburne                                              Contingent
          Waco, TX 76711                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.58     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Ambur Small                                                Check all that apply.
          4321 Concord Rd. Ste D                                      Contingent
          Bellmead, TX 76705                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.59     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Amelia White                                               Check all that apply.
          1400 THackery Dr                                            Contingent
          Arlington, TX 76018                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.60     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Amy Bates                                                  Check all that apply.
          6415 W Philadelphia Dr                                      Contingent
          MCCORDSVILLE, IN 46055                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.61     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Amy Downer                                                 Check all that apply.
          475 West Frack Street                                       Contingent
          Frackville, PA 17931                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.62     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Amy Dussey                                                 Check all that apply.
          3642 Brookdale Dr. N                                        Contingent
          Brooklyn Park, MN 55443                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.63     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Amy Hutchinson                                             Check all that apply.
          211 N. Harrison St.                                         Contingent
          McGregor, TX 76657                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.64     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Amy Koch                                                   Check all that apply.
          34456 RODEO RD                                              Contingent
          WALLER, TX 77484-9134                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.65     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Amy Mueller                                                Check all that apply.
          977 County Road 1625 East                                   Contingent
          Eureka, IL 61530                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.66     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Amy Poppen                                                 Check all that apply.
          43370 224th St.                                             Contingent
          Howard, SD 57349                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
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 2.67     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Amy Roberts                                                Check all that apply.
          919 57th Street                                             Contingent
          Pensacola, FL 32506                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.68     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Ana Gallegos                                               Check all that apply.
          1317 Campbelton St.                                         Contingent
          Waco, TX 76705                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.69     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Andrea Bark                                                Check all that apply.
          8 Miles SW Coppermine Chapter                               Contingent
          Page, AZ 86040                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.70     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Andrea Guynes                                              Check all that apply.
          1212 Lexington St                                           Contingent
          Taylor, TX 76574                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
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 2.71     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Andrea Medeiros                                            Check all that apply.
          115 Sixteeth Street                                         Contingent
          Fall River, MA 02723                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.72     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Andrea Sanchez                                             Check all that apply.
          1905 Gurley Ave.                                            Contingent
          Waco, TX 76706                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.73     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Andrea Taylor                                              Check all that apply.
          17 Lake Link Drive                                          Contingent
          Winter Haven, FL 33884                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.74     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Andrea Williams                                            Check all that apply.
          1001 N 60th                                                 Contingent
          Waco, TX 76710                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.75     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Andreina Torres                                            Check all that apply.
          2800 Ethel Ave.                                             Contingent
          Waco, TX 76707                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.76     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Andrew Letriz Fantauzzi                                    Check all that apply.
          5100 Hawthorne Dr.                                          Contingent
          412                                                         Unliquidated
          waco, TX 76710
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.77     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Andrew Prince                                              Check all that apply.
          4221 Gladney Ln                                             Contingent
          Keller, TX 76244                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.78     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Andrew Richardson                                          Check all that apply.
          2205 Augustine                                              Contingent
          Waco, TX 76712                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.79     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Anesha Collins                                             Check all that apply.
          897 Cattell                                                 Contingent
          Wenonah, NJ 08090                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.80     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Angel Brown                                                Check all that apply.
          569 Lexington dr.                                           Contingent
          Vallejo, CA 94591                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.81     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Angel Peel                                                 Check all that apply.
          104 BROOKBANK COURT                                         Contingent
          TRINITY, NC 27370                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.82     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Angela Arriaga                                             Check all that apply.
          6409 Eaglestone Drive                                       Contingent
          McKinney, TX 75070                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.83     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Angela Hogan                                               Check all that apply.
          2606 South 25th St                                          Contingent
          Waco, TX 76706                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.84     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Angela Mclaughlin                                          Check all that apply.
          177 Vardiman Rd                                             Contingent
          West, TX 76691                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.85     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Angela Morgan                                              Check all that apply.
          7355 Volley Drive North                                     Contingent
          Jacksonville, FL 32277                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.86     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Angela Pesch                                               Check all that apply.
          1402 17th Avenue SE                                         Contingent
          East Grand Forks, MN 56721                                  Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.87     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Angela Ybarra                                              Check all that apply.
          3600 W. Waco Dr.                                            Contingent
          Apt.C                                                       Unliquidated
          Waco, TX 76710
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.88     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Angelia James                                              Check all that apply.
          725 NW. 11th Ave                                            Contingent
          Lauderdale Lakes, FL 33311                                  Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.89     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Angelica Whipper                                           Check all that apply.
          316 Avenue I                                                Contingent
          Waco, TX 76705                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.90     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Angelina Monrrial                                          Check all that apply.
          817 Colcord Ave                                             Contingent
          3301                                                        Unliquidated
          Waco, TX 76707
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.91     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Anita Adelman                                              Check all that apply.
          8 weaver circle                                             Contingent
          Vilonia, AR 72173                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.92     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Anita Arias                                                Check all that apply.
          2620 Mckenzie Ave                                           Contingent
          Waco, TX 76708                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.93     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Anita Zabach                                               Check all that apply.
          5039 highland hills pkwy                                    Contingent
          Stn Mtn, GA 30088                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.94     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          AnJalique Ottley                                           Check all that apply.
          2419 Davis Blvd                                             Contingent
          Myers, FL 33905                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.95     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Anjana Pal                                                 Check all that apply.
          7508 Shadowlawn Ct                                          Contingent
          Plano, TX 75025                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.96     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Ann Fish                                                   Check all that apply.
          909 Allegheny Way                                           Contingent
          c                                                           Unliquidated
          Richardson, TX 75080
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.97     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Ann Kearson                                                Check all that apply.
          1501 N 9th Street C 205                                     Contingent
          Waco, TX 76707                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.98     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Ann Meier                                                  Check all that apply.
          658 Newberry #3                                             Contingent
          Alliance, NE 69301                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.99     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Ann Shiflett                                               Check all that apply.
          306 Eunice Dr                                               Contingent
          Plant City, FL 33563                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.100    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Annette Wright                                             Check all that apply.
          1473 Stoneleigh Circle                                      Contingent
          Stone Mountsin, GA 30088                                    Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.101    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Antanique Mitchell                                         Check all that apply.
          6524 Alford Dr. Apt A                                       Contingent
          Waco, TX 76710                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.102    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Anthony Hawkins                                            Check all that apply.
          4910 Crozier St                                             Contingent
          Dallas, TX 75215                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.103    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Anthony MacKlin                                            Check all that apply.
          4580 Spring Valley Drive                                    Contingent
          Memphis, TN 38128                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.104    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Anthony Mustoe                                             Check all that apply.
          2402 Watercrest Drive                                       Contingent
          Keller, TX 76248                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.105    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Anthony Oliver                                             Check all that apply.
          413 Moore Crossing Byhalia,Ms                               Contingent
          38611                                                       Unliquidated
          Byhalia, MS 38611
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.106    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Antonia Roberts                                            Check all that apply.
          4207 Cabell Dr.                                             Contingent
          #224                                                        Unliquidated
          Dallas, TX 75204
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.107    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Antonia Williams                                           Check all that apply.
          18 Pekin St                                                 Contingent
          2                                                           Unliquidated
          Providence, RI 02908
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.108    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          April Heilman                                              Check all that apply.
          200 Thompson Circle                                         Contingent
          Lorena, TX 76655                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.109    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          April Thomas                                               Check all that apply.
          921 S. Madison St                                           Contingent
          McGregor, TX 76657                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.110    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Araceli Ryan                                               Check all that apply.
          35189 king ct                                               Contingent
          Fremont, CA 94536                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.111    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Aradhika Goyal                                             Check all that apply.
          9800 Hickory Hollow Lane                                    Contingent
          Irving, TX 75063                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.112    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Arelis Perez                                               Check all that apply.
          1281 Clark St.                                              Contingent
          ELMONT, NY 11003                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.113    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Arelys Calderon                                            Check all that apply.
          2713 Burnett Avenue                                         Contingent
          Waco, TX 76711                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.114    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Ariana Vicinais                                            Check all that apply.
          2300 Speight Ave                                            Contingent
          Waco, TX 76706                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.115    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Ariel Chi                                                  Check all that apply.
          9514 Magnolia St                                            Contingent
          Bloomington, CA 92316                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.116    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          ARKANSAS DEPT OF FINANCE &                                 Check all that apply.
          ADMIN                                                       Contingent
          OFFICE OF STATE REVENUE                                     Unliquidated
          ADMIN.
          1509 W SEVENTH ST.                                          Disputed
          LITTLE ROCK, AR 72201
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.117    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          ARKANSAS DEPT OF FINANCE &                                 Check all that apply.
          ADMIN                                                       Contingent
          PO BOX 1272                                                 Unliquidated
          LITTLE ROCK, AR 72203
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.118    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Arkayza Ross                                               Check all that apply.
          2377 Dalworth St                                            Contingent
          Apt 235                                                     Unliquidated
          Grand Prairie, TX 75050
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.119    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Armita Underwood                                           Check all that apply.
          2102 Palmer Trl                                             Contingent
          Grand Prairie, TX 75052                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.120    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Arrianna Wofford                                           Check all that apply.
          220 Avenue G                                                Contingent
          Lacy Lakeview, TX 76705                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.121    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Artrice Bennett                                            Check all that apply.
          1465 E Lexington Ave                                        Contingent
          Unit 3B                                                     Unliquidated
          El Cajon, CA 92019
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.122    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Ashlee Seniceros                                           Check all that apply.
          2000 Broadway St                                            Contingent
          Waco, TX 76704                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.123    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Ashlee Seniceros                                           Check all that apply.
          11002 Sandalwood                                            Contingent
          Waco, TX 76712                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.124    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Ashley Bowman                                              Check all that apply.
          2128 B N. Fayetteville Street                               Contingent
          Asheboro, NC 27203                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.125    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Ashley Carson                                              Check all that apply.
          5621 Bluffman Dr                                            Contingent
          Dallas, TX 75241                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.126    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Ashley Farber                                              Check all that apply.
          10754 Borman Circle                                         Contingent
          Omaha, NE 68127                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.127    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Ashley Fredregill                                          Check all that apply.
          274 Crescent Meadows Lane                                   Contingent
          Bruceville, TX 76630                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.128    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Ashley Hargrove                                            Check all that apply.
          1424 Watercrest circle                                      Contingent
          Lawrenceville, GA 30043                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.129    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Ashley Harms                                               Check all that apply.
          136 Martin Dr                                               Contingent
          China Spring, TX 76633                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.130    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Ashley Humphrey                                            Check all that apply.
          205 Monterrey Dr                                            Contingent
          Hewitt, TX 76643                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.131    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Ashley Messer                                              Check all that apply.
          2506 Hilltop Dr Apt 411                                     Contingent
          Waco, TX 76710                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.132    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Ashley Norwood                                             Check all that apply.
          700 S 4th Street                                            Contingent
          apt 1108                                                    Unliquidated
          waco, TX 76706
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.133    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Ashley Sievers                                             Check all that apply.
          483 County Road 4725                                        Contingent
          Silsbee, TX 77656                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.134    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Ashley Suarez                                              Check all that apply.
          920 martin ave                                              Contingent
          Waco, TX 76706                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.135    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Ashley Vereen                                              Check all that apply.
          6455 Argyle Forest Blvd.                                    Contingent
          Apt 513                                                     Unliquidated
          Jacksonville, FL 32244
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.136    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Ashley Washington                                          Check all that apply.
          645 E Regent st                                             Contingent
          Apt 3                                                       Unliquidated
          Inglewood, CA 90301
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.137    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Ashly Lopez                                                Check all that apply.
          1003 SE Dalaware Ave                                        Contingent
          Apartment B                                                 Unliquidated
          Ankeny, IA 50021
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.138    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Astri Alvarez                                              Check all that apply.
          422 S 18th Street                                           Contingent
          Allentown, PA 18104                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.139    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Aterra Hunt                                                Check all that apply.
          809 Chadbourne Dr.                                          Contingent
          indianapolis, IN 46214                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.140    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Aubrey Gabrysch                                            Check all that apply.
          302 US Hwy 77 South                                         Contingent
          Rosebud, TX 76570                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.141    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Audrey Sjolander                                           Check all that apply.
          141 Old Orange Park Rd                                      Contingent
          192                                                         Unliquidated
          Orange Park, FL 32073
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.142    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Aurelia Montoya                                            Check all that apply.
          101 Houston St.                                             Contingent
          McGregor, TX 76657                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.143    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Autumn Plantz                                              Check all that apply.
          8539 W Potomac Ave                                          Contingent
          Milwaukee, WI 53225                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.144    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Avery Eberspacher                                          Check all that apply.
          1508 FM 1239                                                Contingent
          Eddy, TX 76524                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.145    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Bailey Huffman                                             Check all that apply.
          0175 W US Highway 20                                        Contingent
          LaGrange, IN 46761                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.146    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Bailey Wade                                                Check all that apply.
          104 Cotton ln                                               Contingent
          Moody, TX 76557                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.147    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Barbara Asplund                                            Check all that apply.
          2095 Dotte Drive                                            Contingent
          107                                                         Unliquidated
          White Bear Lake, MN 55110
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.148    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Barbara Friedlander                                        Check all that apply.
          4201 Topanga Canyon Blvd.                                   Contingent
          Space 12                                                    Unliquidated
          Woodland Hills, CA 91364
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.149    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Barbara Korycki                                            Check all that apply.
          84 Scarborough Cir,                                         Contingent
          Rock Hill, NY 12775                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.150    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Barbara Mclaren                                            Check all that apply.
          1224 Dame Susan Lane                                        Contingent
          Lewisville, TX 75056                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.151    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Barbara Redfield                                           Check all that apply.
          2801 35 1/2 Court Ave S                                     Contingent
          Fargo, ND 58104                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.152    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Barbara Sexton                                             Check all that apply.
          461 Camby Court                                             Contingent
          Greenwood, IN 46142                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.153    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Barbara Skiles                                             Check all that apply.
          1621 David Dr                                               Contingent
          Lincoln, NE 68504                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.154    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Barry Clary                                                Check all that apply.
          3035 Greenshire Ave                                         Contingent
          Claymont, DE 19703                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.155    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Bashar Dababneh                                            Check all that apply.
          6870 Old Village Ct SE                                      Contingent
          Grand Rapids, MI 49546-6801                                 Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.156    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Beatrice Cleveland                                         Check all that apply.
          901 Wooded Acres Dr                                         Contingent
          APT 961D                                                    Unliquidated
          Waco, TX 76710
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.157    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Becky Kouame                                               Check all that apply.
          10324 Buffalo Ridge                                         Contingent
          Waco, TX 76712                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.158    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Bee Thao                                                   Check all that apply.
          1062 Forest St N                                            Contingent
          ST. Paul, MN 55106                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.159    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          BEN FARNEY                                                 Check all that apply.
          38898 N 370 E Rd                                            Contingent
          Rankin, IL 60960                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.160    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Bernard Goller                                             Check all that apply.
          369 Gun Club Rd                                             Contingent
          45                                                          Unliquidated
          Woodland, WA 98674
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.161    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Bertha Simmons                                             Check all that apply.
          1333 Eldridge Parkway                                       Contingent
          832                                                         Unliquidated
          HOUSTON, TX 77077
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.162    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Bessie Brantner                                            Check all that apply.
          507 Antelope Dr.                                            Contingent
          Crosby, TX 77532                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.163    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Bethany Debose                                             Check all that apply.
          800 North 46th Street #5B                                   Contingent
          Killeen, TX 76543                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.164    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Betty Moore                                                Check all that apply.
          11005 China Spring Rd                                       Contingent
          Waco, TX 76708                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.165    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Betty Vaughan                                              Check all that apply.
          1702 Hillside Dr                                            Contingent
          Oak Grove, MO 64075                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.166    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Bhama Mathavan                                             Check all that apply.
          3780 Northview Ln                                           Contingent
          Dallas, TX 75229                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.167    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Bianca Jackson                                             Check all that apply.
          999 Rosenwald Rd.                                           Contingent
          Apt. 8037                                                   Unliquidated
          Baton Rouge, LA 70807
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.168    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Bin Feng                                                   Check all that apply.
          20619 Quail Chase Dr.                                       Contingent
          Katy, TX 77450                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.169    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Blake Laddusaw                                             Check all that apply.
          21 Meadow Dr                                                Contingent
          PO Box 613                                                  Unliquidated
          Kingsley, IA 51028
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.170    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Blam Fajardo                                               Check all that apply.
          605 Pinewood Ln                                             Contingent
          Hewitt, TX 76643                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.171    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Blanca Abel                                                Check all that apply.
          716 Tahoe Trail                                             Contingent
          Hewitt, TX 76643                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.172    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Bliss Helpert                                              Check all that apply.
          2268 Rosenthal Parkway                                      Contingent
          Lorena, TX 76655                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.173    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Bobbie Davis                                               Check all that apply.
          4120 Smith Rd #2                                            Contingent
          Cincinnati, OH 45212                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.174    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Bobby Mcneal                                               Check all that apply.
          2301 Tralee Cir                                             Contingent
          McKinney, TX 75072                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.175    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Bonnie Bain                                                Check all that apply.
          1796 Samaria Trail                                          Contingent
          Tucker, GA 30084                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.176    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Brandi Adams                                               Check all that apply.
          1926 S. 9th St. Apt 55                                      Contingent
          Waco, TX 76706                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.177    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Brandie Dash                                               Check all that apply.
          5026 War Hore Drive                                         Contingent
          San Antonio, TX 78242                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.178    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Brandy Padgett                                             Check all that apply.
          752 Grice St.                                               Contingent
          Waco, TX 76710                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.179    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Breka Brantley                                             Check all that apply.
          2425 S. 21st St.                                            Contingent
          Waco, TX 76706                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.180    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Brenda Dye                                                 Check all that apply.
          Po Box 535                                                  Contingent
          Chilton, TX 76632                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.181    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Brenda Frey                                                Check all that apply.
          817 Speight Ave Apt 122                                     Contingent
          Waco, TX 76706                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.182    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Brenda Galbreath                                           Check all that apply.
          4985 N. Franklin                                            Contingent
          Apt. 33                                                     Unliquidated
          Indianapolis, IN 46226
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.183    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Brenda Gestes                                              Check all that apply.
          507 NE 2nd Street                                           Contingent
          Hubbard, TX 76648                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.184    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Brenda Lerma                                               Check all that apply.
          5209 Amaro Way                                              Contingent
          Salida, CA 95368                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.185    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Brenda Ruiz                                                Check all that apply.
          2209 Hines Blvd                                             Contingent
          Wichita Falls, TX 76301                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.186    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Bria Wyche                                                 Check all that apply.
          5321 Tasman Trail                                           Contingent
          Lithonia, GA 30038                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.187    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Brian Hagerty                                              Check all that apply.
          1837 Pacific Ave                                            Contingent
          111                                                         Unliquidated
          Forest Grove, OR 97116
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.188    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Brian Mcbratney                                            Check all that apply.
          8931 Starr Road                                             Contingent
          Windsor, CA 95492                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.189    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Brian Roland                                               Check all that apply.
          307 S. Edgewood Rd.                                         Contingent
          Eden, NC 27288                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.190    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Briana Ellis                                               Check all that apply.
          101 N Marable St                                            Contingent
          West, TX 76691                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.191    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Bridget Bulmahn                                            Check all that apply.
          5213 Lake Highlands Dr                                      Contingent
          Waco, TX 76710                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.192    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Bridget Harris                                             Check all that apply.
          909 Dove Meadows Dr                                         Contingent
          Arlington, TX 76002                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.193    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Bridgette Vick                                             Check all that apply.
          2301 Woodgate Dr                                            Contingent
          212                                                         Unliquidated
          Waco, TX 76712
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.194    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Britiny Robinson                                           Check all that apply.
          5125 Anderson st                                            Contingent
          Fort worth, TX 76105                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.195    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Britney Krumnow                                            Check all that apply.
          200 Lorena Meadows                                          Contingent
          Lorena, TX 76655                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.196    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Brittany DeRigge                                           Check all that apply.
          2020 Park Place Blvd                                        Contingent
          Apt. 212                                                    Unliquidated
          Bedford, TX 76021
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.197    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Brittany Petterson                                         Check all that apply.
          101 N Mclendon Dr                                           Contingent
          Robinson, TX 76706                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.198    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Brittney Carson                                            Check all that apply.
          1211 Dena street                                            Contingent
          Jacksonville, FL 32254                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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              Name

 2.199    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Brittney Dooley                                            Check all that apply.
          7301 sanger ave                                             Contingent
          213                                                         Unliquidated
          waco, TX 76712
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.200    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Brittnie White                                             Check all that apply.
          10100 Pantherway Apt 139                                    Contingent
          Waco, TX 76712                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.201    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Brooke Banks                                               Check all that apply.
          2368 Buckhorn rd                                            Contingent
          Greer, SC 29651                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.202    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Brooke Best                                                Check all that apply.
          334 Scotch Pine Ct                                          Contingent
          Windsor, CO 80550                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.203    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Bryce Goreham                                              Check all that apply.
          2288 Hill ST                                                Contingent
          3                                                           Unliquidated
          Albone, OR 97322
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.204    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Burt Wolder                                                Check all that apply.
          8 Essex Road                                                Contingent
          Scotch Plains, NJ 07076                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.205    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Cache Butt                                                 Check all that apply.
          12209 s 25th ave                                            Contingent
          Bellevue, NE 68123                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.206    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Cailynn Parfait                                            Check all that apply.
          269 Dove Tail Dr.                                           Contingent
          Gray, LA 70359                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.207    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Caisha Robinson                                            Check all that apply.
          609 Windsor                                                 Contingent
          Hercules, CA 94574                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.208    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          CALIFORNIA BOARD OF                                        Check all that apply.
          EQUALIZATION                                                Contingent
          450 N STREET                                                Unliquidated
          PO BOX 942879
          SACRAMENTO, CA 95814                                        Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.209    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          CALIFORNIA FRANCHISE TAX                                   Check all that apply.
          BOARD                                                       Contingent
          PO BOX 1468                                                 Unliquidated
          SACRAMENTO, CA 95812-1468
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.210    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          CALIFORNIA FRANCHISE TAX                                   Check all that apply.
          BOARD                                                       Contingent
          PO BOX 2952                                                 Unliquidated
          SACRAMENTO, CA 95812-2952
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.211    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          CALIFORNIA FRANCHISE TAX                                   Check all that apply.
          BOARD                                                       Contingent
          300 S SPRING ST                                             Unliquidated
          STE 5704
          LOS ANGELES, CA 90013-1265                                  Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.212    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          CALIFORNIA FRANCHISE TAX                                   Check all that apply.
          BOARD                                                       Contingent
          7575 METROPOLITAN DR                                        Unliquidated
          STE 201
          SAN DIEGO, CA 92108-4421                                    Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.213    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          CALIFORNIA FRANCHISE TAX                                   Check all that apply.
          BOARD                                                       Contingent
          1515 CLAY ST                                                Unliquidated
          STE 305
          OAKLAND, CA 94612-1445                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.214    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          CALIFORNIA FRANCHISE TAX                                   Check all that apply.
          BOARD                                                       Contingent
          600 W SANTA ANA BLVD                                        Unliquidated
          STE 300
          SANTA ANA, CA 92701-4543                                    Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.215    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          CALIFORNIA FRANCHISE TAX                                   Check all that apply.
          BOARD                                                       Contingent
          3321 POWER INN RD                                           Unliquidated
          STE 250
          SACRAMENTO, CA 95826-3893                                   Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.216    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          CALIFORNIA FRANCHISE TAX                                   Check all that apply.
          BOARD                                                       Contingent
          121 SPEAR ST                                                Unliquidated
          STE 400
          SAN FRANCISCO, CA 94105-1584                                Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.217    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Candace Dupree                                             Check all that apply.
          233 Tim Currin Rd.                                          Contingent
          Lillington, NC 27546                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.218    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Candice Morgan                                             Check all that apply.
          1602 Ave D                                                  Contingent
          Moody, TX 76557                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.219    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Candice Tonge                                              Check all that apply.
          37 Montview Road                                            Contingent
          Edison, NJ 08837                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.220    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Candice Williams                                           Check all that apply.
          610 E. Limestone Ave.                                       Contingent
          Mart, TX 76664                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.221    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Candis Brown                                               Check all that apply.
          36 N Prospect Ave                                           Contingent
          Catonsville, MD 21228                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.222    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Cara Smith                                                 Check all that apply.
          2350 W Betty Elyse Ln                                       Contingent
          Phoenix, AZ 85023                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.223    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Carla Price                                                Check all that apply.
          128 Crockett                                                Contingent
          Hewitt, TX 76643                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.224    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Carleen Mccord                                             Check all that apply.
          9977 State Rt 1                                             Contingent
          P O Box 92                                                  Unliquidated
          Lawrenceville, IL 62439
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.225    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Carlos Munoz                                               Check all that apply.
          4607 Endinburgh LN                                          Contingent
          Missouri City, TX 77459                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.226    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Carol Epps                                                 Check all that apply.
          3735 S. Old Robinson Rd                                     Contingent
          Lorena, TX 76655                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
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 2.227    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Carol Matus                                                Check all that apply.
          205 Uptmore Rd                                              Contingent
          West, TX 76691                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.228    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Carol Salin                                                Check all that apply.
          766 Parkside Drive                                          Contingent
          Vadnais Heights, MN 55127                                   Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.229    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          CAROLE ZAMPELLA                                            Check all that apply.
          48 Pierpont Pl                                              Contingent
          Staten Island, NY 10314                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.230    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Carolina Rodriguez                                         Check all that apply.
          13423 Kit Ln apt 214                                        Contingent
          Dallas, TX 75243                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.231    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Carolsue Watkins                                           Check all that apply.
          1046 Centennial                                             Contingent
          Gladstone, IL 61437                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.232    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Carolyn Day                                                Check all that apply.
          26 Apple Tree Dr.                                           Contingent
          Saugerties, NY 12477                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.233    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Carolyn Gourdon                                            Check all that apply.
          16247 HIGHWAY 431                                           Contingent
          Prairieville, LA 70769                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.234    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Carolyn Knowles                                            Check all that apply.
          1717 Lincoln City Rd                                        Contingent
          Elm Mott, TX 76640                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.235    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Carolyn Wheeler                                            Check all that apply.
          310 Curtis Dr                                               Contingent
          Sumter, SC 29153                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.236    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Carri D'Acquisto                                           Check all that apply.
          435 Vincent Ave.                                            Contingent
          Central Point, OR 97502                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.237    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Carrie Anderson                                            Check all that apply.
          7557 Christie Lane                                          Contingent
          Dallas, TX 75249                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.238    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     Unknown    Unknown
          Carrie Strand                                              Check all that apply.
          4811 Cade Rd Unit B                                         Contingent
          Climax, NC 27233                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.239    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Caryn Smith                                                Check all that apply.
          3300 Gordon St.                                             Contingent
          Brunswick, GA 31520                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.240    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Casey Clark                                                Check all that apply.
          7983 Green ave                                              Contingent
          Naderland, TX 77627                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.241    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Casey Webber                                               Check all that apply.
          4013 NE 179th St.                                           Contingent
          Vancouver, WA 98686                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.242    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Cassandra Blackshire                                       Check all that apply.
          1207 N 61st                                                 Contingent
          Waco, TX 76710                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.243    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Cassandra Paul                                             Check all that apply.
          520 Blaker Drive                                            Contingent
          East Greenville, PA 18041                                   Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.244    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Cassondra Peters                                           Check all that apply.
          85938 Harts Rd                                              Contingent
          Yulee, FL 32097                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.245    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Cathie Degroff                                             Check all that apply.
          92 Pleasant Grove Church                                    Contingent
          Villa Rica, GA 30180                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.246    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Cathy Ambrosius                                            Check all that apply.
          N3114 Reiland Rd.                                           Contingent
          Appleton, WI 54913                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.247    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Catrice Johnson                                            Check all that apply.
          5100 Inverness Ave                                          Contingent
          Fort Worth, TX 76132                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.248    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Catrina Garrett                                            Check all that apply.
          1339 Harlandale Ave                                         Contingent
          Dallas, TX 75216                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.249    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Catrina Mathisen                                           Check all that apply.
          6919 99th Street Court                                      Contingent
          Cottage Grove, MN 55016                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.250    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Cedric Lynum                                               Check all that apply.
          1306 Big Lake                                               Contingent
          San Antonio, TX 78245                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.251    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Celeste Valdez                                             Check all that apply.
          2229 Beckham Way                                            Contingent
          Hayward, CA 94541                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.252    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Chanda Jeffries                                            Check all that apply.
          315 robinson ave                                            Contingent
          apt 1                                                       Unliquidated
          Patchouge, NY 11772
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.253    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Chanel Laroda                                              Check all that apply.
          9404 Crescent Loop Circle 201                               Contingent
          Tampa, FL 33619                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.254    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Chanelle Burton                                            Check all that apply.
          4234 W Pioneer Dr                                           Contingent
          2081                                                        Unliquidated
          Irving, TX 75061
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.255    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Chantel Kelly                                              Check all that apply.
          1325 Daja Ln                                                Contingent
          701                                                         Unliquidated
          Grand, TX 75050
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.256    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Chantelle Britton                                          Check all that apply.
          570 Smalley Ave                                             Contingent
          Hayward, CA 94541                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.257    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Chantilly Washington                                       Check all that apply.
          221 Travis Ln                                               Contingent
          Hewitt, TX 76643                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.258    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Charity Clark                                              Check all that apply.
          309 Dixon Drive                                             Contingent
          Hewitt, TX 76643                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.259    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Charity Munoz                                              Check all that apply.
          1554 N Columbia                                             Contingent
          Decatur, GA 30032                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.260    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Charles McKinivan II                                       Check all that apply.
          101 Windsor Rd.                                             Contingent
          McGregor, TX 76657                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.261    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Charles Sexton                                             Check all that apply.
          2116 Hunters Rdg                                            Contingent
          Carrollton, TX 75006                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.262    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Charles Thrawley                                           Check all that apply.
          3779 CREEKWOOD DRIVE                                        Contingent
          VALDOSTA, GA 31602                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.263    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Charlotte Flowers                                          Check all that apply.
          881 Hwy 7                                                   Contingent
          Eddy, TX 76524                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.264    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Chasity Micenhamer                                         Check all that apply.
          1132 Page Ave                                               Contingent
          Clarksdale, MS 38614                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.265    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Chavez Leonard                                             Check all that apply.
          3045 Ginny Dr                                               Contingent
          Valdosta, GA 31602                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.266    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Chelsea Carlson                                            Check all that apply.
          8127 Barclay Street                                         Contingent
          161                                                         Unliquidated
          Dallas, TX 75227
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
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 2.267    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Cheryl Bowen                                               Check all that apply.
          1227 Huntington Greens Dr                                   Contingent
          Sun City Center, FL 33573                                   Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.268    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Cheryl Diago                                               Check all that apply.
          9203 Fragant Cloud                                          Contingent
          Bakersfield, CA 93311                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.269    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Cheryl Zatopek                                             Check all that apply.
          181 Quail Run                                               Contingent
          Waco, TX 76712                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.270    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Chinita Scales                                             Check all that apply.
          2117 Memory Lane                                            Contingent
          Harker Heights, TX 76548                                    Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.271    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Chiquita Ruth                                              Check all that apply.
          1246 S. Bell St.                                            Contingent
          Clinton, SC 29325                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.272    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Chloe Chisolm                                              Check all that apply.
          1100 N 6th St.                                              Contingent
          Apt GG7                                                     Unliquidated
          Waco, TX 76707
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.273    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Chlotele Stewart                                           Check all that apply.
          113 Shirley Dr.                                             Contingent
          Waco, TX 76705                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.274    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Christan Sawyer                                            Check all that apply.
          300 W Spring Valley Rd                                      Contingent
          Hewitt, TX 76643                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
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 2.275    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Christian Flores                                           Check all that apply.
          3719 Elise Way                                              Contingent
          Dallas, TX 75236                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.276    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Christina Bradney                                          Check all that apply.
          61538 Holler Hole Place                                     Contingent
          Hannibal, MO 63401                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.277    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Christina Calvert                                          Check all that apply.
          5605 205th st ct e                                          Contingent
          Spanaway, WA 98387                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.278    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Christina Carroll                                          Check all that apply.
          9855 Shadow Way                                             Contingent
          1202                                                        Unliquidated
          Dallas, TX 75243
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.279    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Christina Casner                                           Check all that apply.
          1202 Shortridge Ave                                         Contingent
          San Jose, CA 95116                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.280    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Christina Dickman                                          Check all that apply.
          2603 Strathfield Lane                                       Contingent
          Trophy Club, TX 76262                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.281    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Christina Gill                                             Check all that apply.
          3302 S 122nd st                                             Contingent
          Omaha, NE 68144                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.282    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Christina Hilton                                           Check all that apply.
          302 n catawba st                                            Contingent
          Lancaster, SC 29720                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.283    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Christina March                                            Check all that apply.
          5501 University Club Blvd N #241                            Contingent
          Jacksonville, FL 32277                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.284    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Christina Mckee                                            Check all that apply.
          7010 Holly HIll Rd                                          Contingent
          Randleman, NC 27317                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.285    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Christina Nielsen                                          Check all that apply.
          908 Pawnee Drive                                            Contingent
          Gretna, NE 68028                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.286    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Christina Pinnick                                          Check all that apply.
          2117 Columbus Avenue Unit B                                 Contingent
          Waco, TX 76701                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
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 2.287    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Christina Pruett                                           Check all that apply.
          183 Indian Paint Brush                                      Contingent
          Eddy, TX 76524                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.288    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Christina Riggins                                          Check all that apply.
          4529 Rolando                                                Contingent
          Waco, TX 76711                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.289    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Christine Shrum                                            Check all that apply.
          2224 Misty drive                                            Contingent
          Waco, TX 76712                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.290    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Christine Wendland                                         Check all that apply.
          2734 Ave H                                                  Contingent
          Council Bluffs, IA 51501                                    Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
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 2.291    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Christine Wing                                             Check all that apply.
          12660 Kenswood Lane                                         Contingent
          Apt. C                                                      Unliquidated
          Fort Myers, FL 33907
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.292    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Christopher Alexandre                                      Check all that apply.
          29 East 10th street                                         Contingent
          Brooklyn, NY 11218                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.293    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Christopher Hughes                                         Check all that apply.
          525 1st Ave SW                                              Contingent
          Apt. B                                                      Unliquidated
          Plainview, MN 55964
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.294    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Christy Ortiz                                              Check all that apply.
          333 Lindenwood Lane South                                   Contingent
          Hewitt, TX 76643                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.295    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Christy Torres                                             Check all that apply.
          9312 Regal Dr                                               Contingent
          Waco, TX 76712                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.296    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Chyna Caress                                               Check all that apply.
          2425 Parrott Ave.                                           Contingent
          203                                                         Unliquidated
          Waco, TX 76707
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.297    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Ciara Dillingham                                           Check all that apply.
          3533 Meadow Ave.                                            Contingent
          Cincinnati, OH 45211                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.298    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Cindy Doop                                                 Check all that apply.
          940 140th Ave                                               Contingent
          New Richmond, WI 54017                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.299    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Cindy Garcia                                               Check all that apply.
          3608 Parrish St.                                            Contingent
          Waco, TX 76705                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.300    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Clarence Jones                                             Check all that apply.
          4902 43rd Ave                                               Contingent
          Unit 2                                                      Unliquidated
          Kenosha, WI 53144
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.301    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Claudia Mitchell                                           Check all that apply.
          1378 Brackenridge Ave                                       Contingent
          Dupont, WA 98327                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.302    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Claudine Hedges                                            Check all that apply.
          4724 New Windsor Parkway                                    Contingent
          McGregor, TX 76657                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
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 2.303    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Cleo Liburd                                                Check all that apply.
          6968 playpark trl                                           Contingent
          Jacksonville, FL 32244                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.304    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Cliff Mcnerney                                             Check all that apply.
          131 Parkland Dr.                                            Contingent
          Trailer 54                                                  Unliquidated
          Sunnyside, WA 98944
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.305    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Colby Biggs                                                Check all that apply.
          1301 e yonge st                                             Contingent
          pensacola, FL 32503                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.306    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Colee Webb                                                 Check all that apply.
          6193 NE Litton Rd                                           Contingent
          Breckenridge, MO 64625                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.307    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Coleen Moser                                               Check all that apply.
          6725 Grant St                                               Contingent
          Omaha, NE 68104                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.308    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Colleen Powers                                             Check all that apply.
          10421 Cedar Breaks View                                     Contingent
          McKinney, TX 75072                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.309    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          COLORADO DEPT OF REVENUE                                   Check all that apply.
          1375 SHERMAN ST                                             Contingent
          DENVER, CO 80261                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.310    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          CONNECTICUT DEPT OF                                        Check all that apply.
          REVENUE SERVICES                                            Contingent
          25 SIGOURNEY ST #2                                          Unliquidated
          HARTFORD, CT 06106-5032
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
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 2.311    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Connie Bright                                              Check all that apply.
          378 CRESCENT CREEK LANE                                     Contingent
          BRUCEVILLE, TX 76630                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.312    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Connie Dudzinski                                           Check all that apply.
          325 Alamosa Dr                                              Contingent
          Hewitt, TX 76643                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.313    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Cookie Sisneros                                            Check all that apply.
          2502 Columbus Ave                                           Contingent
          Waco, TX 76710                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.314    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Corey Hastings                                             Check all that apply.
          216 Park Meadow Way                                         Contingent
          Coppell, TX 75019                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
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 2.315    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Corinne Joseph                                             Check all that apply.
          560 Malcolm X Blvd Apt 5S                                   Contingent
          New York, NY 10037                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.316    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Courtney Beck                                              Check all that apply.
          59 Dry Sage Circle                                          Contingent
          Bloomington, IL 61705                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.317    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Courtney Dowell                                            Check all that apply.
          2322 N Zipper St                                            Contingent
          Garden City, KS 67846                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.318    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Courtney Robinson                                          Check all that apply.
          1400 Berkshire St.                                          Contingent
          Waco, TX 76705                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.319    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Courtney Stone                                             Check all that apply.
          322 N. Pleasant Hill Rd                                     Contingent
          Axtell, TX 76624                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.320    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Crissy Williams                                            Check all that apply.
          2103 Presbury St                                            Contingent
          Baltimore, MD 21217                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.321    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Cristina Labuzon                                           Check all that apply.
          5833 Grewia St                                              Contingent
          San Diego, CA 92114                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.322    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Cristina Wagner                                            Check all that apply.
          1518 Toyah Creek Lane                                       Contingent
          Garland, TX 75040                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.323    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Crystal Brewer                                             Check all that apply.
          1440 Whispering Trl                                         Contingent
          Dallas, TX 75241                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.324    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Crystal De La Fuente                                       Check all that apply.
          109 Silver Fox                                              Contingent
          Waco, TX 76705                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.325    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Crystal Jackson                                            Check all that apply.
          4240 Youngstown Drive                                       Contingent
          Greensboro, NC 27405                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.326    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Crystal Pena                                               Check all that apply.
          2850 W. Monte Vista Ave                                     Contingent
          Visalia, CA 93277                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.327    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Crystal Smith                                              Check all that apply.
          302 West Broady Way Street                                  Contingent
          West, TX 76691                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.328    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Crystal Tracht                                             Check all that apply.
          11321 Haggerman Drive                                       Contingent
          Lorena, TX 76655                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.329    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Cynthia Crawford                                           Check all that apply.
          781 Wheeler Street                                          Contingent
          St. George, GA 31562                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.330    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Cynthia Kidder                                             Check all that apply.
          1009 Woodward Court                                         Contingent
          Jarrell, TX 76537                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.331    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Cynthia Milner                                             Check all that apply.
          459 Frazier Lane                                            Contingent
          Axtell, TX 76624                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.332    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Cynthia Shahan                                             Check all that apply.
          27839 37th ave s                                            Contingent
          auburn, WA 98001                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.333    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Cynthia Thornton                                           Check all that apply.
          1097 Westgrove DR                                           Contingent
          Saginaw, TX 76179                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.334    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Cynthia Wood                                               Check all that apply.
          5212 Loch Lomond Dr                                         Contingent
          Waco, TX 76710                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.335    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Cyrona Lowe                                                Check all that apply.
          1145 Devonshire Drive                                       Contingent
          Desoto, TX 75115                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.336    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Daisy Velasquez                                            Check all that apply.
          1422 E 9th St                                               Contingent
          G-39                                                        Unliquidated
          San Bernardino, CA 92410
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.337    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Daja'Nique Robinson                                        Check all that apply.
          725 Neil Dr. Apt. 250                                       Contingent
          Waco, TX 76710                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.338    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Dalarian Moultrie                                          Check all that apply.
          5101 Sanger Ave Apt 306                                     Contingent
          Waco, TX 76710                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.339    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Dalene London                                              Check all that apply.
          192 Water Well Rd                                           Contingent
          Lorena, TX 76655                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.340    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Damion Wilson                                              Check all that apply.
          216 Marsha Cir                                              Contingent
          Waco, TX 76707                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.341    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Dana Drury                                                 Check all that apply.
          10302 Appaloosa Bay                                         Contingent
          San Antonio, TX 78254                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.342    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Dana Mansfield                                             Check all that apply.
          1101 Avenue F                                               Contingent
          Moody, TX 76557                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
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 2.343    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Daniel Burns                                               Check all that apply.
          212 Thompson Circle                                         Contingent
          Lorena, TX 76655                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.344    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Daniel Hesting                                             Check all that apply.
          5144 S. Elmhurst                                            Contingent
          Wichita, KS 67216                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.345    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Daniel Juarez                                              Check all that apply.
          113 Danube Drive                                            Contingent
          San Antonio, TX 78213                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.346    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Daniel Lloyd                                               Check all that apply.
          3604 Eisenhower Ln                                          Contingent
          Plano, TX 75023                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
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 2.347    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Daniel Ochu                                                Check all that apply.
          3664 Mcconnell Road                                         Contingent
          Apt 3G                                                      Unliquidated
          Greensboro, NC 27405
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.348    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Danielle Basaldua                                          Check all that apply.
          620 N HEWITT DR                                             Contingent
          APT 56                                                      Unliquidated
          Hewitt, TX 76643
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.349    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Danielle Jones                                             Check all that apply.
          2801 Lasker Avenue                                          Contingent
          Waco, TX 76707                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.350    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Danielle Klossner                                          Check all that apply.
          108 N 28th St                                               Contingent
          Gatesville, TX 76528                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.351    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Danielle Schrom                                            Check all that apply.
          800 8th Ave. SW                                             Contingent
          Pine Island, MN 55963                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.352    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Danielle Williams                                          Check all that apply.
          1525 Papeete drive                                          Contingent
          Plano, TX 75075                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.353    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Danyelle Budd                                              Check all that apply.
          404 7th Ave                                                 Contingent
          3B                                                          Unliquidated
          Asbury Park, NJ 07712
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.354    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Daphnia Carson                                             Check all that apply.
          319 A Romana Circle                                         Contingent
          Hewitt, TX 76643                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
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 2.355    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Daria Thompson                                             Check all that apply.
          1567 Pulaski Mercer Rd.                                     Contingent
          Mercer, PA 16137                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.356    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Darinka Sever                                              Check all that apply.
          6909 W. Pineberry Ridge                                     Contingent
          Franklin, WI 53132                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.357    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Darneshia Corley                                           Check all that apply.
          3543 Dawson st                                              Contingent
          JACKSONVILLE, FL 32209                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.358    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Darrell Blankenship                                        Check all that apply.
          5906 Fairview Dr                                            Contingent
          Waco, TX 76710                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.359    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Darshan Bhaidas                                            Check all that apply.
          200 Stafford Ave                                            Contingent
          Scranton, PA 18505                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.360    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Dasha Johnson                                              Check all that apply.
          308 mckeen st                                               Contingent
          Waco, TX 76704                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.361    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          David Clifford                                             Check all that apply.
          9901 St. Paul Ave                                           Contingent
          River Ridge, LA 70123                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.362    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          David Cottrell                                             Check all that apply.
          1506 Hiawatha Way                                           Contingent
          Garland, TX 75043                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.363    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          David Hodges                                               Check all that apply.
          740 Castleman Creek Road                                    Contingent
          Hewitt, TX 76643                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.364    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          David Jones                                                Check all that apply.
          3000 Stallion Crossing                                      Contingent
          Irving, TX 75060                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.365    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          David Lee                                                  Check all that apply.
          2183 Hudson Drive                                           Contingent
          Lilburn, GA 30047                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.366    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          David Padilla                                              Check all that apply.
          1712 Valley View Ln                                         Contingent
          3046                                                        Unliquidated
          Irving, TX 75061
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.367    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          David Shin                                                 Check all that apply.
          8605 Oak Valley Ct                                          Contingent
          Irving, TX 75063                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.368    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          David Webb                                                 Check all that apply.
          1698 North Lonestar Parkway                                 Contingent
          Mc Gregor, TX 76657                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.369    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          DAVIN BANKS CASAS                                          Check all that apply.
          301 Rhodes Ct                                               Contingent
          Fillmore, CA 93015                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.370    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Davis Dang                                                 Check all that apply.
          3586 Congress Dr                                            Contingent
          Riverside, CA 92503                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.371    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          DAWN KRANZ                                                 Check all that apply.
          4104 S KLEIN AVE                                            Contingent
          SIOUXFALLS, SD 57106                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.372    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Dawn Moore                                                 Check all that apply.
          401 W Carpenter St                                          Contingent
          Saint Charles, IA 50240                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.373    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          De'Andra Washington                                        Check all that apply.
          2712 Parrott Ave.                                           Contingent
          Waco, TX 76707                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.374    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Deanna Gerhart                                             Check all that apply.
          1005 Floyd Ave                                              Contingent
          Waldorf, MD 20602                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.375    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Deanna Lynd                                                Check all that apply.
          903 Lancelot Cir                                            Contingent
          Hewitt, TX 76643                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.376    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Deanna Rodriguez                                           Check all that apply.
          124 Morning Star Cr.                                        Contingent
          China Spring, TX 76633                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.377    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Deanna Schubitzke                                          Check all that apply.
          196 Mitzner Road                                            Contingent
          Esko, MN 55733                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.378    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Debbie Gaugh                                               Check all that apply.
          1900 Cranberry Isles Way                                    Contingent
          Apopka, FL 32712                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.379    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Debbie Levingston                                          Check all that apply.
          1848 Woodbridge Dr                                          Contingent
          Sulphur Springs, TX 75482                                   Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.380    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Deborah Armour                                             Check all that apply.
          606 Hamilton Ln                                             Contingent
          Robinson, TX 76706                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.381    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Deborah Bowen                                              Check all that apply.
          2712 S. 25th                                                Contingent
          Waco, TX 76706                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.382    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Deborah Brandon                                            Check all that apply.
          272 Essick Lane                                             Contingent
          Winston Salem, NC 27127                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
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 2.383    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Deborah Brown                                              Check all that apply.
          1919 Euclid                                                 Contingent
          Klamath Falls, OR 97601                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.384    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Deborah Fields                                             Check all that apply.
          546 Brandon Ave                                             Contingent
          Milford, OH 45150                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.385    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Deborah Koepp                                              Check all that apply.
          201 Turtle Cv                                               Contingent
          Apt. A                                                      Unliquidated
          Beverly Hills, TX 76711
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.386    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Deborah Moore                                              Check all that apply.
          8014 W. Hwy 84                                              Contingent
          Apt. 1028                                                   Unliquidated
          Waco, TX 76712
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
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 2.387    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Deborah Olivarez                                           Check all that apply.
          202 Laurel Lane                                             Contingent
          McGregor, TX 76657                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.388    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Deborah Vasquez                                            Check all that apply.
          417 Vance Ave                                               Contingent
          Waco, TX 76705                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.389    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Debra Atencio                                              Check all that apply.
          25511 Bradford                                              Contingent
          Woodhaven, MI 48183                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.390    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Debra Blackmon                                             Check all that apply.
          20383 Cr 2160                                               Contingent
          Troup, TX 75789                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
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 2.391    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Debra Shields                                              Check all that apply.
          315 Estates Dr                                              Contingent
          Woodway, TX 76712                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.392    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Deirdre Salazar                                            Check all that apply.
          5216 Avery Ln                                               Contingent
          The Colony, TX 75056                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.393    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          DELAWARE DIVISION OF                                       Check all that apply.
          REVENUE                                                     Contingent
          540 S DUPONT HIGHWAY                                        Unliquidated
          DOVER, DE 19901
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.394    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          DELAWARE DIVISION OF                                       Check all that apply.
          REVENUE                                                     Contingent
          20653 DUPONT BLVD                                           Unliquidated
          STE 2
          GEORGETOWN, DE 19947                                        Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.395    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Delia Velazquez                                            Check all that apply.
          825 Johns Rd # 414                                          Contingent
          414                                                         Unliquidated
          Boerne, TX 78006
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.396    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Deloria Smith                                              Check all that apply.
          4801 Altamesa Blvd.                                         Contingent
          Apt. 102                                                    Unliquidated
          Fort Worth, TX 76133
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.397    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Demeita Gamble                                             Check all that apply.
          3025 Scepter Drive                                          Contingent
          Duluth, GA 30096                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.398    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Demery Bailey                                              Check all that apply.
          2825 N. State Hwy. 360                                      Contingent
          Apt. 1420                                                   Unliquidated
          Grand Prairie, TX 75050
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
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 2.399    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Denisa Bravenec                                            Check all that apply.
          2109 Larkspur Drive                                         Contingent
          Carrollton, TX 75010                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.400    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Denise Larson                                              Check all that apply.
          15417 W Street                                              Contingent
          Omaha, NE 68137                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.401    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Denisse Martinez                                           Check all that apply.
          1244 S. San Antonio Ave                                     Contingent
          Onatrio, CA 91762                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.402    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Denitra Green                                              Check all that apply.
          188 N Lake Cunningham Ave                                   Contingent
          Jacksonville, FL 32259                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.403    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Dennis Harlan                                              Check all that apply.
          6178 Myrtle Ave                                             Contingent
          Long Beach, CA 90805                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.404    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Dennis Hatley                                              Check all that apply.
          6605 North Quail Hollow Rd                                  Contingent
          Memphis, TN 38120                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.405    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Dennis Warren                                              Check all that apply.
          14692 Spring Valley Rd.                                     Contingent
          Moody, TX 76557                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.406    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Derek Owens                                                Check all that apply.
          6413 Johnnie Terr.                                          Contingent
          Oklahoma City, OK 73149                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.407    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Derrick Hawk                                               Check all that apply.
          3725 Woody Hill                                             Contingent
          Lithonia, GA 30038                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.408    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Desare Pierce                                              Check all that apply.
          14606 Dallas Pkwy                                           Contingent
          1042                                                        Unliquidated
          Dallas, TX 75254
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.409    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Desire Jones                                               Check all that apply.
          6251 sw 21st street                                         Contingent
          pompano beach, FL 33068                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.410    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Desiree Rodriguez                                          Check all that apply.
          3425 N 26th St                                              Contingent
          Waco, TX 76708                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.411    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Desiree Thebeau                                            Check all that apply.
          956 Rosetta Dr                                              Contingent
          Villa Ridge, MO 63089                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.412    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Destani Alexander                                          Check all that apply.
          4400 N 19TH ST                                              Contingent
          217                                                         Unliquidated
          WACO, TX 76708
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.413    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Destiny Friend                                             Check all that apply.
          4133 Polaris Dr                                             Contingent
          Apt#1090                                                    Unliquidated
          Irving, TX 75038
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.414    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Destiny Mitchell                                           Check all that apply.
          3013 maple hill circle                                      Contingent
          Waco, TX 76708                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.415    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Devin Dash                                                 Check all that apply.
          2407 Glendale Dr.                                           Contingent
          Waco, TX 76710                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.416    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Devona Waker                                               Check all that apply.
          3806 William Dehaes Dr                                      Contingent
          1803                                                        Unliquidated
          Irving, TX 75038
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.417    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Diana Gonzales                                             Check all that apply.
          917 Harvard St                                              Contingent
          Waco, TX 76711                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.418    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Diana Williams                                             Check all that apply.
          9184 Sunderland Way                                         Contingent
          West Chester, OH 45069                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.419    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Diane Bullock                                              Check all that apply.
          1954 Lexington Ave #1                                       Contingent
          Norwood, OH 45212                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.420    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Diane Carrigan                                             Check all that apply.
          8707 Lincoln St.Ne                                          Contingent
          Blaine, MN 55434                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.421    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Diane Lord                                                 Check all that apply.
          15606 Harmony Way                                           Contingent
          Apple Valley, MN 55124                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.422    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Diane Methlie                                              Check all that apply.
          2303 Corn Dr                                                Contingent
          Papillion, NE 68046                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.423    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Dianne Eatmon                                              Check all that apply.
          7301 Sanger Ave.                                            Contingent
          Apt. 208                                                    Unliquidated
          Waco, TX 76712
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.424    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Dianne Robinson                                            Check all that apply.
          821 June Drive                                              Contingent
          Fort Worth, TX 76108                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.425    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Diawanta Darden                                            Check all that apply.
          9000 Gladedale                                              Contingent
          Woodway, TX 76712                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.426    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Diego Altamirano                                           Check all that apply.
          23327 Seafarer Way                                          Contingent
          Moreno Valley, CA 92557                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
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 2.427    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Dina Dicorte                                               Check all that apply.
          215 Spring Meadow                                           Contingent
          Moody, TX 76557                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.428    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          DISTRICT OF COLUMBIA                                       Check all that apply.
          941 NORTH CAPITAL HILL ST NE                                Contingent
          6TH FL                                                      Unliquidated
          WASHINGTON, DC 20002
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.429    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Dodi Jones                                                 Check all that apply.
          1320 north 113th court #4509                                Contingent
          omaha, NE 68154                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.430    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Dolores Edward Henton                                      Check all that apply.
          8486 Campbellton Street                                     Contingent
          #2253                                                       Unliquidated
          Douglasville, GA 30134
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.431    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Donald Giampetroni                                         Check all that apply.
          40195 Wathen Road                                           Contingent
          Leonardtown, MD 20650                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.432    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Donicka Warner                                             Check all that apply.
          2058 Maple Ave                                              Contingent
          Apt S1-2                                                    Unliquidated
          Hatfield, PA 19440
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.433    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Donna Greenberg                                            Check all that apply.
          109 Gardner St                                              Contingent
          Philadelphia, PA 19116                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.434    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Donna Krebs                                                Check all that apply.
          3851 Snyder Rd                                              Contingent
          Glen Rock, PA 17327                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.435    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Donna Salino                                               Check all that apply.
          12031 Sturdivant                                            Contingent
          Stafford, TX 77477                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.436    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Donnell Mitchell                                           Check all that apply.
          332 Barclay Ct                                              Contingent
          Longhorne, PA 19047                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.437    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Donnice Craddock                                           Check all that apply.
          944 Ramblewood Drive                                        Contingent
          Lewisville, TX 75067                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.438    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Donnie Sebastian                                           Check all that apply.
          101 NE Tucannon Ct                                          Contingent
          Bremerton, WA 98311                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.439    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Dontavia Watson                                            Check all that apply.
          1700 Breezy Dr                                              Contingent
          Apt. 168                                                    Unliquidated
          Waco, TX 76712
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.440    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Doreatha Stokes                                            Check all that apply.
          2006 Deer Track Ln                                          Contingent
          Hammonton, NJ 08037                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.441    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Doreen Mills                                               Check all that apply.
          420 Kamber Ln.                                              Contingent
          Wylie, TX 75098                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.442    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Doris Meisell                                              Check all that apply.
          1056 Brazos Loop                                            Contingent
          Waco, TX 76705                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.443    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Dorothell Brownlee                                         Check all that apply.
          4759 Harvest Knoll CV N.                                    Contingent
          Memphis, TN 38125                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.444    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Dorothy Jackson                                            Check all that apply.
          1648 Garcia Drive                                           Contingent
          Apt. D                                                      Unliquidated
          Augusta, GA 30905
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.445    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Douglas Long                                               Check all that apply.
          714 Wynfield Trace                                          Contingent
          Peachtree Corners, GA 30092                                 Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.446    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Drew'Cillia Rivers                                         Check all that apply.
          2509 E Lakeshore Drive                                      Contingent
          503                                                         Unliquidated
          Waco, TX 76705
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.447    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Duane Brundage                                             Check all that apply.
          6441 PARK CENTRAL DR W                                      Contingent
          Indianapolis, IN 46260                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.448    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Duane Hicks                                                Check all that apply.
          707 E 2ND STREET                                            Contingent
          MCGREGOR, TX 76657                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.449    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Dyanna Steen                                               Check all that apply.
          248 Massey Circle                                           Contingent
          Carthage, MS 39051                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.450    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Ebony Saunders                                             Check all that apply.
          497 Van Cortlandt Park Ave                                  Contingent
          Apt 5L                                                      Unliquidated
          Yonkers, NY 10705
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.451    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Edgardo Lazaro                                             Check all that apply.
          36 Condict Street                                           Contingent
          Jersey City, NJ 07306                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.452    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Edith Esquivel                                             Check all that apply.
          1126 Ashleman                                               Contingent
          Bellmead, TX 76705                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.453    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Edna O'Droske                                              Check all that apply.
          365 Fairpointe Pl                                           Contingent
          Suwanee, GA 30024                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.454    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Eilyn Malave                                               Check all that apply.
          2349 N, Mutter St                                           Contingent
          Philadelphia, PA 19133                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.455    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Elaine Kymes                                               Check all that apply.
          6040 Ripplewood Dr.                                         Contingent
          Mc Gregor, TX 76657                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.456    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Elaine Sonafrank                                           Check all that apply.
          3357 Chimney Place Dr                                       Contingent
          Waco, TX 76708                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.457    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Eleanor Phiffer                                            Check all that apply.
          6515 Bluebird Drive                                         Contingent
          Arlington, TX 76001                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.458    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Eleanor Thompson                                           Check all that apply.
          12022 Wynnfield Lakes Cir                                   Contingent
          Jacksonville, FL 32246                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.459    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Eleina Franck                                              Check all that apply.
          347 Patten Circle                                           Contingent
          Albrightsville, PA 18210                                    Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.460    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Eli Chen                                                   Check all that apply.
          3533 Thorp Springs Dr                                       Contingent
          Plano, TX 75025                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.461    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Eliza Gee                                                  Check all that apply.
          2509 E LakeShore Drive Apt 1508                             Contingent
          Apt 1508                                                    Unliquidated
          Waco, TX 76705
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.462    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Elizabeth Acosta                                           Check all that apply.
          2863 N. E. Street                                           Contingent
          San Bernardino, CA 92405                                    Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.463    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Elizabeth Davis                                            Check all that apply.
          621 Pebble Creek                                            Contingent
          Hewitt, TX 76643                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.464    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Elizabeth Duran                                            Check all that apply.
          13770 Oceanview Dr.                                         Contingent
          Smith River, CA 95567                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.465    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Elizabeth Gingras                                          Check all that apply.
          738 Coventry Ln                                             Contingent
          Apt J                                                       Unliquidated
          Florence, SC 29501
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.466    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Elizabeth Heusted                                          Check all that apply.
          2900 sw eveningside dr                                      Contingent
          topeka, KS 66614                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.467    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Elizabeth Johnson                                          Check all that apply.
          1100 Mesquite Ln. Apt A                                     Contingent
          Marlin, TX 76661                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.468    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Elizabeth Pinkerton                                        Check all that apply.
          1421 Barron Ave                                             Contingent
          Waco, TX 76707                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.469    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Elizabeth Renteria                                         Check all that apply.
          13004 Joliet                                                Contingent
          Houston, TX 77015                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.470    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Elizabeth Whitlock                                         Check all that apply.
          1600 Heritage Parkway                                       Contingent
          Axtell, TX 76705                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.471    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Ellen Blanc                                                Check all that apply.
          316 Lee Place                                               Contingent
          Medina, NY 14103                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.472    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Ellora Shelton                                             Check all that apply.
          703 Frances St                                              Contingent
          polo, MO 64671                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.473    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Elmer Robertson                                            Check all that apply.
          2124 Van Zandt Dr.                                          Contingent
          Grand Prairie, TX 75052                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.474    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Elvira Arausa                                              Check all that apply.
          3405 Kenwood Dr                                             Contingent
          Waco, TX 76706                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.475    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Emari Tate                                                 Check all that apply.
          136 Ellis Farm Rd                                           Contingent
          Hewitt, TX 76643                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.476    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Emilee Fay                                                 Check all that apply.
          201 Laurel Lane                                             Contingent
          McGregor, TX 76657                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.477    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Emily Backus                                               Check all that apply.
          200 8th Street                                              Contingent
          Moody, TX 76557                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.478    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Emily Dormon                                               Check all that apply.
          2487 Dundee Ct.                                             Contingent
          San Leandro, CA 94577                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.479    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Emily Jernigan                                             Check all that apply.
          4224 Rockingham Way                                         Contingent
          Plano, TX 75093                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.480    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Emily Parsons                                              Check all that apply.
          4318 Concord                                                Contingent
          Waco, TX 76705                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.481    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Emily Voights                                              Check all that apply.
          1981 N 26th Rd                                              Contingent
          Marseilles, IL 61341                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.482    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Emma Gomez                                                 Check all that apply.
          145 Paloma Dr                                               Contingent
          Woodaway, TX 76712                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.483    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Equong Faison                                              Check all that apply.
          110 E Washington Ln                                         Contingent
          Philadelphia, PA 19144                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.484    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Eric Latham                                                Check all that apply.
          3513 W 77th St                                              Contingent
          Chicago, IL 60652                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.485    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Erica Bowman                                               Check all that apply.
          1117 E. Vandergriff                                         Contingent
          Apr-37                                                      Unliquidated
          Carrollton, TX 75006
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.486    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Erica Kunkle                                               Check all that apply.
          77074 Tantela Ranch                                         Contingent
          24                                                          Unliquidated
          Folsom, LA 70437
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.487    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Erica Young                                                Check all that apply.
          5554 Berkshire Valley Road                                  Contingent
          #2                                                          Unliquidated
          Oak Ridge, NJ 07438
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.488    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Erick Francois                                             Check all that apply.
          6634 Kelly Ann Way                                          Contingent
          Rosedale, MD 21237                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.489    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Ericka Flippin                                             Check all that apply.
          1006 Oakridge Rd.                                           Contingent
          Clarksdale, MS 38614                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.490    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Erin Culp                                                  Check all that apply.
          430 Huntsdale Ct                                            Contingent
          LEXINGTON, SC 29072                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.491    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Erin Lemay                                                 Check all that apply.
          4 Prospect Heights                                          Contingent
          Milford, MA 01757                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.492    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Ernestina Mata                                             Check all that apply.
          2631 Lauren Ashley                                          Contingent
          San Antonio, TX 78237                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.493    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Ernesto Gutierrez                                          Check all that apply.
          1419 E 214th St                                             Contingent
          Carson, CA 90745                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.494    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Ernie Delouis                                              Check all that apply.
          1799 Troy ave                                               Contingent
          Brooklyn, NY 11234                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.495    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Eryka Henderson                                            Check all that apply.
          1100 N. 6th St.                                             Contingent
          G7                                                          Unliquidated
          Waco, TX 76707
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.496    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Essie Spann                                                Check all that apply.
          270 South Landing Rd                                        Contingent
          Rochester, NY 14610                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.497    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Estephanie Bautista                                        Check all that apply.
          1702 Pine Ave.                                              Contingent
          Waco, TX 76708                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.498    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Eva Briseno                                                Check all that apply.
          101 Eucalyptus St.                                          Contingent
          #7212                                                       Unliquidated
          Lake Jackson, TX 77566
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.499    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Evan Brown                                                 Check all that apply.
          6801 Tennyson Dr                                            Contingent
          229                                                         Unliquidated
          Waco, TX 76710
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.500    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Evan Newman                                                Check all that apply.
          49 Bayview Ave.                                             Contingent
          East Islip, NY 11730                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.501    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Fahim Ziyad                                                Check all that apply.
          5621 Wellston Dr                                            Contingent
          Arlington, TX 76018                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.502    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Faith Stage                                                Check all that apply.
          2736 Lake Shore Drive                                       Contingent
          2102                                                        Unliquidated
          Waco, TX 76708
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.503    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Faraz Meghani                                              Check all that apply.
          8453 NEEDLEGRASS ROAD                                       Contingent
          FRISCO, TX 75035                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.504    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          FELICIA ANTWI                                              Check all that apply.
          945 Bloomfield Dr                                           Contingent
          Grand Prairie, TX, TX 75052                                 Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.505    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Felicia McCann                                             Check all that apply.
          516 E Cypress St                                            Contingent
          APT 7                                                       Unliquidated
          LOTT, TX 76656
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.506    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          FLORIDA DEPT OF REVENUE                                    Check all that apply.
          5050 W TENNESSEE ST                                         Contingent
          TALLAHASSEE, FL 32399-0100                                  Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.507    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Forando Little                                             Check all that apply.
          2973 Gregory CT                                             Contingent
          Cincinnati, OH 45251                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.508    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Foster Coker                                               Check all that apply.
          846 Seabrook Cove Road                                      Contingent
          Jacksonville, FL 32211-7151                                 Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.509    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Franchase White                                            Check all that apply.
          16315 Ancient Forest Dr.                                    Contingent
          Humble, TX 77346                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.510    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Francine Mellis                                            Check all that apply.
          25348 148th Road                                            Contingent
          Rosedale, NY 11422                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.511    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Francis Galindo                                            Check all that apply.
          3316 Pewitt Drive                                           Contingent
          Waco, TX 76706                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.512    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Francis Rivera                                             Check all that apply.
          3720 Erath                                                  Contingent
          Waco, TX 76710                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.513    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Francisca Alvarez                                          Check all that apply.
          8614 11th Avenue Ct E.                                      Contingent
          Tacoma, WA 98445                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.514    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Frederic Bonifay                                           Check all that apply.
          2614 N Payne Ave                                            Contingent
          Wichita, KS 67204                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.515    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Gabrial Amos                                               Check all that apply.
          309 Dixon Dr.                                               Contingent
          Hewitt, TX 76643                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.516    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Gabriel Sanchez                                            Check all that apply.
          3855 austin st                                              Contingent
          Beaumont, TX 77708                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.517    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Gabriela Contreras                                         Check all that apply.
          1416 dartmouth st                                           Contingent
          waco, TX 76706                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.518    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Gabriela Estrada                                           Check all that apply.
          2117 Richter Ave                                            Contingent
          Waco, TX 76711                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.519    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Gala Wallace                                               Check all that apply.
          1505 Burnett Ave                                            Contingent
          Waco, TX 76706                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.520    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Garrett Ledger                                             Check all that apply.
          5723 Pleasant Hollow Trail                                  Contingent
          Shepherd, MT 59079                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.521    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Gary Hargis                                                Check all that apply.
          3716 N 23rd St.                                             Contingent
          Waco, TX 76708                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.522    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          George Diaz                                                Check all that apply.
          16905 Chandler St                                           Contingent
          Omaha, NE 68136                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.523    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          George Dragoon                                             Check all that apply.
          13 Riversdedge Dr.                                          Contingent
          York, ME 03909                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.524    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Georgia Peitsch                                            Check all that apply.
          7943W U.S. Highway 2                                        Contingent
          Manistique, MI 49854                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.525    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Gerald Anderson                                            Check all that apply.
          1345 SE 6th Street                                          Contingent
          104                                                         Unliquidated
          Grimes, IA 50111
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.526    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Gerricka Watson                                            Check all that apply.
          405 Ave I Lacy                                              Contingent
          Lakeview, TX 76705                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.527    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Gertrude Ueal                                              Check all that apply.
          322 Crowe Drive                                             Contingent
          Euless, TX 76040                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.528    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Gia Dahlman                                                Check all that apply.
          17409 E. 5th Ave                                            Contingent
          Spokane Valley, WA 99016                                    Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.529    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Gina Jimenez                                               Check all that apply.
          1345 Herrington Ave                                         Contingent
          San Bernardino, CA 92411                                    Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.530    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Gina Sallavanti                                            Check all that apply.
          109 Edgewood Dr.                                            Contingent
          Old Forge, PA 18518                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.531    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Gina Sullivan                                              Check all that apply.
          6500 W 43rd St                                              Contingent
          28                                                          Unliquidated
          Sioux Falls, SD 57106
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.532    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Gina Sullivan                                              Check all that apply.
          6500 w 43rd st #28                                          Contingent
          Sioux falls, SD 57106                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.533    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Ginger Kendrick                                            Check all that apply.
          Po Box 67                                                   Contingent
          Leroy, TX 76654                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.534    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Gisela Lopez                                               Check all that apply.
          1018 CONSTITUTION COURT                                     Contingent
          A                                                           Unliquidated
          ATLANTIC BEACH, FL 32233
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.535    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Gladys Martinez                                            Check all that apply.
          1724 Redwood Avenue                                         Contingent
          Ontario, CA 91762                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.536    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Gleiciane Cordle                                           Check all that apply.
          1799 Cruet lane                                             Contingent
          severn, MD 21144                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.537    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Glenn Poker                                                Check all that apply.
          94 Randolph Dr                                              Contingent
          Glastonbury, CT 06033                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.538    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Gloria Banyon                                              Check all that apply.
          7952 Hemmingwood Rd Apt 1                                   Contingent
          Cordova, TN 38016                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.539    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Gloria Reyna                                               Check all that apply.
          1926 Sterling Ave                                           Contingent
          Sanger, CA 93657                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.540    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Gloria Scales                                              Check all that apply.
          1318 N 63rd Street                                          Contingent
          Waco, TX 76710                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.541    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Grace Walton                                               Check all that apply.
          2791 W. Moonlight Dr                                        Contingent
          Robinson, TX 76706                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.542    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Graceann Erlenback                                         Check all that apply.
          261 Doolittle rd                                            Contingent
          Harpursville, NY 13787                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.543    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Greg James                                                 Check all that apply.
          757 Lake Carolyn Pkwy                                       Contingent
          Apt 2209                                                    Unliquidated
          Irving, TX 75039
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.544    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Gregg Jones                                                Check all that apply.
          204 White Oak Pl                                            Contingent
          Mars, PA 16046                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.545    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Gregory Jarrett                                            Check all that apply.
          1032 Parkview Cir                                           Contingent
          Hewitt, TX 76643                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.546    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Gretchen Johnson Velazquez                                 Check all that apply.
          4065 Sunny Dr. S                                            Contingent
          Mandan, ND 58554                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.547    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Guadalupe Garcia                                           Check all that apply.
          3829 W 23rd St                                              Contingent
          Waco, TX 76708                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.548    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Gwendolyn Jackson                                          Check all that apply.
          2309 Jackson blvd Apt B                                     Contingent
          Chalmette, LA 70043                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.549    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Gwendolyn Jones                                            Check all that apply.
          155 RUTGERS CREEK RD                                        Contingent
          PORT JERVIS, NY 12771                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.550    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Gwendolyn Williams                                         Check all that apply.
          2001 S 5th #707 Waco,tx 76706                               Contingent
          Waco, TX 76706                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
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 2.551    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          H Gaines                                                   Check all that apply.
          2408 N 51st St                                              Contingent
          Waco, TX 76710                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.552    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Hailey Cook                                                Check all that apply.
          129 Houston Pl                                              Contingent
          Venus, TX 76084                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.553    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Haley Coleman                                              Check all that apply.
          9211 Acorn dr                                               Contingent
          Woodway, TX 76712                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.554    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Haley Wiley                                                Check all that apply.
          4456 S. Old Robinson Rd                                     Contingent
          Lorena, TX 76655                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.555    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Han Ra                                                     Check all that apply.
          8739 7th St                                                 Contingent
          Downey, CA 90241                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.556    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Hannah Galvan                                              Check all that apply.
          8014 W. Highway 84                                          Contingent
          Apt 1011                                                    Unliquidated
          Woodway, TX 76712
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.557    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Hannah Pults                                               Check all that apply.
          8824 Old McGregor Rd                                        Contingent
          #401                                                        Unliquidated
          Waco, TX 76712
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.558    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Harleigh Stringer                                          Check all that apply.
          708 N Rita St                                               Contingent
          Waco, TX 76705                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.559    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Harriett Mcclenan                                          Check all that apply.
          2736 Lake Shore Dr Apt 602                                  Contingent
          Hewitt, TX 76708                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.560    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Harry Epps                                                 Check all that apply.
          3609 WINLARK DRIVE                                          Contingent
          Florence, SC 29506                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.561    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Hasan Hasan                                                Check all that apply.
          4818 131st pl se                                            Contingent
          bellevue, WA 98006                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.562    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          HAWAII DEPT OF TAXATION                                    Check all that apply.
          PO BOX 259                                                  Contingent
          HONOLULU, HI 96809-0259                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.563    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Hayden Joseph                                              Check all that apply.
          5940 Woodoak                                                Contingent
          Dallas, TX 75249                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.564    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Heather Bateman                                            Check all that apply.
          25 Hillwood Drive                                           Contingent
          Cheektowaga, NY 14227                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.565    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Heather Gonzalez                                           Check all that apply.
          10216 Hyacinth Ln                                           Contingent
          A                                                           Unliquidated
          Waco, TX 76708
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.566    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Heather Hoyuela                                            Check all that apply.
          1214 N. Maple St                                            Contingent
          Alton, TX 78573                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.567    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Heather Mccarron                                           Check all that apply.
          2301 Belvedere Ave.                                         Contingent
          Havertown, PA 19083                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.568    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Heather Mills                                              Check all that apply.
          100 Jon St                                                  Contingent
          Lorena, TX 76655                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.569    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Heather Northrup                                           Check all that apply.
          808 7TH ST SW                                               Contingent
          CEDAR RAPIDS, IA 52404-1914                                 Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.570    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Heather Pinto                                              Check all that apply.
          3414 Blue Candle Dr                                         Contingent
          Spring, TX 77388                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.571    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Heather Ulrich                                             Check all that apply.
          6278 Twin Creeks Drive                                      Contingent
          Indianapolis, IN 46268                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.572    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          HEDY COUSAR                                                Check all that apply.
          19544 Crystal Rock Drive apt 23                             Contingent
          Germantown, MD 20874                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.573    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Heidi Smith                                                Check all that apply.
          14980 Sprucevale Rd                                         Contingent
          129                                                         Unliquidated
          East Liverpool, OH 43920
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.574    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Helen Breeding                                             Check all that apply.
          27 Woodland Station                                         Contingent
          Seaford, DE 19973                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.575    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Hemant Patel                                               Check all that apply.
          722 Rowland Rd                                              Contingent
          Stone Mountain, GA 30083                                    Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.576    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Henry Dickman                                              Check all that apply.
          2603 Strathfield Ln                                         Contingent
          Trophy Club, TX 76262                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.577    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Henry Medeiros                                             Check all that apply.
          72 barlow court                                             Contingent
          fairfield, CA 94533                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.578    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Hernesha Williams                                          Check all that apply.
          1037 Wentwood Dr.                                           Contingent
          Desoto, TX 75115                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.579    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Herty Campolo                                              Check all that apply.
          0                                                           Contingent
          Lewisville, TX 75077                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.580    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Holly Moorman                                              Check all that apply.
          390 HCR 2202 S                                              Contingent
          Aquilla, TX 76622                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.581    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Hope Jones                                                 Check all that apply.
          3145 Rochambeau Ave                                         Contingent
          Apt 1A                                                      Unliquidated
          Bronx, NY 10467
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.582    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Hugh Martin                                                Check all that apply.
          4773 Bancroft Street                                        Contingent
          Apartment 1                                                 Unliquidated
          San Diego, CA 92116
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.583    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Hughe Graham                                               Check all that apply.
          3566 Meadowview Drive                                       Contingent
          Riverside, CA 92503                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.584    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Hui Tai                                                    Check all that apply.
          124 Westmoor Ave                                            Contingent
          Daly City, CA 94015                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.585    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          IDAHO STATE TAX COMMISSION                                 Check all that apply.
          800 PARK BLVD., PLAZA IV                                    Contingent
          BOISE, ID 83722-0410                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.586    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          IDAHO STATE TAX COMMISSION                                 Check all that apply.
          611 WILSON AVE                                              Contingent
          STE 5                                                       Unliquidated
          POCATELLO, ID 83201-5046
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.587    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          IDAHO STATE TAX COMMISSION                                 Check all that apply.
          440 FALLS AVE                                               Contingent
          TWIN FALLS, ID 83301-3320                                   Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.588    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          IDAHO STATE TAX COMMISSION                                 Check all that apply.
          1910 NORTHWEST BLVD                                         Contingent
          STE 100                                                     Unliquidated
          COEUR D'ALENE, ID 83814-2371
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.589    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          IDAHO STATE TAX COMMISSION                                 Check all that apply.
          1118 F STREET                                               Contingent
          LEWISTON, ID 83501-1014                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.590    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          IDAHO STATE TAX COMMISSION                                 Check all that apply.
          150 SHOUP AVE                                               Contingent
          STE 16                                                      Unliquidated
          IDAHO FALLS, ID 83402-3657
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.591    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Idayat Aziz Raji                                           Check all that apply.
          335 Raymound Blvd                                           Contingent
          Parsippany, NJ 07054                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.592    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          ILLINOIS DEPT OF REVENUE                                   Check all that apply.
          101 WEST JEFFERSON ST.                                      Contingent
          SPRINGFIELD, IL 62702                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.593    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          ILLINOIS DEPT OF REVENUE                                   Check all that apply.
          BANKRUPTCY SECTION                                          Contingent
          PO BOX 64338                                                Unliquidated
          CHICAGO, IL 60664-0338
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.594    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Immanuel Mccord                                            Check all that apply.
          54-56 Osborne Terrace                                       Contingent
          Newark, NJ 07108                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.595    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown     Unknown
          Inayah Rashid Simmons                                      Check all that apply.
          2247 Blackhauk Ridge LN                                     Contingent
          Manvel, TX 77578                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.596    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown     Unknown
          INDIANA DEPT OF REVENUE                                    Check all that apply.
          100 N SENATE AVE                                            Contingent
          INDIANAPOLIS, IN 46241                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.597    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown     Unknown
          INDIANA DEPT OF REVENUE                                    Check all that apply.
          100 N SENATE AVE                                            Contingent
          INDIANAPOLIS, IN 46204                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.598    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $0.00    $0.00
          INTERNAL REVENUE SERVICE                                   Check all that apply.
          PO BOX 7346                                                 Contingent
          PHILADELPHIA, PA 19101-7346                                 Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.599    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          IOWA DEPT OF REVENUE                                       Check all that apply.
          PO BOX 10460                                                Contingent
          DES MOINES, IA 50306-0460                                   Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.600    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          IOWA DEPT OF REVENUE                                       Check all that apply.
          BANKRUPTCY                                                  Contingent
          PO BOX 10471                                                Unliquidated
          DES MOINES, IA 50306-0471
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.601    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          IOWA DEPT OF REVENUE                                       Check all that apply.
          HOOVER STATE OFFICE                                         Contingent
          BUILDING                                                    Unliquidated
          1305 E WALNUT
          DES MOINES, IA 50319                                        Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.602    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Irene Dylla                                                Check all that apply.
          624 Grant Ave                                               Contingent
          North Mankato, MN 56003                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.603    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Isabel Cartagena                                           Check all that apply.
          1416 S 26th Street,                                         Contingent
          Waco, TX 76706                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.604    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          J Holstine                                                 Check all that apply.
          5515 Casberg-Burroughs RD                                   Contingent
          Deer Park, WA 99006                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.605    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Jacintha McGhee                                            Check all that apply.
          11809 Hollyrock Dr                                          Contingent
          Yukon, OK 73099                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.606    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Jackelyn Druckman                                          Check all that apply.
          23 Debora Ct                                                Contingent
          Bayshore, NY 11706                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.607    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Jacklyn Gibson                                             Check all that apply.
          1124 Timberline                                             Contingent
          Waco, TX 76705                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.608    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Jacqueline Benjamin                                        Check all that apply.
          P.O. Box 116694                                             Contingent
          Carrollton, TX 75011                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.609    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Jacqueline Gomez                                           Check all that apply.
          412 Peer Drive                                              Contingent
          Hewitt, TX 76643                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.610    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Jacqueline Jackson                                         Check all that apply.
          3817 Great Oak Dr                                           Contingent
          2208                                                        Unliquidated
          Euless, TX 76040
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.611    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Jacqueline Leighton                                        Check all that apply.
          902 Lakeview Ave.                                           Contingent
          South Milwaukee, WI 53172                                   Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.612    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Jacquelyn Waits                                            Check all that apply.
          2416 Scott Creek Dr                                         Contingent
          Little Elm, TX 75068                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.613    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Jael Fatiga                                                Check all that apply.
          2188 Herblew Rd                                             Contingent
          Warrington, PA 18976                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.614    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Jaiden Wykoff                                              Check all that apply.
          4609 Misty Vly W                                            Contingent
          Wichita Falls, TX 76310                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.615    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Jalesia Phillips                                           Check all that apply.
          1112 Spring St                                              Contingent
          Waco, TX 76704                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.616    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Jamal Muhammad                                             Check all that apply.
          1033 n Cactus Ave                                           Contingent
          apt 13                                                      Unliquidated
          Rialto, CA 92376
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.617    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          James Alvey                                                Check all that apply.
          1334 East 300 North                                         Contingent
          Layton, UT 84040                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.618    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          James Bell                                                 Check all that apply.
          435 Crescent St                                             Contingent
          Waco, TX 76705                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.619    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          James Brox                                                 Check all that apply.
          4918 n hall str                                             Contingent
          Dallas, TX 75235                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.620    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          James Calver                                               Check all that apply.
          191 Weed Ave                                                Contingent
          Stamford, CT 06902                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.621    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          James Cumberland                                           Check all that apply.
          20615 Meridian ave s                                        Contingent
          Lynnwood, WA 98036                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.622    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          James Griffin                                              Check all that apply.
          215-M S. Maple St                                           Contingent
          Graham, NC 27253                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.623    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          James Hankinson                                            Check all that apply.
          11705 Crystal Falls Drive                                   Contingent
          Fort Worth, TX 76244                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.624    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          James Huyck                                                Check all that apply.
          8057 Plateau Dr                                             Contingent
          Fort Worth, TX 76120                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.625    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          James Johnston                                             Check all that apply.
          PO Box 24015                                                Contingent
          Waco, TX 76702                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.626    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          James Lopes                                                Check all that apply.
          2449 Aberdeen Way                                           Contingent
          Unit G                                                      Unliquidated
          Richmond, CA 94806
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.627    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          James Mccauley                                             Check all that apply.
          7652 East State Street                                      Contingent
          Lowville, NY 13367                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.628    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          James Pearson                                              Check all that apply.
          200 Nautical Drive                                          Contingent
          Apt 102                                                     Unliquidated
          Lexington, SC 29072
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.629    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          James Winfield                                             Check all that apply.
          467 S Main ST                                               Contingent
          Pascoag, RI 02959                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.630    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Jamie Bowser                                               Check all that apply.
          315 Cemetery Hill Rd                                        Contingent
          Shelocta, PA 15774                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.631    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Jamilah Pitts                                              Check all that apply.
          9713 Timberview Dr.                                         Contingent
          Woodway, TX 76712                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.632    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Jan Bisso                                                  Check all that apply.
          960 bragg st                                                Contingent
          new orleans, LA 70124                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.633    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Jan Sommerfelt                                             Check all that apply.
          27639 Powell Dr                                             Contingent
          Highland, CA 92346                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.634    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Jana Griffin                                               Check all that apply.
          3719 Windsor St                                             Contingent
          Irving, TX 75062                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.635    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Jana Riley                                                 Check all that apply.
          707 1/2 S.Marable Street                                    Contingent
          West, TX 76691                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.636    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Janet Ferretti                                             Check all that apply.
          1800 N Martin Luther King, Jr. Blvd                         Contingent
          2308                                                        Unliquidated
          Waco, TX 76704
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.637    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Janet Hayden                                               Check all that apply.
          1106 Hooks Drive                                            Contingent
          Apt 95                                                      Unliquidated
          Waco, TX 76705
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.638    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Janette Acosta                                             Check all that apply.
          3820 8th ave                                                Contingent
          Ft. Worth, TX 76110                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.639    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Janice Hopper                                              Check all that apply.
          1402 Sycamore Dr.                                           Contingent
          Murfreesboro, TN 37128                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.640    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Janice Jordan                                              Check all that apply.
          131 Darden                                                  Contingent
          Waco, TX 76706                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.641    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Janice Sahadat                                             Check all that apply.
          621 Oakdale Road, L                                         Contingent
          Newark, DE 19713                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.642    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Janice Simcic                                              Check all that apply.
          4804 Mills Creek Lane                                       Contingent
          North Ridgeville, OH 44039                                  Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.643    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Janice Walford                                             Check all that apply.
          2748 Water Oak Drive                                        Contingent
          Grand Prairie, TX 75052                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.644    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Janicea Boone                                              Check all that apply.
          611 Oriole Blvd                                             Contingent
          Unit 2503                                                   Unliquidated
          Duncanville, TX 75116
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.645    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Janna Prahl                                                Check all that apply.
          2620 Stone Lake Drive                                       Contingent
          622                                                         Unliquidated
          Grand Prairie, TX 75050
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.646    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Jared Pasnik                                               Check all that apply.
          8027 N MacAurthur Blvd.                                     Contingent
          Apt 1103                                                    Unliquidated
          Irving, TX 75063
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.647    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Jasmine Bell                                               Check all that apply.
          605 Del Paso St                                             Contingent
          Euless, TX 76040                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.648    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Jasmine Franklin                                           Check all that apply.
          516 KAREN ST.                                               Contingent
          HEWITT, TX 76643                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.649    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Jasmine Thompson                                           Check all that apply.
          2718 Denise Dr                                              Contingent
          Waco, TX 76706                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.650    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Jason Adamek                                               Check all that apply.
          277 Sandhoff Ln                                             Contingent
          Riesel, TX 76682                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.651    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Jason Kruger                                               Check all that apply.
          24510 Highbridge Forest Lane                                Contingent
          Unit B                                                      Unliquidated
          Porter, TX 77365
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.652    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Jason Shiflet                                              Check all that apply.
          3100 San Patricio Dr                                        Contingent
          Plano, TX 75025                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.653    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Jatoya Payne                                               Check all that apply.
          173 Rolling CT                                              Contingent
          Lancaster, TX 75146                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.654    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Javincia Bell                                              Check all that apply.
          1926 S 9th St                                               Contingent
          Apt 54                                                      Unliquidated
          Waco, TX 76706
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.655    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Jay Tidmore                                                Check all that apply.
          10729 Berwyn Dr.                                            Contingent
          Waco, TX 76708                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.656    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Jayda Griffin                                              Check all that apply.
          5101 sanger ave                                             Contingent
          810                                                         Unliquidated
          waco, TX 76710
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.657    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Jaysson Aceves                                             Check all that apply.
          4558 Fairbanks Avenue                                       Contingent
          Riverside, CA 92509                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.658    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Jazmyne Rodriguez                                          Check all that apply.
          3921 Acree                                                  Contingent
          Waco, TX 76711                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.659    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Jazsmin Anderson                                           Check all that apply.
          4324 concord rd                                             Contingent
          waco, TX 76705                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.660    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Jeanette Lopez                                             Check all that apply.
          2525 W 26th Street Lane                                     Contingent
          Greeley, CO 80634                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.661    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Jeanne Sloggy                                              Check all that apply.
          32873 Willow Shores Rd                                      Contingent
          Willow River, MN 55795                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.662    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Jeanne Tanty                                               Check all that apply.
          8081 S. 47th Street                                         Contingent
          Franklin, WI 53132                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.663    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Jeannine Griffin                                           Check all that apply.
          903 Ritters Lake Rd                                         Contingent
          Greensboro, NC 27406                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.664    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Jeffrey Bradley                                            Check all that apply.
          1720 Park Valley Drive                                      Contingent
          Columbus, IN 47203                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.665    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Jeffrey Derr                                               Check all that apply.
          1712 Nelva                                                  Contingent
          Waco, TX 76711                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.666    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Jelani Shegog                                              Check all that apply.
          2872A Casey Street                                          Contingent
          San Diego, CA 92139                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.667    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Jenna Hood                                                 Check all that apply.
          7101 44TH ST W                                              Contingent
          University Place, WA 98466                                  Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.668    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Jennie Sharp                                               Check all that apply.
          528 N Old Robinson Rd                                       Contingent
          Robinson, TX 76706                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.669    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Jennifer Barrett                                           Check all that apply.
          25469 Borought Park Driv                                    Contingent
          1022                                                        Unliquidated
          Spring, TX 77380
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.670    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Jennifer Baukol                                            Check all that apply.
          812 N 4th Street                                            Contingent
          Grand Forks, ND 58203                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.671    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Jennifer Benes                                             Check all that apply.
          2056 Switchgrass Lane                                       Contingent
          Yorkville, IL 60560                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.672    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Jennifer Burdette                                          Check all that apply.
          529 Karen                                                   Contingent
          Hewitt, TX 76643                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.673    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Jennifer Callahan                                          Check all that apply.
          10827 Lake Gardens Dr                                       Contingent
          Dallas, TX 75218                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.674    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Jennifer Cejka                                             Check all that apply.
          909 Susan St.                                               Contingent
          Robinson, TX 76706                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.675    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Jennifer Davis                                             Check all that apply.
          2119 Wildwood Ln                                            Contingent
          Auburndale, FL 33823                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.676    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Jennifer Dupree                                            Check all that apply.
          1012 W.Pioneer Pkwy                                         Contingent
          #8                                                          Unliquidated
          Arlington, TX 76013
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.677    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Jennifer Estrada                                           Check all that apply.
          8607 Shooter Cove                                           Contingent
          San Antonio, TX 78254                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.678    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Jennifer Kraft                                             Check all that apply.
          14033 Tyringham St                                          Contingent
          Spring Hill, FL 34609                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.679    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Jennifer Lawson                                            Check all that apply.
          117 5th Ave SE                                              Contingent
          Unit 1991                                                   Unliquidated
          Minot, ND 58702
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.680    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Jennifer Mann                                              Check all that apply.
          400 East Jefferson Ave                                      Contingent
          Whitney, TX 76692                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.681    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Jennifer Martin                                            Check all that apply.
          304 E. 9th St.                                              Contingent
          Valley Mills, TX 76689                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.682    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Jennifer Martinez                                          Check all that apply.
          5486 Mira Loma Circle                                       Contingent
          Colorado Springs, CO 80918                                  Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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              Name

 2.683    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Jennifer Mendizabal                                        Check all that apply.
          5015 W 194th Terr                                           Contingent
          Stilwell, KS 66085                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.684    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Jennifer Moore                                             Check all that apply.
          195 flintwood dr                                            Contingent
          w. north vernon, IN 47265                                   Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.685    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Jennifer Porter                                            Check all that apply.
          2080 Hamilton Drive                                         Contingent
          waco, TX 76705                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.686    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Jennifer Ramirez                                           Check all that apply.
          1220 La Vega St.                                            Contingent
          Waco, TX 76705                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.687    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Jennifer Walton                                            Check all that apply.
          P O Box 271                                                 Contingent
          Lexington, TX 78947                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.688    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Jennifer Wittenburg                                        Check all that apply.
          10609 Hiawatha Dr                                           Contingent
          Waco, TX 76712                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.689    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Jenny Frye                                                 Check all that apply.
          902 Ginny Ave                                               Contingent
          29                                                          Unliquidated
          Bellevue, NE 68005
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.690    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Jenny Hughes                                               Check all that apply.
          955 Sawmill Road                                            Contingent
          Colfax, CA 95713                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.691    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Jeremy Crews                                               Check all that apply.
          530 El Paso St                                              Contingent
          Billings, MT 59101                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.692    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Jerian Cathey                                              Check all that apply.
          4671 Wilson ave                                             Contingent
          San Diego, CA 92116                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.693    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Jerilyn Jenkins                                            Check all that apply.
          4271 Reedland Cir                                           Contingent
          San Ramon, CA 94582                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.694    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Jerrel Thompson                                            Check all that apply.
          1424 Connally                                               Contingent
          Waco, TX 76711                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.695    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Jerrica Vaughn                                             Check all that apply.
          527 Garland Ave                                             Contingent
          Waco, TX 76707                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.696    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Jerry Harper                                               Check all that apply.
          W3282 County Rd T                                           Contingent
          Mindoro, WI 54644                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.697    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Jessica Arden                                              Check all that apply.
          216 CR 437                                                  Contingent
          Eddy, TX 76524                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.698    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Jessica Buffington                                         Check all that apply.
          126 pine street                                             Contingent
          Eddy, TX 76524                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.699    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Jessica Carrigan                                           Check all that apply.
          8707 Lincoln St. Ne                                         Contingent
          Blaine, MN 55434                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.700    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Jessica Castellano                                         Check all that apply.
          518 N 15th St.                                              Contingent
          Waco, TX 76707                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.701    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Jessica Cruz                                               Check all that apply.
          674 16th Ave E                                              Contingent
          Dickinson, ND 58601                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.702    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Jessica Esquivel                                           Check all that apply.
          732 bellaire dr                                             Contingent
          woodway, TX 76712                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.703    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Jessica Friend                                             Check all that apply.
          521 Circleview Dr S                                         Contingent
          Hurst, TX 76054                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.704    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Jessica Harris                                             Check all that apply.
          7411 S 41st Ave.                                            Contingent
          Bellevue, NE 68147                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.705    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Jessica Huerta                                             Check all that apply.
          820 s belmont                                               Contingent
          North Platte, NE 69101                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.706    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Jessica Leatherwood                                        Check all that apply.
          17404 TAYLOR ST                                             Contingent
          Omaha, NE 68116                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
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 2.707    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Jessica Lopez                                              Check all that apply.
          7020 Cheshire Dr                                            Contingent
          waco, TX 76712                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.708    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Jessica Phelps                                             Check all that apply.
          901 E. Duke                                                 Contingent
          Hugo, OK 74743                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.709    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Jessica Ravert Steen                                       Check all that apply.
          39151 128th Street                                          Contingent
          Aberdeen, SD 57401                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.710    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Jessica Saulter                                            Check all that apply.
          8044 FM 185                                                 Contingent
          Crawford, TX 76638                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.711    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Jesus Gonzalez                                             Check all that apply.
          9104 Brinson Dr                                             Contingent
          Keller, TX 76244                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.712    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Jesus Guadalupe Davalos Garcia                             Check all that apply.
          3738 Paloma Dr                                              Contingent
          Ventura, CA 93003                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.713    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Jhamille Davis                                             Check all that apply.
          324 Manor Ln                                                Contingent
          Marlton, NJ 08053                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.714    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Jill Dyck                                                  Check all that apply.
          627 Fairdale Road                                           Contingent
          Salina, KS 67401                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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              Name

 2.715    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Jillian Dolan                                              Check all that apply.
          13855 NE 63rd st                                            Contingent
          Choctaw, OK 73020                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.716    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Jillian Sanley                                             Check all that apply.
          7254 Helen Witt Drive                                       Contingent
          Lincoln, NE 68512                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.717    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Jim Clausen                                                Check all that apply.
          401 Bob Street                                              Contingent
          Hurst, TX 76053                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.718    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Jnae Kai                                                   Check all that apply.
          1130 angelia dr                                             Contingent
          Mableton, GA 30126                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.719    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Joan Tiller                                                Check all that apply.
          North 1800 Martin Luther King                               Contingent
          7203                                                        Unliquidated
          Waco, TX 76704
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.720    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Jodan Ledres                                               Check all that apply.
          30091 Mountain View Dr                                      Contingent
          Hayward, CA 94544                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.721    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Jody Hart                                                  Check all that apply.
          5232 107th Street                                           Contingent
          Jacksonville, FL 32244                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.722    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Jody Lee                                                   Check all that apply.
          2183 Hudson Drive                                           Contingent
          Lilburn, GA 30047                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.723    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Johanne Pierre                                             Check all that apply.
          19408 Buckingham Way                                        Contingent
          Germantown, MD 20874                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.724    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          John Corcoran                                              Check all that apply.
          535 Parmentier Rd                                           Contingent
          Warminster, PA 18974                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.725    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          John Kurnat                                                Check all that apply.
          3375 Appleford Way                                          Contingent
          York, PA 17402                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.726    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          John Pace                                                  Check all that apply.
          120 Innisbrook Ct.                                          Contingent
          New Bern, NC 28562                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.727    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          John Rivera                                                Check all that apply.
          924 snow mass dr                                            Contingent
          hewitt, TX 76643                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.728    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          John Wicks                                                 Check all that apply.
          328 W Kennedy St                                            Contingent
          Syracuse, NY 13205                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.729    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Johnnytrea Robinson                                        Check all that apply.
          2410 Briarwood Ln, Waco,Tx                                  Contingent
          76705                                                       Unliquidated
          Waco, TX 76705
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.730    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Jon Thurston                                               Check all that apply.
          15832 Impala Dr.                                            Contingent
          Huntertown, IN 46748                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.731    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Jonathan Perez                                             Check all that apply.
          2715 s walters                                              Contingent
          San Antonio, TX 78210                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.732    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Jonni Butler                                               Check all that apply.
          3115 Sheri DR                                               Contingent
          Simi Valley, CA 93063                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.733    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Jonnie Anderson                                            Check all that apply.
          4801 Moselle Dr.                                            Contingent
          Arlington, TX 76016                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.734    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Jordan Anderson                                            Check all that apply.
          1713 Gurley Ave.                                            Contingent
          Waco, TX 76706                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.735    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Jordan Price                                               Check all that apply.
          814 Chapel View Rd                                          Contingent
          Waco, TX 76712                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.736    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Jordasia Pinkney                                           Check all that apply.
          2163 Thomas Court                                           Contingent
          Jacksonville, FL 32207                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.737    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Joseph Gonzales                                            Check all that apply.
          348 RICHLAND DR APT A                                       Contingent
          Waco, TX 76710                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.738    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Joseph Przybyla                                            Check all that apply.
          38319 Wildflower Ct, Apt 601                                Contingent
          Palmdale, CA 93551                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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              Name

 2.739    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Joseph Thurston                                            Check all that apply.
          2721 Pueblo Dr                                              Contingent
          Waco, TX 76712                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.740    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Joseph Treadwell                                           Check all that apply.
          205 meadowlark st                                           Contingent
          austin, TX 78734                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.741    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Josie Pinch                                                Check all that apply.
          1925 Belvedere Dr.                                          Contingent
          Billings, MT 59101                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.742    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Joy Luedke                                                 Check all that apply.
          3512 Pecan Cirle                                            Contingent
          Bedford, TX 76021                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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              Name

 2.743    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Joy Newby                                                  Check all that apply.
          88 Jackson Ave                                              Contingent
          501                                                         Unliquidated
          Edison, NJ 08837-3159
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.744    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Joyce Eastland                                             Check all that apply.
          4700 Lake Shore Dr #2                                       Contingent
          Waco, TX 76710                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.745    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Juan Rodriguez                                             Check all that apply.
          12621 Oceanside Drive                                       Contingent
          Euless, TX 76040                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.746    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Juanita Gilkey                                             Check all that apply.
          2136 Sugg Dr.                                               Contingent
          Waco, TX 76710                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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              Name

 2.747    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Juanita Jones                                              Check all that apply.
          1026 East 215th street                                      Contingent
          Bronx, NY 10469                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.748    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Judy Adler                                                 Check all that apply.
          1626 Rolling View Way                                       Contingent
          Dacula, GA 30019                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.749    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Judy Cathey                                                Check all that apply.
          391 roberts ln                                              Contingent
          Waco, TX 76712                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.750    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Juene Griffith                                             Check all that apply.
          3618 Summitt Pines                                          Contingent
          Decatur, GA 30034                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
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 2.751    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Julia Carodine Hines                                       Check all that apply.
          1538 E 220th St                                             Contingent
          Carson, CA 90745                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.752    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Julia Sharp                                                Check all that apply.
          709 Rosedale Dr                                             Contingent
          Hewitt, TX 76643                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.753    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Julie Mahan                                                Check all that apply.
          243 Wulfert Rd                                              Contingent
          Rochester Mills, PA 15771                                   Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.754    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Julie Peters                                               Check all that apply.
          3371 Border Drive                                           Contingent
          Stone Mountain, GA 30087                                    Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.755    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Juliette Ellis                                             Check all that apply.
          258 Kubitza Dr                                              Contingent
          Mart, TX 76664                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.756    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Julius Ganpat                                              Check all that apply.
          4260 NW 25th Street                                         Contingent
          Lauderhill, FL 33313                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.757    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Justin Fielder                                             Check all that apply.
          2321 Therese Dr                                             Contingent
          Waco, TX 76712                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.758    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Justina Crain                                              Check all that apply.
          6990 Enborne Ln                                             Contingent
          San Diego, CA 92139                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.759    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Kaijin Jiang                                               Check all that apply.
          1012 Candlewood Trl                                         Contingent
          Irving, TX 75063                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.760    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Kallie Ampelas                                             Check all that apply.
          1417 N 2nd St                                               Contingent
          Temple, TX 76501                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.761    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Kamette Myers                                              Check all that apply.
          9757 E Winchcomb Drive                                      Contingent
          Scottsdale, AZ 85260                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.762    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Kamia Montgomery                                           Check all that apply.
          201 Pearl Dr                                                Contingent
          Hewitt, TX 76643                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.763    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Kammie Everett                                             Check all that apply.
          8000 N River Xing                                           Contingent
          China Spring, TX 76633                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.764    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Kamryon Lujan                                              Check all that apply.
          3825 N 22nd St                                              Contingent
          Waco, TX 76708                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.765    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Kandace Fedro                                              Check all that apply.
          10624 T Bury                                                Contingent
          Waco, TX 76708                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.766    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Kanisha Johnson                                            Check all that apply.
          102 S. Barbara Dr.                                          Contingent
          Waco, TX 76705                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.767    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          KANSAS DEPT OF REVENUE                                     Check all that apply.
          915 SW HARRISON ST                                          Contingent
          TOPEKA, KS 66625-4066                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.768    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Karen Martinez                                             Check all that apply.
          2505 E Main                                                 Contingent
          P303                                                        Unliquidated
          Puyallup, WA 98372
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.769    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Karen White                                                Check all that apply.
          552 Sweet Home Rd                                           Contingent
          Nashville, AR 71852                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.770    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Kari Notsch                                                Check all that apply.
          12024 Sumter Circle                                         Contingent
          Champlin, MN 55316                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.771    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Karissa Yunck                                              Check all that apply.
          4950 38th st SE                                             Contingent
          Medina, ND 58467                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.772    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Karla Lane                                                 Check all that apply.
          4490 Brisbane WY                                            Contingent
          Unit 5                                                      Unliquidated
          Oceanside, CA 92058
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.773    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Karla Lopez                                                Check all that apply.
          428 Gaspar Key Lane                                         Contingent
          Punta Gorda, FL 33955                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.774    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Karla Martinez                                             Check all that apply.
          2601 Robinson Dr #40                                        Contingent
          Waco, TX 76706                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.775    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Kassidy Ford                                               Check all that apply.
          4207 Timbercrest Ln                                         Contingent
          Waco, TX 76705                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.776    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Katerina Oliveira                                          Check all that apply.
          20 Kensington Court West                                    Contingent
          Elgin, SC 29045                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.777    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Kathaleen Massingill                                       Check all that apply.
          P O Box 173                                                 Contingent
          highlands, TX 77562                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.778    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Kathe DeVay                                                Check all that apply.
          400 Holiday Creek Lane                                      Contingent
          Georgetown, TX 78633                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.779    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Katherine Davis                                            Check all that apply.
          5101 Sanger Ave, #1112                                      Contingent
          waco, TX 76710                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.780    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Katherine Hancock                                          Check all that apply.
          117 Susquehanna Court                                       Contingent
          Havre de Grace, MD 21078                                    Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.781    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Katherine Merrill                                          Check all that apply.
          2026 Bent Pine Ct                                           Contingent
          Jacksonville, FL 32246                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.782    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Kathleen Cummins                                           Check all that apply.
          2219 51st. Blvd. E                                          Contingent
          Bradenton, FL 34208                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.783    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Kathleen Kruger                                            Check all that apply.
          396 Baylor Camp Rd                                          Contingent
          China Spring, TX 76633                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.784    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Kathleen Luedtke                                           Check all that apply.
          3817 N 101st St                                             Contingent
          Omaha, NE 68134                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.785    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Kathleen Oxford                                            Check all that apply.
          4620 PONTCHARTRAIN DR UNIT I                                Contingent
          SLIDELL, LA 70458                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.786    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Kathleen Shaw                                              Check all that apply.
          908 Roosevelt Road                                          Contingent
          East Rochester, NY 14445                                    Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.787    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Kathleen Weir                                              Check all that apply.
          3539 Reichert Rd                                            Contingent
          Erie, PA 16509                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.788    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Kathryn Matlock                                            Check all that apply.
          1411 NW 122 Avenue                                          Contingent
          Pembroke Pines, FL 33026                                    Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.789    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Kathryn Stamper                                            Check all that apply.
          4401 Cummins Street                                         Contingent
          Plano, IL 60545                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.790    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Katie Willborn                                             Check all that apply.
          1004 N Broadway                                             Contingent
          Ballinger, TX 76821                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.791    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Katrina Myers                                              Check all that apply.
          8542 Hickcock Drive                                         Contingent
          Baton Rouge, LA 70811                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.792    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Kavayanna Diggs                                            Check all that apply.
          2509 S. 16th St.                                            Contingent
          Waco, TX 76706                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.793    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Kawanis Lanier                                             Check all that apply.
          3727 Kushla Ave                                             Contingent
          Dallas, TX 75216                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.794    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Kayla Griffin                                              Check all that apply.
          8014 W. Hwy. 84                                             Contingent
          2049                                                        Unliquidated
          Waco, TX 76712
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.795    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Kayla Grigsby                                              Check all that apply.
          702 Sunny Brook Terrace                                     Contingent
          Apartment 1138                                              Unliquidated
          Gaithersburg, MD 20877
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.796    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Kayla Lee                                                  Check all that apply.
          2525 E. Lake Shore Dr.                                      Contingent
          Apt. 1602                                                   Unliquidated
          Waco, TX 76705
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.797    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Kayla McCann                                               Check all that apply.
          237 CR 415                                                  Contingent
          Chilton, TX 76632                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.798    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Kayla Nevels                                               Check all that apply.
          6607 Dunn St. Apt. A                                        Contingent
          Waco, TX 76710                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.799    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Kayla Thompson                                             Check all that apply.
          427 Panther Way                                             Contingent
          Hewitt, TX 77643                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.800    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Kaylee Hill                                                Check all that apply.
          3 Mather St.                                                Contingent
          Waco, TX 76705                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.801    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Keandrea Spivey                                            Check all that apply.
          620 N Hewitt Dr                                             Contingent
          Apt 112                                                     Unliquidated
          Hewitt, TX 76643
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.802    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Keele Hamilton                                             Check all that apply.
          320 Tranquility lane                                        Contingent
          Cedar Hill, TX 75104                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.803    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Kehinde Yeboah                                             Check all that apply.
          1801 Granite Drive, Apt. 1097                               Contingent
          Arlington, TX 76013                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.804    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Keith Hebert                                               Check all that apply.
          6 lampton drive                                             Contingent
          derry, NH 03038                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.805    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Kelley Horner                                              Check all that apply.
          92 Foster Hill                                              Contingent
          West Brookfield, MA 01585                                   Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.806    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Kellie Jorgenson                                           Check all that apply.
          1212 SE London Way                                          Contingent
          Lees Summit, MO 64081                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.807    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Kellie Lawton                                              Check all that apply.
          7689 Highway 29 N                                           Contingent
          Danielsville, GA 30633                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.808    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Kelly Fiers                                                Check all that apply.
          1050 Attaway Rd.                                            Contingent
          Clarksville, TN 37040                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.809    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Kelly Kieslich                                             Check all that apply.
          1627 Twin Oak Dr. E                                         Contingent
          Middleburg, FL 32068                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.810    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Kelly Kornegay                                             Check all that apply.
          10505 Granada Dr.                                           Contingent
          Waco, TX 76708                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.811    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Kelly Melton                                               Check all that apply.
          1055 Old Bethany Rd                                         Contingent
          Bruceville, TX 76630                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.812    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Kelly Sallade                                              Check all that apply.
          72 Kettlebrook Drive                                        Contingent
          Mount Laurel, NJ 08054                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.813    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Kelly Wilder                                               Check all that apply.
          20 W Cobble Hill RD                                         Contingent
          Apt D                                                       Unliquidated
          Barre, VT 05641
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.814    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          KELLY WILLIAMS LANE                                        Check all that apply.
          3915 Torrey Pines Circle #201                               Contingent
          Memphis, TN 38125                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.815    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Kelly Zanti                                                Check all that apply.
          5822 Oakland Rd                                             Contingent
          Baltimore, MD 21227                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.816    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Kelsie Curley                                              Check all that apply.
          4510 North 19th                                             Contingent
          Apt E                                                       Unliquidated
          Waco, TX 76708
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.817    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Kendra Macfarland                                          Check all that apply.
          5 Menton St                                                 Contingent
          Mattapan, MA 02126                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.818    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Kendra Shyne                                               Check all that apply.
          565 S. Mason Rd.                                            Contingent
          #366                                                        Unliquidated
          Katy, TX 77450
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.819    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Kenneth Baker                                              Check all that apply.
          8145 Iron Dr                                                Contingent
          Fort Worth, TX 76137                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.820    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Kenneth Howell                                             Check all that apply.
          832 Kinwest                                                 Contingent
          Apt #261                                                    Unliquidated
          Irving, TX 75063
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.821    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Kenya Martin                                               Check all that apply.
          225 HillCrest Manor Court                                   Contingent
          Apt D                                                       Unliquidated
          Utica, NY 13501
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.822    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Keosha Wilson                                              Check all that apply.
          1300 s 11th st APT 3203                                     Contingent
          waco, TX 76706                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.823    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Kerri Baur                                                 Check all that apply.
          32 Benning Rd                                               Contingent
          Claymont, DE 19703                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.824    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Kerri Bradford                                             Check all that apply.
          1642 N. 15th A                                              Contingent
          Waco, TX 76707                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.825    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Kerri Hume                                                 Check all that apply.
          744 Cottontail Ct. S                                        Contingent
          Columbia, SC 29229                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.826    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Keshona Harris                                             Check all that apply.
          1700 Bagdad Rd                                              Contingent
          823                                                         Unliquidated
          Cedar Park, TX 78613
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.827    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Kevin Grimstad                                             Check all that apply.
          2508 Meadow Park Circle                                     Contingent
          # 55                                                        Unliquidated
          Bedford, TX 76021
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.828    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Kevin Vidato                                               Check all that apply.
          315 160th PL SE                                             Contingent
          Bothell, WA 98012                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.829    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Kevin Young                                                Check all that apply.
          2306 Shannon Ln                                             Contingent
          Walnut Creek, CA 94598                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.830    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Keynocha Brunson                                           Check all that apply.
          2015 Chase Common Court                                     Contingent
          Norcross, GA 30071                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.831    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Keyshawn Mckinney                                          Check all that apply.
          1921 Park Ave.                                              Contingent
          Waco, TX 76706                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.832    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Khandra Ivy                                                Check all that apply.
          1849 Parkwood Dr Apt 21B                                    Contingent
          Tupelo, MS 38801                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.833    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Khristina Fox                                              Check all that apply.
          54911 Eads Road                                             Contingent
          Pacific Junction, IA 51561                                  Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.834    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Kianna Hines                                               Check all that apply.
          2225 Pine Avenue                                            Contingent
          Waco, TX 76708                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.835    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Kiara Eckles                                               Check all that apply.
          3116 Lyle Avenue                                            Contingent
          Waco, TX 76708                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.836    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Kierra Thompson                                            Check all that apply.
          786 Balitmore st                                            Contingent
          Memphis, TN 38114                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.837    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Kimberlee Cutler                                           Check all that apply.
          6202 Appleton Lake Drive                                    Contingent
          Brighton, MI 48116                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.838    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Kimberli Hyche                                             Check all that apply.
          3400 Robinson Dr Trlr #99                                   Contingent
          Waco, TX 76706                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.839    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Kimberly Arrell                                            Check all that apply.
          3500 SE Concord Rd                                          Contingent
          Portland, OR 97267                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.840    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Kimberly Callahan                                          Check all that apply.
          1210 Ne Main Street                                         Contingent
          Grimes, IA 50111                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.841    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Kimberly Fuentes                                           Check all that apply.
          8802 Tradewind Dr.                                          Contingent
          304                                                         Unliquidated
          Windcrest, TX 78239
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.842    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Kimberly Hale                                              Check all that apply.
          2826 N 15 A                                                 Contingent
          Waco, TX 76708                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.843    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Kimberly Hawkins                                           Check all that apply.
          26 Lucy Ln                                                  Contingent
          Wylie, TX 75098                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.844    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Kimberly Hernandez                                         Check all that apply.
          201 N Bordon St                                             Contingent
          Lorena, TX 76655                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.845    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Kimberly Jackson                                           Check all that apply.
          167 Evergreen Road                                          Contingent
          Brockport, NY 14420                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.846    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Kimberly McCraney                                          Check all that apply.
          5536 Gwendolyn Dr.                                          Contingent
          Apt.208                                                     Unliquidated
          Memphis, TN 38125
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.847    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Kimberly Menton                                            Check all that apply.
          17 Turnbach Lane                                            Contingent
          Sugarloaf, PA 18249                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.848    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          KIMBERLY NOWELLHOUR                                        Check all that apply.
          615 Gairloch Pl                                             Contingent
          Bel Air, MD 21015                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.849    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Kimberly Ratliff                                           Check all that apply.
          1000 Sutton Place                                           Contingent
          812                                                         Unliquidated
          Horn Lake, MS 38637
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.850    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Kimberly Ruggieri                                          Check all that apply.
          762 HICKORY AVE                                             Contingent
          Aston, PA 19014                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.851    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Kimberly West                                              Check all that apply.
          1327 Passage Dr                                             Contingent
          Odenton, MD 21113                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.852    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Kira Harris                                                Check all that apply.
          2509 E. Lakeshore Dr.                                       Contingent
          Apt. 206                                                    Unliquidated
          Waco, TX 76705
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.853    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Kisha Fahie                                                Check all that apply.
          1810 Chatfield Terrace                                      Contingent
          Severn, MD 21144                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.854    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Kishore Javvaji                                            Check all that apply.
          1206 Hidden Ridge                                           Contingent
          2026                                                        Unliquidated
          Irving, TX 75038
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.855    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Korena Ream                                                Check all that apply.
          113 Dewey St                                                Contingent
          Mill Hall, PA 17751                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.856    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Kourosh Khatami                                            Check all that apply.
          5300 Parkview Drive                                         Contingent
          Apt 1061                                                    Unliquidated
          Lake Oswego, OR 97035
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.857    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Kristal Luna                                               Check all that apply.
          4005 Harrison St.                                           Contingent
          Waco, TX 76705                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.858    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Kristen Anderson                                           Check all that apply.
          2216 N. 44th St.                                            Contingent
          Waco, TX 76710                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.859    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Kristen Bohn                                               Check all that apply.
          8070 central ave ne                                         Contingent
          302                                                         Unliquidated
          sring lake park, MN 55432
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.860    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Kristen Lossing                                            Check all that apply.
          240 Robin Rd                                                Contingent
          Moody, TX 76557                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.861    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Kristenn Smith                                             Check all that apply.
          2241 S State Highway 121                                    Contingent
          1113                                                        Unliquidated
          Lewisville, TX 75067
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.862    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Kristi Smith                                               Check all that apply.
          508 Navajo Trl                                              Contingent
          Mcgregor, TX 76657                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.863    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Kristie Frein                                              Check all that apply.
          5031 Greenway Drive                                         Contingent
          North Port, FL 34287                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.864    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Kristie Kincherlow                                         Check all that apply.
          4809 N O'Connor Rd                                          Contingent
          2059                                                        Unliquidated
          Irving, TX 75062
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.865    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Krystal Malcolm                                            Check all that apply.
          532 NW 15th Ave                                             Contingent
          Fort Lauderdale, FL 33311                                   Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.866    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Krystal Ojeda                                              Check all that apply.
          2030 S Forum Dr                                             Contingent
          Unit 214                                                    Unliquidated
          Grand Prairie, TX 75052
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.867    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Krystal Patterson                                          Check all that apply.
          2704 FM 219                                                 Contingent
          Clifton, TX 76634                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.868    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Krystal Seniceros                                          Check all that apply.
          2960A Primrose Dr                                           Contingent
          2960A                                                       Unliquidated
          Waco, TX 76706
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.869    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Kyaira Jackson                                             Check all that apply.
          725 East 60th St                                            Contingent
          Jacksonville, FL 32208                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.870    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Kyawana Johnson                                            Check all that apply.
          2600 S 16th                                                 Contingent
          Waco, TX 76706                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.871    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Kylah Vrana                                                Check all that apply.
          350 N Ave D                                                 Contingent
          13                                                          Unliquidated
          Crawford, TX 76638
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.872    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Kyle Phillips                                              Check all that apply.
          74 N. 2100 East Rd.                                         Contingent
          Heyworth, IL 61745                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.873    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Kynaiah Powell                                             Check all that apply.
          2732 South 14th Street                                      Contingent
          Waco, TX 76707                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.874    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Lacey Brogden                                              Check all that apply.
          907 Lancelot Circle                                         Contingent
          Hewitt, TX 76643                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.875    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Lacy Witte                                                 Check all that apply.
          1177 Bend of the Bosque                                     Contingent
          China Spring, TX 76633                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.876    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Lajuan Rogers                                              Check all that apply.
          5452 Chestnut St                                            Contingent
          Philadelphia, PA 19139                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.877    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          LaKeesha Taylor                                            Check all that apply.
          3630 wilson cove ct                                         Contingent
          snellville, GA 30039                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.878    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Lakeisha Jones                                             Check all that apply.
          916 Bardswell Rd                                            Contingent
          Catonsville, MD 21228                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.879    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Lakesha Johnson                                            Check all that apply.
          5445 Euclid St                                              Contingent
          Philadelphia, PA, PA 19131                                  Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.880    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Lakeycha Brown                                             Check all that apply.
          451 Monument rd apt 208                                     Contingent
          Jacksonville, FL 32225                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.881    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Lakin Buchanan                                             Check all that apply.
          818 Colcord Ave.                                            Contingent
          4103                                                        Unliquidated
          Waco, TX 76707
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.882    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Lalanda Wesley                                             Check all that apply.
          7051 Clarkridge Dr.                                         Contingent
          Apartment 5201                                              Unliquidated
          Dallas, TX 75236
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.883    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Laryssa Benford                                            Check all that apply.
          620 N. Hewitt Dr.                                           Contingent
          Hewitt, TX 76643                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.884    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          LaShanda Evans                                             Check all that apply.
          4300 Meyers Ln                                              Contingent
          # 1009                                                      Unliquidated
          Waco, TX 76705
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.885    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Lasharee Bailey                                            Check all that apply.
          4510 S 3rd St Rd                                            Contingent
          8C                                                          Unliquidated
          Waco, TX 76706
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.886    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Lashawnda Gambrell                                         Check all that apply.
          14012 Savannah Landing Ln                                   Contingent
          Rosharon, TX 77583                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.887    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Lashayla Jackson                                           Check all that apply.
          270 S. Watters Rd                                           Contingent
          apt 180                                                     Unliquidated
          Allen, TX 75013
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.888    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Lasonya Micheaux                                           Check all that apply.
          P.O. BOX 2562                                               Contingent
          Conroe, TX 77305                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.889    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Latese Watkins                                             Check all that apply.
          1395 Carvill Ave                                            Contingent
          Jacksonville, FL 32208                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.890    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Latisha Carden                                             Check all that apply.
          2901 Forest Hollow Ln #2504                                 Contingent
          Arlington, TX 76006                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.891    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          LaTocha Marshall                                           Check all that apply.
          5101 Sanger Ave                                             Contingent
          1006                                                        Unliquidated
          Waco, TX 76710
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.892    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          LaTonya Randolph                                           Check all that apply.
          6607 Dunn St                                                Contingent
          D                                                           Unliquidated
          Waco, TX 76710
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.893    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Latoya Neal                                                Check all that apply.
          9821 Chapel Rd                                              Contingent
          Apt 2211                                                    Unliquidated
          Waco, TX 76712
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.894    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          LAUIRE HOPPIS                                              Check all that apply.
          240 Azalea Ave                                              Contingent
          Ben Lomond, CA 95005                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.895    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Laura Aldinger                                             Check all that apply.
          355 Old Stage Rd                                            Contingent
          Lewisberry, PA 17339                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.896    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Laura Gamble                                               Check all that apply.
          352 Richland Dr Apt C                                       Contingent
          Waco, TX 76710                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.897    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Laura Gibbons                                              Check all that apply.
          8067 SKYLINE DR                                             Contingent
          BROADVIEW HEIGHTS, OH 44147                                 Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.898    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Laura Lochheed                                             Check all that apply.
          360 Harmony Brass Castle Rd                                 Contingent
          Phillipsburg, NJ 08865                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.899    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Laura Rhode                                                Check all that apply.
          3492 N 900 W                                                Contingent
          Delphi, IN 46923                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.900    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Laura Saulter                                              Check all that apply.
          3500 south 4th st                                           Contingent
          Waco, TX 76706                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.901    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Laurie Goss                                                Check all that apply.
          5213 Lake Charles                                           Contingent
          Waco, TX 76710                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.902    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Laurie Jones                                               Check all that apply.
          13685 N RANCHAIRO RD                                        Contingent
          Molt, MT 59057                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.903    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Laurie Leach                                               Check all that apply.
          8828 mystic trail                                           Contingent
          fort wort, TX 76118                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.904    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Laurie Wright                                              Check all that apply.
          3206 Pine Road                                              Contingent
          D-3                                                         Unliquidated
          Bremerton, WA 98310
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.905    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Laurine Hart                                               Check all that apply.
          1814 Gladstone Street                                       Contingent
          Philadelphia, PA 19145                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.906    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Lawrence Sexton                                            Check all that apply.
          461 Camby Court                                             Contingent
          Greenwood, IN 46142                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.907    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Leah Beranyk                                               Check all that apply.
          30473 avenida caylee                                        Contingent
          homeland, CA 92548                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.908    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Leandra Dickerson                                          Check all that apply.
          73 Greentree Lane                                           Contingent
          apt 136                                                     Unliquidated
          Dover, DE 19904
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.909    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Leanna Reyes                                               Check all that apply.
          3732 N 23rd St                                              Contingent
          Waco, TX 76708                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.910    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Lee Alonso                                                 Check all that apply.
          118 W 11th St.                                              Contingent
          Corona, CA 92882                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.911    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Leeann Schray                                              Check all that apply.
          790 Chippewa Ave                                            Contingent
          St Paul, MN 55107                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.912    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Leeanna Vohl                                               Check all that apply.
          105 E cardinal ln #3                                        Contingent
          harker heights, TX 76548                                    Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.913    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Lena Joslin                                                Check all that apply.
          3208 SO 68th Plz                                            Contingent
          Omaha, NE 68106                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.914    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Lenette Rogers                                             Check all that apply.
          5452 Chestnut St Apt #1                                     Contingent
          Philadelphia, PA 19139                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.915    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Leona Ducre                                                Check all that apply.
          P.O. Box 722107                                             Contingent
          San Diego, CA 92172                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.916    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Lera Chubb                                                 Check all that apply.
          128 SARATOGA AVE                                            Contingent
          Pawtucket, RI 02861                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.917    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Leslee Marshall                                            Check all that apply.
          1138 4th Ave N                                              Contingent
          Texas City, TX 77590                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.918    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Leslie Accardo                                             Check all that apply.
          337 West Ave.                                               Contingent
          Harahan, LA 70123                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.919    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Leslie Blackman                                            Check all that apply.
          14105 Orchard Ave                                           Contingent
          Omaha, NE 68137                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.920    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Leslie Guerra                                              Check all that apply.
          3541 Bluebird St                                            Contingent
          Waco, TX 76705                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.921    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Leticia Casarez                                            Check all that apply.
          3524 Odessa                                                 Contingent
          Dallas, TX 75212                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.922    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Leticia Casiano                                            Check all that apply.
          3704 Charlton Ave                                           Contingent
          Waco, TX 76711                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.923    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Leuviska Allen                                             Check all that apply.
          199 North Broadway                                          Contingent
          A4                                                          Unliquidated
          Shelby, MS 38774
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.924    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Liberato Atienza                                           Check all that apply.
          6209 Shasta Creek Way                                       Contingent
          Elk Grove, CA 95758                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.925    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Lillie Walters                                             Check all that apply.
          34447 Yale Dr                                               Contingent
          Yucaipa, CA 92399                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.926    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Linda Aguilar                                              Check all that apply.
          3313 E. Brookview Drive                                     Contingent
          Waco, TX 76707                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.927    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Linda Birts                                                Check all that apply.
          8200 Gilbert Street                                         Contingent
          Philadelphia, PA 19150                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.928    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Linda Bracey                                               Check all that apply.
          610 Brown St                                                Contingent
          Sumter, SC 29150                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.929    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Linda Kozak                                                Check all that apply.
          21540 Provincial Blvd #218                                  Contingent
          Katy, TX 77450                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.930    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Linda Nuetzi                                               Check all that apply.
          11511 Petersham Falls Ln                                    Contingent
          Jacksonville, FL 32258                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.931    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Linda Rohr                                                 Check all that apply.
          635 Meadowglen                                              Contingent
          Duncanville, TX 75137                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.932    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Linda Sawyers                                              Check all that apply.
          1901 Madera Dr                                              Contingent
          Waco, TX 76705                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.933    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Linda Smallwood                                            Check all that apply.
          4196 McEver Park Dr                                         Contingent
          Acworth, GA 30101                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.934    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Lindsay Estes                                              Check all that apply.
          9000 chapel rd apt 24101                                    Contingent
          Waco, TX 76712                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.935    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Lindsay Ray                                                Check all that apply.
          13430 Montclair Dr                                          Contingent
          Omaha, NE 68144                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.936    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Linwood Holmes                                             Check all that apply.
          3000 Belair Dr                                              Contingent
          Bowie, MD 20715                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.937    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Lisa Castilow                                              Check all that apply.
          250 Summer Harvest Dr                                       Contingent
          Lorena, TX 76655                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.938    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Lisa Davenport                                             Check all that apply.
          620 Hewitt Dr. #75                                          Contingent
          Hewitt, TX 76643                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.939    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Lisa Dickison                                              Check all that apply.
          5101 Sanger Ave. #1105                                      Contingent
          Waco, TX 76710                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.940    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Lisa Earley                                                Check all that apply.
          1901 Richter                                                Contingent
          #5208                                                       Unliquidated
          Waco, TX 76711
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.941    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Lisa Gaskill                                               Check all that apply.
          2675 N 93rd Apt 208                                         Contingent
          Omaha, NE 68134                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.942    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Lisa Grismore                                              Check all that apply.
          2736 SO 26TH ST                                             Contingent
          Waco, TX 76706                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.943    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Lisa Guest                                                 Check all that apply.
          1816 Rey                                                    Contingent
          Waco, TX 76712                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.944    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Lisa Guzman                                                Check all that apply.
          621 Lakeside Dr                                             Contingent
          Irving, TX 75062                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.945    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Lisa Maclin                                                Check all that apply.
          3759 Lakehurst Dr                                           Contingent
          Memphis, TN 38128                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.946    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Lisa Mulvihill                                             Check all that apply.
          3048 Fernwood Ave                                           Contingent
          Egg Harbor Twp, NJ 08234                                    Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.947    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Lisa Ray                                                   Check all that apply.
          2625 N. Hwy 360                                             Contingent
          Apt. 828                                                    Unliquidated
          Grand Prairie, TX 75050
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.948    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Lisa Salter                                                Check all that apply.
          2317 Summer Oaks Court                                      Contingent
          Apt.1103                                                    Unliquidated
          Arlington, TX 76011
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.949    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Lisa Stone                                                 Check all that apply.
          1557 Knottingham Ln                                         Contingent
          Little Elm, TX 75068                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.950    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Lisa Thomas                                                Check all that apply.
          10007 AMBER CIRCLE                                          Contingent
          Waco, TX 76712                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.951    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Lisa Vannata                                               Check all that apply.
          5641 Mossberg Dr                                            Contingent
          New Port Richey, FL 34655                                   Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.952    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Lizbeth Martinez                                           Check all that apply.
          1214 Dartmouth                                              Contingent
          Waco, TX 76711                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.953    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Lloyd Leone                                                Check all that apply.
          4 Ramar Street                                              Contingent
          Flanders, NJ 07836                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.954    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Lois Kidd                                                  Check all that apply.
          570 Berkley st                                              Contingent
          A                                                           Unliquidated
          Camden, NJ 08103
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
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 2.955    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Loralyn Napfel                                             Check all that apply.
          1509 Green Rd                                               Contingent
          Edgewood, MD 21040                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.956    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Loreta Tardio                                              Check all that apply.
          14849 Los Gatos Blvd                                        Contingent
          Los Gatos, CA 95032                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.957    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Lori Butler                                                Check all that apply.
          5710 Francis Ct SE                                          Contingent
          Auburn, WA 98092                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.958    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Lori Donald                                                Check all that apply.
          7101 South 83rd St #12                                      Contingent
          LaVista, NE 68128                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.959    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Lori Holman                                                Check all that apply.
          740 Castleman Creek Dr.                                     Contingent
          Hewitt, TX 76643                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.960    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Lori Micheals                                              Check all that apply.
          3122-B Pisgah Place                                         Contingent
          Greensboro, NC 27455                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.961    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Louie Cabrera                                              Check all that apply.
          715 Allison ave #5                                          Contingent
          manhattan, KS 66502                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.962    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Louis Medeiros                                             Check all that apply.
          29 Arthur Ave # 15                                          Contingent
          East Providence, RI 02914                                   Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.963    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          LOUISE MEDINA                                              Check all that apply.
          77 Norwich Way                                              Contingent
          Pleasant Hill, CA 94523                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.964    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Louise Schardt                                             Check all that apply.
          65 Martins Ln                                               Contingent
          Hamilton, NJ 08620                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.965    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          LOUISIANA DEPT OF REVENUE                                  Check all that apply.
          PO BOX 201                                                  Contingent
          BATON ROUGE, LA 70802                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.966    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          LOUISIANA DEPT OF REVENUE                                  Check all that apply.
          PO BOX 201                                                  Contingent
          BATON ROUGE, LA 70821                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.967    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Lovely Davis                                               Check all that apply.
          2265 W. 28TH STREET                                         Contingent
          JACKSONVILLE, FL 32209                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.968    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Lovely Ethakkan                                            Check all that apply.
          327 Wyndale Court                                           Contingent
          Lewisville, TX 75056                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.969    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Luanne Veino                                               Check all that apply.
          403 E. Pease                                                Contingent
          Hayworth, IL 61745                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.970    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Lucy Gardner                                               Check all that apply.
          120 Coventry Circle                                         Contingent
          Lansdale, PA 19446                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.971    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Lucy Njoroge                                               Check all that apply.
          8225 Mariners Dr                                            Contingent
          184                                                         Unliquidated
          Stockton, CA 95219
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.972    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Lucy Walker                                                Check all that apply.
          2233 Lake Ridge Circle                                      Contingent
          Waco, TX 76710                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.973    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Luetricia Billingsley                                      Check all that apply.
          4829 Enclave Drive                                          Contingent
          Union City, GA 30291                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.974    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Lula Draper                                                Check all that apply.
          P O BOX 385                                                 Contingent
          MACON, MS 39341                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.975    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Lydia Frierson                                             Check all that apply.
          416 N Shore Ct                                              Contingent
          Chapin, SC 29036                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.976    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Lynda Butler                                               Check all that apply.
          2100 Joes Lake Road                                         Contingent
          Shelby, NC 28152                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.977    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Lynda Cobb                                                 Check all that apply.
          115 Parkway Dr. Lot C                                       Contingent
          Texarkana, TX 75501                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.978    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Lynda D'Angelo                                             Check all that apply.
          501 Willow Way                                              Contingent
          McGregor, TX 76657                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.979    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Lyndsey French                                             Check all that apply.
          700 N. Scarlett St.                                         Contingent
          Lacy lakeview, TX 76705                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.980    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Lynette Henley                                             Check all that apply.
          5431 Sharswood St                                           Contingent
          Philadelphia, PA 19131                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.981    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Lynne Costello                                             Check all that apply.
          55 Kings Ct.                                                Contingent
          Woolwich Township, NJ 08085                                 Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.982    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Lynne Dolinay                                              Check all that apply.
          307 Manor Rd                                                Contingent
          Hatboro, PA 19040                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.983    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Lynnette Davis                                             Check all that apply.
          3327 N 47th St                                              Contingent
          Milwaukee, WI 53216                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.984    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Ma Susan Tan                                               Check all that apply.
          11419 Monterrey Drive                                       Contingent
          Silver Spring, MD 20902                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.985    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Madeleine Burroughs                                        Check all that apply.
          904 NE 18th Street                                          Contingent
          Fort Lauderdale, FL 33305                                   Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.986    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Madison Landwehr                                           Check all that apply.
          305 W Meadow DR                                             Contingent
          Prairie City, IA 50228                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.987    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Madysen Baker                                              Check all that apply.
          325 Oakwood Ln.                                             Contingent
          Hewitt, TX 76643                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.988    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          MAINE REVENUE SERVICES                                     Check all that apply.
          24 STATE HOUSE STATION                                      Contingent
          AUGUSTA, ME 04333                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.989    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Maira Treto                                                Check all that apply.
          5880 S University Parks Dr.                                 Contingent
          Waco, TX 76706                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.990    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Malaysia Barrett                                           Check all that apply.
          2301 Los Arboles Ln                                         Contingent
          Waco, TX 76711                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.991    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Malcolm Norwood                                            Check all that apply.
          100 Hali Brooke Dr.                                         Contingent
          China Spring, TX 76633                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.992    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Malinda Gerard                                             Check all that apply.
          801 North Broad St                                          Contingent
          Apt 3F                                                      Unliquidated
          Elizabeth, NJ 07208
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.993    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Mandi Bess                                                 Check all that apply.
          8121 cloverglen ln                                          Contingent
          ft worth, TX 76123                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.994    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Mandy Garrett                                              Check all that apply.
          4607 Meyers Ln                                              Contingent
          Bellmead, TX 76705                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.995    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Manida Son                                                 Check all that apply.
          518 S Althea Ave                                            Contingent
          Rialto, CA 92376                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.996    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Marcia Smith                                               Check all that apply.
          324 Branded Blvd                                            Contingent
          Kokomo, IN 46901                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.997    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Marcus Neal                                                Check all that apply.
          9821 Chapel Rd                                              Contingent
          Waco, TX 76712                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.998    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Maren Hardaway                                             Check all that apply.
          920 Meadow Creek Drive                                      Contingent
          2120                                                        Unliquidated
          Irving, TX 75038
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.999    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Margaret Alvarez                                           Check all that apply.
          8617 MT Whitriey                                            Contingent
          El Paso, TX 79904                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1000   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Margaret Brown                                             Check all that apply.
          3106 Union Street                                           Contingent
          Oakland, CA 94608                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1001   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Margaret Burken                                            Check all that apply.
          6932 Glendale Dr                                            Contingent
          North Richland Hills, TX 76182                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1002   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Margaret Day                                               Check all that apply.
          8737 Dandy Ave                                              Contingent
          Jacksonville, FL 32211                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
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 2.1003   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Margaritta Norris                                          Check all that apply.
          9225 Regal                                                  Contingent
          Waco, TX 76712                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1004   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Margery Showmaker                                          Check all that apply.
          144 E. Evergreen Street                                     Contingent
          West Grove, PA 19390                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1005   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Margori Mendez                                             Check all that apply.
          669 Thomas ave                                              Contingent
          Baldwin, NY 11510                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1006   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Maria Bell                                                 Check all that apply.
          3001 South New Road                                         Contingent
          1206                                                        Unliquidated
          Waco, TX 76706
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.1007   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Maria Chavez                                               Check all that apply.
          612 Jay Ave                                                 Contingent
          McAllen, TX 78504                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1008   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Maria Esquivel Tinoco                                      Check all that apply.
          517 Westend Dr                                              Contingent
          McGregor, TX 76657                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1009   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Maria Flores                                               Check all that apply.
          3806 Colina Ln                                              Contingent
          Waco, TX 76705                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1010   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Maria Jimenez                                              Check all that apply.
          3809 Rolando Ave. Waco, TX                                  Contingent
          76711                                                       Unliquidated
          Waco, TX 76711
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
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 2.1011   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Maria Magana                                               Check all that apply.
          2230 N. H. St                                               Contingent
          Oxnard, CA 93036                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1012   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Maria Morales                                              Check all that apply.
          7 Oracle CT                                                 Contingent
          Sacramento, CA 95823                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1013   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Maria Nash                                                 Check all that apply.
          1610 Arrowhead Dr N.                                        Contingent
          Glenville, NY 12302                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1014   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Maria Oliva                                                Check all that apply.
          805 S 8th St Apt 305                                        Contingent
          Waco, TX 76706                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.1015   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Maria Ontiveros                                            Check all that apply.
          109 Poplar St                                               Contingent
          Harlingen, TX 78552                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1016   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Maria Rodriguez                                            Check all that apply.
          4320 Modoc Road                                             Contingent
          Apt H.                                                      Unliquidated
          Santa Barbara, CA 93110
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1017   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Maria Salcedo                                              Check all that apply.
          3825 Echo Brook Lane                                        Contingent
          Dallas, TX 75229                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1018   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Maria Salinas                                              Check all that apply.
          3824 Cumberland Ave                                         Contingent
          Waco, TX 76707                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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              Name

 2.1019   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Mariah Proud                                               Check all that apply.
          119 Ridgeway Drive                                          Contingent
          Lolo, MT 59847                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1020   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Marianne Muha                                              Check all that apply.
          567 Charles Dr.                                             Contingent
          Brick, NJ 08723                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1021   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Maricela Ramirez                                           Check all that apply.
          2522 Parrott Ave                                            Contingent
          Waco, TX 76707                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1022   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Maridadi Jones                                             Check all that apply.
          902 Cannon Dr.                                              Contingent
          Euless, TX 76040                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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              Name

 2.1023   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Marie Hutchinson                                           Check all that apply.
          3228 Fm 217                                                 Contingent
          Valley Mills, TX 76689                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1024   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Marie Oge                                                  Check all that apply.
          1285 Burton Ave                                             Contingent
          Elmont, NY 11003                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1025   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          MARIELA MONROY HINOJOSA                                    Check all that apply.
          8413 Harding                                                Contingent
          Houston, TX 77012                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1026   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          MARILYN WINTERS                                            Check all that apply.
          1430 Marratooka Rd                                          Contingent
          Mattituck, NY 11952                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.1027   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Marisa Gomez                                               Check all that apply.
          710 Rice Way                                                Contingent
          Yuba City, CA 95991                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1028   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Marisela Chavez                                            Check all that apply.
          5100 Sanger Ave #256                                        Contingent
          Waco, TX 76710                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1029   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Marisol Fajardo                                            Check all that apply.
          8428 Emily Wood Cir                                         Contingent
          Tampa, FL 33647                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1030   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Marjorie Carpenter                                         Check all that apply.
          1405 Olive Lane N                                           Contingent
          #3108                                                       Unliquidated
          Plymouth, MN 55447
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.1031   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Marjorie Estrick                                           Check all that apply.
          27290 W. Potter Dr                                          Contingent
          Buckeye, AZ 85396                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1032   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Mark Jenkins                                               Check all that apply.
          2005 S. 8th St.                                             Contingent
          Apt. 11                                                     Unliquidated
          Waco, TX 76706
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1033   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Mark Moss                                                  Check all that apply.
          1208 Calico Ln                                              Contingent
          Apt 614                                                     Unliquidated
          Arlington, TX 76011
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1034   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Mark Rangel                                                Check all that apply.
          4900 Bagby Ave apt 307                                      Contingent
          Waco, TX 76711                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.1035   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Mark Reid                                                  Check all that apply.
          115 Forest Dr                                               Contingent
          Bridgewater, MA 02324                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1036   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Marla Cole                                                 Check all that apply.
          2 Crane Drive NE                                            Contingent
          Rome, GA 30161                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1037   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Marlene Flores                                             Check all that apply.
          35564 Ramada Lane                                           Contingent
          Yucaipa, CA 92399                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1038   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Marlene Parrack                                            Check all that apply.
          7213 FM 421                                                 Contingent
          Kountze, TX 77625                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.1039   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Marlene Thrawley                                           Check all that apply.
          3779 Creek wood Drive                                       Contingent
          Valdosta, GA 31602                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1040   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Marsha Berner                                              Check all that apply.
          738 Richmond                                                Contingent
          Rockwell City, IA 50579                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1041   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Martha Wenger                                              Check all that apply.
          564 Ongs Hat Road                                           Contingent
          Southampton, NJ 08088                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1042   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Martina Farris                                             Check all that apply.
          204 Chelsea Dr                                              Contingent
          Hewitt, TX 76643                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.1043   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Martrice Peoples                                           Check all that apply.
          3500 N. 25th St.                                            Contingent
          Waco, TX 76708                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1044   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Mary Ann Prucinsky                                         Check all that apply.
          1132 Racine Street                                          Contingent
          Rapid City, SD 57701                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1045   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Mary Autrey                                                Check all that apply.
          1916 Real Drive                                             Contingent
          Waco, TX 76712                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1046   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Mary Baier                                                 Check all that apply.
          13618 Cunning Lane                                          Contingent
          Lakeside, CA 92040                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.1047   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Mary Fazio                                                 Check all that apply.
          3228 Fm 217                                                 Contingent
          Valley Mills, TX 76689                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1048   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Mary Griffin Palmer                                        Check all that apply.
          14834 Honor Ct                                              Contingent
          Woodbridge, VA 22193                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1049   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Mary Guardiola                                             Check all that apply.
          1424 Monte Vista St                                         Contingent
          Waco, TX 76711                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1050   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Mary Halonen                                               Check all that apply.
          1227 Irvine Dr                                              Contingent
          Hanover, MN 55341                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.1051   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Mary Harris                                                Check all that apply.
          352 S. Vine                                                 Contingent
          West Union, IA 52175                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1052   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Mary Hegmann                                               Check all that apply.
          400 W Hartford St                                           Contingent
          apt 1                                                       Unliquidated
          Milford, PA 18337
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1053   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Mary Herrera                                               Check all that apply.
          1206 Alston Dr.                                             Contingent
          Waco, TX 76705                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1054   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Mary Mansfield                                             Check all that apply.
          521 Wray St                                                 Contingent
          Reidsville, NC 27320                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.1055   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Mary Mosegard                                              Check all that apply.
          2229 S. Abbey Loop                                          Contingent
          New Braunfels, TX 78130                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1056   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Mary Noonen                                                Check all that apply.
          7105 S 53rd St                                              Contingent
          Omaha, NE 68157                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1057   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Mary Orta                                                  Check all that apply.
          10100 Pantherway                                            Contingent
          #236                                                        Unliquidated
          Waco, TX 76712
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1058   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Mary Patterson                                             Check all that apply.
          9484 County Rd G                                            Contingent
          Suring, WI 54174                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.1059   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Mary Troisi                                                Check all that apply.
          29 GROSBEAK DR                                              Contingent
          Hackettstown, NJ 07840                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1060   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Mary Walker                                                Check all that apply.
          1401 NW 93rd ct                                             Contingent
          clive, IA 50325                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1061   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Mary Woodall                                               Check all that apply.
          7388 Lake In The Woods Lane                                 Contingent
          Trussville, AL 35173                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1062   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Maryanne Elder                                             Check all that apply.
          838 Cindy Cove Rd                                           Contingent
          Blairsville, GA 30512                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.1063   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          MARYLAND OFFICE OF THE                                     Check all that apply.
          COMPTROLLER                                                 Contingent
          80 CALVERT STREET                                           Unliquidated
          ANNAPOLIS, MD 21404
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.1064   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Mason Backus                                               Check all that apply.
          2529 Massey Ln.                                             Contingent
          Robinson, TX 76706                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1065   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          MASSACHUSETTS DEPT OF                                      Check all that apply.
          REVENUE                                                     Contingent
          DEPARTMENT OF REVENUE                                       Unliquidated
          PO BOX 7010
          BOSTON, MA 02204                                            Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.1066   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Matthew Bean                                               Check all that apply.
          5308 Bigwood Ct                                             Contingent
          Grand Prairie, TX 75052                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.1067   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Matthew Reynolds                                           Check all that apply.
          1508 Rosewood Lane                                          Contingent
          Allen, TX 75002                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1068   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Matthew Swank                                              Check all that apply.
          5193 Nile Rd                                                Contingent
          Sparta, NC 28675                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1069   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Maureen Lucci                                              Check all that apply.
          101 Sherman Road                                            Contingent
          Springfield, PA 19064                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1070   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Maya Ervin                                                 Check all that apply.
          711 N 32nd St                                               Contingent
          Waco, TX 76707                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.1071   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Mayra Carrizales                                           Check all that apply.
          4331 fort ave                                               Contingent
          waco, TX 76710                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1072   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Mckenzie Holtzclaw                                         Check all that apply.
          2525 East Lakeshore Drive                                   Contingent
          503                                                         Unliquidated
          Waco, TX 76705
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1073   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Meagan Weber                                               Check all that apply.
          1212 Royal Oaks Dr                                          Contingent
          Waco, TX 76710                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1074   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Mechiel Leblue                                             Check all that apply.
          3506 Ludwig St.                                             Contingent
          Little Rock, AR 72204                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
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 2.1075   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Megan Segel                                                Check all that apply.
          4702 NE 157th Ct                                            Contingent
          Vancouver, WA 98682                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1076   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Melanie Phillips                                           Check all that apply.
          11045 woodview dr                                           Contingent
          Conroe, TX 77303                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1077   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Melanie Whitlock                                           Check all that apply.
          501 South 4th ST                                            Contingent
          Apt G8                                                      Unliquidated
          Edwardsville, KS 66113
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1078   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Melinda Hine                                               Check all that apply.
          18105 Chespeake Cirlce                                      Contingent
          Walled Lake, MI 48390                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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              Name

 2.1079   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Melinda Lozano                                             Check all that apply.
          1316 Gould St                                               Contingent
          Forth Worth, TX 76164                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1080   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Melinda Myers                                              Check all that apply.
          4986 Lakeside CT                                            Contingent
          Cloverdale, IN 46120                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1081   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Melisa Murphy                                              Check all that apply.
          1203 Kane St                                                Contingent
          P O Box 154655                                              Unliquidated
          Waco, TX 76705
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1082   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Melissa Aragon                                             Check all that apply.
          11109 King Rail Rd SW                                       Contingent
          Albuquerque, NM 87121                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
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 2.1083   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Melissa Cockerham                                          Check all that apply.
          4905 Murray Road                                            Contingent
          Winston Salem, NC 27106                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1084   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Melissa Edge                                               Check all that apply.
          200 Lena Lane                                               Contingent
          Apt 3122                                                    Unliquidated
          Dallas, GA 30132
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1085   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Melissa Fransen                                            Check all that apply.
          811 7th St W                                                Contingent
          Hastings, MN 55033                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1086   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Melissa Harvey                                             Check all that apply.
          6530 Orchid                                                 Contingent
          Lumberton, TX 77657                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.1087   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Melissa Martinez                                           Check all that apply.
          1305 Tamarisk Dr.                                           Contingent
          Mexia, TX 76667                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1088   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Melissa Patrick                                            Check all that apply.
          1905 Mitchell Ave                                           Contingent
          Waco, TX 76708                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1089   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Melissa Rosiak                                             Check all that apply.
          217 2nd ave ne                                              Contingent
          st cloud, MN 56304                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1090   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Melissa Tillman                                            Check all that apply.
          131 Hines Road                                              Contingent
          Reidsville, NC 27320                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.1091   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Melissa Williams                                           Check all that apply.
          2843 Metropolitan Ave                                       Contingent
          Dallas, TX 75215                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1092   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Melonie Alvarez                                            Check all that apply.
          825 S. Jackson St                                           Contingent
          McGregor, TX 76657                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1093   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Michael French                                             Check all that apply.
          8630 Mary Court                                             Contingent
          Waxahachie, TX 75167                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1094   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Michael Jones                                              Check all that apply.
          5029 white cedar rd                                         Contingent
          Ladson, SC 29456                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.1095   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Michael Mccullough                                         Check all that apply.
          412 red river tr                                            Contingent
          Apt. 1037                                                   Unliquidated
          Irving, TX 75063
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1096   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Michael Montag                                             Check all that apply.
          243 Marsh Landing South                                     Contingent
          Freeport, FL 32439                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1097   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Michael Pedevilla                                          Check all that apply.
          2802 Live Oak Dr                                            Contingent
          Grapevine, TX 76051                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1098   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          MICHAEL PICKERT MD                                         Check all that apply.
          24 North Hillside Avenue                                    Contingent
          Livingston, NJ 07039                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.1099   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Michael Ross                                               Check all that apply.
          729 HESSTON CIRCLE                                          Contingent
          Robinson, TX 76706                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1100   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Michael Stephenson                                         Check all that apply.
          7009 Oakfield Corner Ct                                     Contingent
          North Richland Hills, TX 76182                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1101   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          MICHAEL TAN                                                Check all that apply.
          11419 Monterrey Dr                                          Contingent
          Silver Spring, MD 20902                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1102   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Michael Whipkey                                            Check all that apply.
          611 6th St                                                  Contingent
          Moody, TX 76557                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.1103   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Michaela Tibbatts                                          Check all that apply.
          2415 S. University Parks Dr.                                Contingent
          5202                                                        Unliquidated
          Waco, TX 76706
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1104   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Michele McGarry                                            Check all that apply.
          428 Long Pond Rd                                            Contingent
          Plymouth, MA 02360                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1105   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          MICHELLE BEARD                                             Check all that apply.
          227 N. Woodson                                              Contingent
          Raymore, MO 64083                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1106   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Michelle Campbell                                          Check all that apply.
          621 Rilla                                                   Contingent
          Garland, TX 75041                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.1107   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Michelle Granville                                         Check all that apply.
          140 Muscadine Ct S                                          Contingent
          Fairburn, GA 30213                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1108   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Michelle Hutton                                            Check all that apply.
          492 Dosher Lane                                             Contingent
          Woodway, TX 76712                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1109   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Michelle Jackson                                           Check all that apply.
          10309 Lake Bend Trail                                       Contingent
          Hurst, TX 76053                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1110   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Michelle Jim                                               Check all that apply.
          4520 Holland Ave                                            Contingent
          Apt 203                                                     Unliquidated
          Dallas, TX 75219
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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              Name

 2.1111   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Michelle Meier                                             Check all that apply.
          11152 10th St                                               Contingent
          Nickerson, NE 68044                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1112   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Michelle Moore                                             Check all that apply.
          2629 S Grand Peninsula Dr                                   Contingent
          319                                                         Unliquidated
          Grand Prairie, TX 75054
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1113   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Michelle Murphy                                            Check all that apply.
          4447 Battlecreek Ct. E                                      Contingent
          Jacksonville, FL 32258                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1114   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Michelle Plath                                             Check all that apply.
          33 VERA STREET                                              Contingent
          Piscataway, NJ 08854                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.1115   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Michelle Samai                                             Check all that apply.
          4260 NW 25th Street                                         Contingent
          Lauderhill, FL 33313                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1116   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          MICHIGAN DEPT OF TREASURY                                  Check all that apply.
          430 W ALLEGAN                                               Contingent
          LANSING, MI 48922                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.1117   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Mickey Snider                                              Check all that apply.
          709 Rochelle Dr.                                            Contingent
          Apt. #1120                                                  Unliquidated
          Irving, TX 75062
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1118   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Mikal Mayes                                                Check all that apply.
          2900 Primrose Dr.                                           Contingent
          2958C                                                       Unliquidated
          Waco, TX 76706
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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              Name

 2.1119   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Minaksie Patel                                             Check all that apply.
          722 Rowland Rd                                              Contingent
          Stone Mountain, GA 30083                                    Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1120   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          MINNESOTA DEPT OF REVENUE                                  Check all that apply.
          600 N ROBERT ST.                                            Contingent
          M/S 4130                                                    Unliquidated
          ST PAUL, MN 55101
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.1121   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Minnie Cook                                                Check all that apply.
          1221 White Creek Dr                                         Contingent
          Glenn Heights, TX 75154                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1122   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Miranda Mansfield                                          Check all that apply.
          6025 Westhaven Dr                                           Contingent
          Indianapolis, IN 46254                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.1123   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Miranda Nichols                                            Check all that apply.
          6801 Tennyson Dr apt 236                                    Contingent
          Waco, TX 76710                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1124   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Miranda Rivera                                             Check all that apply.
          3422 Parrott Avenue                                         Contingent
          Waco, TX 76707                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1125   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Miriam Roedts                                              Check all that apply.
          519 Stevenson Street                                        Contingent
          Sayre, PA 18840                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1126   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          MISSOURI DEPT OF REVENUE                                   Check all that apply.
          HARRY S TRUMAN STATE OFFICE                                 Contingent
          BLDG                                                        Unliquidated
          301 W HIGH ST
          JEFFERSON CITY, MO 65101                                    Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.1127   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Misti Mccombs                                              Check all that apply.
          536 Audrey Ave                                              Contingent
          Waco, TX 76705                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1128   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Mitchell Muncy                                             Check all that apply.
          3109 Oxford Ct                                              Contingent
          Plano, TX 75075                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1129   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Mitchell Winfree                                           Check all that apply.
          2306 Haniman Park Drive                                     Contingent
          Cary, NC 27513                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1130   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Monefa Hinds                                               Check all that apply.
          6286 Merrifield Dr                                          Contingent
          Zephyrhills, FL 33541                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.1131   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Moneisha Jones                                             Check all that apply.
          288 Hemphill School Road NW                                 Contingent
          Atlanta, GA 30331                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1132   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Monica Busch                                               Check all that apply.
          3821 Trice Ave.                                             Contingent
          Waco, TX 76707                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1133   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Monica Henry                                               Check all that apply.
          450 CR 3565                                                 Contingent
          China Spring, TX 76633                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1134   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Monica Kelly                                               Check all that apply.
          8457 Michigan Rd                                            Contingent
          Lawrenceville, IL 62439                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.1135   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Monica Martinez                                            Check all that apply.
          262 Rabbit Run                                              Contingent
          Waco, TX 76712                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1136   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Monica Mathis                                              Check all that apply.
          3420 e 70th st                                              Contingent
          Kansas City, MO 64132                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1137   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Monica Ruiz                                                Check all that apply.
          201 N Beacon St Apt 322                                     Contingent
          San Pedro, CA 90731                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1138   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Monica Tavarez                                             Check all that apply.
          246 Sprucewood                                              Contingent
          San Antonio, TX 78216                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.1139   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          MONTANA DEPT OF REVENUE                                    Check all that apply.
          SAM W MITCHELL BLDG                                         Contingent
          PO BOX 5805                                                 Unliquidated
          HELENA, MT 59604
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.1140   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Myranda Marshall                                           Check all that apply.
          704 Aspen Incline                                           Contingent
          Hewitt, TX 76643                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1141   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Nada Diab                                                  Check all that apply.
          1225 Dahlia Ln                                              Contingent
          Frederick, MD 21703                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1142   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Nakisha Anderson                                           Check all that apply.
          7222 Bretshire                                              Contingent
          Houston, TX 77016                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.1143   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Nancy Carter                                               Check all that apply.
          2531 49th Ave Unit 3                                        Contingent
          Greeley, CO 80634                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1144   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Nancy Glenn                                                Check all that apply.
          1341 Elwood rd                                              Contingent
          Hammonton, NJ 08037                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1145   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Nancy Ritter                                               Check all that apply.
          564 Broad St.                                               Contingent
          Emmaus, PA 18049                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1146   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Nancy Rivera                                               Check all that apply.
          1 graybark ct                                               Contingent
          Greensboro, NC 27407                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.1147   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Nancy Roch                                                 Check all that apply.
          2314 Melissa Drive                                          Contingent
          Waco, TX 76708                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1148   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Nancy Scarnecchia                                          Check all that apply.
          216 Murphy Circle                                           Contingent
          Bushkill, PA 18324                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1149   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Nanyamka Thompson                                          Check all that apply.
          922 Nassau                                                  Contingent
          3                                                           Unliquidated
          Cincinnati, OH 45206
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1150   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Naomi Garner                                               Check all that apply.
          8136 Harold Ct apt 1C                                       Contingent
          Glen Burnie, MD 21061                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.1151   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Naomi Wilkerson                                            Check all that apply.
          225 Londonderry                                             Contingent
          apartment 122                                               Unliquidated
          waco, TX 76712
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1152   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Natalie Cross                                              Check all that apply.
          4300 Meyers Lane                                            Contingent
          Apt 1301                                                    Unliquidated
          Waco, TX 76705
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1153   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Natalie Wallace                                            Check all that apply.
          768 E 214 ST                                                Contingent
          Bronx, NY 10467                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1154   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Natalyia Britton                                           Check all that apply.
          2493 Lancaster Drive #34                                    Contingent
          San Pablo, CA 94806                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.1155   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Natasha Jones                                              Check all that apply.
          5121 Mark Trail Way #23A                                    Contingent
          Dallas, TX 75232                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1156   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Natasia Banks                                              Check all that apply.
          236 Topaz Cir                                               Contingent
          Hewitt, TX 76643                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1157   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Nathaniel Myers                                            Check all that apply.
          9757 E. Winchcomb Drive                                     Contingent
          Scottsdale, AZ 85260                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1158   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          NEBRASKA DEPT OF REVENUE                                   Check all that apply.
          NEBRASKA STATE OFFICE                                       Contingent
          BUILDING                                                    Unliquidated
          301 CENTENNIAL MALL SOUTH
          PO BOX 94818                                                Disputed
          LINCOLN, NE 68508
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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              Name

 2.1159   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          NEBRASKA DEPT OF REVENUE                                   Check all that apply.
          CRAFT STATE OFFICE BLDG                                     Contingent
          200 SOUTH SILBER ST                                         Unliquidated
          NORTH PLATTE, NE 69101-4200
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.1160   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          NEBRASKA DEPT OF REVENUE                                   Check all that apply.
          304 NORTH 5TH STREET, STE D                                 Contingent
          NORFOLK, NE 68701-4091                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.1161   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          NEBRASKA DEPT OF REVENUE                                   Check all that apply.
          NEBRASKA STATE OFFICE                                       Contingent
          BUILDING                                                    Unliquidated
          1313 FARNAM STREET
          OMAHA, NE 68102-1871                                        Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.1162   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Nekila Strong                                              Check all that apply.
          2678 St. Johns Bluff Rd South                               Contingent
          Apt 515                                                     Unliquidated
          Jacksonville, FL 32246
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.1163   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Nelan Southern                                             Check all that apply.
          1708 W Edmaire St.                                          Contingent
          Chicago, IL 60643-4360                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1164   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Nelda Adams                                                Check all that apply.
          230 Busch Lane                                              Contingent
          Waco, TX 76705                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1165   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          NEVADA DEPT OF TAXATION                                    Check all that apply.
          1550 COLLEGE PARKWAY                                        Contingent
          STE 115                                                     Unliquidated
          CARSON CITY, NV 89706
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.1166   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          NEVADA DEPT OF TAXATION                                    Check all that apply.
          4600 KIETZKE LANE                                           Contingent
          BLDG L                                                      Unliquidated
          STE 235
          RENO, NV 89502                                              Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.1167   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          NEVADA DEPT OF TAXATION                                    Check all that apply.
          GRANT SAWYER OFFICE BLDG                                    Contingent
          555 E WASHINGTON AVE                                        Unliquidated
          STE 1300
          LAS VEGAS, NV 89101                                         Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.1168   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          NEVADA DEPT OF TAXATION                                    Check all that apply.
          2550 PASEO VERDE                                            Contingent
          STE 180                                                     Unliquidated
          HENDERSON, NV 89074
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.1169   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          NEW HAMPSHIRE DEPT OF                                      Check all that apply.
          REVENUE ADMIN                                               Contingent
          109 PLEASANT ST                                             Unliquidated
          CONCORD, NH 03301
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.1170   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          NEW JERSEY DEPT OF THE                                     Check all that apply.
          TREASURY                                                    Contingent
          DIVISION OF TAXATION                                        Unliquidated
          PO BOX 281
          TRENTON, NJ 08625                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.1171   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          NEW JERSEY DEPT OF THE                                     Check all that apply.
          TREASURY                                                    Contingent
          DIVISION OF TAXATION                                        Unliquidated
          PO BOX 281
          TRENTON, NJ 08695-0281                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.1172   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          NEW MEXICO TAXATION AND                                    Check all that apply.
          REVENUE                                                     Contingent
          1100 SOUTH ST FRANCIS DRIVE                                 Unliquidated
          PO BOX 630
          SANTA FE, NM 87504-0630                                     Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.1173   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          NEW YORK DEPT. OF FINANCE                                  Check all that apply.
          W.A. HARRIMAN CAMPUS, B8                                    Contingent
          RM 700                                                      Unliquidated
          ALBANY, NY 12227
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.1174   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          NEW YORK DEPT. OF FINANCE                                  Check all that apply.
          W.A. HARRIMAN CAMPUS, B8                                    Contingent
          BLDG 9 RM 449                                               Unliquidated
          ALBANY, NY 12227
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.1175   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          NEW YORK DEPT. OF FINANCE                                  Check all that apply.
          BANKRUPTCY SECTION                                          Contingent
          PO BOX 5300                                                 Unliquidated
          ALBANY, NY 12205-0300
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.1176   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Nichelle Nichols                                           Check all that apply.
          2404 Vernon Street                                          Contingent
          Kansas City, MO 64116                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1177   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Nichole Bostic                                             Check all that apply.
          2933 fields dr lithonia ga 30038                            Contingent
          Lithonia, GA 30058                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1178   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Nicole Brashears                                           Check all that apply.
          9700 High Noon Rd                                           Contingent
          Yukon, OK 73099                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.1179   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Nicole Chatham                                             Check all that apply.
          2023 Catamaran Dr                                           Contingent
          League City, TX 77573                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1180   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Nicole Deguzman                                            Check all that apply.
          989 Parkridge                                               Contingent
          Jacksonville, FL 32211                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1181   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Nicole Rivett                                              Check all that apply.
          11339 Northridge Dr                                         Contingent
          Gretna, NE 68028                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1182   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Nicole Sims                                                Check all that apply.
          1800 Primrose Dr                                            Contingent
          109B                                                        Unliquidated
          waco, TX 76706
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.1183   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Nina Spooner                                               Check all that apply.
          281 GARTH RD # B6K                                          Contingent
          SCARSDALE, NY 10583-4052                                    Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1184   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Noah Vigil                                                 Check all that apply.
          915 N 28th St                                               Contingent
          Waco, TX 76707                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1185   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Nolan McBride                                              Check all that apply.
          1604 Morgan Ln #A                                           Contingent
          Austin, TX 78704                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1186   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Nolatta Leblanc                                            Check all that apply.
          600 S. MacArthur Blvd.                                      Contingent
          1412                                                        Unliquidated
          Coppell, TX 75019
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.1187   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Nolvia Hernandez                                           Check all that apply.
          1506 Clay ave                                               Contingent
          waco, TX 76706                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1188   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Norma Denton                                               Check all that apply.
          29 ANTLER BLVD                                              Contingent
          MCLOUD, OK 74851                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1189   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Norma Martinez                                             Check all that apply.
          2106 Cartwright St                                          Contingent
          Irving, TX 75062                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1190   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Norma Rodriguez                                            Check all that apply.
          2445 Wentworth St.                                          Contingent
          Dallas, TX 75211                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.1191   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Norman Hill                                                Check all that apply.
          1102 iris glen dr                                           Contingent
          conyers, GA 30013                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1192   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          NORTH CAROLINA DEPT OF                                     Check all that apply.
          REVENUE                                                     Contingent
          501 NORTH WILMINGTON ST                                     Unliquidated
          RALEIGH, NC 27604
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.1193   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          NORTH DAKOTA OFFICE OF                                     Check all that apply.
          STATE TAX COMMISSIONER                                      Contingent
          600 EAST BOULEVARD AVE                                      Unliquidated
          DEPT 127
          BISMARCK, ND 58505-0599                                     Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.1194   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Nyah Holder                                                Check all that apply.
          6701 May Dr. Apt. #2313                                     Contingent
          Waco, TX 76710                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.1195   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          OHIO DEPT OF TAXATION                                      Check all that apply.
          4485 NORTHLAND RIDGE BLVD                                   Contingent
          COLUMBUS, OH 43229                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.1196   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          OHIO DEPT OF TAXATION                                      Check all that apply.
          PO BOX 530                                                  Contingent
          COLUMBUS, OH 43216-0530                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.1197   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          OKLAHOMA TAX COMMISSION                                    Check all that apply.
          2501 NORTH LINCOLN BLVD                                     Contingent
          OKLAHOMA CITY, OK 73914                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.1198   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          OKLAHOMA TAX COMMISSION                                    Check all that apply.
          PO BOX 26930                                                Contingent
          OKLAHOMA CITY, OK 73126-0930                                Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.1199   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Otis Burnett                                               Check all that apply.
          4325 1st Ave                                                Contingent
          Unit#1312                                                   Unliquidated
          Tucker, GA 30085
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1200   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Paige Lacy                                                 Check all that apply.
          201 keerl st                                                Contingent
          Joice, IA 50446                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1201   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Pamela Campbell                                            Check all that apply.
          2632 8th Ave                                                Contingent
          Council Blfs, IA 51501                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1202   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Pamela Coleman                                             Check all that apply.
          1547 Nottingham Dr.                                         Contingent
          Lancaster, TX 75134                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.1203   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Pamela Evans Washington                                    Check all that apply.
          718 West 144th Street                                       Contingent
          Riverdale, IL 60827                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1204   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Pamela Fisk                                                Check all that apply.
          302 Romana Circle                                           Contingent
          Hewitt, TX 76643                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1205   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Pamela Lewis                                               Check all that apply.
          9726 Underwood Ct                                           Contingent
          Jacksonville, FL 32221                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1206   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Pamela Smith                                               Check all that apply.
          243 Oak Hill Loop                                           Contingent
          Whitney, TX 76692                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
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 2.1207   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Pamela Waddell                                             Check all that apply.
          6233 N. 66th St                                             Contingent
          Omaha, NE 68104                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1208   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Pamela Williams                                            Check all that apply.
          2017 Ramada                                                 Contingent
          Waco, TX 76712                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1209   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Paola Perdomo Calderon                                     Check all that apply.
          138 N 11th St.                                              Contingent
          Alletown, PA 18102                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1210   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Pat Durkot                                                 Check all that apply.
          2409 30th Ave. Ne                                           Contingent
          Saint Anthony, MN 55418                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.1211   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Patia Smith                                                Check all that apply.
          802 Milam Dr                                                Contingent
          Euless, TX 76039                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1212   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Patricia Bosse                                             Check all that apply.
          1241 Prairie Bend                                           Contingent
          New Braunfels, TX 78132                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1213   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Patricia Clark                                             Check all that apply.
          12420 Middlewood Dr.                                        Contingent
          Baker, LA 70714                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1214   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Patricia Jenkins                                           Check all that apply.
          1800 Preston On The Lake                                    Contingent
          #569                                                        Unliquidated
          Little Elm, TX 75068
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
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 2.1215   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Patricia Johnson                                           Check all that apply.
          639 Poplar                                                  Contingent
          Romeoville, IL 60446                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1216   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Patricia Nugent                                            Check all that apply.
          Po Box 344                                                  Contingent
          Hewitt, TX 76643                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1217   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Patricia Pattillo                                          Check all that apply.
          2095 Snow Mill Rd                                           Contingent
          Monroe, GA 30655                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1218   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Patricia Snell                                             Check all that apply.
          625 Central Ave                                             Contingent
          Malta, MT 59538                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
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 2.1219   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Patrick Collins                                            Check all that apply.
          2355 N Hwy 360                                              Contingent
          Apt 834                                                     Unliquidated
          Grand Prairie, TX 75050
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1220   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Patrick Gyeabour                                           Check all that apply.
          565 west 189th street                                       Contingent
          5b                                                          Unliquidated
          NEW YORK, NY 10040
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1221   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Patrick Stevens                                            Check all that apply.
          828 Fort Gates                                              Contingent
          Waco, TX 76708                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1222   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Pattisue Malone                                            Check all that apply.
          3243 East Galen Hall Road                                   Contingent
          Reinholds, PA 17569                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.1223   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Paul Browning Sr                                           Check all that apply.
          5226 E Commerce                                             Contingent
          Spokane, WA 99212                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1224   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Paul Jones                                                 Check all that apply.
          2332 Brown Oaks Drive                                       Contingent
          Arlington, TX 76011                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1225   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Paul Kovach                                                Check all that apply.
          343 Vanadium Rd                                             Contingent
          Pittsburgh, PA 15243                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1226   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Paula Brookshire                                           Check all that apply.
          8220 Lakeshore Dr. W                                        Contingent
          Southaven, MS 38671                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
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 2.1227   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Paula Kilbourn                                             Check all that apply.
          4111 133rd Street SE                                        Contingent
          A421                                                        Unliquidated
          Mill Creek, WA 98012
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1228   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Paula Sternes                                              Check all that apply.
          300 B Chapel Trail Circle                                   Contingent
          Waco, TX 76712                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1229   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Paulette Jones                                             Check all that apply.
          10569 Arendal Rd                                            Contingent
          Jacksonville, FL 32218                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1230   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Peggy Charles                                              Check all that apply.
          11301 Tooks Way                                             Contingent
          Columbia, MD 21044                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
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 2.1231   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Peggy Moreno                                               Check all that apply.
          1128 Sotogrande Blvd                                        Contingent
          Apt 163south                                                Unliquidated
          Euless, TX 76040
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1232   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          PENNSYLVANIA DEPT OF STATE                                 Check all that apply.
          5TH FLOOR STRAWBERRY                                        Contingent
          SQUARE                                                      Unliquidated
          HARRISBURG, PA 17128-0605
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.1233   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          PENNSYLVANIA DEPT OF STATE                                 Check all that apply.
          PHILADELPHIA NORTHEAST                                      Contingent
          DISTRICT                                                    Unliquidated
          3240 RED LION RD
          PHILADELPHIA, PA 19114                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.1234   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          PENNSYLVANIA DEPT OF STATE                                 Check all that apply.
          SCRANTON DISTRICT OFFICE                                    Contingent
          SAMTERS BLDG, RM 201                                        Unliquidated
          101 PENN AVE
          SCRANTON, PA 18563-1970                                     Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.1235   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          PENNSYLVANIA DEPT OF STATE                                 Check all that apply.
          PITTSBURGH DISTRICT OFFICE                                  Contingent
          STATE OFFICE BLDG, RM 104                                   Unliquidated
          300 LIBERTY AVE
          PITTSBURGH, PA 15222-1210                                   Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.1236   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Perla Vaquera                                              Check all that apply.
          1307 S. 26th St.                                            Contingent
          Waco, TX 76706                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1237   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Persephone Jones                                           Check all that apply.
          102 Beachwood                                               Contingent
          Waco, TX 76705                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1238   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Peter Mourao                                               Check all that apply.
          377 Harrison St                                             Contingent
          Nutley, NJ 07110                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.1239   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Peterson Alcide                                            Check all that apply.
          4430 oklahoma wy nw                                         Contingent
          Kennesaw, GA 30152                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1240   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Phillip Evans                                              Check all that apply.
          1806 Sun Point Ct                                           Contingent
          Humble, TX 77396                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1241   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Phoebe Johnson Wildfeuer                                   Check all that apply.
          706 Thornton Ct                                             Contingent
          North Wales, PA 19454                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1242   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Phyllis Ewing                                              Check all that apply.
          2201 Richter Ave                                            Contingent
          Waco, TX 76711                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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              Name

 2.1243   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Phyllis Young                                              Check all that apply.
          435 Little Ave                                              Contingent
          218                                                         Unliquidated
          Mcgregor, TX 76657
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1244   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Porsha Roberson                                            Check all that apply.
          302 Perry Street                                            Contingent
          Marlin, TX 76661                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1245   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Praveen Peruri                                             Check all that apply.
          3676 Vienna St                                              Contingent
          Irving, TX 75038                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1246   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Priscillia Lopez                                           Check all that apply.
          131 N. Lakeview                                             Contingent
          Waco, TX 76705                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
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 2.1247   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Prochlyer Robinson                                         Check all that apply.
          6130 Waterstone Oak Way 101                                 Contingent
          Memphis, TN 38115                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1248   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Psalmist Wyllie                                            Check all that apply.
          700 bowers                                                  Contingent
          Waco, TX 76705                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1249   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Quantashia Jones                                           Check all that apply.
          1004 Briar Dr                                               Contingent
          Waco, TX 76710                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1250   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Rachel Hargrove                                            Check all that apply.
          8 Nelson pl                                                 Contingent
          Mastic, NY 11950                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.1251   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Rachel Johnson                                             Check all that apply.
          1813 6th Ave W                                              Contingent
          Williston, ND 58801                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1252   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Rachel Juric                                               Check all that apply.
          4901 Green River Rd                                         Contingent
          38                                                          Unliquidated
          Corona, CA 92880
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1253   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Raiven Hawthorne                                           Check all that apply.
          3830 opal ave                                               Contingent
          dallas, TX 75216                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1254   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Ramiro Valdez                                              Check all that apply.
          P.O. Box 571                                                Contingent
          Rosebud, TX 76570                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.1255   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Ramiza Tokovic                                             Check all that apply.
          95 Vinton street                                            Contingent
          Manchester, NH 03103                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1256   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Ramona Macias                                              Check all that apply.
          2220 real dr                                                Contingent
          waco, TX 76712                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1257   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Ramza Zubair                                               Check all that apply.
          1634 77th st                                                Contingent
          3                                                           Unliquidated
          brooklynNY 11214
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1258   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Randy Wicks                                                Check all that apply.
          3808 Furneaux Lane                                          Contingent
          Carrollton, TX 75007                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.1259   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Raquel Bellamy                                             Check all that apply.
          14630 Grenadine Drive                                       Contingent
          5                                                           Unliquidated
          Tampa, FL 33613
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1260   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Raquel Johnson                                             Check all that apply.
          2005 Tall Oaks Dr 2B                                        Contingent
          Aurora, IL 60505                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1261   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Rashik Abdullahi                                           Check all that apply.
          502 Easley St. Apt. T2                                      Contingent
          Silver Spring, MD 20910                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1262   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Raul Leon                                                  Check all that apply.
          2544 w norberry st                                          Contingent
          lancaster, CA 93536                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.1263   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Raven Joseph                                               Check all that apply.
          5000 Sanger Ave                                             Contingent
          2214                                                        Unliquidated
          Waco, TX 76710
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1264   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Raven Trewin                                               Check all that apply.
          4006 Torrance St                                            Contingent
          Waco, TX 76705                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1265   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Raven Watts                                                Check all that apply.
          3918 N 19th St                                              Contingent
          Waco, TX 76708                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1266   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Ravion Pride                                               Check all that apply.
          346 Applewood Ln.                                           Contingent
          Hewitt, TX 76664                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.1267   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Rayane Santos                                              Check all that apply.
          525 Estate Dr                                               Contingent
          Rush City, MN 55069                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1268   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Raymond Lerma Jr                                           Check all that apply.
          5209 Amaro Way                                              Contingent
          Salida, CA 95368                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1269   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Rebecca Braun                                              Check all that apply.
          1515 eagle st                                               Contingent
          Terre Haute, IN 47807-2834                                  Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1270   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Rebecca Georgevitch                                        Check all that apply.
          38470 N. Columbia Bay Rd.                                   Contingent
          Lake Villa, IL 60046                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
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 2.1271   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Rebecca Pell                                               Check all that apply.
          405 Acadia Ln                                               Contingent
          Forney, TX 75126                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1272   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Rebecca Rameriz                                            Check all that apply.
          1405 S. Old Robinson Rd.                                    Contingent
          Robinson, TX 76706                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1273   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Rebecca Ritter                                             Check all that apply.
          9516 Riviera Dr                                             Contingent
          Waco, TX 76712                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1274   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Rebecca Uskert                                             Check all that apply.
          6501 E 116th Place                                          Contingent
          Crown Point, IN 46307                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
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 2.1275   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Rebecca Vancil                                             Check all that apply.
          615 E. Hickory Ln                                           Contingent
          Indianapolis, IN 46227                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1276   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Regan Tatro                                                Check all that apply.
          1305 Ave E.                                                 Contingent
          Apt. C                                                      Unliquidated
          Moody, TX 76557
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1277   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Regina Polando                                             Check all that apply.
          433 stringtown rd                                           Contingent
          Carmichaels, PA 15320                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1278   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Reginald Arnold                                            Check all that apply.
          5050 FM 423                                                 Contingent
          #8314                                                       Unliquidated
          Frisco, TX 75034
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.1279   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Regurian Bagley                                            Check all that apply.
          2709 Forest Grove Dr                                        Contingent
          Richardson, TX 75080                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1280   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Rema Behrens                                               Check all that apply.
          29513 N Spotted RD                                          Contingent
          Deer Park, WA 99006                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1281   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Renee Steward                                              Check all that apply.
          1048 West Ave                                               Contingent
          Penllyn, PA 19422                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1282   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Reyna Elizondo                                             Check all that apply.
          2300 Speight                                                Contingent
          Waco, TX 76706                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.1283   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          RHODE ISLAND DIVISION OF                                   Check all that apply.
          TAXATION                                                    Contingent
          ONE CAPITOL HILL                                            Unliquidated
          PROVIDENCE, RI 02908-5800
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.1284   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Rhonda Bell                                                Check all that apply.
          1919 Ygnacio Valley rd                                      Contingent
          #56                                                         Unliquidated
          Walnut Creek, CA 94598
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1285   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Rhonda Caldwell                                            Check all that apply.
          10902 Ivy Park                                              Contingent
          Houston, TX 77075                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1286   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Rhonda Weiand                                              Check all that apply.
          26425 145th Str. NW                                         Contingent
          Zimmerman, MN 55398                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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              Name

 2.1287   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Richard Carey                                              Check all that apply.
          12905 Texaco Rd                                             Contingent
          Houston, TX 77013                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1288   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Richard Dominguez                                          Check all that apply.
          8563 Dorbandt Circle                                        Contingent
          El Paso, TX 79907                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1289   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Richard Szmyt                                              Check all that apply.
          7206 Hollowell Drive                                        Contingent
          Tampa, FL 33634                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1290   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Rickyell Cuington                                          Check all that apply.
          706 Mission Lane                                            Contingent
          Lancaster, TX 75146                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.1291   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Rita Perez                                                 Check all that apply.
          6601 Fish Pond Road                                         Contingent
          Waco, TX 76710                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1292   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Riyanka Gupta                                              Check all that apply.
          3042 Ivy Hill Ln                                            Contingent
          Irving, TX 75063                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1293   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          RIYN LYN GALE                                              Check all that apply.
          1411 S Maple Dr                                             Contingent
          Katy, TX 77493                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1294   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Robbie Bledsoe                                             Check all that apply.
          1343 North 65th                                             Contingent
          Waco, TX 76710                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.1295   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Robert Campbell                                            Check all that apply.
          4518 Mainfield ave.                                         Contingent
          Baltimore, MD 21214                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1296   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Robert Cohen                                               Check all that apply.
          210 Halah Circle                                            Contingent
          Atlanta, GA 30328                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1297   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Robert Durham                                              Check all that apply.
          18250 Marsh Ln                                              Contingent
          # 1711                                                      Unliquidated
          Dallas, TX 75287
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1298   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Robert Jones                                               Check all that apply.
          22 Koster Blvd                                              Contingent
          2A                                                          Unliquidated
          Edison, NJ 08837
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.1299   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Robert Littles                                             Check all that apply.
          917 Briar Dr.                                               Contingent
          Waco, TX 76710                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1300   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Robert Madrid                                              Check all that apply.
          31 N Terrace Rd                                             Contingent
          Hoodsport, WA 98548                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1301   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Robert Roesing                                             Check all that apply.
          5935 Vanderbilt Ave                                         Contingent
          Dallas, TX 75206                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1302   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Robert Stewart                                             Check all that apply.
          2211 Jamestown Ct                                           Contingent
          Carrollton, TX 75006                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.1303   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Robert Thomas                                              Check all that apply.
          222 Shadow Hill Cir.                                        Contingent
          Pittsburg, CA 94565                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1304   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Robert Walsh                                               Check all that apply.
          5411 Keystone Drive South                                   Contingent
          Jacksonville, FL 32207-5147                                 Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1305   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Robert Workman                                             Check all that apply.
          15589 Mission St                                            Contingent
          Hesperia, CA 92345                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1306   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Roberta Scott                                              Check all that apply.
          120 Heritage Garden Dr                                      Contingent
          A                                                           Unliquidated
          Corneila, GA 30531
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.1307   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Robin Addison                                              Check all that apply.
          2022 Putnam Rd                                              Contingent
          Baltimore, MD 21227                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1308   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Robin Donahoo                                              Check all that apply.
          4918 S 157th St                                             Contingent
          Omaha, NE 68135                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1309   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Robin Lawson                                               Check all that apply.
          214 Mills St.                                               Contingent
          Freeport, PA 16229                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1310   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Robin Williams                                             Check all that apply.
          2023 Jacksonville Rd                                        Contingent
          Site 47                                                     Unliquidated
          Bellefonte, PA 16823
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
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 2.1311   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Robin Wisniewski                                           Check all that apply.
          2217 N 189th St                                             Contingent
          Elkhorn, NE 68022                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1312   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Robyn Campbell                                             Check all that apply.
          300 River Place West                                        Contingent
          Gatesville, TX 76528                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1313   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Roderick Evans                                             Check all that apply.
          625 Spanish Oak Court                                       Contingent
          Arlington, TX 76002                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1314   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Rodney Carroll                                             Check all that apply.
          1600 Lakeshore Dr                                           Contingent
          1611                                                        Unliquidated
          Waco, TX 76708
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.1315   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Rodney Hawkins                                             Check all that apply.
          2413 Redfield Dr.                                           Contingent
          Mesquite, TX 75181                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1316   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Roland Schultz                                             Check all that apply.
          1888 Blackhawk                                              Contingent
          Oceanside, CA 92056                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1317   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Rosa Anderson                                              Check all that apply.
          2347 Rosehaven Drive                                        Contingent
          Memphis, TN 38127                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1318   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Rosa Segura                                                Check all that apply.
          2206 lockwood drive                                         Contingent
          Carrollton, TX 75007                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.1319   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Rosalen Ishou                                              Check all that apply.
          555 E WASHINGTON AVE                                        Contingent
          El Cajon, CA 92020                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1320   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Rosalinda Leon                                             Check all that apply.
          2544 W Norberry St                                          Contingent
          LANCASTER, CA 93536                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1321   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Roshanda Knight                                            Check all that apply.
          1542 N 18th st                                              Contingent
          Omaha, NE 68110                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1322   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Rosie Gourdine                                             Check all that apply.
          2046 Kings Road                                             Contingent
          Eagan, MN 55122                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.1323   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Roxanna Katsock                                            Check all that apply.
          6 Chestnutwood Drive                                        Contingent
          Laflin, PA 18702                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1324   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Roxanne Joiner                                             Check all that apply.
          6143 Faulkner Drive                                         Contingent
          Jacksonville, FL 32244                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1325   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Roxi Johnson                                               Check all that apply.
          8366 Old Marlin Rd                                          Contingent
          Waco, TX 76705                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1326   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Ruby Pena                                                  Check all that apply.
          5622 Evers Rd                                               Contingent
          #5301                                                       Unliquidated
          San Antonio, TX 78238
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
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 2.1327   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Ruth Coakley                                               Check all that apply.
          32 Garnet Street                                            Contingent
          Worcester, MA 01607                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1328   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Ruth Govan                                                 Check all that apply.
          7950 Crossroads Dr.                                         Contingent
          Apt. 113                                                    Unliquidated
          North Charleston, SC 29406
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1329   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Ryan Morency                                               Check all that apply.
          4208 MacArthur Drive                                        Contingent
          Waco, TX 76708                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1330   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Rykiel Reeser                                              Check all that apply.
          1530 Jade St.                                               Contingent
          Kellogg, IA 50135                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.1331   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Sabrina Alexander                                          Check all that apply.
          3064 mount blanc dr                                         Contingent
          marrero, LA 70072                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1332   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Sabrina Clarno                                             Check all that apply.
          703 La Vega St                                              Contingent
          Waco, TX 76705                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1333   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Sabrina Singleton Times                                    Check all that apply.
          887 Old Farm Walk                                           Contingent
          Marietta, GA 30066                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1334   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Sadeka Scott                                               Check all that apply.
          5327 TIMUQUANA RD                                           Contingent
          APT T92                                                     Unliquidated
          JACKSONVILLE, FL 32210
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.1335   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          SAEED FARAHMANPOUR                                         Check all that apply.
          103 Gilmar Lane                                             Contingent
          Roslyn Heights, NY 11577                                    Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1336   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Sally Levocz                                               Check all that apply.
          4306 ARENDELL AVE                                           Contingent
          PHILADELPHIA, PA 19114                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1337   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Sally Patena                                               Check all that apply.
          321 Bluebonnet Cir                                          Contingent
          McGregor, TX 76657                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1338   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Sam Ochoa                                                  Check all that apply.
          3425 James Ave                                              Contingent
          Waco, TX 76711                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.1339   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Samantha Behne                                             Check all that apply.
          1105 Garnoa Drive                                           Contingent
          Cincinnati, OH 45231                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1340   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Samantha Crockett                                          Check all that apply.
          21889 NW 70TH AVE                                           Contingent
          STARKE, FL 32091                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1341   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Samantha Galloway                                          Check all that apply.
          1214 East 34th St                                           Contingent
          Brooklyn, NY 11210                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1342   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Samantha Mena                                              Check all that apply.
          6601 Malachite Ct.                                          Contingent
          El Paso, TX 79924                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.1343   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Samantha Severns                                           Check all that apply.
          212 WAGNER DR                                               Contingent
          Creve Coeur, IL 61610                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1344   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Samone Jennings                                            Check all that apply.
          3312 N. 26th St.                                            Contingent
          Waco, TX 76708                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1345   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Samone Taylor                                              Check all that apply.
          5928 Timbercresr                                            Contingent
          Arlington, TX 76549                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1346   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Sandra Hamrick                                             Check all that apply.
          3115 Beale Street Apt. A                                    Contingent
          Waco, TX 76705                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.1347   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Sandra Kelly                                               Check all that apply.
          85266 Faye Rd                                               Contingent
          Yulee, FL 32097                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1348   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Sandra Wagner                                              Check all that apply.
          2111 E 91st Street                                          Contingent
          Indianapolis, IN 46240                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1349   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Sandy Hall                                                 Check all that apply.
          109 E. Lyndale Ave                                          Contingent
          Helena, MT 59601                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1350   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Sara Byrne                                                 Check all that apply.
          8206 N. 28th Street                                         Contingent
          Omaha, NE 68112                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.1351   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Sara Dodge                                                 Check all that apply.
          32 N. Buchanan Avenue                                       Contingent
          Eagle Point, OR 97524                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1352   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Sara Figueroa                                              Check all that apply.
          6226 N Palethorp Street                                     Contingent
          philadelphia, PA 19120                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1353   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Sara Slider                                                Check all that apply.
          709 N Old Robinson Rd                                       Contingent
          Robinson, TX 76706                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1354   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Sara Travers                                               Check all that apply.
          1341 N Gray Ave                                             Contingent
          Panama City, FL 32401                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.1355   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Sarah Allen                                                Check all that apply.
          4718 mendosa lane                                           Contingent
          Dallas, TX 75227                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1356   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Sarah Bueno                                                Check all that apply.
          1203 Kane St                                                Contingent
          Waco, TX 76705                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1357   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Sarah Cowan                                                Check all that apply.
          3912 Marseille Rd                                           Contingent
          Indianapolis, IN 46226                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1358   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Sarah Krulik                                               Check all that apply.
          1401-7 N. Ocean Avenue                                      Contingent
          Seaside Park, NJ 08752                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.1359   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Sarah Mendoza                                              Check all that apply.
          611 Hogan Ln.                                               Contingent
          B                                                           Unliquidated
          Bellmead, TX 76705
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1360   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Sarah Riedel                                               Check all that apply.
          1213 Hillandale Reserve Dr                                  Contingent
          Tampa, FL 33613                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1361   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Sarah Trimble                                              Check all that apply.
          219 Avenue E                                                Contingent
          Waco, TX 76705                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1362   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Sarah Walsh                                                Check all that apply.
          15 Cottage Street                                           Contingent
          Northfield, NH 03276                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
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 2.1363   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Saundra Spillman                                           Check all that apply.
          609 W. Eighth                                               Contingent
          Lancaster, TX 75146                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1364   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Scott Myers                                                Check all that apply.
          12924 Chittamwood Trl                                       Contingent
          Euless, TX 76040                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1365   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Scott Sanborn                                              Check all that apply.
          3604 Fairway Forest Dr.                                     Contingent
          Palm Harbor, FL 34685                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1366   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Scott Wilder                                               Check all that apply.
          3045 KAYMOORE DRIVE                                         Contingent
          Winston-Salem, NC 27127                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.1367   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Sean Wing                                                  Check all that apply.
          12660 KENWOOD LN                                            Contingent
          Apt C                                                       Unliquidated
          FORT MYERS, FL 33907-5635
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1368   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Selina Michalak                                            Check all that apply.
          302 Wolverine Dr                                            Contingent
          Waco, TX 76705                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1369   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Sh'Dae Shields                                             Check all that apply.
          1513 Birds Eye Rd                                           Contingent
          Fort Worth, TX 76177                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1370   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Shakayla Vaughn                                            Check all that apply.
          1619 North 6th St.                                          Contingent
          Waco, TX 76707                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.1371   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Shakeeria Majors                                           Check all that apply.
          2304 Los Arboles Ln                                         Contingent
          Waco, TX 76711                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1372   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Shakirra Coleman                                           Check all that apply.
          1908 Windsor Ave                                            Contingent
          Waco, TX 76705                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1373   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Shamaur Mcdaniel                                           Check all that apply.
          3924 Fort Ave                                               Contingent
          Waco, TX 76710                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1374   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Shameka Brown                                              Check all that apply.
          2019 Silver Creek dr.                                       Contingent
          AUSTELL, GA 30168                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.1375   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Shan'Teikya Degrate                                        Check all that apply.
          2504 S. 15th St                                             Contingent
          Waco, TX 76706                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1376   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Shana Scott                                                Check all that apply.
          1817 King Cole Dr                                           Contingent
          Waco, TX 76705                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1377   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Shandraea Jefferson                                        Check all that apply.
          922 King St Station Parkway                                 Contingent
          33004                                                       Unliquidated
          Lewisville, TX 75057
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1378   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Shandrea Collins                                           Check all that apply.
          7443 Bamberg Rd                                             Contingent
          Jacksonville, FL 32277                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.1379   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Shaneqwa Gipson                                            Check all that apply.
          242 Tutt Rd                                                 Contingent
          Cornelia, GA 30531                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1380   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Shanique Collins                                           Check all that apply.
          1000 Crestwood ct                                           Contingent
          Desoto, TX 75115                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1381   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Shanique Smith                                             Check all that apply.
          3229 Edmond Ave                                             Contingent
          Waco, TX 76707                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1382   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Shanitha Smith                                             Check all that apply.
          5906 Rock Meadow Trl.                                       Contingent
          Arlington, TX 76017                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.1383   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          ShaNiya Johnson                                            Check all that apply.
          1508 fm 1240 riesel tx 76682                                Contingent
          Riesel, TX 76682                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1384   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Shanna Hogan                                               Check all that apply.
          8140 N Hickery St                                           Contingent
          11-032                                                      Unliquidated
          Kansas City, MO 64118
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1385   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Shannon Hoeffler                                           Check all that apply.
          13218 Waterford Castle Dr                                   Contingent
          Dade City, FL 33525                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1386   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Shannon Knox                                               Check all that apply.
          102 Centennial                                              Contingent
          1612                                                        Unliquidated
          Gatesville, TX 76528
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.1387   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Shannon Owen                                               Check all that apply.
          9102 Regal Drive                                            Contingent
          Waco, TX 76712                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1388   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Shannon Walden                                             Check all that apply.
          34 Missoula Ave                                             Contingent
          Butte, MT 59701                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1389   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Shantisia McCreary                                         Check all that apply.
          2509 E. Lake Shore Dr.                                      Contingent
          Apt. 1606                                                   Unliquidated
          Waco, TX 76705
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1390   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Sharanda Dunn                                              Check all that apply.
          1181 Twin Rivers Rd                                         Contingent
          Greensboro, GA 30642                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.1391   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Shardai Branch                                             Check all that apply.
          1630 s 57th st                                              Contingent
          Philadelphia, PA 19143                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1392   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Shari Unruh                                                Check all that apply.
          3524 W Chitwood St                                          Contingent
          Wichita, KS 67217                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1393   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Sharlene Grenville                                         Check all that apply.
          3618 Summit Pines                                           Contingent
          Decatur, GA 30034                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1394   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Sharon Dunbar                                              Check all that apply.
          937 Wynnewood Rd                                            Contingent
          Philadelphia, PA 19151                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.1395   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Sharon Thomas                                              Check all that apply.
          7645 Ryanridge Dr                                           Contingent
          Dallas, TX 75232                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1396   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Sharon Unruh                                               Check all that apply.
          12121 144th Lane                                            Contingent
          Largo, FL 33774                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1397   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Shasta Lemons                                              Check all that apply.
          1712 Spinnaker Drive                                        Contingent
          Denton, TX 76210                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1398   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Shavonne McClendon                                         Check all that apply.
          4801 Sanger Ave                                             Contingent
          57                                                          Unliquidated
          Waco, TX 76710
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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              Name

 2.1399   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Shawndylyn Miller                                          Check all that apply.
          910 Kelton Road                                             Contingent
          San Diego, CA 92114                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1400   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Shaylen CHildress                                          Check all that apply.
          2509 East Lake Shore Dr.                                    Contingent
          1105                                                        Unliquidated
          Waco, TX 76705
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1401   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Sheila Ryals                                               Check all that apply.
          504 Cynthia Leigh Lane                                      Contingent
          Saint Marys, GA 31558                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1402   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Sheila Woodson                                             Check all that apply.
          4142 Lake Shore Drive                                       Contingent
          Waco, TX 76710                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.1403   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Shelia Jackson                                             Check all that apply.
          1131 meadow run drive                                       Contingent
          duncanville, TX 75137                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1404   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Shelley Nash                                               Check all that apply.
          703 County Road 150                                         Contingent
          Riesel, TX 76682                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1405   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Shelley Sallach                                            Check all that apply.
          2004 250th Street                                           Contingent
          Red Oak, IA 51566                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1406   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Shelley Simmons                                            Check all that apply.
          10018 Date Meadow Lane                                      Contingent
          Tomball, TX 77375                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.1407   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Shemell Smith                                              Check all that apply.
          704 N 33rd St                                               Contingent
          Waco, TX 76707                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1408   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Shenae Hill                                                Check all that apply.
          4500 Cypresswood Dr                                         Contingent
          #722                                                        Unliquidated
          Spring, TX 77379
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1409   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Sherece Scott                                              Check all that apply.
          118 Deana Rd                                                Contingent
          Robinson, TX 76706                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1410   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Sherhon Johnson                                            Check all that apply.
          3512 Louise lane                                            Contingent
          Balch Springs, TX 75180                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.1411   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Sheri Reed                                                 Check all that apply.
          314 W. Rochelle, Apt. 208                                   Contingent
          Irving, TX 75062                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1412   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Sheriel Thomas                                             Check all that apply.
          4300 Meyers Ln #914                                         Contingent
          Waco, TX 76705                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1413   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Sheronda Cooper                                            Check all that apply.
          4901 Sunbeam Rd.                                            Contingent
          226                                                         Unliquidated
          Jacksonville, FL 32257
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1414   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Sherri Gardner                                             Check all that apply.
          1537 Western Oaks                                           Contingent
          Woodway, TX 76712                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.1415   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Sherri Sims                                                Check all that apply.
          3905 Block Dr. APT. # 2175                                  Contingent
          Irving, TX 75038                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1416   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Sherri Wollard                                             Check all that apply.
          218 Red Oak Circle                                          Contingent
          China Spring, TX 76633                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1417   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Sherry Burrows                                             Check all that apply.
          1258 mock road                                              Contingent
          High point, NC 27265                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1418   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Sherry Sullivan                                            Check all that apply.
          1107 S.R. St                                                Contingent
          Indianola, IA 50125                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.1419   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Sherryann Thompson                                         Check all that apply.
          450 Beaver sr box 1093                                      Contingent
          North Wales, PA 19454                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1420   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Shiffon Gross                                              Check all that apply.
          5 Dewitt Ave                                                Contingent
          asbury park, NJ 07712                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1421   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Shonatara Jones                                            Check all that apply.
          328 Maple Plaza St.                                         Contingent
          Mexia, TX 76667                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1422   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Sierra Phoenix                                             Check all that apply.
          1816 West 25th St.                                          Contingent
          Jacksonville, FL 32209                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.1423   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Silviann Broussard                                         Check all that apply.
          299                                                         Contingent
          #G404                                                       Unliquidated
          Murrieta, CA 92563
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1424   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Skyler Flippo                                              Check all that apply.
          102 Goodwin Ln                                              Contingent
          Moody, TX 76557                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1425   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Skyler Whisnant                                            Check all that apply.
          1800 S 8th St APT 126                                       Contingent
          Waco, TX 76706                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1426   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Sommir Alston                                              Check all that apply.
          1471 E Cheltenham Ave                                       Contingent
          BSMT                                                        Unliquidated
          Philadelphia, PA 19124
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.1427   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Sonia Baez Rivera                                          Check all that apply.
          2707 Grim Ave                                               Contingent
          Waco, TX 76707                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1428   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Sonia Munoz                                                Check all that apply.
          12500 Merit Dr # 3104                                       Contingent
          Dallas, TX 75251                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1429   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Sonja King                                                 Check all that apply.
          6605 Falcon River Way Apt 813                               Contingent
          Arlington, TX 76001                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1430   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Sonya Jean                                                 Check all that apply.
          1306 Chapel Downs                                           Contingent
          Waco, TX 76712                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
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 2.1431   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Sonya Mendoza                                              Check all that apply.
          519 Kim Lane                                                Contingent
          Robinson, TX 76706                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1432   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Sonya Smith                                                Check all that apply.
          214 north gresham street                                    Contingent
          marlin, TX 76661                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1433   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Soraya Patrick                                             Check all that apply.
          3313 Chapel Wood Ct                                         Contingent
          Fort Worth, TX 76116                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1434   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          SOUTH CAROLINA DEPT OF                                     Check all that apply.
          REVENUE                                                     Contingent
          301 GERVAIS STREET                                          Unliquidated
          PO BOX 125
          COLUMBIA, SC 29214                                          Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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              Name

 2.1435   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          SOUTH DAKOTA DEPT OF                                       Check all that apply.
          REVENUE                                                     Contingent
          445 EAST CAPITOL AVE                                        Unliquidated
          PIERRE, SD 57501-3185
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.1436   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Srilakshmi Bandaru                                         Check all that apply.
          633 Lake City Dr                                            Contingent
          Lewisville, TX 75056                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1437   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Stacie Haulbrook                                           Check all that apply.
          5745 Crest Oak Way Cumming GA                               Contingent
          30028                                                       Unliquidated
          Cumming, GA 30028
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1438   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Stacy Glick                                                Check all that apply.
          2501 Lynne Lane                                             Contingent
          Millersville, PA 17551                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.1439   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          STACY WALTON JR                                            Check all that apply.
          11127 Linden Gate                                           Contingent
          Houston, TX 77075                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1440   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Starla Sebben                                              Check all that apply.
          785 S. Market St.                                           Contingent
          Knoxville, IL 61448                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1441   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Stefani Oakes                                              Check all that apply.
          2060 Brandy Dr                                              Contingent
          Forest Hill, MD 21050                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1442   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Stephanie Beck                                             Check all that apply.
          1207 Lumadue St                                             Contingent
          Clearfield, PA 16830                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
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 2.1443   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Stephanie Cox                                              Check all that apply.
          1908 Fairmont PKWY                                          Contingent
          Erie, PA 16510                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1444   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Stephanie Fox                                              Check all that apply.
          8110 Rouen Ct                                               Contingent
          Stockton, CA 95210                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1445   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Stephanie Hernandez                                        Check all that apply.
          1516 Gurley Lane Apt.#2208                                  Contingent
          Waco, TX 76706                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1446   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Stephanie Kelley                                           Check all that apply.
          2 Terri Dr                                                  Contingent
          Carlisle, PA 17015                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.1447   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Stephanie Randolph                                         Check all that apply.
          4332 Peregrine Way                                          Contingent
          Carrollton, TX 75010                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1448   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Stephanie Rogers                                           Check all that apply.
          3941 Charleston Hwy Lot 171                                 Contingent
          West Columbia, SC 29172                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1449   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Stephanie Scott                                            Check all that apply.
          247 E Ave J8                                                Contingent
          Lancaster, CA 93535                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1450   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Stephanie Tamayo                                           Check all that apply.
          605 BROOKLYN AVE                                            Contingent
          NORTH BALDWIN, NY 11510                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.1451   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Stephanie Washington                                       Check all that apply.
          645 E. Regent Street                                        Contingent
          3                                                           Unliquidated
          Inglewood, CA 90301
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1452   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Stephen Bourassa                                           Check all that apply.
          2025 Avenue B Apt 1                                         Contingent
          Schenectady, NY 12308                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1453   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Stephen Krajcir                                            Check all that apply.
          7046 Langham Court                                          Contingent
          Indianapolis, IN 46259                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1454   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Stephen Sunthimer                                          Check all that apply.
          2109 Oakridge Dr                                            Contingent
          Little Elm, TX 75068                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.1455   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Stephenie Pettie                                           Check all that apply.
          3108 Katy Ln                                                Contingent
          Waco, TX 76705                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1456   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Steven Carter                                              Check all that apply.
          757 prairieview rd.                                         Contingent
          Knoxville, IL 61448                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1457   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Sue London                                                 Check all that apply.
          1131 VZCR 2317                                              Contingent
          CANTON, TX 75103                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1458   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Summer Dutoit                                              Check all that apply.
          6388 HWY 562                                                Contingent
          Wisner, LA 71378                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.1459   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Sung Kim                                                   Check all that apply.
          14232 Dallas Pkwy                                           Contingent
          Apt 1606                                                    Unliquidated
          Dallas, TX 75254
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1460   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Susan Degner Jarcy                                         Check all that apply.
          845 Chaparral Dr.                                           Contingent
          Grand Prairie, TX 75052                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1461   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Susan Farmer                                               Check all that apply.
          P.O. Box 654                                                Contingent
          Lorena, TX 76655                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1462   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Susan Guilbault                                            Check all that apply.
          306 N. 40th                                                 Contingent
          Waco, TX 76710                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.1463   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Susan Lewis                                                Check all that apply.
          209 3Rd St.                                                 Contingent
          Gurley, AL 35748                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1464   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Susan Phaneuf                                              Check all that apply.
          5 Brikham Way                                               Contingent
          Burlington, CT 06013                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1465   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Susan Sills                                                Check all that apply.
          249 Sales Ave                                               Contingent
          Chatsworth, GA 30705                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1466   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Susan Stern                                                Check all that apply.
          1953 Flowering Tree Terrace                                 Contingent
          Silver Spring, MD 20902                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.1467   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Syed Ahmed                                                 Check all that apply.
          218 Kissimmee Dr.                                           Contingent
          Arlington, TX 76002                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1468   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Sylvia Roland                                              Check all that apply.
          107 Creekside Drive                                         Contingent
          Dalton, GA 30720                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1469   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Tacoya Armstrong                                           Check all that apply.
          1011 N 20th St                                              Contingent
          Waco, TX 76707                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1470   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Tad Aschenbrenner                                          Check all that apply.
          8515 Daimler Way                                            Contingent
          Sacramento, CA 95828                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.1471   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Tamekia Exum                                               Check all that apply.
          6524 Alford Dr                                              Contingent
          Apt B                                                       Unliquidated
          Waco, TX 76710
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1472   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Tamela Grass                                               Check all that apply.
          11441 Turning Leaf Trail                                    Contingent
          Fort Worth, TX 76244                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1473   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Tamer Aziz                                                 Check all that apply.
          2128 mather way                                             Contingent
          B                                                           Unliquidated
          Elkins park, PA 19027
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1474   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Tamesheka Jefferson                                        Check all that apply.
          2627 Sanger Ave                                             Contingent
          A                                                           Unliquidated
          Waco, TX 76707
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.1475   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Tammie Iwara                                               Check all that apply.
          21 Montpelier Boulevard                                     Contingent
          New Castle, DE 19720                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1476   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Tammie Madaris                                             Check all that apply.
          7315 S. Sherrill Street                                     Contingent
          Tampa, FL 33616                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1477   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Tammie Thompson                                            Check all that apply.
          810 Del Lenora Dr APT 34                                    Contingent
          Duncanville, TX 75116                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1478   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Tammy Johnson                                              Check all that apply.
          8370 NW 24TH COURT                                          Contingent
          SUNRISE, FL 33322                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.1479   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Tammy Kauffman                                             Check all that apply.
          2751 East Mullett Lake Road                                 Contingent
          Indian River, MI 49749                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1480   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Tammy Madden                                               Check all that apply.
          5181 Weatherford Drive                                      Contingent
          Birmingham, AL 35242                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1481   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Tammy Newton                                               Check all that apply.
          1410 E. Limestone Ave                                       Contingent
          Mart, TX 76664                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1482   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Tammy Witt                                                 Check all that apply.
          2204 Proctor Ave                                            Contingent
          Waco, TX 76708                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.1483   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Tanecia Medlock                                            Check all that apply.
          411 N Douglas St                                            Contingent
          Mart, TX 76664                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1484   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Taneka West                                                Check all that apply.
          281 Cherokee Pond Trl                                       Contingent
          Lexington, SC 29072                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1485   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Tania Esparza                                              Check all that apply.
          40510 Otis Allen Rd.                                        Contingent
          Zephyrhills, FL 33540                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1486   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Tanisha Robertson                                          Check all that apply.
          1108 El Camino Real #132                                    Contingent
          Euless, TX 76040                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.1487   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Tara Deleon                                                Check all that apply.
          11005 Woodway Dr                                            Contingent
          Waco, TX 76712                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1488   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Taryta Fields                                              Check all that apply.
          1409 26th Ave                                               Contingent
          Seattle, WA 98122                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1489   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Tatum Fitz                                                 Check all that apply.
          13815 Maugansville Rd                                       Contingent
          PO Box 248                                                  Unliquidated
          Maugansville, MD 21767
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1490   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Tawina Magee                                               Check all that apply.
          3824 Longmeadow Way                                         Contingent
          Fort Worth, TX 76117                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.1491   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Taylor Huff                                                Check all that apply.
          219 Jennifer Dr                                             Contingent
          Robinson, TX 76706                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1492   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Taylor McPherson                                           Check all that apply.
          112 Cotton Ln                                               Contingent
          Moody, TX 76557                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1493   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Taylor Reese                                               Check all that apply.
          385 Quail Hollow Lane                                       Contingent
          Waco, TX 76712                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1494   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Te'Aira Bouye                                              Check all that apply.
          2425 Aleaxander                                             Contingent
          Waco, TX 76708                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.1495   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Te'Amber Degrate                                           Check all that apply.
          800 Melrose Drive                                           Contingent
          Waco, TX 76710                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1496   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          TENNESSEE DEPT OF REVENUE                                  Check all that apply.
          500 DEADERICK ST                                            Contingent
          ANDREW JACKSON BLDG                                         Unliquidated
          NASHVILLE, TN 37242
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.1497   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Teresa Jimenez                                             Check all that apply.
          1605 Elm St.                                                Contingent
          El Paso, TX 79930                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1498   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Terry Dodd                                                 Check all that apply.
          200 Brenda St                                               Contingent
          Waco, TX 76705                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.1499   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Terry Fowler                                               Check all that apply.
          1721 Belt Line Rd. #1215 Coppell,                           Contingent
          TX 750                                                      Unliquidated
          Coppell, TX 75019
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1500   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Terry Isham                                                Check all that apply.
          2340 Kendrick Lane                                          Contingent
          Waco, TX 76711                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1501   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Theresa Kaper                                              Check all that apply.
          377 Avon Rd.                                                Contingent
          apt. D112                                                   Unliquidated
          Devon, PA 19333
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1502   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Theresa Williams                                           Check all that apply.
          8753 Edenton Way                                            Contingent
          Jonesboro, GA 30238                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.1503   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Thomas Cagney                                              Check all that apply.
          2609 W. Southern Ave                                        Contingent
          Lot 94                                                      Unliquidated
          Tempe, AZ 85282
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1504   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Thomas Cuthbert                                            Check all that apply.
          4801 NE 1st Terrace                                         Contingent
          Oakland Park, FL 33334                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1505   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Tia Fulghum                                                Check all that apply.
          5029 Clark St                                               Contingent
          Baton Rouge, LA 70811                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1506   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Tiara Sanders                                              Check all that apply.
          8355 Brent Dr                                               Contingent
          606                                                         Unliquidated
          Fort Worth, TX 76120
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.1507   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Tichina McKinney                                           Check all that apply.
          1900 Real Dr.                                               Contingent
          Waco, TX 76712                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1508   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Tierra Bolden                                              Check all that apply.
          1012 N 60th Street                                          Contingent
          Waco, TX 76710                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1509   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Tiffany Anderson                                           Check all that apply.
          5406 Lake Crest                                             Contingent
          Waco, TX 76710                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1510   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Tiffany Bautista                                           Check all that apply.
          3610 176th Pl SW                                            Contingent
          Lynnwood, WA 98037                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.1511   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Tiffany Bendo                                              Check all that apply.
          305 Oak street                                              Contingent
          Bethesda, OH 43719                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1512   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Tiffany Dame                                               Check all that apply.
          1025 Sterling Dr                                            Contingent
          Seminole, OK 74868                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1513   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Tiffany Deen                                               Check all that apply.
          400 SW Gordon St. #405                                      Contingent
          Burleson, TX 76028                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1514   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Tiffany Henderson                                          Check all that apply.
          5416 Fairlawn Ave                                           Contingent
          Baltimore, MD 21215                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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              Name

 2.1515   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Tiffany Marcks                                             Check all that apply.
          1113 Meadowview Dr                                          Contingent
          Euless, TX 76039                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1516   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Tiffany Scott                                              Check all that apply.
          200 Woodlands Blvd                                          Contingent
          Waco, TX 76705                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1517   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Tikika Whitner                                             Check all that apply.
          320 Prosperity Ave                                          Contingent
          Greenville, SC 29615                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1518   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Tina Buffington                                            Check all that apply.
          123 Neckar Ln                                               Contingent
          Lorena, TX 76655                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.1519   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Tina Grigsby                                               Check all that apply.
          7780 flyng cloud dr                                         Contingent
          apt 1312                                                    Unliquidated
          Eden Prairie, MN 55344
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1520   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Tita Wright                                                Check all that apply.
          895 South 18th Street                                       Contingent
          2                                                           Unliquidated
          Newark, NJ 07108
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1521   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Todd Haverkamp                                             Check all that apply.
          417 N. 44th #1204                                           Contingent
          Lincoln, NE 68503                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1522   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Tomy Reynolds                                              Check all that apply.
          7528 FM 121                                                 Contingent
          Van Alstyne, TX 75495                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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              Name

 2.1523   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Toni O'Connor                                              Check all that apply.
          1475 Alameda Drive                                          Contingent
          Spring Hill, FL 34609                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1524   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Tonia Stanley                                              Check all that apply.
          4265 Big Horn Pass Douglasville,                            Contingent
          GA 3013                                                     Unliquidated
          Douglasville, GA 30135
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1525   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Tonja Kimble                                               Check all that apply.
          2509 E Lakeshore Dr.                                        Contingent
          1008                                                        Unliquidated
          Waco, TX 76705
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1526   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Tonya Cowin                                                Check all that apply.
          9830 Lincoln Village Dr                                     Contingent
          Apt 48                                                      Unliquidated
          Sacramento, CA 95827
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.1527   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Tonya McClain                                              Check all that apply.
          920 Woodbine St                                             Contingent
          Pittsburgh, PA 15201                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1528   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Tonya Smith                                                Check all that apply.
          2405 JJ Flewellen dr #303                                   Contingent
          Waco, TX 76704                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1529   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Tonye Aseminaso                                            Check all that apply.
          9201 Norwich Drive                                          Contingent
          McKinney, TX 75071                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1530   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Tosha Warfield                                             Check all that apply.
          2606 Chesapeake St                                          Contingent
          Euless, TX 76040                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.1531   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Toshua Moon                                                Check all that apply.
          106 Wolverine Dr.                                           Contingent
          Waco, TX 76705                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1532   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Tracey Castilow                                            Check all that apply.
          250 Summer Harvest                                          Contingent
          Lorena, TX 76655                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1533   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Tracey Eady                                                Check all that apply.
          2713 Meadow Park Dr                                         Contingent
          Apt C                                                       Unliquidated
          Bedford, TX 76021
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1534   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Tracey Lindsay                                             Check all that apply.
          6308 Windcrest Dr                                           Contingent
          2626                                                        Unliquidated
          Plano, TX 75024
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.1535   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Traci Hines                                                Check all that apply.
          13424 Josephine Street                                      Contingent
          Omaha, NE 68138                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1536   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Traci Kuhl                                                 Check all that apply.
          93 Lake Meade Drive                                         Contingent
          East Berlin, PA 17316                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1537   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Tracie Love                                                Check all that apply.
          1601 Stoneleight CT Apt 2125                                Contingent
          Arlington, TX 76011                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1538   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Tracie Robinson                                            Check all that apply.
          1344 Fort Stevens Dr NW                                     Contingent
          101                                                         Unliquidated
          Washington, DC 20011
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.1539   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Tracy Brown                                                Check all that apply.
          8400 Stonebrook Pkwy                                        Contingent
          1922                                                        Unliquidated
          Frisco, TX 75034
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1540   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Tracy Brown                                                Check all that apply.
          641 N. Town East, #225                                      Contingent
          Mesquite, TX 75150                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1541   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Tracy Poston                                               Check all that apply.
          110 S Rita                                                  Contingent
          Waco, TX 76705                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1542   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Travis Keller                                              Check all that apply.
          3007 Morningview Dr                                         Contingent
          Rapid City, SD 57702                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.1543   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Tressa Stokes                                              Check all that apply.
          6114 Thistlewood Rd                                         Contingent
          Jacksonville, FL 32277                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1544   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Tricia Grammer                                             Check all that apply.
          16 Perrin St                                                Contingent
          Waco, TX 76705                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1545   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Trina Kinnebrew                                            Check all that apply.
          1428 Golden Gate Blvd.                                      Contingent
          Suite H2                                                    Unliquidated
          Mayfield Heights, OH 44124
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1546   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Trinity Veney                                              Check all that apply.
          1527 Western Oaks                                           Contingent
          Waco, TX 76712                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.1547   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Trista Nelson                                              Check all that apply.
          5210 Bagby Ave Apt 937                                      Contingent
          Waco, TX 76711                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1548   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Twila Leshikar                                             Check all that apply.
          209 Whispering Meadows Dr                                   Contingent
          Hewitt, TX 76643                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1549   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Tyee Jero                                                  Check all that apply.
          748 Ottawa                                                  Contingent
          Axtell, TX 76624                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1550   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Tyeesha Hollins                                            Check all that apply.
          2813 Cole                                                   Contingent
          Waco, TX 76707                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.1551   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Tyler Norman                                               Check all that apply.
          1707 live oak                                               Contingent
          Waco, TX 76708                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1552   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Tyrone Davis                                               Check all that apply.
          4228 Dawson                                                 Contingent
          Houston, TX 77051                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1553   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Tyronicka Johnson                                          Check all that apply.
          2509 E. Lakeshore Dr. Apt 104                               Contingent
          Waco, TX 76705                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1554   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Tyson Pruett                                               Check all that apply.
          102 Avenue A                                                Contingent
          Moody, TX 76557                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.1555   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Uchuandala Miller                                          Check all that apply.
          12250 Atlantic Blvd apt 805                                 Contingent
          Jacksonville, FL 32225                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1556   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Ulanda Williams                                            Check all that apply.
          3928 Richfield Ave.                                         Contingent
          Waco, TX 76707                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1557   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Unnati Parikh                                              Check all that apply.
          8 Prairie Lane                                              Contingent
          Bayville, NJ 08721-2252                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1558   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          UTAH STATE TAX COMMISSION                                  Check all that apply.
          210 NORTH 1950 WEST                                         Contingent
          SALT LAKE CITY, UT 84134                                    Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.1559   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Valerie Fitzon                                             Check all that apply.
          1100 Greenbriar Lane                                        Contingent
          Arlington, TX 76013                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1560   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Valerie Fracaro                                            Check all that apply.
          14940 Angelico St.                                          Contingent
          Lemont, IL 60439                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1561   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Valerie Neal                                               Check all that apply.
          6400 N West Parkview                                        Contingent
          Park City, KS 67219                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1562   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Valiant Tindell                                            Check all that apply.
          630 Old Sawmill Rd                                          Contingent
          Axtell, TX 76624                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.1563   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Vanessa Brooks                                             Check all that apply.
          914 Tahoe Trail                                             Contingent
          Hewitt, TX 76643                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1564   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Vanessa Snow                                               Check all that apply.
          2520 Massey Dr                                              Contingent
          Robinson, TX 76706                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1565   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Velita Armstrong                                           Check all that apply.
          1233 Willowbrook Dr SE Apt 3                                Contingent
          Apt#3                                                       Unliquidated
          Huntsville, AL 35802
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1566   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Venita Ross                                                Check all that apply.
          48 West Windsor Dr.                                         Contingent
          Little Rock, AR 72209                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
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 2.1567   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Vera Early                                                 Check all that apply.
          201 Parakeet Dr                                             Contingent
          Desoto, TX 75115                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1568   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          VERMONT DEPT OF TAXES                                      Check all that apply.
          133 STATE ST                                                Contingent
          MONTPELIER, VT 05633-1401                                   Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.1569   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Veronica Holland                                           Check all that apply.
          207 N Glenwood Apt A                                        Contingent
          Rialto, CA 92376                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1570   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Veronica Menter                                            Check all that apply.
          4301 Confederate Point Road                                 Contingent
          #225A                                                       Unliquidated
          Jacksonville, FL 32210
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.1571   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Vicki Bouchard                                             Check all that apply.
          803 South 10TH ST                                           Contingent
          Clinton, IA 52732                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1572   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Vicki Metcalf                                              Check all that apply.
          3716 Katy Lane                                              Contingent
          Waco, TX 76705                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1573   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Vickie Bennett                                             Check all that apply.
          6941 Donna Ave                                              Contingent
          Reseda, CA 91335                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1574   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Vickyana Vanderpool                                        Check all that apply.
          1710 NW 7th St Apt 604                                      Contingent
          Gainesville, FL 32609                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.1575   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Victoria Mackey                                            Check all that apply.
          3105 Richfield Ave                                          Contingent
          Lake Placid, FL 33852                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1576   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Vincent Nyankum                                            Check all that apply.
          2801 Oak Moor Apt3 5308                                     Contingent
          Arlington, TX 76010                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1577   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Virginia Dawn Bowling                                      Check all that apply.
          669 Pinebrook Dr E                                          Contingent
          Jacksonville, FL 32220                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1578   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          VIRGINIA DEPT OF TAXATION                                  Check all that apply.
          PO BOX 1115                                                 Contingent
          RICHMOND, VA 23218-1115                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.1579   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          VIRGINIA DEPT OF TAXATION                                  Check all that apply.
          1957 WESTMORELAND ST                                        Contingent
          RICHMOND, VA 23230                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.1580   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Von Manning                                                Check all that apply.
          779 E 19th Street                                           Contingent
          #2                                                          Unliquidated
          Paterson, NJ 07501-2401
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1581   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Wanda Pankratz                                             Check all that apply.
          5718 S 141 Plz #21                                          Contingent
          Omaha, NE 68137                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1582   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Warren France                                              Check all that apply.
          1400 Shannon Pl                                             Contingent
          Carrollton, TX 75006                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.1583   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          WASHINGTON STATE DEPT OF                                   Check all that apply.
          REVENUE                                                     Contingent
          PO BOX 47478                                                Unliquidated
          OLYMPIA, WA 98504-7478
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.1584   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          WASHINGTON STATE DEPT OF                                   Check all that apply.
          REVENUE                                                     Contingent
          PO BOX 47476                                                Unliquidated
          OLYMPIA, WA 98504-7476
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.1585   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Wen He                                                     Check all that apply.
          6710 28th Ave. S.                                           Contingent
          Seattle, WA 98108                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1586   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Wendy Aycock                                               Check all that apply.
          P.O.Box 23061                                               Contingent
          Waco, TX 76702                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.1587   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Wendy Caughenbaugh                                         Check all that apply.
          7758 Owensville Cemetery Rd                                 Contingent
          Franklin, TX 77856                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1588   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Wendy Cobb                                                 Check all that apply.
          1809 1ST ST                                                 Contingent
          PLATTE CITY, MO 64079                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1589   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Wendy Reynolds                                             Check all that apply.
          4042 Trenton Ave                                            Contingent
          Clovis, CA 93619                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1590   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Wendy Silva                                                Check all that apply.
          472 60TH STREET                                             Contingent
          2L                                                          Unliquidated
          BROOKLYN, NY 11220
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.1591   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          WEST VIRGINIA STATE TAX DEPT                               Check all that apply.
          1001 LEE ST                                                 Contingent
          CHARLESTON, WV 25301                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.1592   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          WEST VIRGINIA STATE TAX DEPT                               Check all that apply.
          PO BOX 766                                                  Contingent
          BANKRUPTCY UNIT                                             Unliquidated
          CHARLESTON, WV 25323-0766
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.1593   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Whitney Labeau                                             Check all that apply.
          9633 Juniper Ave F4                                         Contingent
          Fontana, CA 92335                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1594   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          William Durham                                             Check all that apply.
          P.O. Box 120                                                Contingent
          Blue Grass, VA 24413                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.1595   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          William Haines                                             Check all that apply.
          1191 Sugartree Ct.                                          Contingent
          Cincinnati, OH 45231                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1596   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          William Keys                                               Check all that apply.
          17608 Ivy Hill Drive                                        Contingent
          Dallas, TX 75287                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1597   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Willie Redmond                                             Check all that apply.
          7773 Mary Payton Dr                                         Contingent
          Southaven, MS 38671                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1598   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Winston Bowen                                              Check all that apply.
          1227 Huntington Greens Dr                                   Contingent
          Sin City Center, FL 33573                                   Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.1599   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          WISCONSIN DEPT OF REVENUE                                  Check all that apply.
          2135 RIMROCK RD                                             Contingent
          MADISON, WI 53713                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.1600   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          WYOMING DEPT OF REVENUE                                    Check all that apply.
          HERSCHLER BLDG                                              Contingent
          2ND FL WEST                                                 Unliquidated
          CHEYENNE, WY 82002-0110
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.1601   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          YANIS CANOVA                                               Check all that apply.
          6719 Lindale Ln                                             Contingent
          KATY, TX 77449                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1602   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Yolanda Brownlee                                           Check all that apply.
          7734 Brookbury Cove                                         Contingent
          Memphis, TN 38125                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.1603   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Yolanda Hobbs                                              Check all that apply.
          153 S. New Dallas Hwy                                       Contingent
          Waco, TX 76705                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1604   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Yvette Chin                                                Check all that apply.
          3312 Grayvine Ln                                            Contingent
          Bowie, MD 20721                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1605   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Yvonne Dornsife                                            Check all that apply.
          7 Oak Ter. #TE                                              Contingent
          Cressona, PA 17929                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1606   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      Unknown    Unknown
          Zachery Loera                                              Check all that apply.
          4221 Old Denton Road                                        Contingent
          1304                                                        Unliquidated
          Carrollton, TX 75010
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       Examination Management Services, Inc.                                                           Case number (if known)
              Name

 2.1607    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                       Unknown    Unknown
           Zelma Almonte                                             Check all that apply.
           16339 Stuebner Airline Rd                                  Contingent
           415                                                        Unliquidated
           Spring, TX 77379
                                                                      Disputed
           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1608    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                       Unknown    Unknown
           Zerritta Worsham                                          Check all that apply.
           7575 S WESTMORELAND RD                                     Contingent
           APT #2113                                                  Unliquidated
           DALLAS, TX 75237
                                                                      Disputed
           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                  $3,633.92
           11717 LLC                                                                Contingent
           BURT STREET PROFESSIONAL BLDG                                            Unliquidated
           OMAHA, NE 68154                                                          Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     Real Property Lease
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?    No  Yes
 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                    $490.00
           24/7 ONSITE DRUG & ALCOHOL TESTING                                       Contingent
           9708 SPID SUITE B-100                                                    Unliquidated
           CORPUS CHRISTI, TX 78418                                                 Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     Trade Debt
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?    No  Yes
 3.3       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                  $9,608.67
           360 CONSULTING JV                                                        Contingent
           3010 LBJ FREEWAY, SUITE 1200                                             Unliquidated
           DALLAS, TX 75234                                                         Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     Trade Debt
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?    No  Yes




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 Debtor       Examination Management Services, Inc.                                                   Case number (if known)
              Name

 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $8,236.44
          5882 INC                                                            Contingent
          450-106 SR 13N #115                                                 Unliquidated
          ST JOHNS, FL 32259                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $503.80
          A & D TESTS INC                                                     Contingent
          P O BOX 21701                                                       Unliquidated
          WACO, TX 76702                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $474.78
          A BETTER PARAMEDIC                                                  Contingent
          413 SW 3RD ST                                                       Unliquidated
          HALLANDALE, FL 33009                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $211.07
          A.T. DIRECT EXAMS LLC                                               Contingent
          1270 W BLACK WOLF RD                                                Unliquidated
          ROUND LAKE, IL 60073                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $15,940.86
          ABM JANITORIAL SERVICES SOUTH                                       Contingent
          CENTRAL IN                                                          Unliquidated
          P O BOX 951864                                                      Disputed
          DALLAS, TX 75395-1864
                                                                             Basis for the claim:    Trade Debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $80.91
          ABQ DRUG TESTING INC                                                Contingent
          8338 COMANCHE RD NE BLDG B                                          Unliquidated
          ALBUQUERQUE, NM 87110                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $4,976.27
          ADVANCED MEDICAL INC                                                Contingent
          5959 SHALLOWFORD RD                                                 Unliquidated
          CHATTANOOGA, TN 37421-2228                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Examination Management Services, Inc.                                                   Case number (if known)
              Name

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $28.00
          ADVANCED MEDICAL SERVICES                                           Contingent
          409 E BRADLEY STREET, SUITE 3                                       Unliquidated
          LARAMIE, WY 82702                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $7,890.02
          ADVANCED SPECIMEN COLLECTIONS LLC                                   Contingent
          2512 WATERBRIDGE WAY                                                Unliquidated
          EVANSVILLE, IN 47710                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $80.00
          AEIOU                                                               Contingent
          170 UNIVERSITY DRIVE                                                Unliquidated
          AMHERST, MA 01002                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $50.00
          AFC OCC MED PAY ALABAMA                                             Contingent
          P O BOX 930171                                                      Unliquidated
          ATLANTA, GA 31193-0171                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $23,265.25
          AFFIRM BACKGROUND SCREENING                                         Contingent
          310 STUNTZ AVENUE, SUITE 101                                        Unliquidated
          ASHLAND, WI 54806                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $864.75
          AHS(MORRISTOWN MEMRIAL HOSPITAL                                     Contingent
          ATTN:AP BOX 925                                                     Unliquidated
          MORRISTOWN, NJ 07960                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $30,977.49
          ALABAMA MEDSCREEN INC                                               Contingent
          3100 LORNA RD                                                       Unliquidated
          BIRMINGHAM, AL 35216                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $43.25
          ALARM CENTER                                                        Contingent
          PO BOX 7654                                                         Unliquidated
          WACO, TX 76714-7654                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $574.82
          ALCOHOL & DRUG TESTING SERVICES                                     Contingent
          6025 LABATH AVENUE                                                  Unliquidated
          ROHNERT PARK, CA 94928                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $150.00
          ALEXIAN BROTHERS MEDICAL GROUP                                      Contingent
          25 EAST SCHAUMBURG ROAD, SUITE 200                                  Unliquidated
          SCHAUMBURG, IL 60194                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $15,608.50
          ALLSCRIPTS HEALTHCARE LLC                                           Contingent
          24630 NETWORK PLACE                                                 Unliquidated
          CHICAGO, IL 60673-1246                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $25.00
          ALPINE MEDICAL CENTER                                               Contingent
          202 NORTH 2ND STREET                                                Unliquidated
          ALPINE, TX 79830                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $199.32
          AMAZON CAPITAL SERVICES INC                                         Contingent
          PO BOX 035184                                                       Unliquidated
          SEATTLE, WA 98124-5184                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $1,312.29
          AMLI AT ESCENA                                                      Contingent
          6401 ESCENA BLVD                                                    Unliquidated
          IRVING, TX 75039                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Lease
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Examination Management Services, Inc.                                                   Case number (if known)
              Name

 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $80.00
          ANY LAB TEST NOW                                                    Contingent
          6701 S LOUISE AVENUE                                                Unliquidated
          SIOUX FALLS, SD 57108                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $14,381.51
          APP MEDICAL SERVICES INC                                            Contingent
          1955 SHERMER ROAD                                                   Unliquidated
          NORTHBROOK, IL 60062-5352                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $31,703.25
          APPLICINT INC                                                       Contingent
          ATTN: TERRI SANDOVAL                                                Unliquidated
          SAN DIEGO, CA 92120                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $15.00
          ARCPOINT LABS OF TAMPA                                              Contingent
          2901 W BUSCH BLVD STE 206                                           Unliquidated
          TAMPA, FL 33618                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $30,281.67
          ARROW CAPITAL SOLUTIONS INC                                         Contingent
          9201 E DRY CREEK ROAD                                               Unliquidated
          CENTENNIAL, CO 80112                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $26.00
          ASANTE PHYSICIAN PARTNERS                                           Contingent
          PO BOX 743556                                                       Unliquidated
          LOS ANGELES, CA 90074-3556                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $66.00
          ASCENSION MICHIGAN                                                  Contingent
          3198 SOLUTIONS CENTER                                               Unliquidated
          CHICAGO, IL 60677-3001                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $7,867.87
          ASPIRING HEALTH SOLUTIONS, LLC                                      Contingent
          P.O. BOX 2015                                                       Unliquidated
          CATOOSA, OK 74015                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $4,470.46
          ASSURANCE TESTING SERVICES INC                                      Contingent
          2237-B S CONGRESS AVE                                               Unliquidated
          PALM SPRINGS, FL 33406                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $5,762.46
          ASTORINO, TRACY                                                     Contingent
          17003 PATTERSON DR                                                  Unliquidated
          OMAHA, NE 68135                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $610.71
          AT&T                                                                Contingent
          P O BOX 10226                                                       Unliquidated
          NEWARK, NJ 07193-0226                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $90.00
          ATLANTICARE PHYSICIAN GROUP                                         Contingent
          P O BOX 786061                                                      Unliquidated
          PHILADELPHIA, PA 19178-6061                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $5,700.00
          AUDIT-TEL                                                           Contingent
          7293 BEECHMONT AVE                                                  Unliquidated
          CINCINNATI, OH 45230                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $1,640.00
          AVIATION ROAD PROPERTIES                                            Contingent
          21 COMPUTER DRIVE EAST                                              Unliquidated
          ALBANY, NY 12205                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Lease
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $1,637.18
          BAIN PAPER COMPANY                                                  Contingent
          224 COTTON DRIVE                                                    Unliquidated
          WACO, TX 76712                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $12.00
          BAKERSFIELD DRUG TESTING                                            Contingent
          2204 Q STREET, SUITE A                                              Unliquidated
          BAKERSFIELD, CA 93301                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $60.62
          BALLARD NEIGHBORHOOD DOCTORS                                        Contingent
          7701 15TH AVENUE NW                                                 Unliquidated
          SEATTLE, WA 98117                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $67,054.46
          BANKDIRECT CAPITAL FINANCE                                          Contingent
          TWO CONWAY PARK                                                     Unliquidated
          LAKE FOREST, IL 60045                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $30.00
          BARNES CARE                                                         Contingent
          P O BOX 502808                                                      Unliquidated
          ST LOUIS, MO 63150                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $25.00
          BARRY W LEEDER INC                                                  Contingent
          2129 HACIENDA WAY #J                                                Unliquidated
          SACRAMENTO, CA 95825                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $135.00
          BAYLOR SCOTT & WHITE HEALTH                                         Contingent
          5701 AIRPORT RD MS-AR-M200                                          Unliquidated
          TEMPLE, TX 76502                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Examination Management Services, Inc.                                                   Case number (if known)
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 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $50.00
          BEACON OCCUPATIONAL HEALTH AND                                      Contingent
          SAFETY SE                                                           Unliquidated
          LOCKBOX #631101 PO BOX 3852                                         Disputed
          SEATTLE, WA 98124-3852
                                                                             Basis for the claim:    Trade Debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $60,671.65
          BEECKEN PETTY O'KEEFE & COMPANY                                     Contingent
          131 S DEARBORN ST STE 2800                                          Unliquidated
          CHICAGO, IL 60603                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $579.01
          BENEDICTA ROWENA SAURA                                              Contingent
          5329 E BERGH DR                                                     Unliquidated
          ANAHEIM, CA 92807                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $30.00
          BENEFITS HOSPITALS INC                                              Contingent
          500 5TH AVE SOUTH                                                   Unliquidated
          GREAT FALLS, MT 59403-5096                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $70.00
          BHMA OCCUPATIONAL MEDICINE                                          Contingent
          1901 SOUTH SHADY STREET                                             Unliquidated
          MOUNTIN CITY, TN 37683                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $9,006.70
          BI-STATE PROFESSIONAL SERVICS INC                                   Contingent
          17838 Chesterfield Airport Road                                     Unliquidated
          Chesterfield, MO 63005                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $43,289.05
          BioIQ                                                               Contingent
          2300 Windy Ridge Parkway, Suite 850 S.                              Unliquidated
          Atlanta, GA 30339                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $444.08
          BLUE RIDGE SCIENTIFIC TRANSPORT                                     Contingent
          1074 SHADOW PEAK RD                                                 Unliquidated
          FOREST, VA 24551                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $14,080.46
          BR MEDTESTS INC                                                     Contingent
          5032 CLARK HOWELL HIGHWAY                                           Unliquidated
          COLLEGE PARK, GA 30349                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $2,822.78
          BRASS CENTERVIEW 2012 LLC                                           Contingent
          10010 SAN PEDRO SUITE 450                                           Unliquidated
          SAN ANTONIO, TX 78216                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Lease
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $293.40
          BRIDGEANCE PHLEBOTOMY                                               Contingent
          801 S WEST ST                                                       Unliquidated
          OLNEY, IL 62450                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $2,527.68
          BROOKMAT, CORP                                                      Contingent
          C/O ARDENBROOK INC AGENT                                            Unliquidated
          4725 THORNTON AVE.                                                  Disputed
          FREMONT, CA 94536-6408
                                                                             Basis for the claim:    Real Property Lease
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $3,262.50
          BURCH & CRACCHIOLO PA                                               Contingent
          P O BOX 16882                                                       Unliquidated
          PHOENIX, AZ 85011                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $26.00
          BURNETT MEDICAL CENTER                                              Contingent
          257 W ST GEORGE AVE.                                                Unliquidated
          GRANTSBURG, WI 54840                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $25.00
          BUTLER MEDICAL ASSOCIATES                                           Contingent
          BUTLER PROFESSIONAL BUSINESS                                        Unliquidated
          BUTLER, PA 16003                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $3,476.49
          BVIP Baywest LLC                                                    Contingent
          504 Rhett Street                                                    Unliquidated
          Suite 200                                                           Disputed
          Greenville, SC 29601
                                                                             Basis for the claim:    Real Property Lease
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $720.93
          C & E EXAMINING INC                                                 Contingent
          1632 CAROL STREET                                                   Unliquidated
          DOWNERS GROVE, IL 60515-1863                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $25.00
          CARLE PHYSICIAN GROUP                                               Contingent
          P O BOX 6004                                                        Unliquidated
          URBANA, IL 61803-6004                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $105.80
          CARRIS HEALTH LLC                                                   Contingent
          PO BOX 150                                                          Unliquidated
          WILLMAR, MN 56201-0150                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $2,242.78
          Causeway Partners L.L.C.                                            Contingent
          REGIONS BANK BLDG SUITE 1040                                        Unliquidated
          METAIRIE, LA 70002                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Lease
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.66     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $12,218.04
          CDW DIRECT LLC                                                      Contingent
          P O BOX 75723                                                       Unliquidated
          CHICAGO, IL 60675-5723                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.67     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $5,668.29
          CENTRAL ALABAMA PARAMEDICAL                                         Contingent
          SERVICES LLC                                                        Unliquidated
          4200 CARMICHAEL COURT NORTH                                         Disputed
          MONTGOMERY, AL 36106-3621
                                                                             Basis for the claim:    Trade Debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.68     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $40.08
          CENTRAL MEDICAL SERVICES OF                                         Contingent
          SOUTHERN NEW                                                        Unliquidated
          2170 E LOHMAN AVENUE STE A                                          Disputed
          LAS CRUCES, NM 88001-8412
                                                                             Basis for the claim:    Trade Debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.69     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $66,526.41
          CENTURYLINK                                                         Contingent
          PO BOX 96064                                                        Unliquidated
          CHARLOTTE, NC 28296-0064                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.70     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $77,620.81
          CERIDIAN HCM INC                                                    Contingent
          P O BOX 772830                                                      Unliquidated
          CHICAGO, IL 60677                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.71     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $8,980.95
          CERTIFIED LANGUAGES INTERNATIONAL                                   Contingent
          4800 SW MACADAM AVENUE SUITE 400                                    Unliquidated
          PORTLAND, OR 97239                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.72     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $442.40
          CHARLOTTE TERRY                                                     Contingent
          48 TIMBER LANE                                                      Unliquidated
          TEXARKANA, TX 75501                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.73     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $87.00
          CHESAPEAKE MEDICAL SOLUTIONS PA                                     Contingent
          31516 WINTERPLACE PARKWAY STE 103                                   Unliquidated
          SALISBURY, MD 21804-1882                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.74     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $16,745.07
          CHRISTIANSTEVEN SOFTWARE LLC                                        Contingent
          11020 DAVID TAYLOR DR STE 317                                       Unliquidated
          CHARLOTTE, NC 28262                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.75     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $27,738.73
          CIBER GLOBAL LLC                                                    Contingent
          3270 WEST BIG BEAVER ROAD STE 120                                   Unliquidated
          TROY, MI 48084                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.76     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $356.67
          CINTAS CORPORATION                                                  Contingent
          P O BOX 740855                                                      Unliquidated
          CINCINNATI, OH 45274-0855                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.77     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $40.00
          CLINICAL LABORATORIES OF HI                                         Contingent
          PO BOX 30430                                                        Unliquidated
          HONOLULU, HI 96820-0430                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.78     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $143,954.10
          CLINICAL REFERENCE LABORATORY                                       Contingent
          P O BOX 802273                                                      Unliquidated
          KANSAS CITY, MO 64180-2273                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.79     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $33.80
          CLOUD COUNTY HEALTH CENTER INC                                      Contingent
          1100 HIGHLAND DRIVE                                                 Unliquidated
          CONCORDIA, KS 66901                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.80     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $150.00
          CNA SURETY                                                          Contingent
          8137 INNOVATION WAY                                                 Unliquidated
          CHICAGO, IL 60682-0081                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.81     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $1,453.21
          COBLE, JULIA                                                        Contingent
          368 MOORES CAMP HIGHWAY                                             Unliquidated
          BENTON, KY 42025                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.82     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $3,528.40
          COHEN SOUTHWIND GP                                                  Contingent
          6750 Poplar Ave Ste 107                                             Unliquidated
          MEMPHIS, TN 38138-7407                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Lease
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.83     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $1,829.60
          COLE, MARY                                                          Contingent
          1382 HARMONY RD                                                     Unliquidated
          JONESBOROUGH, TN 37659                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.84     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $395.72
          COLTON PUBLIC UTILITIES                                             Contingent
          P.O. BOX 1367                                                       Unliquidated
          COLTON, CA 92324-0831                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.85     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $25.00
          COMMUNITY HEALTH PARTNERS INC                                       Contingent
          126 S MAIN STREET                                                   Unliquidated
          LIVINGSTON, MT 59047-2624                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.86     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $263.92
          COMPREHENSIVE DRUG SCREENING                                        Contingent
          473 N MAJOR RD                                                      Unliquidated
          BELTON, SC 29627                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.87     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $8,040.27
          CONCENTRA                                                           Contingent
          POST OFFICE BOX 9008                                                Unliquidated
          LITTLETON, CO 80160-9008                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.88     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $3,590.38
          CONSOLIDATED HEALTH SRVCS INC                                       Contingent
          4717 JENN DRIVE                                                     Unliquidated
          MYRTLE BEACH, SC 29577                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.89     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $166.78
          COOK, SHAUNA                                                        Contingent
          4404 14TH AVENUE SOUTH                                              Unliquidated
          GREAT FALLS, MT 59405                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.90     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $2,073.53
          COPIES OF INTEGRITY LLC                                             Contingent
          P O BOX 834                                                         Unliquidated
          LADSON, SC 29456-0834                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.91     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $360.00
          COVERALL NORTH AMERICA INC                                          Contingent
          350 SW 12TH AVENUE                                                  Unliquidated
          DEERFIELD BEACH, FL 33442                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.92     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $4,177.21
          CP LCF III LLC                                                      Contingent
          815 BRAZOS ST STE 500                                               Unliquidated
          AUSTIN, TX 78701                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Lease
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.93     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $21,148.28
          CPT NETWORK SOLUTIONS INC                                           Contingent
          1062 W. SOUTH THORNDALE AVE                                         Unliquidated
          BENSENVILLE, IL 60106                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.94     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $4,819.08
          CRESTWOOD BUSINESS CENTER LLC                                       Contingent
          C/O AL ANGELO COMPANY                                               Unliquidated
          400 E Mill Plain Blvd                                               Disputed
          VANCOUVER, WA 98660
                                                                             Basis for the claim:    Real Property Lease
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Examination Management Services, Inc.                                                   Case number (if known)
              Name

 3.95     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $50.00
          CROSSROADS URGENT CARE PPLC                                         Contingent
          P O BOX 671244                                                      Unliquidated
          DALLAS, TX 75267-1244                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.96     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $19,200.00
          CRUMP LIFE INSURANCE SERVICES INC                                   Contingent
          4135 NORTH FRONT STREET                                             Unliquidated
          HARRISBURG, PA 17110                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.97     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $82.35
          CRYSTAL SPRING WATER CO                                             Contingent
          6750 DISCOVERY BLVD                                                 Unliquidated
          MABLETON, GA 30126                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.98     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $18,969.30
          CT CORPORATION                                                      Contingent
          P O BOX 4349                                                        Unliquidated
          CAROL STREAM, IL 90197-4349                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.99     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $607.29
          CURVATURE INC                                                       Contingent
          14416 COLLECTIONS CENTER DRIVE                                      Unliquidated
          CHICAGO, IL 60693                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.100    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $1,300.77
          CUSTOM DATA PRODUCTS                                                Contingent
          P O BOX 21929                                                       Unliquidated
          WACO, TX 76702-1929                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.101    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $8,310.80
          DATASITE LLC                                                        Contingent
          733 S MARQUETTE AVENUE                                              Unliquidated
          MINNEAPLOIS, MN 55402                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.102    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $2,666.30
          DAVENPORT MOUNT VERNON PARTNERS
          LP                                                                  Contingent
          1400 QUAIL STREET                                                   Unliquidated
          SUITE 195                                                           Disputed
          NEWPORT BEACH, CA 92660
                                                                             Basis for the claim:    Real Property Lease
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.103    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $990.00
          DAVID CARLSTONE                                                     Contingent
          3903 N O'CONNOR ROAD                                                Unliquidated
          IRVING, TX 75062                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.104    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $25.50
          DEACONESS CLINIC                                                    Contingent
          421 CHESTNUT STREET                                                 Unliquidated
          EVANSVILLE, IN 47713                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.105    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $31,848.49
          DELL FINANCIAL SERVICES LLC                                         Contingent
          PAYMENT PROCESSING CENTER                                           Unliquidated
          CHICAGO, IL 60693                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.106    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $32.50
          DOCTORS ON DUTY MEDICAL CLINICS                                     Contingent
          P O BOX 2300                                                        Unliquidated
          SALINAS, CA 93902-2300                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.107    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $96.00
          DOCTORS URGENT CARE NEXTCARE                                        Contingent
          2550 NORTH THUNDERBIRD CIRCLE                                       Unliquidated
          MESA, AZ 85215-1217                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.108    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $25.00
          DoctorsCare                                                         Contingent
          2302 MADISON ST                                                     Unliquidated
          CLARKSVILLE, TN 37403                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Examination Management Services, Inc.                                                   Case number (if known)
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 3.109    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $28,917.00
          DOCUMENT MOUNTAIN                                                   Contingent
          102 S MAIN STREET #D                                                Unliquidated
          KIRKLIN, IN 46050                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.110    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $25,270.82
          DOCUSIGN INC                                                        Contingent
          PO BOX 123428 DEPT 3428                                             Unliquidated
          DALLAS, TX 75312-3428                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.111    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $440.17
          DORIS ASBURY                                                        Contingent
          PO BOX 2642                                                         Unliquidated
          MURFREESBORO, TN 37133                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.112    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $25.00
          DORMINY MEDICAL CENTER                                              Contingent
          PO BOX 1447                                                         Unliquidated
          FITZGERALD, GA 31750                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.113    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $34,355.00
          DUNRITE OCCUPATIONAL SERVICES INC                                   Contingent
          22976 Outer Drive                                                   Unliquidated
          DEARBORN, MI 48124-4248                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.114    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $5,484.09
          EASYPERMIT POSTAGE                                                  Contingent
          P O BOX 856042                                                      Unliquidated
          LOUISVILLE, KY 40285-6042                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.115    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $687.49
          EDUARDO E LARIN                                                     Contingent
          8376 OAK RIDGE DR.                                                  Unliquidated
          GOODRICH, MI 48438                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.116    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $180.00
          EISENHOWER OCCUPATIONAL HEALTH                                      Contingent
          SERVICES                                                            Unliquidated
          DEPT 8265                                                           Disputed
          LOS ANGELES, CA 90084-8265
                                                                             Basis for the claim:    Trade Debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.117    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $20.75
          EMBASSY RECORDS MANAGEMENT AND                                      Contingent
          STORAGE L                                                           Unliquidated
          PO BOX 5449                                                         Disputed
          BRYAN, TX 77805
                                                                             Basis for the claim:    Trade Debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.118    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $1,330.30
          EMSI HAWAII, INC                                                    Contingent
          1188 BISHOP ST                                                      Unliquidated
          HONOLULU, HI 96813                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.119    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $231,432.27
          eNOAH iSOLUTIONS INC                                                Contingent
          2955 E HILLCREST DRIVE SUITE 124                                    Unliquidated
          WESTLAKE VILLAGE, CA 91362                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.120    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $3,686.55
          EPARAMED PARTNERS LLC                                               Contingent
          13920 BREGER AVE                                                    Unliquidated
          SYLMAR, CA 91342                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.121    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $16,916.12
          EQUIFAX INFORMATION SVCS LLC                                        Contingent
          PO BOX 105835                                                       Unliquidated
          ATLANTA, GA 30348-5835                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.122    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $128,846.70
          ESCREEN INC                                                         Contingent
          DEPARTMENT CH 17207                                                 Unliquidated
          PALATINE, IL 60055-7207                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Examination Management Services, Inc.                                                   Case number (if known)
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 3.123    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $3,336.17
          EXAM ASAP COM                                                       Contingent
          2000S IH35, SUITE Q8B                                               Unliquidated
          ROUND ROCK, TX 78681-6900                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.124    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $8,490.63
          EXAM SERVICES OF CENTRAL FLORIDA                                    Contingent
          LLC                                                                 Unliquidated
          8818 COMMODITY CIRCLE                                               Disputed
          ORLANDO, FL 32819-9067
                                                                             Basis for the claim:    Trade Debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.125    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $1,337.26
          EXAMINERS DIRECT LLC                                                Contingent
          17556 BIRCHWOOD DRIVE                                               Unliquidated
          BOCA RATON, FL 33487                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.126    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $107,867.98
          EXAMONE                                                             Contingent
          P O BOX 201395                                                      Unliquidated
          DALLAS, TX 75320-1395                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.127    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $7,854.35
          EXAMS EXPRESS INC                                                   Contingent
          BRANCH 100                                                          Unliquidated
          EVERGREEN PARK, IL 60805-2243                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.128    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $2,969.24
          EXAMS PLUS INC                                                      Contingent
          6919 E 10TH ST #D2                                                  Unliquidated
          INDIANAPOLIS, IN 46219                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.129    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $212.00
          FALLON MEDICAL COMP HOSPITAL                                        Contingent
          P O BOX 820                                                         Unliquidated
          BAKER, MT 59313                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.130    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $200.00
          FAMILY CHOICE URGENT CARE                                           Contingent
          PO BOX 572065                                                       Unliquidated
          SALT LAKE CITY, UT 84157-2065                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.131    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $20.00
          FAMILY MEDICAL CENTER-                                              Contingent
          1657 NORTH EXPRESSWAY                                               Unliquidated
          GRIFFIN, GA 30223-1276                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.132    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $220.36
          FANG, YONG LIANG                                                    Contingent
          39-06 MAIN ST #1918                                                 Unliquidated
          FLUSHING, NY 11354                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.133    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $58.00
          FASTMED URGENT CARE                                                 Contingent
          935 SHOTWELL RD SUITE 108                                           Unliquidated
          CLAYTON, NC 27520-5598                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.134    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $238,974.97
          FEDEX                                                               Contingent
          P O BOX 94515                                                       Unliquidated
          PALATINE, IL 60094-4515                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.135    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $100.00
          FH & L FAMILY PRACTICE LLC                                          Contingent
          109 SARTIN DRIVE                                                    Unliquidated
          EDMONTON, KY 42129                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.136    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $2,479.00
          FIDELITY SECURITY LIFE.                                             Contingent
          P O BOX 632530                                                      Unliquidated
          CINCINNATI, OH 45263-2530                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.137    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $254.50
          FIRST ADVANTAGE BACKGROUND                                          Contingent
          SERVICES CORP                                                       Unliquidated
          P O BOX 403532                                                      Disputed
          ATLANTA, GA 30384-3532
                                                                             Basis for the claim:    Trade Debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.138    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $15,894.71
          FIRST CHOICE TESTING CENTERS                                        Contingent
          9080 BARBEE LANE, SUITE 102                                         Unliquidated
          KNOXVILLE, TN 37923-6256                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.139    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $10,098.58
          FIRST CLASS EXAMINATION SERVICES                                    Contingent
          19425 SOLEDAD RD SUITE B184                                         Unliquidated
          CANYON COUNTRY, CA 91351-2627                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.140    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $897.46
          FISCHER, DENISE                                                     Contingent
          6041 Dusenburg Road                                                 Unliquidated
          Delray Beach, FL 33484                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.141    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $1,862.76
          FOLSOM, KRYSTAL                                                     Contingent
          2509 280th                                                          Unliquidated
          Hornick, IA 51026                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.142    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $43.33
          FOOTHILLS MEDICAL CENTER                                            Contingent
          P O BOX 1420                                                        Unliquidated
          LAS CRUCES, NM 88004                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.143    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $669.92
          FP Gimel OH, L.P                                                    Contingent
          6389 QUAIL HOLLOW, SUITE 201                                        Unliquidated
          MEMPHIS, TN 38120                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Lease
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Examination Management Services, Inc.                                                   Case number (if known)
              Name

 3.144    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $5,436.97
          FRANZ FAMILY PROPERTIES LLC                                         Contingent
          3550 HAMPSHIRE AVENUE NORTH                                         Unliquidated
          CRYSTAL, MN 55427                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Lease
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.145    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $23.50
          FREEMAN HEALTH SYSTEM                                               Contingent
          1102 WEST 32ND STREET                                               Unliquidated
          JOPLIN, MO 64804                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.146    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $9,707.70
          FTL PARAMEDICAL LLC                                                 Contingent
          424 CENTRAL STRET                                                   Unliquidated
          LEOMINSTER, MA 01453-6126                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.147    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $8,555.05
          GEOCEL ENTERPRISES INC                                              Contingent
          3545 WILSHIRE BLVD, SUITE 490                                       Unliquidated
          LOS ANGELES, CA 90010                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.148    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $51.31
          GINA TORRES                                                         Contingent
          5241 BON VIVANT DR #115                                             Unliquidated
          TAMPA, FL 33603                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.149    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $13.47
          GOOD SAMARITAN HOSPITAL                                             Contingent
          1160 E SAINT CLAIR STREET                                           Unliquidated
          VINCENNES, IN 47591-4853                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.150    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $929.94
          GOOGLE INC                                                          Contingent
          1600 AMPHITHEATRE PARKWAY                                           Unliquidated
          MOUNTAIN VIEW, CA 94043-1351                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.151    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $952.43
          GREAT FALLS MEDICAL SERVICES, LLC                                   Contingent
          1118 Central Ave                                                    Unliquidated
          GREAT FALLS, MT 59401                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.152    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $889.31
          GREEN, RHONDA                                                       Contingent
          794 OLIVE HAMLETT RD                                                Unliquidated
          BENTON, KY 42025                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.153    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $731.08
          H & H PARAMEDICAL SERVICES, LLC                                     Contingent
          2087 BONNIE LANE                                                    Unliquidated
          SPRINGFIELD, OR 97477                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.154    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $846.00
          HARNEY DISTRICT HOSPITAL                                            Contingent
          557 W WASHINGTON ST                                                 Unliquidated
          BURNS, OR 97720                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.155    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $290.12
          HAROLD SCHAEFER MD                                                  Contingent
          8769 24TH AVENUE                                                    Unliquidated
          BROOKLYN, NY 11214                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.156    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $9.00
          HAYS MEDICAL GROUP                                                  Contingent
          2220 CENTERBURY DR                                                  Unliquidated
          HAYS, KS 67601                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.157    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $107.49
          HEALTH ASSESSMENTS INC                                              Contingent
          711 MILLER ST EXT SUITE 2                                           Unliquidated
          STATESBORO, GA 30458-4308                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.158    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $3,116.03
          HEALTH RESEARCH SYSTEMS INC                                         Contingent
          529 6TH AVE                                                         Unliquidated
          HUNTINGTON, WV 25701                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.159    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $1,846.98
          HEALTH-LINK PARAMEDICAL SVS INC                                     Contingent
          C/O SCOTT COVINGTON                                                 Unliquidated
          DOTHAN, AL 36301                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.160    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $3,430.14
          Healthcare Reality / Wiggins / OKC NW Me                            Contingent
          5801 N Broadway                                                     Unliquidated
          Suite 120                                                           Disputed
          Oklahoma City, OK 73118
                                                                             Basis for the claim:    Real Property Lease
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.161    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $30.00
          HEALTHWORKS - PA                                                    Contingent
          2649 SCHOENERSVILLE ROAD                                            Unliquidated
          BETHLEHEM, PA 18017-7384                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.162    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $556.69
          HELP/SYSTEMS LLC                                                    Contingent
          NW 5955                                                             Unliquidated
          MINNEAPOLIS, MN 55485-5955                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.163    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $3,851.77
          Heritage Place LLC                                                  Contingent
          4500 HUGH HOWELL ROAD SUITE 780                                     Unliquidated
          TUCKER, GA 30084                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Lease
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.164    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $20,897.37
          HEWLETT-PACKARD FINANCIAL SERVICES                                  Contingent
          COMPA                                                               Unliquidated
          200 CONNELL DRIVE SUITE 5000                                        Disputed
          BERKELEY HEIGHTS, NJ 07922
                                                                             Basis for the claim:    Trade Debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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              Name

 3.165    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $6,020.91
          HITACHI VANTARA CORPORATION                                         Contingent
          2535 AUGUSTINE DRIVE                                                Unliquidated
          SANTA CLARA, CA 95054                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.166    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $258,000.00
          Hofer                                                               Contingent
          Date(s) debt was incurred
                                                                              Unliquidated
          Last 4 digits of account number
                                                                              Disputed
                                                                             Basis for the claim:    Litigation
                                                                             Is the claim subject to offset?    No  Yes
 3.167    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $52.00
          HOLY FAMILY MEMORIAL INC                                            Contingent
          2300 WESTERN AVENUE                                                 Unliquidated
          MANITOWOC, WI 54221-2170                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.168    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $1,045.96
          HOT SHRED                                                           Contingent
          210 N ROBERTS STREET                                                Unliquidated
          WEST, TX 76691                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.169    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $3,935.06
          HUDSON VENTURES LP                                                  Contingent
          2000 SPROUL ROAD                                                    Unliquidated
          BROOMALL, PA 19008                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Lease
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.170    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $18,150.00
          HUMCAP LP                                                           Contingent
          5401 VILLAGE CREEK DRIVE                                            Unliquidated
          PLANO, TX 75093                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.171    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $19.00
          I3SCREEN                                                            Contingent
          9501 NORTHFIELD BLVD                                                Unliquidated
          DENVER, CO 80238                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.172    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $34,257.08
          IIX-INSURANCE INFORMATION EXCHANGE                                  Contingent
          GENERAL POST OFFICE                                                 Unliquidated
          NEW YORK, NY 10087-7828                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.173    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $100.00
          IMMEDICENTER                                                        Contingent
          500 UNION BLVD.                                                     Unliquidated
          TOTOWA, NJ 07512                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.174    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $725.00
          INFO CUBIC                                                          Contingent
          116 INVERNESS EAST SUITE 206                                        Unliquidated
          ENGLEWOOD, CO 80112                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.175    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $4,208.35
          INTEG                                                               Contingent
          P O BOX 23007                                                       Unliquidated
          WACO, TX 76702                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.176    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $45.00
          INTERMOUNTAIN WORKMED                                               Contingent
          PO BOX 30180                                                        Unliquidated
          SALT LAKE CITY, UT 84130-0180                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.177    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $11,154.69
          INTOXIMETERS INC                                                    Contingent
          P O BOX 798313                                                      Unliquidated
          ST LOUIS, MO 63179-8000                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.178    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $981.79
          IPIPELINE                                                           Contingent
          222 VALLEY CREEK BLVD                                               Unliquidated
          EXTON, PA 19341                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.179    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $3,400.04
          IRON MOUNTAIN INC                                                   Contingent
          1 FEDERAL STREET, 7TH FLOOR                                         Unliquidated
          BOSTON, MA 02110                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.180    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $55.89
          ISRAEL STEINBERG                                                    Contingent
          4 LEIPNIK WAY UNIT 301                                              Unliquidated
          MONROE, NY 10950                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.181    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $6,614.55
          J & K CONSULTANTS INC                                               Contingent
          2605 NICHOLSON ROAD SUITE 1140                                      Unliquidated
          SEWICKLEY, PA 15143                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.182    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $2,332.28
          J E M TESTING INC                                                   Contingent
          Branch 186                                                          Unliquidated
          MIAMI, FL 33175                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.183    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $16,403.40
          JACKSON LEWIS PC                                                    Contingent
          PO BOX 416019                                                       Unliquidated
          BOSTON, MA 02241-6019                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.184    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $790.22
          JACOBS CATHEY COMPANY                                               Contingent
          POST OFFICE BOX 7305                                                Unliquidated
          WACO, TX 76714-7305                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.185    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $60.00
          JACOBSON MEMORIAL HOSPITAL                                          Contingent
          P O BOX 367                                                         Unliquidated
          ELGIN, ND 58533-0367                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.186    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $336.94
          JANET O'DELL                                                        Contingent
          4492 WILSIE ROAD                                                    Unliquidated
          FRAMETOWN, WV 26623                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.187    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $1,307.51
          Jarcor, LLC                                                         Contingent
          Benchmark Real Estate Group                                         Unliquidated
          PO Box 6                                                            Disputed
          Des Moines, IA 50301
                                                                             Basis for the claim:    Real Property Lease
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.188    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $611.62
          JASONS LAWNCARE AND LANDSCAPING                                     Contingent
          PO BOX 878                                                          Unliquidated
          LORENA, TX 76655                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.189    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $1,318.90
          JIMERSON BIRR PA                                                    Contingent
          ONE INDEPENDENT DRIVE SUITE 1400                                    Unliquidated
          JACKSONVILLE, FL 32202                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.190    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $167.47
          JOHNSON, SHELLEY                                                    Contingent
          37703 WILLOW DR                                                     Unliquidated
          EASTLAKE, OH 44095                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.191    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $116.75
          JONES, KELLY                                                        Contingent
          25100 Sandhill Blvd., W204                                          Unliquidated
          Punta Gorda, FL 33983                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.192    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $14,341.05
          JTD SERVICES INC                                                    Contingent
          8713 Airport Freeway #318                                           Unliquidated
          Fort Worth, TX 76180                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.193    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $325.00
          KELLY COMPLIANCE INC                                                Contingent
          #8 LEED RD.                                                         Unliquidated
          WINFIELD, KS 67156                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.194    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $424.26
          KIMBERLA K BRANSON                                                  Contingent
          1114 RATLIFF CT.                                                    Unliquidated
          BOONVILLE, IN 47601                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.195    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $14,655.40
          KINASHA CORPORATION NV                                              Contingent
          C/O WEAVER REALTY                                                   Unliquidated
          JACKSONVILLE, FL 32256                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.196    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $98,858.09
          KIRKLAND & ELLIS LLP                                                Contingent
          300 NORTH LASALLE ST                                                Unliquidated
          CHICAGO, IL 60654                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.197    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $220.82
          KLEEN AIR                                                           Contingent
          P O BOX 207                                                         Unliquidated
          GROESBECK, TX 76642                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.198    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $200.00
          KMCMEDASSIST LLC                                                    Contingent
          P O BOX 2212                                                        Unliquidated
          LOVES PARK, IL 61131-0212                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.199    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $172.00
          KNOXVILLE MEDICAL AND INDUSTRIAL                                    Contingent
          CLINIC                                                              Unliquidated
          4306 ASHVILLE HWY                                                   Disputed
          KNOXVILLE, TN 37914
                                                                             Basis for the claim:    Trade Debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.200    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $1,420.83
          KTCM LLC                                                            Contingent
          634 OLD LIVERPOOL RD                                                Unliquidated
          LIVERPOOL, NY 13088                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.201    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $8,751.70
          KURTZ & REVNESS PC                                                  Contingent
          THREE GLENHARDIE CORPORATE CENTER                                   Unliquidated
          WAYNE, PA 19087                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.202    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $2,099.55
          L & L EXAMS PLUS INC                                                Contingent
          12701 Towne Park Way                                                Unliquidated
          LOUISVILLE, KY 40243                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.203    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $207.88
          LA QUINTA INNS & SUITES                                             Contingent
          4385 SINTON RD                                                      Unliquidated
          COLORADO SPRINGS, CO 80907                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.204    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $1,586.59
          LAB EXPRESS LLC                                                     Contingent
          1800 NE EVANGELINE THRUWAY, SUITE H6                                Unliquidated
          LAFAYETTE, LA 70501                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.205    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $3,395.15
          LAKESIDE CENTER LLC                                                 Contingent
          8823 SAN JOSE BLVD, SUITE 101                                       Unliquidated
          JACKSONVILLE, FL 32217                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Lease
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.206    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $358.82
          LALITA PRASAD                                                       Contingent
          2331 YORKSHIRE DR                                                   Unliquidated
          ANTIOCH, CA 94531                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.207    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $4,734.79
          LARA, VICTOR                                                        Contingent
          2838 TRENT CT                                                       Unliquidated
          GRAND PRAIRIE, TX 75052                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.208    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $660.46
          LAW OFFICES OF CHARLES D NAYLOR                                     Contingent
          11 GOLDEN SHORE DRIVE SUITE 350                                     Unliquidated
          LONG BEACH, CA 90802                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.209    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $40.26
          LE BLEU ENTERPRISES                                                 Contingent
          621 N REGIONAL RD                                                   Unliquidated
          GREENSBORO, NC 27409                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.210    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $1,495.90
          LESLIE VOCATIONAL CONSULTING                                        Contingent
          STERLING CENTER                                                     Unliquidated
          LANCASTER, PA 17601                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.211    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $1,119.00
          LEWIS BRISBOIS BISGAARD & SMITH LLP                                 Contingent
          633 W 5TH, SUITE 4000                                               Unliquidated
          LOS ANGELES, CA 90071-2074                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.212    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $795.78
          LIFELINE MEDICAL INC                                                Contingent
          22 SHELTER ROCK LANE                                                Unliquidated
          DANBURY, CT 06810-8274                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.213    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $8,850.49
          LILLIS PITHA LLP                                                    Contingent
          465 CALIFORNIA STREET, 5TH FLOOR                                    Unliquidated
          SAN FRANCISCO, CA 94104                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.214    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $105.15
          LINDO, CECELIA                                                      Contingent
          114-51 210TH STREET                                                 Unliquidated
          CAMBRIA HEIGHTS, NY 11411                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.215    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $2,338.20
          LogMeIn USA Inc                                                     Contingent
          7414 HOLLISTER AVENUE                                               Unliquidated
          GOLETA, CA 93117                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.216    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $136.52
          LORI SHAFER                                                         Contingent
          328 WILLIS DRIVE                                                    Unliquidated
          BUNKER HILL, WV 25413                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.217    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $25.00
          LOU'S CLINICAL LAB INC                                              Contingent
          PO BOX 394                                                          Unliquidated
          ODESSA, TX 79760                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.218    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $868.83
          LUSTER, SANDRA                                                      Contingent
          138 HOLLY HILL DR                                                   Unliquidated
          BEREA, KY 40403                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.219    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $48.40
          LYLES PARAMED EXAMS LLC                                             Contingent
          3081 KENSINGTON CT SW                                               Unliquidated
          ATLANTA, GA 30331                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.220    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $15.00
          M D & A T SERVICES INC                                              Contingent
          99 GEORGE KING BLVD #1                                              Unliquidated
          CAPE CANAVERAL, FL 32920                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.221    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $26.86
          MARIETTA OCCUPATIONAL HEALTH                                        Contingent
          PARTNERS LL                                                         Unliquidated
          401 MATTHEW ST                                                      Disputed
          MARIETTA, OH 45750
                                                                             Basis for the claim:    Trade Debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.222    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $388.50
          MARKETSPHERE CONSULTING LLC                                         Contingent
          P O BOX 30123                                                       Unliquidated
          OMAHA, NE 68103-1223                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.223    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $23.00
          MCC DRUG & ALCOHOL INC                                              Contingent
          1236 N 7TH ST                                                       Unliquidated
          GRAND JUNCTION, CO 81501                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.224    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $452.37
          MCCOY & MCCOY LLC ATTORNEYS AT                                      Contingent
          LAW                                                                 Unliquidated
          20 CHURCH STREET 17TH FLOOR                                         Disputed
          HARTFORD, CT 06103
                                                                             Basis for the claim:    Trade Debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.225    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $180.00
          MED FIRST IMMEDIATE CARE AND FAMILY                                 Contingent
          PRAC                                                                Unliquidated
          PO BOX 8728                                                         Disputed
          BELFAST, ME 04915-8728
                                                                             Basis for the claim:    Trade Debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.226    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $77,220.55
          MED-EX PARAMEDICAL                                                  Contingent
          1010 EAST MCDOWELL RD SUITE 401                                     Unliquidated
          PHOENIX, AZ 85006                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.227    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $1,066.99
          MED-TECH SOLUTIONS INC                                              Contingent
          P.O. BOX 320118                                                     Unliquidated
          FLOWOOD, MS 39232                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.228    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $25.00
          MEDEXPRESS URGENT CARE INC WEST                                     Contingent
          VIRGINIA                                                            Unliquidated
          P O BOX 7959                                                        Disputed
          BELFAST, ME 04915-7900
                                                                             Basis for the claim:    Trade Debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.229    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $225.00
          MEDGROUP OCCUPATIONAL MEDICINE                                      Contingent
          AND URGEN                                                           Unliquidated
          13916 CEDAR ROAD                                                    Disputed
          UNIVERSITY HEIGHTS, OH 44118
                                                                             Basis for the claim:    Trade Debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.230    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $40.00
          MEDICAL ACCESS PC                                                   Contingent
          12321 MIDDLEBROOK RD STE 101                                        Unliquidated
          GERMANTOWN, MD 20874-1512                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.231    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $528.00
          MEDICAL ASSOCIATES OF NWA                                           Contingent
          P O BOX 10197                                                       Unliquidated
          FAYETTEVILLE, AR 72702-1747                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.232    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $1,529.34
          MEDICAL EXAMS AND SERVICES                                          Contingent
          2425 SAGE ROAD # 110                                                Unliquidated
          HOUSTON, TX 77056                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.233    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $64.00
          MEDICAL PARK FAMILY CARE INC                                        Contingent
          2211 EAST NORTHERN LIGHTS BLVD                                      Unliquidated
          ANCHORAGE, AK 99508                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.234    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $3,405.10
          MEDICAL RECORD COPY SOLUTION LLC                                    Contingent
          25 MAUCHLY,SUITE 313                                                Unliquidated
          IRVINE, CA 92618-2361                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.235    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $156.25
          MEDIHORIZONS INC                                                    Contingent
          P O BOX 20170                                                       Unliquidated
          CHEYENNE, WY 82003-7004                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.236    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $2,959.60
          MEDITEST OF MAINE                                                   Contingent
          545 MAIN STREET                                                     Unliquidated
          WATERBORO, ME 04087-3001                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.237    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $5,267.14
          MEDPHYSICALS PLUS LLC                                               Contingent
          4141 B STREET, SUITE 210                                            Unliquidated
          ANCHORAGE, AK 99503                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.238    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $35.00
          MEDPRO GROUP                                                        Contingent
          2201 BENDEN DRIVE                                                   Unliquidated
          WOOSTER, OH 44691                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.239    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $277.73
          MEDTOX DIAGNOSTICS INC                                              Contingent
          P O BOX 60575                                                       Unliquidated
          CHARLOTTE, NC 28260                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.240    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $3,007.24
          MEHRING, TARA                                                       Contingent
          541 MARY TODD LN                                                    Unliquidated
          MODESTO, CA 95354                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.241    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $60.00
          MEMORIAL CARE MEDICAL FOUNDATION                                    Contingent
          2742 DOW AVENUE                                                     Unliquidated
          TUSTIN, CA 92780-7242                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Examination Management Services, Inc.                                                   Case number (if known)
              Name

 3.242    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $818.97
          MENDONCA, SHERRIE                                                   Contingent
          2021 CARLETON DR                                                    Unliquidated
          TURLOCK, CA 95382                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.243    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $20.00
          MERCY CLINIC OCCUPATIONAL MEDICINE                                  Contingent
          PO BOX 776075                                                       Unliquidated
          CHICAGO, IL 60677-6075                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.244    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $96.00
          MERCY HEALTH SYSTEM                                                 Contingent
          PO BOX 1076                                                         Unliquidated
          JANESVILLE, WI 53547-1076                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.245    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $25.00
          MERIDIAN OCCUPATIONAL HEALTH PC                                     Contingent
          PO BOX 414288                                                       Unliquidated
          BOSTON, MA 02241                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.246    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $70.36
          MICHAEL'S KEYS INC                                                  Contingent
          206 W BEDFORD EULESS RD                                             Unliquidated
          HURST, TX 76053                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.247    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $93,945.24
          MICROSOFT CORPORATION                                               Contingent
          ONE MICROSOFT WAY                                                   Unliquidated
          REDMOND, WA 98052-6399                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.248    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $50.00
          MID-SUFFOLK MEDICAL CARE PC                                         Contingent
          6277 JERICHO TPKE                                                   Unliquidated
          COMMACK, NY 11725                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Examination Management Services, Inc.                                                   Case number (if known)
              Name

 3.249    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $18,258.45
          MIDLAND HEALTH TESTING SERVICES INC                                 Contingent
          BRANCH 368                                                          Unliquidated
          WAUWATOSA, WI 53226                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.250    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $25.00
          MIDWEST OCCUPATIONAL HEALTH                                         Contingent
          ASSOCIATES                                                          Unliquidated
          1025 SOUTH SIXTH STREET                                             Disputed
          SPRINGFIELD, IL 62703
                                                                             Basis for the claim:    Trade Debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.251    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $294.00
          MILLENNIUM PHYSICIAN GROUP                                          Contingent
          2343 AARON STREET                                                   Unliquidated
          PORT CHARLOTTE, FL 33952                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.252    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $29.00
          MINNESOTA OCCUPATIONAL HEALTH                                       Contingent
          710 COMMERCE DR                                                     Unliquidated
          WOODBURY, MN 55125                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.253    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $30.00
          MOBILE DRUG TESTING.                                                Contingent
          4109 NAVAHO AVENUE                                                  Unliquidated
          MEMPHIS, TN 38118                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.254    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $4,012.12
          MOBILE MEDIC HEALTH SERVICES LLC                                    Contingent
          611 N WYMORE RD                                                     Unliquidated
          WINTER PARK, FL 32789                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.255    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $23.00
          MON HEALTH WEDGEWOOD WESTOVER                                       Contingent
          1929 MASON DIXON HIGHWAY                                            Unliquidated
          CORE, WV 26541                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Examination Management Services, Inc.                                                   Case number (if known)
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 3.256    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $21.00
          MONONGAHELA VALLEY HOSPITAL INC.                                    Contingent
          ATTN: INSURANCE OFFICE/CASHIER                                      Unliquidated
          MONONGAHELA, PA 15063                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.257    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $35,384.59
          MOTUS LLC                                                           Contingent
          60 SOUTH STREET, SUITE 1200                                         Unliquidated
          BOSTON, MA 02111                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.258    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $90.00
          MOUNTAIN MEDICAL SERVICES PLLC                                      Contingent
          PO BOX 13395                                                        Unliquidated
          BELFAST, ME 04915                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.259    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $4,825.72
          NCS                                                                 Contingent
          P O BOX 321                                                         Unliquidated
          EGG HARBOR CITY, NJ 08215                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.260    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $41.50
          NELLIE KUH                                                          Contingent
          336 FAIRVIEW DR                                                     Unliquidated
          BURLINGTON, WV 26710                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.261    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $81.30
          NEOPOST INC                                                         Contingent
          P O BOX 45840                                                       Unliquidated
          SAN FRANCISCO, CA 94145-0840                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.262    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $5,384.06
          NEW ENGLAND DNA INC                                                 Contingent
          2257 SILAS DEANE HWY                                                Unliquidated
          ROCKY HILL, CT 06067                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Examination Management Services, Inc.                                                   Case number (if known)
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 3.263    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $40.00
          NEWBURY PARK URGENT CARE                                            Contingent
          2080 NEWBURY RD                                                     Unliquidated
          THOUSAND OAKS, CA 91320                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.264    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $9,475.00
          NORTH AMERICAN TRAINING GROUP                                       Contingent
          1293 BEACON CIRCLE                                                  Unliquidated
          WELLINGTON, FL 33414                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.265    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $418.50
          NORTH TEXAS PARAMEDICAL SERVICES                                    Contingent
          LLC                                                                 Unliquidated
          PO BOX 964                                                          Disputed
          MCKINNEY, TX 75070
                                                                             Basis for the claim:    Trade Debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.266    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $2,186.02
          NORTHSTAR MEDICAL SERVICES INC                                      Contingent
          720 4TH AVENUE EAST                                                 Unliquidated
          ALEXANDRIA, MN 56308                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.267    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $108,125.05
          NORTON ROSE FULBRIGHT US LLP                                        Contingent
          P O BOX 844284                                                      Unliquidated
          DALLAS, TX 75284-4284                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.268    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $375.00
          NRH OCCUPATIONAL MEDICINE                                           Contingent
          PO BOX 268810                                                       Unliquidated
          OKLAHOMA CITY, OK 73125                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.269    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $18,157.53
          O'NEILL ENTERPRISES INC                                             Contingent
          4020 WAKE FOREST RD SUITE 214                                       Unliquidated
          RALEIGH, NC 27609                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Examination Management Services, Inc.                                                   Case number (if known)
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 3.270    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $20.00
          OCCUPATIONAL MEDICINE CENTER                                        Contingent
          306 WEST HIGH AVENUE                                                Unliquidated
          NEW PHILADELPHIA, OH 44663                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.271    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $3,867.98
          OCCUPATIONAL SAFETY SERVICES INC                                    Contingent
          1711 A HILLYER ROBINSON INDUSTRIAL                                  Unliquidated
          PKWY                                                                Disputed
          OXFORD, AL 36203
                                                                             Basis for the claim:    Trade Debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.272    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $25.00
          OCTS                                                                Contingent
          PO BOX 10                                                           Unliquidated
          SCREVEN, GA 31560                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.273    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $289.00
          ONSITE ADVANTAGE MOBILE DRUG                                        Contingent
          2201 STIEGLITZ AVE SE                                               Unliquidated
          ALBUQUERQUE, NM 87106                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.274    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $66,189.82
          ORACLE USA INC                                                      Contingent
          P O BOX 203448                                                      Unliquidated
          DALLAS, TX 75320-3448                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.275    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $839.67
          P BRASHEAR LLC                                                      Contingent
          185 WILLIAMSBURG STREET                                             Unliquidated
          LAKE CHARLES, LA 70605-5719                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.276    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $7,708.53
          PACIFIC LIFE COMPANY                                                Contingent
          750 MAIN ST                                                         Unliquidated
          LYNCHBURG, VA 24504                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.277    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $4,623.01
          PAJAMA PROPERTIES, LLC                                              Contingent
          4255 RUFFIN ROAD, STE 300                                           Unliquidated
          SAN DIEGO, CA 92123                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Lease
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.278    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $450.00
          PAPERCLIP INC                                                       Contingent
          ONE UNIVERSITY PLAZA STE 518                                        Unliquidated
          HANCKENSACK, NJ 07601                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.279    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $5,844.52
          PARAMEDICAL EXAMS LLC                                               Contingent
          232 PROVIDENCE HIGHWAY                                              Unliquidated
          WESTWOOD, NJ                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.280    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $32,828.00
          PARAMEDICAL SERVICES OF VA INC                                      Contingent
          144 BUSINESS PARK DR                                                Unliquidated
          VIRGINIA BEACH, VA 23462                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.281    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $9,133.49
          PARAMEDICALS COM LLC                                                Contingent
          27 KENSINGTON DR                                                    Unliquidated
          MANALAPAN, NJ 07726                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.282    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $393.88
          PARAMEX SCREENING SERVICES LP                                       Contingent
          1450 SHERMAN AVE                                                    Unliquidated
          CHICO, CA 95926-2705                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.283    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $336.16
          PARENT COMPANY INC                                                  Contingent
          200 N MAIN ST                                                       Unliquidated
          E LONG MEADOW, MA 01028                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Examination Management Services, Inc.                                                   Case number (if known)
              Name

 3.284    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $368.71
          PELICAN DIAGNOSTICS LLC                                             Contingent
          3101 CYPRESS ST                                                     Unliquidated
          WEST MONROE, LA 71291-5291                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.285    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $5,420.30
          PELZ PARAMEDICAL INC                                                Contingent
          823 AIRPORT NORTH OFFICE PARK                                       Unliquidated
          FT WAYNE, IN 46825                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.286    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $2,958.27
          PENA, JOHN                                                          Contingent
          1823 S MAPLE AVE                                                    Unliquidated
          BERWYN, IL 60402                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.287    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $54.00
          PHILA OCCHEALTH/WORKNET OCC MED                                     Contingent
          PO BOX 827842                                                       Unliquidated
          PHILADELPHIA, PA 19182-7842                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.288    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $659.57
          PHYSICAL DATA SERVICES ILLINOIS INC                                 Contingent
          2615 CHAMPION RD                                                    Unliquidated
          NAPERVILLE, IL 60564                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.289    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $3,823.99
          PHYSICAL EVALUATIONS INC                                            Contingent
          4707 ARMOUR RD                                                      Unliquidated
          COLUMBUS, GA 31904                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.290    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $170.00
          PHYSICAL EXAMS INC                                                  Contingent
          P O BOX 20047                                                       Unliquidated
          CHARLESTON, WV 25362                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Examination Management Services, Inc.                                                   Case number (if known)
              Name

 3.291    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $7,239.49
          PHYSICALLY SPEAKING INC                                             Contingent
          21110 E ILLINOIS                                                    Unliquidated
          FARMINGTON, IL 61531                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.292    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $20.00
          PHYSICIANS HEALTH CENTER                                            Contingent
          6990 NW 37TH AVENUE                                                 Unliquidated
          MIAMI, FL 33147-6514                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.293    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $100.00
          PHYSICIANS IMMEDIATE CARE                                           Contingent
          3475 SOUTH ALPINE                                                   Unliquidated
          ROCKFORD, IL 61109                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.294    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $1,383.70
          PHYSICIANS INSURANCE SERVICES OF                                    Contingent
          ILLINOI                                                             Unliquidated
          125 S WACKER DRIVE, SUITE 300                                       Disputed
          CHICAGO, IL 60606
                                                                             Basis for the claim:    Trade Debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.295    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $100.00
          PHYSICIANS PRIMARY CARE                                             Contingent
          9021 PARK ROYAL DR                                                  Unliquidated
          FT MYERS, FL 33908                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.296    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $40.00
          PINNACLE MEDICAL GROUP AZ-PC                                        Contingent
          4343 EAST 31ST PLACE                                                Unliquidated
          YUMA, AZ 85365                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.297    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $17,894.88
          PITNEY BOWES GLOBAL FINANCIAL                                       Contingent
          1313 NORTH ATLANTIC STE 3000                                        Unliquidated
          SPOKANE, WA 99201                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Examination Management Services, Inc.                                                   Case number (if known)
              Name

 3.298    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $2,283.36
          PITNEY BOWES PURCHASE POWER                                         Contingent
          PO BOX 856042                                                       Unliquidated
          LOUISVILLE, KY 40285-6042                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.299    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $4,081.84
          PMD SERVICE INC                                                     Contingent
          2801 MAIN STREET, SUITE 566                                         Unliquidated
          IRVINE, CA 92614                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.300    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $7,303.37
          POWER PLUS                                                          Contingent
          5500 E LA PALMA AVENUE                                              Unliquidated
          ANAHEIM, CA 92807                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.301    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $4,922.96
          PRINCIPAL LIFE INS CO                                               Contingent
          PO Box 9000                                                         Unliquidated
          Newport Beach, CA 00926-5803                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.302    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $20.00
          PRIVIA MEDICAL GROUP LLC                                            Contingent
          P O BOX 13050                                                       Unliquidated
          BELFAST, ME 04915-4021                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.303    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $868.33
          PRN PARAMEDICAL COMPANY INC                                         Contingent
          5246 Mission St                                                     Unliquidated
          San Francisco, CA 94112                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.304    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $8,864.56
          PROVIDERTRUST INC                                                   Contingent
          618 CHURCH STREET, STE 520                                          Unliquidated
          NASHVILLE, TN 37219                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Examination Management Services, Inc.                                                   Case number (if known)
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 3.305    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $4,996.41
          PROVISIONS HEALTH SERVICES LLC                                      Contingent
          419 CAMERON AVENUE                                                  Unliquidated
          LACROSSE, WI 54601                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.306    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $4,140.00
          PRUDENTIAL                                                          Contingent
          2101 WELSH ROAD                                                     Unliquidated
          DRESHER, PA 19025                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.307    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $901.97
          PUSEY, KATHERINE                                                    Contingent
          PO BOX 310                                                          Unliquidated
          DELMAR, DE 19940                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.308    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $41.77
          QUADIENT POSTAGE FUNDING                                            Contingent
          P O BOX 31021                                                       Unliquidated
          TAMPA, FL 33631-3021                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.309    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $2,237.71
          QUALITY EXAMS SERVICES, INC                                         Contingent
          BRANCH 169                                                          Unliquidated
          HOLLYWOOD, CA 90038                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.310    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $120.00
          QUANTUM EPM                                                         Contingent
          615 S FEDERAL BLVD SUITE 102                                        Unliquidated
          DENVER, CO 80219                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.311    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $85.95
          QUEST DIAGNOSTICS                                                   Contingent
          FILE NO. 91514                                                      Unliquidated
          LOS ANGELES, CA 90074                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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              Name

 3.312    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $300.45
          RAFIYEV, NAZILYA                                                    Contingent
          1501 FOSTER RD                                                      Unliquidated
          WARMINSTER, PA 18974                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.313    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $2,452.72
          RAMSON, TAKISHA                                                     Contingent
          67 SUNDOWN DR                                                       Unliquidated
          JACKSON, TN 38305                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.314    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $3,000.00
          RBB COMMUNICATIONS LLC                                              Contingent
          355 ALHAMBRA CIRCLE SUITE 800                                       Unliquidated
          CORAL GABLES, FL 33134                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.315    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $146.69
          REED'S FLOWERS                                                      Contingent
          1029 AUSTIN AVENUE                                                  Unliquidated
          WACO, TX 76701                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.316    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $48.00
          REGIONAL EMPLOYEE ASSISTANCE                                        Contingent
          PROGRAM                                                             Unliquidated
          ATTN: MEDICAL RECORDS                                               Disputed
          BROWNWOOD, TX 76804
                                                                             Basis for the claim:    Trade Debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.317    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $220.00
          REGIONAL HEALTH                                                     Contingent
          353 FAIRMONT BLVD                                                   Unliquidated
          RAPID CITY, SD 57701                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.318    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $25.00
          REHABILITATION & OCCUPATIONAL                                       Contingent
          SPECIALIS                                                           Unliquidated
          1854 VETERANS HIGHWAY                                               Disputed
          LEVITTOWN, PA 19056-2107
                                                                             Basis for the claim:    Trade Debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.319    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $25.00
          RENOWN HEALTH                                                       Contingent
          780 KUENZLI ST STE 202                                              Unliquidated
          RENO, NV 89502                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.320    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $189,347.56
          REVEEL LLC                                                          Contingent
          4521 CAMPUS DRIVE SUITE 400                                         Unliquidated
          IRVINE, CA 92612                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.321    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $3,473.67
          RICELAND REGENTS PARK I & II                                        Contingent
          85 IH-10 NORTH                                                      Unliquidated
          STE 109                                                             Disputed
          BEAUMONT, TX 77707
                                                                             Basis for the claim:    Real Property Lease
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.322    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $63,824.96
          RICOH USA, INC                                                      Contingent
          PO BOX 660342                                                       Unliquidated
          DALLAS, TX 75266-0342                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.323    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $25.00
          ROCC EMPLOYER SERVICES                                              Contingent
          P O BOX 4699                                                        Unliquidated
          LAFAYETTE, IN 47903-4699                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.324    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $5,570.14
          ROMAN CENTURION CORP                                                Contingent
          417 HIAWATHA DRIVE                                                  Unliquidated
          BUFFALO GROVE, IL 60089-3457                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.325    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $210.00
          ROOSEVELT MEDICAL CENTER                                            Contingent
          PO BOX 24296                                                        Unliquidated
          BELFAST, ME 04915-4493                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Examination Management Services, Inc.                                                   Case number (if known)
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 3.326    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $3,010.00
          RSM US LLP                                                          Contingent
          5155 PAYSPHERE CIRCLE                                               Unliquidated
          CHICAGO, IL 60674                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.327    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $3,000.00
          SALMON SIMS THOMAS & ASSOCIATES                                     Contingent
          PLLC                                                                Unliquidated
          12720 HILLCREST ROAD                                                Disputed
          DALLAS, TX 75230
                                                                             Basis for the claim:    Trade Debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.328    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $420.00
          SANFORD HEALTH OCCUPATIONAL                                         Contingent
          MEDICINE                                                            Unliquidated
          3838 12THS AVENUE NORTH                                             Disputed
          FARGO, ND 58102-2931
                                                                             Basis for the claim:    Trade Debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.329    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $386.29
          SERESS, KATHLEEN                                                    Contingent
          4201 TOPANGA CANYON BLVD                                            Unliquidated
          WOODLAND HILLS, CA 91364                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.330    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $25.00
          SHANNON CLINIC                                                      Contingent
          120 E BEAUREGARD AVENUE                                             Unliquidated
          SAN ANGELO, TX 76903                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.331    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $2,449.13
          SHARPS COMPLIANCE INC                                               Contingent
          P O BOX 52792                                                       Unliquidated
          LAFAYETTE, LA 70505-2792                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.332    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $77.77
          SHEIKH, TAHIRA                                                      Contingent
          4224 MESA DR                                                        Unliquidated
          CARROLLTON, TX 75010                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Examination Management Services, Inc.                                                   Case number (if known)
              Name

 3.333    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $337.15
          SHEILA PORTER                                                       Contingent
          P O BOX 17514                                                       Unliquidated
          TAMPA, FL 33682                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.334    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $963.93
          SHERIDA AZEEZ                                                       Contingent
          12689 SW 21 ST                                                      Unliquidated
          MIRAMAR, FL 33027                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.335    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $313.98
          SHERYL HANNA                                                        Contingent
          1645 CRESENT STREET                                                 Unliquidated
          TRAVERSE CITY, MI 49686                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.336    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $3,605.19
          SHRED-IT USA                                                        Contingent
          10162 BELLWRIGHT ROAD STE A                                         Unliquidated
          SUMMERVILLE, SC 29483                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.337    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $70.00
          SIERRA DOCTORS MEDICAL GRP                                          Contingent
          275 GRASS VALLEY HWY.                                               Unliquidated
          AUBURN, CA 95603                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.338    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $1,155.25
          SIERRA SCREENING SERVICES                                           Contingent
          2641 BRENTWOOD DR                                                   Unliquidated
          CARSON CITY, NV 89701                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.339    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $18.00
          SIMEDHEALTH LLC                                                     Contingent
          4881 NW 8TH AVENUE SUITE 2                                          Unliquidated
          GAINESVILLE, FL 32605                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Examination Management Services, Inc.                                                   Case number (if known)
              Name

 3.340    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $386.36
          SINK, REBECCA                                                       Contingent
          8716 ARLIES TRAIL                                                   Unliquidated
          WILLOW SPRINGS, NC 27592                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.341    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $20,132.51
          SOKO UNITED CORP                                                    Contingent
          566 EAST LAMBERT ROAD                                               Unliquidated
          BREA, CA 92821                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.342    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $7,814.97
          SOUTHWEST MEDICAL SOLUTIONS LLC                                     Contingent
          5533 W 109TH ST SUITE 101                                           Unliquidated
          OAK LAWN, IL 60453                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.343    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $4,836.03
          SPECTRUM BUSINESS                                                   Contingent
          P O BOX 740466                                                      Unliquidated
          CINTI, OH 45274-0466                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.344    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $37.00
          SPECTRUM HEALTH                                                     Contingent
          P O BOX 2048                                                        Unliquidated
          GRAND RAPIDS, MI 49501                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.345    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $37.00
          SPECTRUM HEALTH PENNOCK LAB                                         Contingent
          1009 W GREEN STREET                                                 Unliquidated
          HASTINGS, MI 49058                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.346    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $12,168.54
          SPENCER HEALTH SOLUTIONS LLC                                        Contingent
          1981 J N PEASE PLACE SUITE 103                                      Unliquidated
          CHARLOTTE, NC 28262                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Examination Management Services, Inc.                                                   Case number (if known)
              Name

 3.347    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $3,775.15
          SPIVEY ENTERPRISES INC                                              Contingent
          1481 DEAN FOREST ROAD                                               Unliquidated
          SAVANNAH, GA 31405-9342                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.348    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $30.00
          SPRINGHILL PHYSICIAN PRACTICES INC                                  Contingent
          3715 DAUPHIN STREET, SUITE 7-A                                      Unliquidated
          MOBILE, AL 36608                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.349    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $2,711.50
          ST JOHN PROPERTIES, INC                                             Contingent
          P O BOX 62696                                                       Unliquidated
          BALTIMORE, MD 21264-2696                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Lease
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.350    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $40.00
          ST LUKE'S HOSPITAL AND CLINICS OF                                   Contingent
          DULUTH                                                              Unliquidated
          915 EAST 1ST STREET                                                 Disputed
          DULUTH, MN 55805
                                                                             Basis for the claim:    Trade Debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.351    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $501.07
          STARK & STARK ATTORNEYS AT LAW                                      Contingent
          ATTN: CYNDI MARK CONLEY                                             Unliquidated
          PRINCETON, NH 08543-5315                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.352    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $50.00
          STEAMBOAT MEDICAL GROUP                                             Contingent
          1280 INDUSTRIAL AVE, SUITE 103                                      Unliquidated
          CRAIG, CO 81625                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.353    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $2,504.11
          STERLING TALENT SOLUTIONS                                           Contingent
          1 STATE STREET PLAZA 24TH FLOOR                                     Unliquidated
          NEW YORK, NY 10004                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Examination Management Services, Inc.                                                   Case number (if known)
              Name

 3.354    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $45.00
          STEVENS COUNTY HOSPITAL                                             Contingent
          P O BOX 10                                                          Unliquidated
          HUGOTON, KS 67951                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.355    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $24,100.00
          SUNGARD AVAILABILITY SERVICES                                       Contingent
          P O BOX 91233                                                       Unliquidated
          CHICAGO, IL 60693                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.356    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $2,540.41
          SYSTEMS CHECK INC                                                   Contingent
          80 SCENIC DRIVE, 2ND FLOOR, SUITE 7                                 Unliquidated
          FREEHOLD, NJ 07728                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.357    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $5,519.42
          TALX                                                                Contingent
          4076 PAYSPHERE CIRCLE                                               Unliquidated
          CHICAGO, IL 60674                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.358    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $117.75
          TAYLOR LAW GROUP LLC                                                Contingent
          206 E MAIN STREET                                                   Unliquidated
          DOTHAN, AL 36301                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.359    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $2,892.61
          TECH PLAN INC                                                       Contingent
          717 TAYLOR DRIVE                                                    Unliquidated
          PLANO, TX 75074-6778                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.360    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $2,306.73
          TEST EXPRESS LLC                                                    Contingent
          ONE LAKE SHORE DRIVE                                                Unliquidated
          LAKE CHARLES, LA 70629                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Examination Management Services, Inc.                                                   Case number (if known)
              Name

 3.361    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $109.50
          TEST SMARTLY LABS                                                   Contingent
          10630-B METCALF                                                     Unliquidated
          OVERLAND PARK, KS 66212                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.362    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $598.83
          TEVAN, MARINA                                                       Contingent
          424 N KENWOOD ST #2                                                 Unliquidated
          GLENDALE, CA 91206                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.363    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $8,656.76
          THE ANNEX EMPLOYMENT TESTING AND                                    Contingent
          WELLNES                                                             Unliquidated
          120 S FOREST DRIVE                                                  Disputed
          CASPER, WY 82609-2239
                                                                             Basis for the claim:    Trade Debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.364    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $18.00
          THE CENTER OF INDUSTRIAL                                            Contingent
          REHABILITATION                                                      Unliquidated
          709 S BROADWAY                                                      Disputed
          MCALLEN, TX 78501
                                                                             Basis for the claim:    Trade Debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.365    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $279.00
          THE CHEMNET CONSORTIUM INC                                          Contingent
          1302 AVENUE D STE 103                                               Unliquidated
          BILLINGS, MT 59102                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.366    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $39,881.45
          THE LINCOLN NATIONAL LIFE INS CO                                    Contingent
          P O BOX 0821                                                        Unliquidated
          CAROL STREAM, IL 60132-0821                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.367    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $3,270.00
          THE TRADE GROUP                                                     Contingent
          1434 PATTON PLACE                                                   Unliquidated
          CARROLLTON, TX 75007                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Examination Management Services, Inc.                                                   Case number (if known)
              Name

 3.368    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $262,548.98
          THERAPAK LLC                                                        Contingent
          1442 ARROW HIGHWAY BLDG A                                           Unliquidated
          IRWINDALE, CA 91706                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.369    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $52.50
          THERRELL ALARM PROTECTION                                           Contingent
          PO BOX 8055                                                         Unliquidated
          WACO, TX 76714-8055                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.370    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $65,340.77
          TPLP OFFICE PARK                                                    Contingent
          Angelique Benschneider                                              Unliquidated
          8200 Springwood, Ste 240                                            Disputed
          IRVING, TX 75063
                                                                             Basis for the claim:    Real Property Lease
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.371    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $17,470.18
          TRI MEDICAL PLLC                                                    Contingent
          4010 DUPONT CIRCLE                                                  Unliquidated
          LOUISVILLE, KY 40207-4825                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.372    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $6,838.00
          TRIALWORKS                                                          Contingent
          DON O'LEARY                                                         Unliquidated
          CORAL GABLES, FL 33146                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.373    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $100.00
          TRINITY WORKCARE                                                    Contingent
          4000 JOHNSON ROAD                                                   Unliquidated
          STEUBENVLLE, OH 43952                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.374    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $355.00
          TRISTAN MEDICAL OCCUPATIONAL                                        Contingent
          HEALTH                                                              Unliquidated
          675 PARAMOUNT DRIVE SUITE 203                                       Disputed
          RAYNHAM, MA 02767
                                                                             Basis for the claim:    Trade Debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Examination Management Services, Inc.                                                   Case number (if known)
              Name

 3.375    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $75.00
          UHS OCCUPATIONAL MEDICINE                                           Contingent
          33 MITCHELL AVENUE SUITE 204                                        Unliquidated
          BINGHAMTON, NY 13903                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.376    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $32.49
          ULINE                                                               Contingent
          ACCT RECEIVABLE                                                     Unliquidated
          WAUKEGAN, IL 60085                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.377    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $25.00
          UPMC EXPRESS CARE                                                   Contingent
          532 NORTH FRONT STREET                                              Unliquidated
          WORMLEYSBURG, PA 17043                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.378    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $207,875.76
          UPS                                                                 Contingent
          LOCKBOX 577                                                         Unliquidated
          CAROL STREAM, IL 60132-0577                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.379    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $846.00
          USA-MDT COMPANY LLC                                                 Contingent
          11016 N DALE MABRY HWY STE 204                                      Unliquidated
          TAMPA, FL 33618                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.380    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $715.54
          VECTOR SECURITY INC                                                 Contingent
          P O BOX 89462                                                       Unliquidated
          CLEVELAND, OH 44101-6462                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.381    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $20.00
          VIA CHRISTI OEM NE                                                  Contingent
          P O BOX 2865                                                        Unliquidated
          WICHITA, KS 67201-2865                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Examination Management Services, Inc.                                                   Case number (if known)
              Name

 3.382    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $41,545.81
          WACO CENTRAL PARK LIMITED                                           Contingent
          P O BOX 429                                                         Unliquidated
          CHINA SPRING, TX 76633                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Lease
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.383    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $8,425.77
          WAP SERVICES INC                                                    Contingent
          800 WEST CUMMINGS PARK SUITE 5225                                   Unliquidated
          WOBURN, MA 01801-6356                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.384    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $2,286.86
          WAUSAU EXAM SERVICES PROFILES                                       Contingent
          BRANCH 557                                                          Unliquidated
          WAUSAU, WI 54403                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.385    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $2,437.92
          WEDGEWOOD INVESTMENT                                                Contingent
          CORPORATION                                                         Unliquidated
          P O BOX 14215                                                       Disputed
          GREENSBORO, NC 27415
                                                                             Basis for the claim:    Real Property Lease
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.386    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $297,010.35
          WELLS FARGO BANK                                                    Contingent
                                                                              Unliquidated
          San Francisco, CA                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.387    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $35.00
          WIENHOFF DRUG TESTING INC                                           Contingent
          5125 N GLENWOOD ST                                                  Unliquidated
          BOISE, ID 83714                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.388    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $6,277.81
          Wilson Management (BJM LLC)                                         Contingent
          9501 NE 13th Street                                                 Unliquidated
          Clyde Hill, WA 98004                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Real Property Lease
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Examination Management Services, Inc.                                                   Case number (if known)
              Name

 3.389     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $433.64
           WINGATE RUSSOTTI SHARPIRO &                                        Contingent
           HALPERIN LLP                                                       Unliquidated
           420 LEXINGTON AVENUE SUITE 2750                                    Disputed
           NEW YORK, NY 10170
                                                                             Basis for the claim:    Trade Debt
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes
 3.390     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                     $60.00
           WORKFIT MEDICAL CLINIC                                             Contingent
           1160 CHILI AVENUE, SUITE 200                                       Unliquidated
           ROCHESTER, NY 14624                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.391     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                     $25.00
           YOUENS AND DUCHICELA CLINIC                                        Contingent
           402 YOUENS DR                                                      Unliquidated
           WEIMAR, TX 78962                                                   Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.392     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $654.00
           ZYMEWIRE                                                           Contingent
           PO BOX 70662                                                       Unliquidated
           TORONTO, CN M6P 4E7                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                      related creditor (if any) listed?               account number, if
                                                                                                                                                      any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.        $                            0.00
 5b. Total claims from Part 2                                                                            5b.    +   $                    4,385,707.34

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.        $                        4,385,707.34




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 Fill in this information to identify the case:

 Debtor name         Examination Management Services, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF TEXAS

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.      Does the debtor have any executory contracts or unexpired leases?
         No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
       Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal             Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

 2.1.         State what the contract or                  Office Building Lease
              lease is for and the nature of              dated December 10,
              the debtor's interest                       1997, as amended

                  State the term remaining
                                                                                      11717, LLC
              List the contract number of any                                         BURT STREET PROFESSIONAL BLDG
                    government contract                                               OMAHA, NE 68154


 2.2.         State what the contract or                  EMSI Service
              lease is for and the nature of              Agreement dated
              the debtor's interest                       07.17.15

                  State the term remaining
                                                                                      5 Star Life Insurance Company
              List the contract number of any                                         909 North Washington Street
                    government contract                                               Alexandria, VA 22314


 2.3.         State what the contract or                  Subcontract No. 49239
              lease is for and the nature of              dated 04.16.18
              the debtor's interest

                  State the term remaining
                                                                                      Abt Associates Inc.
              List the contract number of any                                         6130 Executive Blvd.
                    government contract                                               Rockville, MD 20852


 2.4.         State what the contract or                  Independent Contractor
              lease is for and the nature of              Agreement dated
              the debtor's interest                       08.31.04

                  State the term remaining
                                                                                      Advanced Medical, Inc.
              List the contract number of any                                         PO Box 22394
                    government contract                                               Chattanooga, TN 37422-2394




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 Debtor 1 Examination Management Services, Inc.                                              Case number (if known)
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.5.        State what the contract or                   Service Agreement
             lease is for and the nature of               dated 06.25.19
             the debtor's interest

                  State the term remaining                                           Affirm Background Screening, Inc.
                                                                                     310 Stuntz Ave.
             List the contract number of any                                         Suite 101
                   government contract                                               Ashland, WI 54806


 2.6.        State what the contract or                   MSP Participation
             lease is for and the nature of               Agreement dated
             the debtor's interest                        05.14.18

                  State the term remaining
                                                                                     AIG Procurement Services, Inc.
             List the contract number of any                                         Two Peach Tree Hill Road
                   government contract                                               Livingston, NJ 07039


 2.7.        State what the contract or                   Staff Augmentation
             lease is for and the nature of               Services Agreement
             the debtor's interest                        dated 05.14.18

                  State the term remaining
                                                                                     AIG Procurement Services, Inc.
             List the contract number of any                                         80 Pine Street
                   government contract                                               New York, NY 10005


 2.8.        State what the contract or                   Independent Contractor
             lease is for and the nature of               Agreement dated
             the debtor's interest                        09.29.08

                  State the term remaining                                           Alabama Medscreen, Inc.
                                                                                     3321 Lorna Road
             List the contract number of any                                         Suite 600
                   government contract                                               Hoover, AL 35216-5499


 2.9.        State what the contract or                   Master Services
             lease is for and the nature of               Agreement dated
             the debtor's interest                        11.17.16

                  State the term remaining
                                                                                     Alaska Airlines, Inc.
             List the contract number of any                                         19300 International Blvd.
                   government contract                                               Seattle, WA 98188


 2.10.       State what the contract or                   Subscription
             lease is for and the nature of               Agreement dated
             the debtor's interest                        08.24.16

                  State the term remaining                                           American Driving Records, Inc.
                                                                                     2860 Gold Trailing Court
             List the contract number of any                                         Rancho Cordova, CA 95670
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              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.11.       State what the contract or                   Master Services
             lease is for and the nature of               Agreement dated
             the debtor's interest                        03.01.11, as amended

                  State the term remaining                                           American General Life Insurance Company
                                                                                     Leigh Hayes
             List the contract number of any                                         340 Seven Spring Way
                   government contract                                               Brentwood, TN 34027


 2.12.       State what the contract or                   Underwriting Solutions
             lease is for and the nature of               Services Agreement
             the debtor's interest                        dated 04.27.17, as
                                                          amended
                  State the term remaining
                                                                                     American National Insurance Company
             List the contract number of any                                         One Moody Plaza
                   government contract                                               Galveston, TX 77550


 2.13.       State what the contract or                   Independent Contractor
             lease is for and the nature of               Agreement dated
             the debtor's interest                        09.02.15, as amended

                  State the term remaining
                                                                                     American Specimen Collections, LLC
             List the contract number of any                                         2512 Waterbridge Way
                   government contract                                               Evansville, IN 47710


 2.14.       State what the contract or                   Underwriting Solutions
             lease is for and the nature of               Services Agreement
             the debtor's interest                        dated 03.06.17

                  State the term remaining                                           American-Amicable Life
                                                                                     Insurance Company of Texas
             List the contract number of any                                         425 Austin Ave.
                   government contract                                               Waco, TX 76701


 2.15.       State what the contract or                   Information Services
             lease is for and the nature of               Agreement dated
             the debtor's interest                        08.26.16, as amended

                  State the term remaining
                                                                                     Ameritas Life Insurance Corporation
             List the contract number of any                                         5900 O Street
                   government contract                                               Lincoln, NE 68510


 2.16.       State what the contract or                   Information Services
             lease is for and the nature of               Agreement dated            Amica Life Insurance Company
             the debtor's interest                        05.25.17, as amended       10 Amica Way
                                                                                     Lincoln, RI 02865-1155
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 Debtor 1 Examination Management Services, Inc.                                                Case number (if known)
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.17.       State what the contract or                   Independent Contractor
             lease is for and the nature of               Agreement dated
             the debtor's interest                        02.02.13, as amended

                  State the term remaining                                             App Medical Services
                                                                                       1955 Shermer Road
             List the contract number of any                                           Suite 150
                   government contract                                                 Northbrook, IL 60062-5352


 2.18.       State what the contract or                   Applicint Automated
             lease is for and the nature of               Term Life System
             the debtor's interest                        License Agreement
                                                          dated 10.13.10;
                                                          CallComplete
                                                          Agreement dated
                                                          07.21.15
                  State the term remaining
                                                                                       Applicint, Inc.
             List the contract number of any                                           6549 Mission Gorge Road
                   government contract                                                 San Diego, CA 92120-2306


 2.19.       State what the contract or                   Limited License
             lease is for and the nature of               Agreement dated
             the debtor's interest                        01.20.19

                  State the term remaining
                                                                                       Assured Medical Exams, LLCX
             List the contract number of any                                           1217 S. Wellington Ct.
                   government contract                                                 Buffalo Grove, IL 60089


 2.20.       State what the contract or                   Master Agreement
             lease is for and the nature of               #325461, Contract Nos.
             the debtor's interest                        8727317, 8680,
                                                          8353547, 7344296, as
                                                          amended
                  State the term remaining
                                                                                       AT&T
             List the contract number of any                                           712 E. Huntland Drive
                   government contract                                                 Austin, TX 78762


 2.21.       State what the contract or                   Master Agreement
             lease is for and the nature of               #325461, Contract Nos.
             the debtor's interest                        8727317, 8680,
                                                          8353547, 7344296, as
                                                          amended                      AT&T
                  State the term remaining                                             One AT&T Way
                                                                                       Bedminster, NJ 07921-9752
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 Debtor 1 Examination Management Services, Inc.                                               Case number (if known)
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

             List the contract number of any
                   government contract


 2.22.       State what the contract or                   Information Services
             lease is for and the nature of               Agreement dated
             the debtor's interest                        01.22.16, as amended

                  State the term remaining
                                                                                      Auto-Owners Life Insurance Company
             List the contract number of any                                          PO Box 30660
                   government contract                                                Lansing, MI 48909-8160


 2.23.       State what the contract or                   Subscriber Agreement
             lease is for and the nature of               for Tax Return
             the debtor's interest                        Verification Services
                                                          dated 07.26.17, as
                                                          amended
                  State the term remaining                                            AXA Equitable Life Insurance Company
                                                                                      8501 IMB Drive
             List the contract number of any                                          Suite 150
                   government contract                                                Charlotte, NC 28262


 2.24.       State what the contract or                   Master Services
             lease is for and the nature of               Agreement dated
             the debtor's interest                        04.01.12

                  State the term remaining                                            AXA Equitable Life Insurance Company
                                                                                      General Counsel
             List the contract number of any                                          1290 Avenue of the Americas
                   government contract                                                New York, NY 10104


 2.25.       State what the contract or                   Independent Contractor
             lease is for and the nature of               Agreement dated
             the debtor's interest                        07.28.02

                  State the term remaining
                                                                                      B.R. Medtests, Inc.
             List the contract number of any                                          5239 W. Fayetteville Rd.
                   government contract                                                College Park, GA 30349


 2.26.       State what the contract or                   Bay West Center Lease
             lease is for and the nature of               dated December 7,
             the debtor's interest                        2015, as amended

                  State the term remaining                                            Bay West Tampa Investors, LLC
                                                                                      770 Township Line Road
             List the contract number of any                                          Suite 150
                   government contract                                                Yardley, PA 19067




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 Debtor 1 Examination Management Services, Inc.                                               Case number (if known)
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

 2.27.       State what the contract or                   Independent Contractor
             lease is for and the nature of               Agreement dated
             the debtor's interest                        03.01.01, as amended

                  State the term remaining
                                                                                      Bi-State Professional Services, Inc.
             List the contract number of any                                          17838 Chesterfield Airport Rd.
                   government contract                                                Chesterfield, MO 63005-1216


 2.28.       State what the contract or                   Office Lease dated
             lease is for and the nature of               December 8, 2006, as
             the debtor's interest                        amended

                  State the term remaining
                                                                                      BJM LLC
             List the contract number of any                                          9501 NE 13TH ST
                   government contract                                                Clyde Hill, WA 98004


 2.29.       State what the contract or                   RailMarketplace Inc.
             lease is for and the nature of               Agreement dated
             the debtor's interest                        06.01.10; Collection
                                                          Services Agreement
                                                          dated 11.01.10
                  State the term remaining                                            BNSF Railway Company
                                                                                      Director Drug & Alcohol Testing
             List the contract number of any                                          2600 Lou Menck Drive
                   government contract                                                Fort Worth, TX 76131


 2.30.       State what the contract or                   Office Building Lease
             lease is for and the nature of               Agreement dated
             the debtor's interest                        August 1, 2017, as
                                                          amended
                  State the term remaining
                                                                                      Brass Centerview 2016, LLC
             List the contract number of any                                          10010 San Pedro, Suite 105
                   government contract                                                San Antonio, TX 78216


 2.31.       State what the contract or                   Services Agreement
             lease is for and the nature of               dated 09.23.11, as
             the debtor's interest                        amended

                  State the term remaining
                                                                                      Brigham and Women's Hospital
             List the contract number of any                                          900 Commonwealth Avenue
                   government contract                                                Boston, MA 02215


 2.32.       State what the contract or                   Standard Office Lease
             lease is for and the nature of               dated January 3, 2013
             the debtor's interest                                                    Brookmat Corp.
                                                                                      c/o Ardenbrook, Inc., Agent
                  State the term remaining                                            4725 Thornton Avenue
                                                                                      Fremont, CA 94536-6408
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 Debtor 1 Examination Management Services, Inc.                                              Case number (if known)
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

             List the contract number of any
                   government contract


 2.33.       State what the contract or                   Lease dated December
             lease is for and the nature of               5, 2016
             the debtor's interest

                  State the term remaining                                           Causeway Partners L.L.C.
                                                                                     Regions Bank Building, Suite 1040
             List the contract number of any                                         3525 North Causeway Blvd.
                   government contract                                               Metairie, LA 70002


 2.34.       State what the contract or                   Microsoft SIEM
             lease is for and the nature of               Deployment Support
             the debtor's interest                        program dated 02.10.17

                  State the term remaining
                                                                                     CDW Direct, LLC
             List the contract number of any                                         200 N. Milwaukee Ave.
                   government contract                                               Vernon Hills, IL 60601


 2.35.       State what the contract or                   Independent Contractor
             lease is for and the nature of               Agreement dated
             the debtor's interest                        01.24.12

                  State the term remaining                                           Central Alabama Paramedical
                                                                                     Services, LLC
             List the contract number of any                                         4208 Carmichael Court North
                   government contract                                               Montgomery, AL 36106-3621


 2.36.       State what the contract or                   CenturyLink Total
             lease is for and the nature of               Advantage Agreement
             the debtor's interest                        or Qwest Total
                                                          Advantage Agreement,
                                                          Contract IDs 844901,
                                                          849869, 850364,
                                                          851968, 859754,
                                                          863330, 1020885, as
                                                          amended
                  State the term remaining
                                                                                     CenturyLink Communications, LLC
             List the contract number of any                                         931 14th Street, #900
                   government contract                                               Denver, CO 80202


 2.37.       State what the contract or                   Master Services
             lease is for and the nature of               Agreement dated
             the debtor's interest                        03.31.17

                  State the term remaining
                                                                                     Ceridian HCM, Inc.
             List the contract number of any                                         3311 E. Old Shakopee Rd.
                   government contract                                               Minneapolis, MN 55425-1361
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 Debtor 1 Examination Management Services, Inc.                                                Case number (if known)
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease



 2.38.       State what the contract or                   Lease Agreement dated
             lease is for and the nature of               May 30, 2008, as
             the debtor's interest                        amended
                                                                                       Charles J. Colby & Ruth
                  State the term remaining                                             Colby Trust Number 2
                                                                                       Colby Management Co.
             List the contract number of any                                           6581 University Ave.
                   government contract                                                 Windsor Heights, IA 50324


 2.39.       State what the contract or                   Ethernet Service Level
             lease is for and the nature of               Agreement, Spectrum
             the debtor's interest                        Enterprise Service
                                                          Agreement dated
                                                          01.19.18
                  State the term remaining
                                                                                       Charter Communications Operating LLC
             List the contract number of any                                           6524 Manchester Avenue
                   government contract                                                 St. Louis, MO 63139


 2.40.       State what the contract or                   Independent Contractor
             lease is for and the nature of               Agreement dated
             the debtor's interest                        11.19.18

                  State the term remaining                                             Christine Ross
                                                                                       Five Eight Eight Two, Inc.
             List the contract number of any                                           1014 Ravine Terrace
                   government contract                                                 St. Johns, FL 32259


 2.41.       State what the contract or                   Master Services
             lease is for and the nature of               Agreement dated
             the debtor's interest                        05.03.13, as amended;
                                                          Laboratory Services
                                                          Agreement dated
                                                          02.04.15
                  State the term remaining
                                                                                       Clinical Reference Laboratory, Inc.
             List the contract number of any                                           8433 Quivira Road
                   government contract                                                 Lenexa, KS 66215


 2.42.       State what the contract or                   Office Lease dated
             lease is for and the nature of               February 15, 2011
             the debtor's interest

                  State the term remaining
                                                                                       Cohen Southwind GP
             List the contract number of any                                           6750 Poplar Ave Ste 107
                   government contract                                                 MEMPHIS, TN 38138-7407




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

 2.43.       State what the contract or                   Specimen Collection
             lease is for and the nature of               Service Terms &
             the debtor's interest                        Conditions dated
                                                          01.24.12, as amended
                  State the term remaining
                                                                                      Comprehensive Drug Testing, Inc.
             List the contract number of any                                          4510 E. Pacific Coast Hwy
                   government contract                                                Long Beach, CA 90804


 2.44.       State what the contract or                   MSP Participation
             lease is for and the nature of               Agreement dated
             the debtor's interest                        05.14.18
                                                                                      COMSYS Information Technology
                  State the term remaining                                            Services LLC
                                                                                      dba TAPFIN Process Solutions
             List the contract number of any                                          4400 Post Oak Parkway, Ste 1800
                   government contract                                                Houston, TX 77027


 2.45.       State what the contract or                   Lease dated March 15,
             lease is for and the nature of               2007, as amended
             the debtor's interest

                  State the term remaining                                            Conrad T. Brickman
                                                                                      dba Aviation Road Properties
             List the contract number of any                                          21 Computer Drive East
                   government contract                                                Albany, NY 12205


 2.46.       State what the contract or                   Independent Contractor
             lease is for and the nature of               Agreement dated
             the debtor's interest                        01.21.98

                  State the term remaining                                            Consolidated Health Services, Inc.
                                                                                      Kathy McNight
             List the contract number of any                                          4 Carriage Lane
                   government contract                                                Charlotte, SC 29407


 2.47.       State what the contract or                   Services Contract
             lease is for and the nature of               dated 05.01.17
             the debtor's interest

                  State the term remaining
                                                                                      Consolidated Rail Corporation
             List the contract number of any                                          Three Commercial Place
                   government contract                                                Norfolk, VA 23510-2191


 2.48.       State what the contract or                   Lease Agreement dated
             lease is for and the nature of               March 22, 2018
             the debtor's interest                                                    Coursey Condos, LLC
                                                                                      Mike Falgoust & Associates LLC
                  State the term remaining                                            10202 Jefferson Hwy
                                                                                      Bldg. C
             List the contract number of any                                          Baton Rouge, LA 70809
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 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.49.       State what the contract or                   Third Party Serum
             lease is for and the nature of               Sample Processing
             the debtor's interest                        Agreement dated
                                                          11.02.13
                  State the term remaining
                                                                                     Crescendo Bioscience, Inc.
             List the contract number of any                                         341 Oyster Point Blvd.
                   government contract                                               So. San Francisco, CA 94080


 2.50.       State what the contract or                   Lease Agreement dated
             lease is for and the nature of               January 2013
             the debtor's interest

                  State the term remaining                                           Crestwood Business Center LLC
                                                                                     C/O AL ANGELO COMPANY
             List the contract number of any                                         400 E Mill Plain Blvd
                   government contract                                               VANCOUVER, WA 98660


 2.51.       State what the contract or                   Lease Agreement dated
             lease is for and the nature of               September 15, 2009, as
             the debtor's interest                        amended

                  State the term remaining
                                                                                     Crown Road Holdings, LP
             List the contract number of any                                         PO Box 631191
                   government contract                                               Irving, TX 75063


 2.52.       State what the contract or                   Service Provider
             lease is for and the nature of               Agreement dated
             the debtor's interest                        03.29.07, as amended

                  State the term remaining                                           Crump Life Insurance Services, Inc.
                                                                                     389 Interpace Parkway
             List the contract number of any                                         4th Floor
                   government contract                                               Parsippany, NJ 07054


 2.53.       State what the contract or                   Resale Agreement
             lease is for and the nature of               dated 06.06.08
             the debtor's interest

                  State the term remaining                                           CSC Credit Services, Inc.
                                                                                     14 Orchard Road
             List the contract number of any                                         Suite 200
                   government contract                                               Lake Forest, CA 92787


 2.54.       State what the contract or                   Payment Agreement
             lease is for and the nature of               dated 09.13.19             Dell Financial Services L.L.C.
             the debtor's interest                                                   One Dell Way
                                                                                     Round Rock, TX 78682
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 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.55.       State what the contract or                   Master Rental
             lease is for and the nature of               Agreement dated
             the debtor's interest                        08.01.16

                  State the term remaining                                           Document Mountain
                                                                                     by Cornerstone
             List the contract number of any                                         PO Box 215
                   government contract                                               Kirkin, IN 46050


 2.56.       State what the contract or                   DocuSign Signature
             lease is for and the nature of               Agreement dated
             the debtor's interest                        04.01.19

                  State the term remaining
                                                                                     DocuSign, Inc.
             List the contract number of any                                         221 Main Street, Suite 1000
                   government contract                                               San Francisco, CA 94105


 2.57.       State what the contract or                   Employer Services -
             lease is for and the nature of               Workplace House
             the debtor's interest                        Account Agreement
                                                          dated 06.22.15
                  State the term remaining
                                                                                     Drug Free Sport
             List the contract number of any                                         2537 Madison Ave.
                   government contract                                               Kansas City, MO 64108


 2.58.       State what the contract or                   Independent Contractor
             lease is for and the nature of               Agreement dated
             the debtor's interest                        02.08.08

                  State the term remaining                                           Dunrite Occupational Services, Inc.
                                                                                     Roderick E. Slaughter
             List the contract number of any                                         2056 Oakman Blvd.
                   government contract                                               Detroit, MI 48238


 2.59.       State what the contract or                   Master Services
             lease is for and the nature of               Agreement - Reseller
             the debtor's interest                        dated 01.13.20

                  State the term remaining                                           Employment Background
                                                                                     Investigations, Inc.
             List the contract number of any                                         PO Box 629
                   government contract                                               Owings Mills, MD 21117




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 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.60.       State what the contract or                   Independent Contractor
             lease is for and the nature of               Agreement dated
             the debtor's interest                        07.24.04

                  State the term remaining                                           EMSI Hawaii, Inc.
                                                                                     1188 Bishop Street
             List the contract number of any                                         Suite 3408
                   government contract                                               Honolulu, HI 96813


 2.61.       State what the contract or                   Master Agreement for
             lease is for and the nature of               Services dated
             the debtor's interest                        03.01.18, as amended
                                                                                     eNoah iSolutions, Inc.
                  State the term remaining                                           Manoj Sherman
                                                                                     2955 E. Hillcrest Drive
             List the contract number of any                                         Suite 124
                   government contract                                               Westlake Village, CA 91362


 2.62.       State what the contract or                   Independent Contractor
             lease is for and the nature of               Agreement dated
             the debtor's interest                        11.01.16, as amended

                  State the term remaining                                           EppTech/Pioneer Resting, LLC
                                                                                     111 S. Jefferson
             List the contract number of any                                         Suite 145
                   government contract                                               Casper, WY 82601


 2.63.       State what the contract or                   Breach Services
             lease is for and the nature of               Agreement dated
             the debtor's interest                        01.13.16

                  State the term remaining
                                                                                     Equifax Consumer Services LLC
             List the contract number of any                                         1550 Peachtree Street
                   government contract                                               Atlanta, GA 30039


 2.64.       State what the contract or                   Information Services
             lease is for and the nature of               Agreement dated
             the debtor's interest                        10.21.16, as amended

                  State the term remaining                                           Erie Family Life Insurance Company
                                                                                     General Counsel
             List the contract number of any                                         100 Erie Insurance Place
                   government contract                                               Erie, PA 16530




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 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.65.       State what the contract or                   Employer Services -
             lease is for and the nature of               Workplace House
             the debtor's interest                        Account Agreement
                                                          dated 04.01.15;
                                                          Comprehensive
                                                          Services Agreement
                                                          dated 09.30.03, as
                                                          amended
                  State the term remaining                                           eScreen, Inc.
                                                                                     7500 W. 110th
             List the contract number of any                                         Suite 500
                   government contract                                               Overland Park, KS 66210


 2.66.       State what the contract or                   Independent Contractor
             lease is for and the nature of               Agreement dated
             the debtor's interest                        07.26.14

                  State the term remaining
                                                                                     Exam ASAP, LLC
             List the contract number of any                                         2000 S IH 35 #Q8B
                   government contract                                               Round Rock, TX 78681


 2.67.       State what the contract or                   Independent Contractor
             lease is for and the nature of               Agreement dated
             the debtor's interest                        02.25.15
                                                                                     Exam Corp.
                  State the term remaining                                           George Kouriabalis
                                                                                     9801 West Higgins Road
             List the contract number of any                                         Suite 100
                   government contract                                               Rosemont, IL 60018


 2.68.       State what the contract or                   Independent Contractor
             lease is for and the nature of               Agreement dated
             the debtor's interest                        02.18.08

                  State the term remaining
                                                                                     Exam Services of Central California
             List the contract number of any                                         8818 Commodity Circle #41
                   government contract                                               Orlando, FL 32819


 2.69.       State what the contract or                   Independent Contractor
             lease is for and the nature of               Agreement dated
             the debtor's interest                        06.30.11

                  State the term remaining                                           Exams Express Inc.
                                                                                     3317 W. 9th Street
             List the contract number of any                                         Suite 103
                   government contract                                               Evergreen Park, IL 60805




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 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.70.       State what the contract or                   Agreement dated
             lease is for and the nature of               01.26.94
             the debtor's interest

                  State the term remaining
                                                                                     Exxon Company, USA
             List the contract number of any                                         Post Office Box 4692
                   government contract                                               Houston, TX 77210-4692


 2.71.       State what the contract or                   Standard Procurement
             lease is for and the nature of               Agreement for
             the debtor's interest                        Downstream/Chemical
                                                          Goods and Services
                                                          dated 01.01.12, as
                                                          amended                    ExxonMobil Global Services Company
                  State the term remaining                                           Business Support Ctr Argentina S.R.L
                                                                                     C.M. Della Paollera 265
             List the contract number of any                                         Buenos Aires
                   government contract                                               Argentina 01001


 2.72.       State what the contract or                   Information Services
             lease is for and the nature of               Agreement dated
             the debtor's interest                        09.09.15, as amended

                  State the term remaining                                           Farm Bureau Life Insurance
                                                                                     Company of Michigan
             List the contract number of any                                         7373 W. Saginaw Hwy
                   government contract                                               Lansing, MI 48909


 2.73.       State what the contract or                   Master Services
             lease is for and the nature of               Agreement dated
             the debtor's interest                        12.22.16

                  State the term remaining                                           Farmers New World Life Insurance Company
                                                                                     Farmers Group Inc.
             List the contract number of any                                         6301 Owensmouth Ave.
                   government contract                                               Woodland Hills, CA 91367


 2.74.       State what the contract or                   Information Services
             lease is for and the nature of               Agreement dated
             the debtor's interest                        12.15.10, as amended
                                                                                     Fidelity & Guaranty Life
                  State the term remaining                                           Insurance Company
                                                                                     2 Ruan Center
             List the contract number of any                                         601 Locust Street, 14th Flr.
                   government contract                                               Des Moines, IA 50309


 2.75.       State what the contract or                   Fieldprint Station
             lease is for and the nature of               Enterprise Services        Fieldprint, Inc.
             the debtor's interest                        Agreement dated            400 Lippincott Drive
                                                          09.01.14                   Suite 115
                  State the term remaining                                           Marlton, NJ 08053
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 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease


             List the contract number of any
                   government contract


 2.76.       State what the contract or                   Health Services
             lease is for and the nature of               Division-Workplace
             the debtor's interest                        Services Agreement
                                                          dated 04.01.20, as
                                                          amended
                  State the term remaining                                            First Advantage LNS Occupational
                                                                                      Health Solutions, Inc.
             List the contract number of any                                          1000 Alderman Dr.
                   government contract                                                Alpharetta, GA 30005


 2.77.       State what the contract or                   Independent Contractor
             lease is for and the nature of               Agreement dated
             the debtor's interest                        01.04.19
                                                                                      First Choice Testing Centers LLC
                  State the term remaining                                            Robert Browning
                                                                                      9080 Barbee Lane
             List the contract number of any                                          Suite 102
                   government contract                                                Knoxville, TN 37923


 2.78.       State what the contract or                   Independent Contractor
             lease is for and the nature of               Agreement dated
             the debtor's interest                        12.06.01

                  State the term remaining
                                                                                      First Class Examination Services
             List the contract number of any                                          19425 Soledad Canyon Road #B184
                   government contract                                                Canyon Country, CA 91351


 2.79.       State what the contract or                   Subcontract No. 30081
             lease is for and the nature of               dated 04.01.15
             the debtor's interest

                  State the term remaining                                            Forensic Drug & Alcohol Testing, LLC
                                                                                      14150 Parkeast Circle
             List the contract number of any                                          Suite 130
                   government contract                                                Chantilly, VA 20151


 2.80.       State what the contract or                   Lease Agreement dated
             lease is for and the nature of               September 12, 2014, as
             the debtor's interest                        amended

                  State the term remaining
                                                                                      FRANZ FAMILY PROPERTIES LLC
             List the contract number of any                                          3550 HAMPSHIRE AVENUE NORTH
                   government contract                                                CRYSTAL, MN 55427




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 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.81.       State what the contract or                   Services Agreement
             lease is for and the nature of               dated 07.07.17
             the debtor's interest

                  State the term remaining
                                                                                     Fred Hutchinson Cancer Research Center
             List the contract number of any                                         1100 Fairway Ave. N.
                   government contract                                               Seattle, WA 98109


 2.82.       State what the contract or                   Information Services
             lease is for and the nature of               Agreement dated
             the debtor's interest                        09.01.15, as amended
                                                                                     Freedom Life Insurance
                  State the term remaining                                           Company of America
                                                                                     300 Burnett Street
             List the contract number of any                                         Suite 200
                   government contract                                               Ft. Worth, TX 76102-2734


 2.83.       State what the contract or                   Employer Services -
             lease is for and the nature of               Workplace Per
             the debtor's interest                        Specimen Agreement
                                                          dated 08.22.16, as
                                                          amended
                  State the term remaining
                                                                                     Frontier Airlines
             List the contract number of any                                         7001 Tower Road
                   government contract                                               Denver, CO 80249


 2.84.       State what the contract or                   Service Agreement
             lease is for and the nature of               dated 04.25.03, as
             the debtor's interest                        amended

                  State the term remaining                                           FSSolutions
                                                                                     100 Highpoint Drive
             List the contract number of any                                         Suite 102
                   government contract                                               Chalfront, PA 18914


 2.85.       State what the contract or                   Independent Contractor
             lease is for and the nature of               Agreement dated
             the debtor's interest                        07.01.11

                  State the term remaining
                                                                                     FTL Paramedical, LLC
             List the contract number of any                                         424 Central Street
                   government contract                                               Leominster, MA 01453


 2.86.       State what the contract or                   Master Services
             lease is for and the nature of               Agreement dated
             the debtor's interest                        10.01.07, as amended
                                                                                     Genworth North America Corporation
                  State the term remaining                                           6620 West Broad Street
                                                                                     Richmond, VA 23230
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 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

             List the contract number of any
                   government contract


 2.87.       State what the contract or                   Master Services
             lease is for and the nature of               Agreement dated
             the debtor's interest                        12.06.13, as amended

                  State the term remaining
                                                                                     Genzyme Corporation
             List the contract number of any                                         500 Kendall Street
                   government contract                                               Cambridge, MA 02142


 2.88.       State what the contract or                   Independent Contractor
             lease is for and the nature of               Agreement dated
             the debtor's interest                        06.01.02, as amended

                  State the term remaining                                           Geocel Enterprises, Inc.
                                                                                     3470 Wilshire Blvd.
             List the contract number of any                                         Suite 1003
                   government contract                                               Los Angeles, CA 90010-2391


 2.89.       State what the contract or                   Underwriting Solutions
             lease is for and the nature of               Service Agreement
             the debtor's interest                        dated 03.03.18, as
                                                          amended; Master
                                                          Services Agreement
                                                          dated 09.01.14
                  State the term remaining                                           Government Personnel Mutual
                                                                                     Life Insurance Company
             List the contract number of any                                         2211 NE Loop 410
                   government contract                                               San Antonio, TX 78217


 2.90.       State what the contract or                   Examination Services
             lease is for and the nature of               Agreement dated
             the debtor's interest                        02.01.15, as amended

                  State the term remaining
                                                                                     Hartford Fire Insurance Company
             List the contract number of any                                         One Hartford Plaza
                   government contract                                               Hartford, CT 06155


 2.91.       State what the contract or                   Lease dated June 8,
             lease is for and the nature of               2018, as amended
             the debtor's interest

                  State the term remaining
                                                                                     Heritage Place LLC
             List the contract number of any                                         4500 HUGH HOWELL ROAD SUITE 780
                   government contract                                               TUCKER, GA 30084




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 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

 2.92.       State what the contract or                   Office Lease dated
             lease is for and the nature of               October 24, 2002, as
             the debtor's interest                        amended

                  State the term remaining
                                                                                       Highwoods Realty Limited Partnership
             List the contract number of any                                           P O BOX 100488
                   government contract                                                 ATLANTA, GA 30384-0488


 2.93.       State what the contract or                   Lease Agreement dated
             lease is for and the nature of               08.01.16
             the debtor's interest

                  State the term remaining                                             Hitatchi Data System Credit Corporation
                                                                                       2825 Lafayette Street
             List the contract number of any                                           Bldg. 34
                   government contract                                                 Santa Clara, CA 95050


 2.94.       State what the contract or                   Third Party Disclosure
             lease is for and the nature of               Agreement dated
             the debtor's interest                        04.20.09

                  State the term remaining                                             HM Life Insurance Company
                                                                                       120 5th avenue
             List the contract number of any                                           Suite 111
                   government contract                                                 Pittsburgh, PA 15222-3004


 2.95.       State what the contract or                   Lease Agreement dated
             lease is for and the nature of               January 15, 2016
             the debtor's interest

                  State the term remaining
                                                                                       HND Enterprise
             List the contract number of any                                           4017 W. Martin Luther King Jr. Blvd.
                   government contract                                                 Tampa, FL 33614


 2.96.       State what the contract or                   Executive Search
             lease is for and the nature of               Agreement dated
             the debtor's interest                        08.06.19

                  State the term remaining
                                                                                       Horton International
             List the contract number of any                                           20 Church Street
                   government contract                                                 Hartford, CT 06103


 2.97.       State what the contract or                   Lease dated September
             lease is for and the nature of               30-, 2020, as amended
             the debtor's interest

                  State the term remaining                                             HUDSON VENTURES LP
                                                                                       2000 SPROUL ROAD
             List the contract number of any                                           BROOMALL, PA 19008
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 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.98.       State what the contract or                   Transaction Finance
             lease is for and the nature of               Agreement dated
             the debtor's interest                        11.30.16

                  State the term remaining
                                                                                     IBM Credit LLC
             List the contract number of any                                         7100 Highlands Parkway
                   government contract                                               Smyrna, GA 30082


 2.99.       State what the contract or                   Subcontract Agreement
             lease is for and the nature of               dated 10.01.11, as
             the debtor's interest                        amended

                  State the term remaining                                           Idemia Identity & Security USA, LLC
                                                                                     296 Concord Road
             List the contract number of any                                         Suite 300
                   government contract                                               Billerica, MA 01821


 2.100.      State what the contract or                   Independent Contractor
             lease is for and the nature of               Agreement dated
             the debtor's interest                        01.01.13

                  State the term remaining                                           J.E.M. Testing, Inc.
                                                                                     3900 NW 79th Ave.
             List the contract number of any                                         Bldg. 4, Suite 417
                   government contract                                               Miami, FL 33166


 2.101.      State what the contract or                   Health Services
             lease is for and the nature of               Division-Workplace
             the debtor's interest                        Services Agreement
                                                          dated 07.30.07
                  State the term remaining                                           J.J. Keller & Associates, Inc.
                                                                                     PO Box 368
             List the contract number of any                                         West Breezewood
                   government contract                                               Neenah, WI 54957-0368


 2.102.      State what the contract or                   Lease Agreement dated
             lease is for and the nature of               July 20, 2005, as
             the debtor's interest                        amended

                  State the term remaining                                           Javed Venture Holdings, LLC
                                                                                     85 I-10 North
             List the contract number of any                                         Suite 109
                   government contract                                               Beaumont, TX 77707


 2.103.      State what the contract or                   General Terms
             lease is for and the nature of               Agreement for              Jetblue Airways Corporation
             the debtor's interest                        Specimen Collection        27-01 Queens Plaza North
                                                          Services dated 08.14.17    Long Island City, NY 11101
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.104.      State what the contract or                   Agreement dated
             lease is for and the nature of               02.06.20
             the debtor's interest

                  State the term remaining                                            JFK International Air Terminal LLC
                                                                                      Terminal 4
             List the contract number of any                                          JFK International Airport
                   government contract                                                Jamaica, NY 11430


 2.105.      State what the contract or                   Subscriber Agreement
             lease is for and the nature of               for Tax Return
             the debtor's interest                        Verification Services
                                                          dated 08.07.17;
                                                          Managed Services
                                                          Agreement dated
                                                          12.01.15, as amended
                  State the term remaining
                                                                                      John Hancock Life Insurance Company
             List the contract number of any                                          197 Clarendon Street
                   government contract                                                Boston, MA 02216


 2.106.      State what the contract or                   Independent Contractor
             lease is for and the nature of               Agreement dated
             the debtor's interest                        12.01.05, as amended

                  State the term remaining                                            JTD Services, Inc.
                                                                                      15770 N. Dallas Parkway
             List the contract number of any                                          Suite 300
                   government contract                                                Dallas, TX 75248


 2.107.      State what the contract or                   Information Services
             lease is for and the nature of               Agreement dated
             the debtor's interest                        05.30.18, as amended

                  State the term remaining
                                                                                      Kemper Corporate Services, Inc.
             List the contract number of any                                          200 East Randolph Street
                   government contract                                                Chicago, IL 60601


 2.108.      State what the contract or                   Lease Agreement
             lease is for and the nature of               dated January 31, 2019,
             the debtor's interest                        as amended

                  State the term remaining
                                                                                      Kemper Fairfield, LLC
             List the contract number of any                                          9450 W BRYAN MAWR STE 750
                   government contract                                                ROSEMONT, IL 60018
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 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease



 2.109.      State what the contract or                   Office Lease dated
             lease is for and the nature of               11.10.05, as amended
             the debtor's interest
                                                                                     Kinasha Corporation, N.V.
                  State the term remaining                                           c/o Regency Centers, Inc.
                                                                                     121 West Forsyth Street
             List the contract number of any                                         Suite 200
                   government contract                                               Jacksonville, FL 32202


 2.110.      State what the contract or                   Information Services
             lease is for and the nature of               Agreement dated
             the debtor's interest                        10.26.16, as amended

                  State the term remaining                                           Knights of Columbus Insurance Company
                                                                                     Underwriting Dept.
             List the contract number of any                                         1 Columbus Plaza
                   government contract                                               New Haven, CT 06507


 2.111.      State what the contract or                   Independent Contractor
             lease is for and the nature of               Agreement dated
             the debtor's interest                        10.31.07

                  State the term remaining                                           L&L Exams Plus, Inc.
                                                                                     130 N. Evergreen Road
             List the contract number of any                                         Suite 203
                   government contract                                               Louisville, KY 40243


 2.112.      State what the contract or                   Service Agreement
             lease is for and the nature of               dated 06.30.99
             the debtor's interest
                                                                                     Laboratory Corporation
                  State the term remaining                                           of America Holdings
                                                                                     500 Perimeter Park
             List the contract number of any                                         Suite C
                   government contract                                               Morrisville, NC 27560


 2.113.      State what the contract or                   Lease Agreement dated
             lease is for and the nature of               January 2010, as
             the debtor's interest                        amended

                  State the term remaining
                                                                                     Lakeside Center LLC
             List the contract number of any                                         8823 SAN JOSE BLVD, SUITE 101
                   government contract                                               JACKSONVILLE, FL 32217


 2.114.      State what the contract or                   Information Services
             lease is for and the nature of               Agreement dated
             the debtor's interest                        11.17.08, as amended       Legal and General America, Inc.
                                                                                     3275 Bennett Creek Avenue
                  State the term remaining                                           Frederick, MD 21704
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 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease


             List the contract number of any
                   government contract


 2.115.      State what the contract or                   Professional Services
             lease is for and the nature of               Work Order - Crump
             the debtor's interest                        Protective-Multiple
                                                          Agents
                  State the term remaining
                                                                                      Lincoln Financial Group
             List the contract number of any                                          100 N. Green Street
                   government contract                                                Greensboro, NC 27401


 2.116.      State what the contract or                   Independent Contractor
             lease is for and the nature of               Agreement dated
             the debtor's interest                        06.12.15

                  State the term remaining                                            LT Exams, Inc.
                                                                                      dba Medicexams
             List the contract number of any                                          549 Chaucer Way
                   government contract                                                Stockbridge, GA 30281


 2.117.      State what the contract or                   Standard Multi-Tenant
             lease is for and the nature of               Office Lease - Gross
             the debtor's interest                        dated July 17, 2013

                  State the term remaining                                            Lucas Living Trust Dated 01/18/95
                                                                                      c/o Slip Management System, Inc.
             List the contract number of any                                          11949 W. Jefferson Blvd., Ste 101
                   government contract                                                Culver City, CA 90230


 2.118.      State what the contract or                   Subscriber Agreement
             lease is for and the nature of               for Tax Return
             the debtor's interest                        Verification Services
                                                          dated 06.01.17 as
                                                          amended; Master
                                                          Underwriting Services
                                                          Agreement dated
                                                          01.01.10, as amended
                  State the term remaining                                            Massachusetts Mutual Life
                                                                                      Insurance Company
             List the contract number of any                                          1295 State Street
                   government contract                                                Springfield, MA 01111


 2.119.      State what the contract or                   Independent Contractor
             lease is for and the nature of               Agreement dated
             the debtor's interest                        09.28.04

                  State the term remaining                                            Med-Ex Exams PR, Inc.
                                                                                      5 G-4 Avenida Sanchez Osori0
             List the contract number of any                                          Villa Fontana
                   government contract                                                Catano, PR 00963
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 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease



 2.120.      State what the contract or                   Independent Contractor
             lease is for and the nature of               Agreement dated
             the debtor's interest                        11.04.03, as amended

                  State the term remaining                                           Med-Ex Paramedical, Inc.
                                                                                     925 East Executive Park Dr.
             List the contract number of any                                         Suite C
                   government contract                                               Salt Lake City, UT 84117-3544


 2.121.      State what the contract or                   Independent Contractor
             lease is for and the nature of               Agreement dated
             the debtor's interest                        01.23.11

                  State the term remaining
                                                                                     MediTest of Maine, Inc.
             List the contract number of any                                         545 Main Street
                   government contract                                               Waterboro, ME 04087


 2.122.      State what the contract or                   Limited License
             lease is for and the nature of               Agreement dated
             the debtor's interest                        11.19.18

                  State the term remaining                                           Medphysicals Plus, LLC
                                                                                     4141 B Street
             List the contract number of any                                         Suite 210
                   government contract                                               Anchorage, AK 99503


 2.123.      State what the contract or                   Independent Contractor
             lease is for and the nature of               Agreement dated
             the debtor's interest                        01.23.11

                  State the term remaining
                                                                                     MedTest of Maine, Inc.
             List the contract number of any                                         545 Main Street
                   government contract                                               Waterboro, ME 04087


 2.124.      State what the contract or                   Amended and Restated
             lease is for and the nature of               Master Services
             the debtor's interest                        Agreement dated
                                                          09.02.14, as amended
                  State the term remaining                                           Metropolitan Life Insurance Company
                                                                                     Chief Procurement Officer
             List the contract number of any                                         277 Park Avenue
                   government contract                                               New York, NY 10172-2900


 2.125.      State what the contract or                   Enterprise Agreement -     Microsoft Corporation
             lease is for and the nature of               Volume Licensing           Dept. 551, Volume Licensing
             the debtor's interest                        dated 03.05.18             6100 Neil Road
                                                                                     Suite 210
                  State the term remaining                                           Reno, NV 89511-1137
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 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease


             List the contract number of any
                   government contract


 2.126.      State what the contract or                   Independent Contractor
             lease is for and the nature of               Agreement dated
             the debtor's interest                        04.24.14

                  State the term remaining
                                                                                     Midland Health Testing Services, Inc.
             List the contract number of any                                         12855 Lisbon Road
                   government contract                                               Brookfield, WI 53005


 2.127.      State what the contract or                   Independent Contractor
             lease is for and the nature of               Agreement dated
             the debtor's interest                        05.18.17

                  State the term remaining                                           Mobile Medic Health Services, LLC
                                                                                     Linda Snyder
             List the contract number of any                                         834 Assembly Court
                   government contract                                               Reunion, FL 34707


 2.128.      State what the contract or                   Information Services
             lease is for and the nature of               Agreement dated
             the debtor's interest                        07.26.26, as amended

                  State the term remaining
                                                                                     Modern Woodmen of America
             List the contract number of any                                         1701 first Ave.
                   government contract                                               Rock Island, IL 61201-8779


 2.129.      State what the contract or                   Master Services
             lease is for and the nature of               Agreement dated
             the debtor's interest                        04.13.18, as amended

                  State the term remaining
                                                                                     Motus
             List the contract number of any                                         Two Financial Center
                   government contract                                               Boston, MA 02111


 2.130.      State what the contract or                   Paramedical Services
             lease is for and the nature of               Agreement dated
             the debtor's interest                        06.01.09, as amended

                  State the term remaining
                                                                                     Mutual Of Omaha Insurance Company
             List the contract number of any                                         Mutual of Omaha Plaza
                   government contract                                               Omaha, NE 68175




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 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

 2.131.      State what the contract or                   Subscriber Agreement
             lease is for and the nature of               for Tax Return
             the debtor's interest                        Verification Services
                                                          dated 12.04.01, as
                                                          amended
                  State the term remaining
                                                                                      National Credit-reporting System, Inc.
             List the contract number of any                                          300 Philadelphia Ave.
                   government contract                                                Egg Harbor City, NJ 08215


 2.132.      State what the contract or                   Service Agreement
             lease is for and the nature of               dated 12.12.97, as
             the debtor's interest                        amended

                  State the term remaining                                            National Diagnostics
                                                                                      2701 Coltsgate Road
             List the contract number of any                                          Suite 1003
                   government contract                                                Charlotte, NC 28211


 2.133.      State what the contract or                   Information Services
             lease is for and the nature of               Agreement dated
             the debtor's interest                        07.19.16

                  State the term remaining                                            National Health Insurance Company
                                                                                      4455 LBJ Freeway
             List the contract number of any                                          Suite 375
                   government contract                                                Dallas, TX 75244


 2.134.      State what the contract or                   Independent Contractor
             lease is for and the nature of               Agreement dated
             the debtor's interest                        12.31.07

                  State the term remaining
                                                                                      New England DNA, Inc.
             List the contract number of any                                          2257 Silas Deane Hwy
                   government contract                                                Rocky Hill, CT 06067


 2.135.      State what the contract or                   Subscriber Agreement
             lease is for and the nature of               for Tax Return
             the debtor's interest                        Verification Services
                                                          dated 04.01.13, as
                                                          amended; Master
                                                          Agreement for Services
                                                          dated 08.01.12, as
                                                          amended
                  State the term remaining
                                                                                      New York Life Insurance Company
             List the contract number of any                                          51 Madison Avenue
                   government contract                                                New York, NY 10010




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 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.136.      State what the contract or                   Services Contract
             lease is for and the nature of               dated 05.01.17
             the debtor's interest

                  State the term remaining
                                                                                     Norfolk Southern Railway Company
             List the contract number of any                                         Three Commercial Place
                   government contract                                               Norfolk, VA 23510


 2.137.      State what the contract or                   Agreement for Services
             lease is for and the nature of               dated 04.01.13, as
             the debtor's interest                        amended

                  State the term remaining
                                                                                     North American Training Group
             List the contract number of any                                         9030 Bellhurst Way #124
                   government contract                                               West Palm Beach, FL 33411


 2.138.      State what the contract or                   Master Agreement for
             lease is for and the nature of               Services dated
             the debtor's interest                        12.19.14, as amended

                  State the term remaining                                           Northwestern Mutual Life
                                                                                     Insurance Company
             List the contract number of any                                         720 East Wisconsin Avenue
                   government contract                                               Milwaukee, WI 53202


 2.139.      State what the contract or                   Independent Contractor
             lease is for and the nature of               Agreement dated
             the debtor's interest                        10.03.01, as amended

                  State the term remaining
                                                                                     O'Neill Enterprises, Inc.
             List the contract number of any                                         820 East Blvd., Suite 818
                   government contract                                               Charlotte, NC 28203


 2.140.      State what the contract or                   Independent Contractor
             lease is for and the nature of               Agreement dated
             the debtor's interest                        03.01.12

                  State the term remaining
                                                                                     Occupational Safety Services, Inc.
             List the contract number of any                                         1707 Hilver Robinson Industrial Parkway
                   government contract                                               Oxford, AL 36203-1352


 2.141.      State what the contract or                   Information Services
             lease is for and the nature of               Agreement dated
             the debtor's interest                        01.01.14, as amended

                  State the term remaining                                           Ohio National Life Insurance Company
                                                                                     One Financial Way
             List the contract number of any                                         Cincinnati, OH 45242
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 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.142.      State what the contract or                   Information Services
             lease is for and the nature of               Agreement dated
             the debtor's interest                        09.07.16, as amended

                  State the term remaining
                                                                                     Pacific Life Insurance Company
             List the contract number of any                                         45 Enterprise
                   government contract                                               Aliso Viejo, CA 92656


 2.143.      State what the contract or                   Standard
             lease is for and the nature of               Industrial/Commercial
             the debtor's interest                        Multi-Tenant Lease -
                                                          Gross dated September
                                                          18, 2018
                  State the term remaining                                           Pajama Properties, LLC
                                                                                     Julian Piccioni
             List the contract number of any                                         4255 Ruffin Road, Ste 300
                   government contract                                               San Diego, CA 92123


 2.144.      State what the contract or                   Independent Contractor
             lease is for and the nature of               Agreement dated
             the debtor's interest                        05.01.13

                  State the term remaining
                                                                                     Paramedical Exams, LLC
             List the contract number of any                                         232 Providence HWY
                   government contract                                               Westwood, MA 02090


 2.145.      State what the contract or                   Independent Contractor
             lease is for and the nature of               Agreement dated
             the debtor's interest                        03.05.03, as amended

                  State the term remaining                                           Paramedical Services of Virginia, Inc.
                                                                                     133 Business Park Drive
             List the contract number of any                                         Suite 105
                   government contract                                               Virginia Beach, VA 23462


 2.146.      State what the contract or                   Independent Contractor
             lease is for and the nature of               Agreement dated
             the debtor's interest                        09.01.98

                  State the term remaining
                                                                                     Pelz Paramedical
             List the contract number of any                                         823 Airport North Office Park
                   government contract                                               Ft. Wayne, IN 46825




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 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.147.      State what the contract or                   Independent Contractor
             lease is for and the nature of               Agreement dated
             the debtor's interest                        01.13.03, as amended

                  State the term remaining
                                                                                     Physical Evaluation Services, Inc.
             List the contract number of any                                         4707 Armour Road
                   government contract                                               Columbus, GA 31904-5228


 2.148.      State what the contract or                   Contract dated 11.26.84
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           Physically Speaking, Inc.
                                                                                     Brian E. Schmidt
             List the contract number of any                                         3089 Bay Lending Drive
                   government contract                                               Westlake Village, OH 44145


 2.149.      State what the contract or                   Limited License
             lease is for and the nature of               Agreement dated
             the debtor's interest                        06.09.15
                                                                                     Physicians Insurance
                  State the term remaining                                           Services of Illinois
                                                                                     Insurance Exam Services
             List the contract number of any                                         125 South Wacker Drive, Ste 300
                   government contract                                               Chicago, IL 60606


 2.150.      State what the contract or                   Limited License
             lease is for and the nature of               Agreement dated
             the debtor's interest                        09.03.13

                  State the term remaining
                                                                                     PMD Service, Inc.
             List the contract number of any                                         2421 Vista Nobleza
                   government contract                                               Newport Beach, CA 92660


 2.151.      State what the contract or                   Annual Service
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Power Plus
             List the contract number of any                                         5500 E. La Palma Ave.
                   government contract                                               Anaheim, CA 92807


 2.152.      State what the contract or                   Limited License
             lease is for and the nature of               Agreement dated
             the debtor's interest                        09.20.16

                  State the term remaining                                           PPN Paramedical Company, Inc.
                                                                                     5246 Mission Street
             List the contract number of any                                         San Francisco, CA 94112
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 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

                    government contract


 2.153.      State what the contract or                   Limited License
             lease is for and the nature of               Agreement dated
             the debtor's interest                        02.09.14

                  State the term remaining                                            Premier Exams
                                                                                      Tracy Astorino
             List the contract number of any                                          17003 Patterson Drive
                   government contract                                                Omaha, NE 68135


 2.154.      State what the contract or                   Information Services
             lease is for and the nature of               Agreement dated
             the debtor's interest                        09.18.14, as amended

                  State the term remaining
                                                                                      Primerica Life Insurance Company
             List the contract number of any                                          1 Primerica Parkway
                   government contract                                                Duluth, GA 30099


 2.155.      State what the contract or                   Master Services
             lease is for and the nature of               Agreement dated
             the debtor's interest                        06.03.02

                  State the term remaining
                                                                                      Principal Financial Group
             List the contract number of any                                          711 High Street
                   government contract                                                Des Moines, IA 50392-4820


 2.156.      State what the contract or                   Professional Services
             lease is for and the nature of               Work Order - Crump
             the debtor's interest                        Protective-Multiple
                                                          Agents
                  State the term remaining                                            Principal Life Insurance Company
                                                                                      600 Vine Street
             List the contract number of any                                          Suite 1800
                   government contract                                                Cincinnati, OH 45202


 2.157.      State what the contract or                   Information Services
             lease is for and the nature of               Agreement dated
             the debtor's interest                        11.08.13, as amended

                  State the term remaining
                                                                                      Protective Life Insurance Company
             List the contract number of any                                          2801 Highway 280 South
                   government contract                                                Birmingham, AL 35223


 2.158.      State what the contract or                   Software as a Service
             lease is for and the nature of               and Monitoring              Provider Trust, Inc.
             the debtor's interest                        Agreement dated             2300 Charlotte Ave #104
                                                          05.12.15                    Nashville, TN 37203
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 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.159.      State what the contract or                   Independent Contractor
             lease is for and the nature of               Agreement dated
             the debtor's interest                        03.24.18

                  State the term remaining                                           Provisions Health Services
                                                                                     Amy Schlosser
             List the contract number of any                                         N492 Cty Rd D
                   government contract                                               Eau Galle, WI 54737


 2.160.      State what the contract or                   Independent Contractor
             lease is for and the nature of               Agreement dated
             the debtor's interest                        03.24.18

                  State the term remaining                                           Provisions Health Services
                                                                                     Gwen Sweeney
             List the contract number of any                                         N 6366 Lamphere Road
                   government contract                                               Arkansaw, WI 54721


 2.161.      State what the contract or                   Business Complex
             lease is for and the nature of               Lease dated June 9,
             the debtor's interest                        2004, as amended

                  State the term remaining
                                                                                     PS Business Parks, L.P.
             List the contract number of any                                         701 Western Avenue
                   government contract                                               Glendale, CA 91201


 2.162.      State what the contract or                   Specimen Collection
             lease is for and the nature of               Service Agreement
             the debtor's interest                        dated 12.08.03, as
                                                          amended
                  State the term remaining                                           Quest Diagnostics, Incorporated
                                                                                     1201 S. Collegeville Road
             List the contract number of any                                         CV3035
                   government contract                                               Collegeville, PA 19426


 2.163.      State what the contract or                   Consultant Agreement
             lease is for and the nature of               dated 08.29.18
             the debtor's interest

                  State the term remaining                                           Reveel, LLC
                                                                                     4521 Campus Drive
             List the contract number of any                                         Suite 400
                   government contract                                               Irvine, CA 92612




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 Debtor 1 Examination Management Services, Inc.                                              Case number (if known)
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.164.      State what the contract or                   Master Services
             lease is for and the nature of               Agreement dated
             the debtor's interest                        10.01.18, as amended

                  State the term remaining
                                                                                     Richo USA, Inc.
             List the contract number of any                                         70 Valley Stream Parkway
                   government contract                                               Malvern, PA 19355-1453


 2.165.      State what the contract or                   Master Services
             lease is for and the nature of               Agreement dated
             the debtor's interest                        03.12.09, as amended

                  State the term remaining
                                                                                     Riversource Life Insurance Company
             List the contract number of any                                         227 Ameriprise Financial Center
                   government contract                                               Minneapolis, MN 55474


 2.166.      State what the contract or                   Independent Contractor
             lease is for and the nature of               Agreement dated
             the debtor's interest                        05.08.06, as amended

                  State the term remaining                                           Roman Centurion Corp.
                                                                                     dba STAT Ins. Medical Svcs.
             List the contract number of any                                         417 Higwatha Drive
                   government contract                                               Buffalo Grove, IL 60089


 2.167.      State what the contract or                   Lease dated October
             lease is for and the nature of               19, 2009, as amended
             the debtor's interest

                  State the term remaining                                           RREEF America REIT II Corp. VVV
                                                                                     7900 Tysons One Place
             List the contract number of any                                         Suite 600
                   government contract                                               McLean, VA 22102-5979


 2.168.      State what the contract or                   Consulting Agreement
             lease is for and the nature of               dated 04.21.16
             the debtor's interest

                  State the term remaining                                           RSM US LLP
                                                                                     801 Nicollet Mall
             List the contract number of any                                         West Tower, Suite 1100
                   government contract                                               Minneapolis, MN 55402


 2.169.      State what the contract or                   Agreement of Lease
             lease is for and the nature of               dated August 7, 2013
             the debtor's interest

                  State the term remaining                                           RVC Associates L.P.
                                                                                     286 Madison Avenue, 12th Flr.
             List the contract number of any                                         New York, NY 10017
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 Debtor 1 Examination Management Services, Inc.                                              Case number (if known)
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.170.      State what the contract or                   Paramedical Services
             lease is for and the nature of               Agreement dated
             the debtor's interest                        08.01.09, as amended

                  State the term remaining
                                                                                     Sammons Financial Group, Inc.
             List the contract number of any                                         4601 Westown Parkway, Suite 300
                   government contract                                               Des Moines, IA 50266


 2.171.      State what the contract or                   Underwriting Solutions
             lease is for and the nature of               Service Agreement
             the debtor's interest                        dated 02.04.13, as
                                                          amended
                  State the term remaining                                           Savings Bank Mutual Life Insurance
                                                                                     Company of Massachusetts
             List the contract number of any                                         1 Linscott Rd.
                   government contract                                               Woburn, MA 01801-2001


 2.172.      State what the contract or                   Services Agreement
             lease is for and the nature of               dated 04.05.17
             the debtor's interest

                  State the term remaining
                                                                                     Securian Financial Group, Inc.
             List the contract number of any                                         400 Robert Street
                   government contract                                               St. Paul, MN 55101


 2.173.      State what the contract or                   Limited License
             lease is for and the nature of               Agreement dated
             the debtor's interest                        01.06.15

                  State the term remaining                                           Sierra Screening Services
                                                                                     Karen Balter
             List the contract number of any                                         2641 Brentwood Dr.
                   government contract                                               Carson City, NV 87901


 2.174.      State what the contract or                   Independent Contractor
             lease is for and the nature of               Agreement dated
             the debtor's interest                        03.13.13, as amended

                  State the term remaining                                           Soko United Corp.
                                                                                     Shawn O'Neill
             List the contract number of any                                         566 E. Lambert Road
                   government contract                                               Brea, CA 92821-4116


 2.175.      State what the contract or                   Services Agreement
             lease is for and the nature of               dated 11.01.15, as         Southwest Airlines Co.
             the debtor's interest                        amended                    2702 Love Field Drive
                                                                                     Dallas, TX 75235
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              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.176.      State what the contract or                   Independent Contractor
             lease is for and the nature of               Agreement dated
             the debtor's interest                        03.01.11, as amended

                  State the term remaining                                           Southwest Medical Solutions, LLC
                                                                                     5533 W. 109th Street
             List the contract number of any                                         Suite 101
                   government contract                                               Oak Lawn, IL 60453-5058


 2.177.      State what the contract or                   Independent Contractor
             lease is for and the nature of               Agreement dated
             the debtor's interest                        01.11.16

                  State the term remaining
                                                                                     Spencer Health Solutions, LLC
             List the contract number of any                                         820 East Blvd., Suite 818
                   government contract                                               Charlotte, NC 28203


 2.178.      State what the contract or                   Lease dated June 23,
             lease is for and the nature of               2005, as amended
             the debtor's interest

                  State the term remaining
                                                                                     St. Johns Properties, Inc.
             List the contract number of any                                         P O BOX 62696
                   government contract                                               BALTIMORE, MD 21264-2696


 2.179.      State what the contract or                   Master Services
             lease is for and the nature of               Agreement dated
             the debtor's interest                        07.08.13

                  State the term remaining
                                                                                     State Farm Mutual Automobile Insurance
             List the contract number of any                                         One State Farm Plaza
                   government contract                                               Bloomington, IL 61710


 2.180.      State what the contract or                   Service Agreement
             lease is for and the nature of               dated 08.21.14
             the debtor's interest

                  State the term remaining
                                                                                     Sterling Infosystems, Inc.
             List the contract number of any                                         1 State Street, 24th Flr.
                   government contract                                               New York, NY 10004




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.181.      State what the contract or                   Master Agreement for
             lease is for and the nature of               U.S. Availability
             the debtor's interest                        Services dated
                                                          11.01.06, as amended;
                                                          Software Licensing and
                                                          Services Agreement
                                                          dated 11.01.06, as
                                                          amended
                  State the term remaining
                                                                                     Sungard Availability Services LP
             List the contract number of any                                         680 East Swedesford Road
                   government contract                                               Wayne, PA 19087


 2.182.      State what the contract or                   Services Agreement
             lease is for and the nature of               dated 12.01.19
             the debtor's interest

                  State the term remaining                                           Symetra Life Insurance Company
                                                                                     777 108th Avenue NE
             List the contract number of any                                         Suite 1200
                   government contract                                               Bellevue, WA 98004-5135


 2.183.      State what the contract or                   Independent Contractor
             lease is for and the nature of               Agreement dated
             the debtor's interest                        12.13.19

                  State the term remaining                                           Systems Check, Inc.
                                                                                     Michael Wall
             List the contract number of any                                         80 Scenic Drive, Suite 7
                   government contract                                               Freehold, NJ 07728


 2.184.      State what the contract or                   Master Agreement for
             lease is for and the nature of               Services dated 07.01.17
             the debtor's interest

                  State the term remaining                                           Teachers Insurance and Annuity
                                                                                     Association of America
             List the contract number of any                                         730 Third Avenue
                   government contract                                               New York, NY 10017-3206


 2.185.      State what the contract or                   Information Services
             lease is for and the nature of               Agreement dated
             the debtor's interest                        04.08.05

                  State the term remaining
                                                                                     Tennessee Farmers Life Insurance Company
             List the contract number of any                                         147 Bear Creek Pike
                   government contract                                               Columbia, TN 38402




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

 2.186.      State what the contract or                   Information Services
             lease is for and the nature of               Agreement dated
             the debtor's interest                        02.04.16, as amended

                  State the term remaining
                                                                                      The Cincinnati Life Insurance Company
             List the contract number of any                                          6200 S. Gilmore Road
                   government contract                                                Fairfield, OH 45014


 2.187.      State what the contract or                   Services Agreement
             lease is for and the nature of               dated 08.01.09, as
             the debtor's interest                        amended

                  State the term remaining                                            The Guardian Life Insurance
                                                                                      Company of America
             List the contract number of any                                          3900 Burgess Place
                   government contract                                                Bethlehem, PA 18017


 2.188.      State what the contract or                   Subscriber Agreement
             lease is for and the nature of               for Tax Return
             the debtor's interest                        Verification Services
                                                          dated 09.15.17, as
                                                          amended; Master
                                                          Underwriting Services
                                                          Agreement dated
                                                          10.01.12, as amended        The Lincoln National
                  State the term remaining                                            Life Insurance Company
                                                                                      Corporate Procurement
             List the contract number of any                                          100 N. Greene Street
                   government contract                                                Greensboro, NC 27401


 2.189.      State what the contract or                   Information Services
             lease is for and the nature of               Agreement dated
             the debtor's interest                        09.17.08

                  State the term remaining
                                                                                      The Penn Mutual Life Insurance Company
             List the contract number of any                                          600 Dresher Road
                   government contract                                                Horsham, PA 19044


 2.190.      State what the contract or                   Master Services
             lease is for and the nature of               Agreement dated
             the debtor's interest                        08.01.08, as amended
                                                                                      The Prudential Insurance
                  State the term remaining                                            Company of America
                                                                                      David Catso, VP Beneficiary Srvcs.
             List the contract number of any                                          2101 Welsh Road
                   government contract                                                Dresher, PA 19025




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

 2.191.      State what the contract or                   Product and Service
             lease is for and the nature of               Agreement dated
             the debtor's interest                        10.09.17

                  State the term remaining
                                                                                      Therapak LLC
             List the contract number of any                                          651 Wharton Drive
                   government contract                                                Claremont, CA 91711


 2.192.      State what the contract or                   Master Services
             lease is for and the nature of               Agreement dated
             the debtor's interest                        04.01.14, as amended

                  State the term remaining
                                                                                      Thrivenet Financial for Lutherans
             List the contract number of any                                          4321 N. Ballard Road
                   government contract                                                Appleton, WI 54919-0001


 2.193.      State what the contract or                   Services Agreement
             lease is for and the nature of               dated 07.01.03, as
             the debtor's interest                        amended

                  State the term remaining
                                                                                      Time Insurance Company
             List the contract number of any                                          501 West Michigan
                   government contract                                                Milwaukee, WI 53203


 2.194.      State what the contract or                   Lease dated July 15,
             lease is for and the nature of               2004
             the debtor's interest
                                                                                      TPLP Office Park Properties
                  State the term remaining                                            A Texas Limited Partnership
                                                                                      Angelique Benschneider
             List the contract number of any                                          8200 Springwood, Ste 240
                   government contract                                                Irving, TX 75063


 2.195.      State what the contract or                   Independent Contractor
             lease is for and the nature of               Agreement dated
             the debtor's interest                        12.06.07

                  State the term remaining                                            Tri-Medical PLLC
                                                                                      4010 Dupont Circle
             List the contract number of any                                          Suite 228
                   government contract                                                Louisville, KY 40207-4825


 2.196.      State what the contract or                   Integration Agreement
             lease is for and the nature of               dated 02.27.18
             the debtor's interest
                                                                                      TrialWorks LLC
                  State the term remaining                                            1550 Madruga Avenue
                                                                                      Suite 508
             List the contract number of any                                          Coral Gables, FL 33146
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              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

                    government contract


 2.197.      State what the contract or                   Master Services
             lease is for and the nature of               Agreement dated
             the debtor's interest                        04.02.13; Third Party
                                                          Disclosure Agreement
                                                          dated 04.20.09
                  State the term remaining
                                                                                      United HealthCare Insurance Company
             List the contract number of any                                          9900 Bren Road East
                   government contract                                                Minnetonka, MN 55343


 2.198.      State what the contract or                   UPS Advisory and
             lease is for and the nature of               Technical Support
             the debtor's interest                        Services Agreement
                                                          and Software License
                                                          Agreement dated
                                                          03.25.19
                  State the term remaining
                                                                                      United Parcel Service Inc.
             List the contract number of any                                          2925 Merrell Road
                   government contract                                                Dallas, TX 75229


 2.199.      State what the contract or                   Master Services
             lease is for and the nature of               Agreement dated
             the debtor's interest                        08.01.14, as amended

                  State the term remaining
                                                                                      United Services Automobile Association
             List the contract number of any                                          9800 Fredericksburg Road
                   government contract                                                San Antonio, TX 78288


 2.200.      State what the contract or                   Underwriting Solutions
             lease is for and the nature of               Services Agreement
             the debtor's interest                        dated 05.10.17, as
                                                          amended                     USHealth Administrators LLC
                  State the term remaining                                            Doug Kirnegay
                                                                                      300 Burnett Street
             List the contract number of any                                          Suite 200
                   government contract                                                Fort Worth, TX 76102


 2.201.      State what the contract or                   Interconnection
             lease is for and the nature of               Security Agreement
             the debtor's interest                        dated 06.20.18, as
                                                          amended
                  State the term remaining                                            Vanderbilt University Medical Center
                                                                                      Josh c. Denny, MD, MS
             List the contract number of any                                          2525 West End Ave.
                   government contract                                                Nashville, TN 37203




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

 2.202.      State what the contract or                   Verizon Business
             lease is for and the nature of               Service Agreement
             the debtor's interest                        dated 11.20.19

                  State the term remaining                                             Verizon Business Network Services, Inc.
                                                                                       HQ Legal Contract Admin.
             List the contract number of any                                           One Verizon Way
                   government contract                                                 Basking Ridge, NJ 07920-1097


 2.203.      State what the contract or                   Payment Agreement
             lease is for and the nature of               dated 09.13.19
             the debtor's interest

                  State the term remaining
                                                                                       VMWare, Inc.
             List the contract number of any                                           3401 Hillview Avenue
                   government contract                                                 Palo Alto, CA 94304


 2.204.      State what the contract or                   Commercial Lease
             lease is for and the nature of               dated May 23, 2005, as
             the debtor's interest                        amended

                  State the term remaining
                                                                                       Waco Central Park, Ltd.
             List the contract number of any                                           PO Box 429
                   government contract                                                 China Spring, TX 76633


 2.205.      State what the contract or                   Satellite Contractor
             lease is for and the nature of               Agreement dated
             the debtor's interest                        02.05.04

                  State the term remaining                                             WAP Services
                                                                                       800 W. Cummings Park
             List the contract number of any                                           suite 5225
                   government contract                                                 Woburn, MA 01801


 2.206.      State what the contract or                   Lease dated March 1,
             lease is for and the nature of               2018
             the debtor's interest

                  State the term remaining
                                                                                       WB Equities, LLC
             List the contract number of any                                           33 Hunting Hill Drive
                   government contract                                                 Dix Hills, NY 11746


 2.207.      State what the contract or                   Lease Agreement dated
             lease is for and the nature of               August 28, 2017, as
             the debtor's interest                        amended

                  State the term remaining                                             Wedgewood Investment Corporation
                                                                                       P O BOX 14215
             List the contract number of any                                           GREENSBORO, NC 27415
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.208.      State what the contract or                   Lease dated January
             lease is for and the nature of               16, 2002, as amended
             the debtor's interest

                  State the term remaining
                                                                                     Wiggin Properties, LLC
             List the contract number of any                                         5801 N. Broadway, Suite 120
                   government contract                                               Oklahoma City, OK 73118


 2.209.      State what the contract or                   Underwriting Solutions
             lease is for and the nature of               Service Agreement
             the debtor's interest                        dated 12.07.15, as
                                                          amended
                  State the term remaining                                           Woodmen of the World
                                                                                     Life Insurance Society
             List the contract number of any                                         1700 Farnam Street
                   government contract                                               Omaha, NE 68102-2025




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 Fill in this information to identify the case:

 Debtor name         Examination Management Services, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF TEXAS

 Case number (if known)
                                                                                                                           Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

  No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
  Yes
   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                  Name                            Check all schedules
                                                                                                                                that apply:

    2.1      EMSI                              3050 Regent Blvd.                                MidCap Financial                D       2.2
             Acquisition, Inc.                 Suite 400                                        Trust                            E/F
                                               Irving, TX 75063
                                                                                                                                G




    2.2      EMSI Holdco,                      3050 Regent Blvd.                                MidCap Financial                D       2.2
             Inc.                              Suite 400                                        Trust                            E/F
                                               Irving, TX 75063
                                                                                                                                G




    2.3      EMSI Holding                      3050 Regent Blvd.                                MidCap Financial                D       2.2
             Company                           Suite 400                                        Trust                            E/F
                                               Irving, TX 75063
                                                                                                                                G




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 Fill in this information to identify the case:

 Debtor name         Examination Management Services, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF TEXAS

 Case number (if known)
                                                                                                                                        Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                       04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

       None.
       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                    Operating a business                            $53,002,315.00
       From 1/01/2020 to Filing Date
                                                                                                Other


       For prior year:                                                                          Operating a business                           $124,441,267.00
       From 1/01/2019 to 12/31/2019
                                                                                                Other


       For year before that:                                                                    Operating a business                           $139,443,968.00
       From 1/01/2018 to 12/31/2018
                                                                                                Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

       None.
                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

       None.
       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 1
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 Debtor       Examination Management Services, Inc.                                                     Case number (if known)



       Creditor's Name and Address                                         Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                                 Check all that apply
       3.1.
               Hot Shred                                                   Various                          $34,477.36            Secured debt
               210 N. Roberts Street                                                                                              Unsecured loan repayments
               West, TX 76691                                                                                                     Suppliers or vendors
                                                                                                                                  Services
                                                                                                                                  Other


4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
   may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

       None.
       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor
       4.1.    See SoFA Attachment 4                                                                     $1,448,477.00           Payroll and expense
                                                                                                                                 reimbursements
               Insiders

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

       None
       Creditor's name and address                              Describe of the Property                                       Date                 Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

       None
       Creditor's name and address                              Description of the action creditor took                        Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

       None.
               Case title                                       Nature of case             Court or agency's name and                 Status of case
               Case number                                                                 address
       7.1.    Hofer Settlement                                                                                                        Pending
                                                                                                                                       On appeal
                                                                                                                                       Concluded

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

       None

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 Part 4:       Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

       None
               Recipient's name and address                     Description of the gifts or contributions                  Dates given                      Value


 Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

       None
       Description of the property lost and                     Amount of payments received for the loss                   Dates of loss       Value of property
       how the loss occurred                                                                                                                                lost
                                                                If you have received payments to cover the loss, for
                                                                example, from insurance, government compensation, or
                                                                tort liability, list the total received.

                                                                List unpaid claims on Official Form 106A/B (Schedule
                                                                A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

       None.
                Who was paid or who received                         If not money, describe any property transferred           Dates            Total amount or
                the transfer?                                                                                                                            value
                Address
       11.1.    Pachulski Stang Ziehl &
                Jones LLP
                919 N. Market Street                                 PSZJ received payment totaling $100,000
                17th Floor                                           from Examination Management Services,
                Wilmington, DE 19899                                 Inc. on behalf of all Debtors.                            06.29.2020          $100,000.00

                Email or website address
                www.pszjlaw.com

                Who made the payment, if not debtor?




       11.2.    Katten Muchin Rosenman
                LLP
                2121 N. Pearl Street                                 Katten received payment totaling $10,000
                Suite 1100                                           from Examination Management Services,
                Dallas, TX 75201                                     Inc. on behalf of all Debtors.                            10.05.20             $10,000.00

                Email or website address
                www.katten.com

                Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.
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       None.
       Name of trust or device                                       Describe any property transferred                Dates transfers             Total amount or
                                                                                                                      were made                            value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

       None.
               Who received transfer?                           Description of property transferred or                   Date transfer            Total amount or
               Address                                          payments received or debts paid in exchange              was made                          value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


       Does not apply
                Address                                                                                                    Dates of occupancy
                                                                                                                           From-To

 Part 8:      Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
       Yes. Fill in the information below.

                Facility name and address                       Nature of the business operation, including type of services             If debtor provides meals
                                                                the debtor provides                                                      and housing, number of
                                                                                                                                         patients in debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

       No.
           Yes. State the nature of the information collected and retained.

                  Customer information including address, telephone number, email
                  address
                  Does the debtor have a privacy policy about that information?
                   No
                   Yes
17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

       No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?

                     No Go to Part 10.
                     Yes. Fill in below:
 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

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18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

       None
                Financial Institution name and                  Last 4 digits of          Type of account or          Date account was           Last balance
                Address                                         account number            instrument                  closed, sold,          before closing or
                                                                                                                      moved, or                       transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


       None
       Depository institution name and address                       Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


       None
       Facility name and address                                     Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

     None
       Owner's name and address                                      Location of the property             Describe the property                            Value
       United Health Group                                           JPMorgan Chase                       JPMorgan Chase bank                        Unknown
       PO Box 1459                                                                                        account (3648) for payment of
       Minneapolis, MN 55440                                                                              medical claims

       Owner's name and address                                      Location of the property             Describe the property                            Value
       United Health Group                                           JPMorgan Chase                       JPMorgan Chase bank                        Unknown
       PO Box 1459                                                                                        account (3656) for payment of
       Minneapolis, MN 55440                                                                              FAFSA claims


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

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22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
       Yes. Provide details below.
       Case title                                                    Court or agency name and             Nature of the case                            Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
       Yes. Provide details below.
       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
       Yes. Provide details below.
       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

       None
    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
          None
       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Andrew Prince                                                                                                              12.09.19 - 07.02.20
                    4221 Gladney Lane
                    Keller, TX 76244
       26a.2.       Andrew Seay                                                                                                                11.30.17 - 05.30.19
                    3638 Heritage Trail
                    Celina, TX 75009
       26a.3.       Deidre Salazar                                                                                                             12.16.92 - 07.02.20
                    5216 Avery Lane
                    The Colony, TX 75056
       26a.4.       James Huyck                                                                                                                08.29.16 - 09.25.20
                    8057 Plateau Drive
                    Fort Worth, TX 76120
       26a.5.       Jeffrey Robertson                                                                                                          04.24.17 - 06.12.19
                    3209 Glenhurst Ct.
                    Plano, TX 75093




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       Name and address                                                                                                                 Date of service
                                                                                                                                        From-To
       26a.6.       Juan Rodriguez                                                                                                      10.28.19 - 07.02.20
                    12621 Oceanside Drive
                    Euless, TX 76040
       26a.7.       Margaret Burken                                                                                                     06.25.07 - 07.02.20
                    6932 Glendale Drive
                    North Richland Hills, TX 76182
       26a.8.       Maria Salcedo                                                                                                       07.29.16 - 07.02.20
                    3825 Echo Brook Lane
                    Dallas, TX 75229
       26a.9.       Mark Moss                                                                                                           05.03.19 - 07.02.20
                    1208 Calico Lane
                    Apt. 614
                    Arlington, TX 76011
       26a.10.      Leah Winterowd                                                                                                      10.31.17 - 02.27.20
                    14948 Myrtle Beach Lane
                    Frisco, TX 75035
       26a.11.      William Keys                                                                                                        05.13.19 - 07.02.20
                    17608 Ivy Hill Drive
                    Dallas, TX 75287

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

           None
       Name and address                                                                                                                 Date of service
                                                                                                                                        From-To
       26b.1.       RSM US LLP                                                                                                          2019-2020
                    13155 Noel Road
                    Suite 2200
                    Dallas, TX 75240

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

           None
       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       James Huyck
                    8057 Plateau Drive
                    Fort Worth, TX 76120
       26c.2.       Margaret Burken
                    6932 Glendale Drive
                    North Richland Hills, TX 76182
       26c.3.       William Keys
                    17608 Ivy Hill Drive
                    Dallas, TX 75287

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

           None
       Name and address


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       Name and address
       26d.1.       MidCap Financial Trust
                    c/o MidCap Financial Services, LLC
                    7255 Woodmont Avenue
                    Suite 200
                    Bethesda, MD 20814
       26d.2.       Wells Fargo Bank
                    201 3rd Street
                    San Francisco, CA 94103
       26d.3.       Monroe Medical Clinic
                    100 S. Second Street
                    Monroe, LA 71201
       26d.4.       Bank of Montreal
                    100 King Street West
                    28th Floor
                    Toronto ON M5X 1A1
       26d.5.       Southwest Airlines
                    OAL Billing
                    Dallas, TX 75397
       26d.6.       New York Life Insurance Company
                    51 Madison Avenue
                    Room 551
                    New York, NY 10010-1655
       26d.7.       Primerica, Inc.
                    1 Primerica Pkwy
                    Duluth, GA 30099-4000
       26d.8.       MassMutual
                    1295 State Street
                    Springfield, MA 01111-0001
       26d.9.       USAA
                    9800 Frdericksburg Road
                    San Antonio, TX 78240-4100

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
       Yes. Give the details about the two most recent inventories.
                Name of the person who supervised the taking of the                         Date of inventory        The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       EMSI Holding Company                           3050 Regent Blvd.                                   Parent company                        100%
                                                      Irving, TX 75063                                                                          ownership
                                                                                                                                                interest


29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?




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       No
           Yes. Identify below.

       Name                                           Address                                             Position and nature of any   Period during which
                                                                                                          interest                     position or interest
                                                                                                                                       was held
       Anthony Mustoe                                 2402 Watercrest Drive                               Chief Information Officer    02.26.18 - 07.02.20
                                                      Keller, TX 76248

       Name                                           Address                                             Position and nature of any   Period during which
                                                                                                          interest                     position or interest
                                                                                                                                       was held
       Burt Wolder                                    8 Essex Road                                        Chief Marketing Officer      06.04.18 - 07.02.20
                                                      Scotch Plains, NJ 07076

       Name                                           Address                                             Position and nature of any   Period during which
                                                                                                          interest                     position or interest
                                                                                                                                       was held
       Denisa Bravenec                                2109 Larkspur Drive                                 Sr. Vice President, Chief    10.31.17 - 07.02.20
                                                      Carrollton, TX 75010                                People Officer

       Name                                           Address                                             Position and nature of any   Period during which
                                                                                                          interest                     position or interest
                                                                                                                                       was held
       Greg James                                     757 Lake Carolyn Pkwy                               Chief Operating Officer      04.16.18 - 07.02.20
                                                      Apt. 2209
                                                      Irving, TX 75039
       Name                                           Address                                             Position and nature of any   Period during which
                                                                                                          interest                     position or interest
                                                                                                                                       was held
       James Calver                                   191 Weed Ave                                        President and Chief          04.16.18 - 07.02.20
                                                      Los Gatos, CA 95032                                 Executive Officer

       Name                                           Address                                             Position and nature of any   Period during which
                                                                                                          interest                     position or interest
                                                                                                                                       was held
       James Huyck                                    8057 Plateau Drive                                  Vice President,              08.29.16 - 09.25.20
                                                      Fort Worth, TX 76120                                Corporate Controller

       Name                                           Address                                             Position and nature of any   Period during which
                                                                                                          interest                     position or interest
                                                                                                                                       was held
       William Keys                                   17608 Ivy Hill Drive                                Chief Financial Officer      05.13.19 - 07.02.20
                                                      Dallas, TX 75287


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

       No
           Yes. Identify below.

               Name and address of recipient                    Amount of money or description and value of              Dates         Reason for
                                                                property                                                               providing the value
       30.1 See SOFA 4
       .

               Relationship to debtor




31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
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Examination Management Services, Inc.
SoFA Attachment 4
Insider Payments

                                                                                              Regular Payroll                                                 Expense Reimbursements
Insider           Position   Total Payments                  Calver      Keys          James     Mustoe Wolder      Bravenec Huyck                  Employee        Date         Amount
James Calver      CEO                 341,887   10/11/2019       17,307       13,462      10,962    10,000    7,577     6,154   5,577               James Calver      11/19/2019   8,057.08
Bill Keys         CFO                 268,832   10/25/2019       17,307       13,462      10,962    10,000    7,577     6,154   5,577               James Calver      12/23/2019   4,120.77
Greg James        COO                 217,900    11/8/2019       17,307       13,462      10,962    10,000    7,577     6,154   5,577               James Calver       1/16/2020   2,038.08
Anthony Mustoe    CIO                 194,000   11/22/2019       17,307       13,462      10,962    10,000    7,577     6,154   5,577               James Calver        6/8/2020     618.59
Burt Wolder       CMO                 156,979    12/6/2019       17,307       13,462      10,962    10,000    7,577     6,154   5,577               James Calver       2/24/2020   7,010.20
Denisa Bravenec   CPO                 125,984   12/20/2019       17,307       13,462      10,962    10,000    7,577     6,154   5,577               James Calver        4/3/2020   1,363.35
James Huyck       Controller          142,895     1/3/2020       17,307       13,462      10,962    10,000    7,577     6,154   5,577               James Calver        4/9/2020      44.81
                                    1,448,477    1/17/2020       17,307       13,462      10,962    10,000    7,577     6,154   5,577               James Calver        1/9/2020     178.43
                                                 1/31/2020       17,307       13,462      10,962    10,000    7,577     6,154   5,577               Bill Keys         10/21/2019     782.79
                                                 2/14/2020       17,307       13,462      10,962    10,000    7,577     6,154   5,577               Bill Keys          5/31/2020      80.88
                                                 2/28/2020       17,307       13,462      10,962    10,000    7,577     6,154   5,577               Bill Keys          11/4/2019      55.90
                                                 3/13/2020       17,307       13,462      10,962    10,000    7,577     6,154   5,577               Bill Keys         11/25/2019     403.46
                                                 3/27/2020       17,307       13,462      10,962    10,000    7,577     6,154   5,577               Bill Keys         11/27/2019     271.21
                                                 4/10/2020         8,654      10,096       8,221      7,500   5,683     4,615   4,183               Bill Keys          12/9/2019     986.32
                                                 4/24/2020         8,654      10,096       8,221      7,500   5,683     4,615   4,183               Bill Keys         12/15/2019     288.77
                                                  5/8/2020         8,654      10,096       8,221      7,500   5,683     4,615   4,183               Bill Keys         12/20/2019     511.77
                                                 5/22/2020         8,654      10,096       8,221      7,500   5,683     4,615   4,183               Bill Keys           1/5/2020     493.30
                                                  6/5/2020       17,307       13,462      10,962    10,000    7,577     6,154   5,577               Bill Keys           1/7/2020      75.33
                                                 6/19/2020       17,307       13,462      10,962    10,000    7,577     6,154   5,577               Bill Keys          1/19/2020     429.73
                                                  7/3/2020       17,307       13,462      10,962    10,000    7,577    10,868   5,577               Bill Keys           2/5/2020     989.65
                                                 7/17/2020         6,923       5,385       4,385      4,000   3,031     4,347   5,577               Bill Keys          2/18/2020     350.53
                                                 7/31/2020                                                                      5,577               Bill Keys          2/25/2020     362.52
                                                 8/14/2020                                                                      5,577               Bill Keys           4/9/2020     821.73
                                                 8/28/2020                                                                      5,577               Bill Keys          5/31/2020     354.75
                                                 9/11/2020                                                                      5,577               Bill Keys          11/4/2019     419.20
                                                 9/25/2020                                                                      5,577               Greg James        12/11/2019   3,209.81
                                                 10/9/2020                                                                      2,788               Greg James         6/17/2020     399.33
                                                                318,456     261,154      212,654 194,000 146,992      125,984 142,211   1,401,451   Greg James         3/25/2020     840.00
                                                                                                                                                    Greg James         1/22/2020     797.43
                                                                                                                                                    James Huyck       10/21/2019      60.85
                                                                                                                                                    James Huyck        11/1/2019      60.86
                                                                                                                                                    James Huyck       12/16/2019      66.27
                                                                                                                                                    James Huyck        1/13/2020      82.66
                                                                                                                                                    James Huyck         6/3/2020      82.54
                                                                                                                                                    James Huyck        3/12/2020      82.59
                                                                                                                                                    James Huyck         4/7/2020      82.59
                                                                                                                                                    James Huyck         5/5/2020      82.54
                                                                                                                                                    James Huyck         2/5/2020      82.59
                                                                                                                                                    Burt Wolder       10/17/2019   1,017.22
                                                                                                                                                    Burt Wolder       10/31/2019     956.74
                                                                                                                                                    Burt Wolder        11/7/2019   1,540.66
                                                                                                                                                    Burt Wolder        12/4/2019   1,066.61
                                                                                                                                                    Burt Wolder        3/12/2020   1,261.04
                                                                                                                                                    Burt Wolder       12/19/2019     863.60
                                                                                                                                                    Burt Wolder         1/9/2020   1,218.62
                                                                                                                                                    Burt Wolder        1/30/2020   1,039.91
                                                                                                                                                    Burt Wolder        1/23/2020     301.02
                                                                                                                                                    Burt Wolder       12/11/2019     721.39
                                                                                                                                                                                  47,026.02
                                                                                                                                                                                              1,448,477




                                                                                                    1 of 1
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B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                     Northern District of Texas
 In re       Examination Management Services, Inc.                                                            Case No.
                                                                                Debtor(s)                     Chapter       7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                100,000.00
             Prior to the filing of this statement I have received                                        $                100,000.00
             Balance Due                                                                                  $                       0.00

2.     $     335.00       of the filing fee has been paid.

3.     The source of the compensation paid to me was:

                 Debtor            Other (specify):

4.     The source of compensation to be paid to me is:

                 Debtor            Other (specify):

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

          I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
             copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c. [Other provisions as needed]
               a. the preparation of the petition, schedules of assets and liabilities, statement of financial affairs, schedule of
               income and expenditures, lists of creditors and equity security holders, statement of executory contracts and
               unexpired leases, and master mailing list;

                  b. appearance at the meeting of creditors pursuant to section 341(a) of the Bankruptcy Code; and

                  c. otherwise advise the Debtor regarding its rights and responsibilities as a debtor under Chapter 7 of the
                  Bankruptcy Code and the Bankruptcy Rules.

7.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               a. appearances before any court or agency, other than the Bankruptcy Court or appellate courts on issues
               related to the bankruptcy, with respect to matters, which are, in essence, disputes involving issues of
               non-bankruptcy law, or the provision of substantive legal advice outside the insolvency area, unless we agree to
               represent the Company in such matters; and

                  b. advice or representation regarding matters of taxation, labor, securities, ERISA, probate/estate planning,
                  criminal, or other non-bankruptcy or non-debtor/creditor specialties of the law.




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 In re        Examination Management Services, Inc.                                                  Case No.
                                            Debtors)

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTORS)
                                             (Continuation Sheet)
                                                                     CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtors) in
 this bankruptcy proceeding.

           lQ~~(~ ~20                                                                                                       -~'
      Dare                                                                   ura     i~
                                                                          Signature of orney
                                                                          Pachulski Stang Ziehl &Jones LLP
                                                                          919 N. Market Street
                                                                          17th Floor
                                                                          Wilmington, DE 19899
                                                                          302-652-4100
                                                                          Ijones@pszjlaw.com
                                                                          Name of law firm




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B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                     Northern District of Texas
 In re       Examination Management Services, Inc.                                                            Case No.
                                                                                Debtor(s)                     Chapter       7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                10,000.00
             Prior to the filing of this statement I have received                                        $                10,000.00
             Balance Due                                                                                  $                       0.00

2.     $     335.00       of the filing fee has been paid.

3.     The source of the compensation paid to me was:

                 Debtor            Other (specify):

4.     The source of compensation to be paid to me is:

                 Debtor            Other (specify):

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

          I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
             copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c. [Other provisions as needed]
               a. the preparation of the petition, schedules of assets and liabilities, statement of financial affairs, schedule of
               income and expenditures, lists of creditors and equity security holders, statement of executory contracts and
               unexpired leases, and master mailing list;

                  b. appearance at the meeting of creditors pursuant to section 341(a) of the Bankruptcy Code; and

                  c. otherwise advise the Debtor regarding its rights and responsibilities as a debtor under Chapter 7 of the
                  Bankruptcy Code and the Bankruptcy Rules.

7.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               a. appearances before any court or agency, other than the Bankruptcy Court or appellate courts on issues
               related to the bankruptcy, with respect to matters, which are, in essence, disputes involving issues of
               non-bankruptcy law, or the provision of substantive legal advice outside the insolvency area, unless we agree to
               represent the Company in such matters; and

                  b. advice or representation regarding matters of taxation, labor, securities, ERISA, probate/estate planning,
                  criminal, or other non-bankruptcy or non-debtor/creditor specialties of the law.




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 In re       Examination Management Services, Inc.                                                     Case No.   20-32367
                                                               Debtor(s)

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
                                             (Continuation Sheet)
                                                                           CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.
             October 6,. 2020                                                   /s/ John E. Mitchell
     Date                                                                       John E. Mitchell
                                                                                Signature of Attorney
                                                                                Katten Muchin Rosenman LLP
                                                                                2121 N. Pearl Street
                                                                                Suite 1100
                                                                                Dallas, TX 75201


                                                                                Name of law firm




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